Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 1 of 94




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Transcript of Isaac D. Leventon
                               Date: July 22, 2021
 Case: UBS Securities LLC, et al. -v- Highland Capital Management, L.P.




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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 2 of 94

                                                                                                                                     Conducted on July 22, 2021
                                                                                                                                                           1                                                                3
                                                                                         1            IN THE UNITED STATES BANKRUPTCY COURT                    1                    APPEARANCES
                                                                                                        FOR THE NORTHERN DISTRICT OF TEXAS
                                                                                         2                       DALLAS DIVISION                               2    ON BEHALF OF PLAINTIFFS
                                                                                                                                                                    UBS SECURITIES LLC AND
                                                                                         3    In re                  §                                         3    UBS AG LONDON BRANCH:
                                                                                                                     §
                                                                                         4    HIGHLAND CAPITAL       §   Chapter 11                            4       Andrew B. Clubok
                                                                                              MANAGEMENT, L.P.,      §   Case No. 19-34054-SGJ11                       Sarah Tomkowiak (Via Zoom)
                                                                                         5                           §                                         5       LATHAM & WATKINS LLP
                                                                                                     Debtor.         §                                                 555 Eleventh Street, N.W., Suite 1000
                                                                                         6                           §                                         6       Washington, D.C. 20004
                                                                                                                     §                                                 (202) 637-2200
                                                                                         7    UBS SECURITIES LLC AND §                                         7       andrew.clubok@lw.com
                                                                                              UBS AG LONDON BRANCH, §                                                  sarah.tomkowiak@lw.com
                                                                                         8                           §                                         8
                                                                                                     Plaintiffs,     §                                                 Shannon E. McLaughlin
                                                                                         9                           §   Adversary Proceeding                  9       LATHAM & WATKINS LLP
                                                                                              VS.                    §   No. 21-03020-sgj                              885 Third Avenue
                                                                                         10                          §                                         10      New York, New York 10022-4834
                                                                                              HIGHLAND CAPITAL       §                                                 (212) 906-4612
                                                                                         11   MANAGEMENT, L.P.,      §                                         11      shannon.mclaughlin@lw.com
                                                                                                                     §
                                                                                         12          Defendant.      §                                         12
                                                                                                                                                                    ON BEHALF OF DEFENDANT
                                                                                         13                                                                    13   HIGHLAND CAPITAL MANAGEMENT, L.P.:
                                                                                                              HIGHLY CONFIDENTIAL
                                                                                         14               SUBJECT TO PROTECTIVE ORDER                          14      Robert J. Feinstein (Via Zoom)
                                                                                                             INFORMATION REDACTED                                      PACHULSKI STANG ZIEHL & JONES LLP
                                                                                         15                                                                    15      780 Third Avenue, 34th Floor
                                                                                                                                                                       New York, New York 10017-2024
                                                                                         16                 Videotaped Deposition of                           16      (212) 561-7700
                                                                                                                                                                       rfeinstein@pszjlaw.com
                                                                                         17                    ISAAC D. LEVENTON                               17
                                                                                         18                      Dallas, Texas                                 18   ON BEHALF OF THE WITNESS:
                                                                                         19                 Thursday, July 22, 2021                            19      Frances A. Smith
                                                                                                                                                                       ROSS & SMITH, PC
                                                                                         20                        9:55 a.m.                                   20      700 N. Pearl Street, Suite 1610
                                                                                                                                                                       Dallas, Texas 75201
                                                                                         21                                                                    21      (214) 377-7879
                                                                                                                                                                       frances.smith@judithwross.com
                                                                                         22                                                                    22
                                                                                         23   Job No.: 386785                                                  23
                                                                                         24   Pages: 1 - 370                                                   24
                                                                                         25   Reported by: Micheal A. Johnson, RDR, CRR                        25




                                                                                                                                                           2                                                                4
                                                                                         1              Deposition of ISAAC D. LEVENTON, held at               1                 APPEARANCES CONTINUED
                                                                                         2    the location of:                                                 2    ON BEHALF OF THE WITNESS:
                                                                                         3                                                                     3        Debra A. Dandeneau
                                                                                                                                                                        Michelle Hartmann
                                                                                         4              Butler Snow LLP                                        4        BAKER & McKENZIE, LLP
                                                                                                                                                                        452 Fifth Avenue
                                                                                         5              2911 Turtle Creek Boulevard, Suite 1400                5        New York, New York 10018
                                                                                                                                                                        (212) 626-4875
                                                                                         6              Dallas, Texas 75219                                    6        debra.dandeneau@bakermckenzie.com
                                                                                                                                                                        michelle.hartmann@bakermckenzie.com
                                                                                         7              (469) 680-5500                                         7

                                                                                         8                                                                     8    VIDEOGRAPHER:

                                                                                         9                                                                     9        Brian Krieger

                                                                                         10             Pursuant to Notice, before Micheal A.                  10

                                                                                         11   Johnson, Registered Diplomate Reporter and                       11

                                                                                         12   Certified Realtime Reporter.                                     12

                                                                                         13                                                                    13

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                                                                                         20                                                                    20

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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 3 of 94

                                                                                                                                     Conducted on July 22, 2021
                                                                                                                                                        5                                                                      7
                                                                                         1                                  INDEX                           1                 PREVIOUSLY MARKED EXHIBITS
                                                                                                                       ISAAC D. LEVENTON
                                                                                         2                               July 22, 2021                      2    NUMBER              DESCRIPTION           PAGE
                                                                                         3    APPEARANCES                                          3        3    Exhibit 2     .........................    287
                                                                                         4    PROCEEDINGS                                          8        4    Exhibit 4     .........................    292
                                                                                         5                                                                  5    Exhibit 5     .........................    294
                                                                                         6      EXAMINATION OF ISAAC D. LEVENTON:                           6    Exhibit 47    .........................    169
                                                                                         7             BY MR. CLUBOK                               9        7    Exhibit 53    .........................    281
                                                                                         8                                                                  8    Exhibit 56    .........................    215
                                                                                              ACKNOWLEDGMENT OF DEPONENT                         369
                                                                                         9                                                                  9    Exhibit 57    .........................    235
                                                                                              REPORTER'S CERTIFICATION                           370
                                                                                         10                                                                 10   Exhibit 59    .........................    284
                                                                                         11                                                                 11   Exhibit 61    .........................    243
                                                                                         12                                                                 12   Exhibit 62    .........................    297
                                                                                         13                                                                 13
                                                                                         14                                                                 14
                                                                                         15                                                                 15
                                                                                         16                                                                 16
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                                                                                                                                                        6                                                                      8
                                                                                         1                     DEPOSITION EXHIBITS                          1              PROCEEDINGS
                                                                                                                 ISAAC D. LEVENTON
                                                                                         2                         July 22, 2021                                    THE VIDEOGRAPHER: Here begins disk No. 1
                                                                                                                                                            2
                                                                                         3
                                                                                              NUMBER             DESCRIPTION            MARKED              3 in the videotaped deposition of Isaac Leventon.
                                                                                         4
                                                                                              Exhibit 67   04/13/2017 E-mail, Isaac        196              4 This is in the matter regarding Highland Capital
                                                                                         5                 Leventon to Stephanie
                                                                                         6
                                                                                                           Vitiello
                                                                                                           UBSPROD4837680
                                                                                                                                                            5 Management, LP, specifically the matter of UBS
                                                                                         7    Exhibit 68   05/24/2019 through 06/17/2020 274
                                                                                                                                                            6 Securities, LLC and UBS AG, London Branch versus
                                                                                                           E-mail Chain
                                                                                         8                 UBSPROD000095 - UBSPROD000096                    7 Highland Capital Management, LP. This is in the
                                                                                         9    Exhibit 69   UBS's First Request for         301              8 United States Bankruptcy Court for the Northern
                                                                                                           Production of Documents to
                                                                                         10                Debtor Highland Capital                          9 District of Texas, Dallas Division, filed as case
                                                                                                           Management, LP
                                                                                         11
                                                                                              Exhibit 70   08/06/2020 through 08/13/2020 309
                                                                                                                                                            10 number 19-34054-SGJ11.
                                                                                         12                E-mail Chain                                     11      Today's date is Thursday, July 22nd, 2021.
                                                                                                           UBSPROD1611114 -
                                                                                         13                UBSPROD1611119                                      The  videographer today is Brian Krieger
                                                                                                                                                            12
                                                                                         14   Exhibit 71   07/18/2019 through 07/16/2020 329
                                                                                                           E-mail Chain                                     13 representing PlanetDepos. This video deposition
                                                                                         15                UBSPROD1754280 -
                                                                                                           UBSPROD1754282                                   14 is taking place at Butler Snow at 2911 Turtle
                                                                                         16
                                                                                         17
                                                                                              Exhibit 72   08/05/2020 E-mail Chain
                                                                                                           UBSPROD1706963 -
                                                                                                                                           333              15 Creek Boulevard in Dallas, Texas.
                                                                                                           UBSPROD1706964                                   16      If counsel would please identify
                                                                                         18
                                                                                              Exhibit 73   08/21/2020 E-mail Chain, with 342
                                                                                         19                Attachment                                       17 themselves for the record and whom they represent.
                                                                                                           UBSPROD497100 - UBSPROD497103
                                                                                         20                                                                 18      MR. CLUBOK: On behalf of UBS, Andrew
                                                                                              Exhibit 74   01/28/2021 E-mail Chain, with 348
                                                                                         21                Attachment                                       19 Clubok of Latham & Watkins, LLP.
                                                                                                           UBSPROD1659896 -
                                                                                         22                UBSPROD1659900                                   20      MS. McLAUGHLIN: Shannon McLaughlin, also
                                                                                         23   Exhibit 75   12/02/2019 E-mail Chain       361                21 with Latham & Watkins.
                                                                                                           UBSPROD456218 - UBSPROD456219
                                                                                         24                                                                         MS. SMITH: Frances Smith with Ross &
                                                                                                                                                            22
                                                                                         25
                                                                                                                                                            23 Smith   on behalf of Mr. Isaac Leventon.
                                                                                                                                                            24      MS. HARTMANN: Michelle Hartmann, Baker
                                                                                                                                                            25 McKenzie, on behalf of the witness as well.
                                                                                                                                                        PLANET DEPOS
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 4 of 94

                                                                                                                         Conducted on July 22, 2021
                                                                                                                                            9                                                           11
                                                                                         1      MS. DANDENEAU: Debra Dandeneau from Baker        1 A Not personally.
                                                                                         2  McKenzie    on behalf of Isaac Leventon.             2 Q Have you been deposed before?
                                                                                         3      MR. FEINSTEIN: On the Zoom, Robert               3 A Yes.
                                                                                         4 Feinstein of Pachulski Stang Ziehl & Jones,           4 Q How many times, approximately?
                                                                                         5 counsel to Highland Capital Management, LP.           5 A Over ten.
                                                                                         6      THE VIDEOGRAPHER: The court reporter             6 Q And were all of those matters in
                                                                                         7 today is Micheal Johnson representing PlanetDepos.    7 connection with your work with Highland Capital or
                                                                                         8 If the court reporter would please swear in the       8 an affiliated entity?
                                                                                         9 witness.                                              9      MS. SMITH: Objection, form.
                                                                                         10           ISAAC D. LEVENTON,                         10 A I believe so.
                                                                                         11 called as a witness, having been duly sworn by a     11 BY MR. CLUBOK:
                                                                                         12 Notary Public, was examined and testified as         12 Q When was the last time you were deposed,
                                                                                         13 follows:                                             13 roughly?
                                                                                         14             EXAMINATION                              14 A I'm trying to recall. I believe it may
                                                                                         15 BY MR. CLUBOK:                                       15 have been early this year.
                                                                                         16 Q Good morning. Please state your full               16 Q Have you ever served as a corporate
                                                                                         17 name.                                                17 representative or as the equivalent state law
                                                                                         18 A Isaac Daniel Leventon.                             18 nomenclature?
                                                                                         19 Q And what's your home address?                      19 A Yes.
                                                                                         20 <-- HIGHLY CONFIDENTIAL                              20 Q Roughly many times?
                                                                                         21 -->                                                  21 A Most of the depositions I gave were in a
                                                                                         22 Q Roughly how long have you lived there?             22 corporate representative capacity. The majority
                                                                                         23 A Since 2013 or '14.                                 23 of them.
                                                                                         24 Q What's your current business address?              24 Q Who were you representing?
                                                                                         25 A 2515 McKinney Avenue.                              25 A Depended on the case.
                                                                                                                                            10                                                          12
                                                                                         1 Q You are an attorney authorized to practice          1 Q Can you identify as many entities as you
                                                                                         2 law, correct?                                         2 can recall that you have served as a corporate
                                                                                         3 A Yes.                                                3 representative for in a deposition?
                                                                                         4 Q In what states?                                     4 A The last one at the beginning of this
                                                                                         5 A Texas.                                              5 year, I served as the corporate representative for
                                                                                         6 Q Just Texas?                                         6 the plaintiffs in the lawsuit against Celtic
                                                                                         7 A I'm only barred in the state of Texas,              7 Pharma.
                                                                                         8 yes.                                                  8 Q Who were the plaintiffs?
                                                                                         9 Q Where did you go to college?                        9 A You'd have to pull -- I don't recall the
                                                                                         10 A Emory University.                                  10 exact names of them. You'd have to look at the
                                                                                         11 Q What year did you graduate?                        11 style of the case, but it was all of them.
                                                                                         12 A 2001.                                              12 Q Okay. And in past depositions, try to
                                                                                         13 Q What was your degree?                              13 identify as many entities as you can recall that
                                                                                         14 A Political science.                                 14 you've served as corporate representatives for in
                                                                                         15 Q And where did you go to law school?                15 deposition.
                                                                                         16 A University of Texas School of Law.                 16 A I really don't remember. I would have to
                                                                                         17 Q Where did -- when did you graduate?                17 look back at the records on that. I don't recall
                                                                                         18 A 2005.                                              18 which ones.
                                                                                         19 Q Did you do something between college and           19 Q You can't -- other than this deposition
                                                                                         20 law school?                                          20 where you served as the representative against
                                                                                         21 A Yes.                                               21 Celtic Pharma, you can't recall a single other
                                                                                         22 Q What was that?                                     22 entity where you were designated as a corporate
                                                                                         23 A I worked for the Centers for Disease               23 representative, as you sit here today?
                                                                                         24 Control.                                             24 A There was a case related to the real
                                                                                         25 Q Did you know Dr. Fauci?                            25 estate fund a number of years back, but I don't
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                                                                                                                         Transcript of Isaac D. Leventon                                         4 (13 to 16)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 5 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                13                                                          15
                                                                                         1 remember who I was representing as the witness in         1 Q Had they been a client of yours before you
                                                                                         2 that case.                                                2 started working for them?
                                                                                         3 Q So again, other than the deposition where               3 A No.
                                                                                         4 you served as the representative against the              4 Q How did you come to be employed at
                                                                                         5 Celtic Pharma, you cannot recall a single other           5 Highland Capital Management?
                                                                                         6 entity that you can identify where you were               6 A Online application, interview.
                                                                                         7 designated as a corporate representative; is that         7 Q Throughout the course of the deposition --
                                                                                         8 correct?                                                  8 I know there's lots of different -- some of the
                                                                                         9 A First of all, it's Celtic, like -- spelled              9 entities have longer names, some of them have
                                                                                         10 like the basketball team.                                10 things like LP. If I refer to Highland Capital
                                                                                         11 Q Although apparently pronounced                         11 Management throughout the rest of this deposition
                                                                                         12 differently.                                             12 as HCM, will you understand it to be that entity?
                                                                                         13 A Correct. And now thinking about it                     13 A So when you say HCM, you're referring to
                                                                                         14 further, I represented Highland Capital                  14 Highland Capital Management, LP, the debtor,
                                                                                         15 Management, LP, as their corporate representative        15 correct?
                                                                                         16 in the Crusader arbitration.                             16 Q Correct.
                                                                                         17 Q Other than that, can you identify any                  17 A Okay. We can make that agreement.
                                                                                         18 other entity on whose behalf you've served as a          18 Q Okay. Thank you. And who interviewed you
                                                                                         19 corporate representative in any testimony?               19 for your job at HCM?
                                                                                         20 A No, not sitting here today.                            20 A A number of people interviewed me.
                                                                                         21 Q In addition to your times being deposed as             21 Q Did you have an understanding as to who
                                                                                         22 a corporate representative, have you been deposed        22 was the final decision-maker?
                                                                                         23 in your individual capacity before today?                23 A No, I didn't actually.
                                                                                         24 A Yes.                                                   24 Q Who interviewed you? Identify the people
                                                                                         25 Q How many times, roughly?                               25 who interviewed you.
                                                                                                                                                14                                                          16
                                                                                         1 A Maybe two or three.                                     1 A Michael Colvin, Andrei Dorenbaum, Patrick
                                                                                         2 Q Were those all in connection with your                  2 Daugherty, John Honis, Scott Ellington, Brian
                                                                                         3 work?                                                     3 Collins and I believe Debbie Reynolds as well.
                                                                                         4 A Yes.                                                    4 Q And what was -- and you were hired by
                                                                                         5 Q Okay. And what were the circumstances of                5 Highland Capital Management, correct?
                                                                                         6 those depositions?                                        6 A Yes.
                                                                                         7 A I honestly don't remember. I honestly                   7 Q By the way, just to be clear, I may say
                                                                                         8 don't recall.                                             8 Highland Capital Management, I may say HCM, I may
                                                                                         9 Q You recall nothing whatsoever about the                 9 say the debtor. You'll understand those are all
                                                                                         10 two or three times that you've been deposed as an        10 interchangeable for Highland Capital Management,
                                                                                         11 individual?                                              11 LP, the entity that you were hired by in 2009?
                                                                                         12 A I really don't remember now.                           12 A Okay.
                                                                                         13 Q You were previously -- well, strike that.              13 Q Thanks. So what was the job you were
                                                                                         14     After law school, can you walk us through            14 hired to do for HCM?
                                                                                         15 your employment history, briefly?                        15 A I was hired as litigation counsel.
                                                                                         16 A Yes. Would you like me to do so?                       16 Q What did that mean? What were your job
                                                                                         17 Q Yes.                                                   17 duties as litigation counsel?
                                                                                         18 A Okay. I went to work for a litigation                  18 A To work on and manage litigation.
                                                                                         19 boutique for approximately five years here in            19 Q For whom?
                                                                                         20 Dallas.                                                  20 A For HCMLP and for its other affiliates.
                                                                                         21 Q Named?                                                 21 Q And did your role ever change?
                                                                                         22 A Hartline, Dacus, Barger, Dryer & Kern.                 22 A Yes.
                                                                                         23 We'll spell it during a break. And then in               23 Q When?
                                                                                         24 September 2009, I began working at Highland              24 A February 2011.
                                                                                         25 Capital Management, LP.                                  25 Q How did your role change in February 2011?
                                                                                                                                        PLANET DEPOS
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                                                                                                                         Transcript of Isaac D. Leventon                                          5 (17 to 20)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 6 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                 17                                                         19
                                                                                         1 A I was promoted to assistant general                      1 general counsels to him?
                                                                                         2 counsel.                                                   2 A I'm trying to remember the exact time
                                                                                         3 Q Who promoted you?                                        3 frame. There were other assistant general
                                                                                         4 A The company.                                             4 counsels at various points in time. Those are
                                                                                         5 Q Was there a person who you understood to                 5 individuals I recall held that title at one point
                                                                                         6 have made the decision?                                    6 in time or another.
                                                                                         7 A I don't know.                                            7 Q Okay. So you got some additional duties
                                                                                         8 Q Who were you reporting to prior to your                  8 that you just described when you became assistant
                                                                                         9 promotion?                                                 9 general counsel, but fair to say, you were still
                                                                                         10 A Scott Ellington.                                        10 focused primarily on litigation?
                                                                                         11 Q Did you always report to Scott Ellington                11 A Yes.
                                                                                         12 throughout your tenure at HCM?                            12 Q And did your role ever change after that?
                                                                                         13 A Not that entire period. I believe there                 13 A I mean, I took on additional duties and
                                                                                         14 was a brief period where I did not report to him.         14 responsibilities as needed.
                                                                                         15 Q When was that?                                          15 Q Did you -- and what were those?
                                                                                         16 A Subsequent to my promotion but before                   16 A Depended on which business unit needed
                                                                                         17 Mr. Ellington became general counsel.                     17 support and I would help them out.
                                                                                         18 Q And when was that?                                      18 Q What do you mean?
                                                                                         19 A I think it would have been most of 2011.                19 A I assisted the real estate team, I
                                                                                         20 Q Okay. So -- and who did you report to                   20 assisted the credit analysis team and I assisted
                                                                                         21 during most of 2011?                                      21 the back office, accounting and operations.
                                                                                         22 A Michael Colvin.                                         22 Q How did you assist the back office
                                                                                         23 Q And then Mr. Colvin left and Mr. Ellington              23 accounting and operations?
                                                                                         24 became general counsel?                                   24 A I worked on audit-related matters.
                                                                                         25 A Correct.                                                25 Q What do you mean?
                                                                                                                                                 18                                                         20
                                                                                         1 Q So before that time period and then after                1 A The preparation of audits.
                                                                                         2 that time period, through your entire tenure at            2 Q Did you work on asset valuations ever?
                                                                                         3 HCM, you reported to Scott Ellington, correct?             3 A No.
                                                                                         4 A Correct.                                                 4 Q What does the credit analysis team do?
                                                                                         5 Q Did your duties change when you became                   5 A They analyze and track and make
                                                                                         6 assistant general counsel?                                 6 recommendations for investments in debt
                                                                                         7 A Yes.                                                     7 instruments.
                                                                                         8 Q In what way?                                             8 Q And what was the assistance you provided
                                                                                         9 A I took on nonlitigation management-related               9 to that group?
                                                                                         10 duties.                                                   10 A Credit analysis -- credit agreement
                                                                                         11 Q Like what?                                              11 analysis as requested.
                                                                                         12 A Corporate work, contract drafting and                   12 Q What does that mean?
                                                                                         13 review, and then supporting some of the business          13 A Mean if they asked me to look at a credit
                                                                                         14 units, a lot of transactional work.                       14 agreement, I would look at it and I would give
                                                                                         15 Q Were there other assistant general                      15 them my perspective on it.
                                                                                         16 counsels at the time?                                     16 Q Okay. Did you ever get a promotion after
                                                                                         17 A I believe the answer is yes.                            17 2011?
                                                                                         18 Q Do you know who they were?                              18 A I had an additional job title added, but I
                                                                                         19 A Thomas Surgent, Scott Ellington and Andrei              19 don't think it was really a promotion.
                                                                                         20 Dorenbaum.                                                20 Q What was that?
                                                                                         21 Q I see. So the four of you were -- when                  21 A I believe I had a title of managing
                                                                                         22 you were first promoted, were all assistant               22 director of distress added.
                                                                                         23 general counsels to Mr. Colvin. And then when             23 Q What did that title entail?
                                                                                         24 Mr. Colvin left, Mr. Ellington became the GC and          24 A I didn't really do any work under that
                                                                                         25 you were all -- the remaining three were assistant        25 title.
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                                                                                                                        Transcript of Isaac D. Leventon                                          6 (21 to 24)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 7 of 94

                                                                                                                         Conducted on July 22, 2021
                                                                                                                                                21                                                           23
                                                                                         1 Q Why did you get that title, as far as you               1 Q Did you physically work near him?
                                                                                         2 know?                                                     2 A We were in the same office facility, if
                                                                                         3 A It was anticipated that certain members of              3 that's the question.
                                                                                         4 the legal team, including myself, would be                4 Q Were you on the same floor?
                                                                                         5 assisting with distressed assets and private              5 A The entire firm was on the same floor, so
                                                                                         6 equity.                                                   6 yes.
                                                                                         7 Q Starting when?                                          7 Q Okay. So I take it you'd see him at least
                                                                                         8 A Maybe 2018.                                             8 on a relatively frequent basis around the office?
                                                                                         9 Q Who anticipated that?                                   9      MS. SMITH: Objection, form.
                                                                                         10 A Mr. Ellington informed us that we were                 10 A Not necessarily, no, actually.
                                                                                         11 going to be asked to help out with that role.            11 BY MR. CLUBOK:
                                                                                         12 Q And -- but you never did help out with any             12 Q Did you have your own office?
                                                                                         13 distressed assets after you got that job title?          13 A No.
                                                                                         14 A Not really, no.                                        14 Q Did you sit out on a pod situation or what
                                                                                         15 Q Were you ever given the title director of              15 was your physical layout for your workspace?
                                                                                         16 private equity?                                          16 A We had an open floor plan and I was
                                                                                         17 A Oh, that's what the title was. Yeah.                   17 sitting in the open floor plan.
                                                                                         18 Q Okay. Did you ever perform any functions               18 Q Who sat near you?
                                                                                         19 related to that title?                                   19 A When?
                                                                                         20 A No, not really.                                        20 Q In the 2017 through 2019 time frame.
                                                                                         21 Q So your job really didn't change beyond                21 A I believe Jason Goldsmith sat near me.
                                                                                         22 what you've described, from 2011 until you left          22 Q Anyone else?
                                                                                         23 HCM, correct?                                            23 A Eric Girard.
                                                                                         24 A We had -- depending on the needs of the                24 Q Anyone else?
                                                                                         25 company, things would -- things would change and         25 A I don't remember anyone else sitting near
                                                                                                                                                22                                                           24
                                                                                         1 you'd have different tasks, but the basic nature          1 me at that point in time, no.
                                                                                         2 of my role didn't change.                                 2 Q How about Scott Ellington?
                                                                                         3 Q How often did you communicate with                      3 A He did not sit near me.
                                                                                         4 Mr. Dondero during the course of your employment          4 Q Where did he sit?
                                                                                         5 at HCM?                                                   5 A He had an office.
                                                                                         6 A It really depended on when during that                  6 Q How often did you speak with Scott
                                                                                         7 employment. I was there for 11 years.                     7 Ellington on average during that time period?
                                                                                         8 Q How about in the last two years prior to                8 A 2017 to '19? I don't think I can give a
                                                                                         9 HCM going into bankruptcy, in the -- put yourself         9 fair average estimate. It really would depend on
                                                                                         10 back to the two years prior to the bankruptcy,           10 the ebb and flow of work.
                                                                                         11 roughly how often were you directly communicating        11 Q Well, would it be on a -- can you say
                                                                                         12 with Mr. Dondero?                                        12 whether it would be roughly on a daily, weekly,
                                                                                         13 A So you're talking approximately 2017                   13 monthly basis?
                                                                                         14 through 2019?                                            14 A There were times when we'd speak multiple
                                                                                         15 Q Yes.                                                   15 times a day and there were times when I wouldn't
                                                                                         16 A I don't know. Maybe once a month.                      16 talk to him for two or three weeks.
                                                                                         17 Q And would that communication be in person              17 Q Who did Scott Ellington report to during
                                                                                         18 or be by e-mail?                                         18 the time period you worked -- were -- strike that.
                                                                                         19     MS. SMITH: Objection, form.                          19      After Scott Ellington became general
                                                                                         20 A It would depend on the communication.                  20 counsel, who did he report to?
                                                                                         21 BY MR. CLUBOK:                                           21 A Mr. Dondero.
                                                                                         22 Q How often did you speak with Mr. Dondero               22 Q Did you supervise anyone in the legal
                                                                                         23 on average in 2017 through 2019?                         23 department after you got your promotion to
                                                                                         24 A I really don't recall. I would have to                 24 assistant general counsel?
                                                                                         25 speculate.                                               25 A I had younger associate attorneys that
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                                                                                                                          Transcript of Isaac D. Leventon                                        7 (25 to 28)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 8 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                25                                                          27
                                                                                         1 could be staffed on to matters of mine, but they          1 amount of deferred compensation.
                                                                                         2 did not technically report to me.                         2 Q And then did your compensation change
                                                                                         3 Q Okay. But you would direct their work in                3 after the bankruptcy?
                                                                                         4 some -- depending on the needs?                           4 A No. Well, depends on your interpretation
                                                                                         5 A Depending on the tasks, yes.                            5 of whether it changed or not.
                                                                                         6 Q Who were they?                                          6 Q Okay. In terms of dollar amounts, did
                                                                                         7 A Stephanie Vitiello.                                     7 it --
                                                                                         8 Q Anyone else?                                            8 A In terms of the dollar amounts I actually
                                                                                         9 A Lauren Thedford.                                        9 received, yes, it changed.
                                                                                         10 Q Anybody else?                                          10 Q In what -- roughly the magnitude, did you
                                                                                         11 A No.                                                    11 get half as much, two-thirds as much, twice as
                                                                                         12 Q So Stephanie -- how did you pronounce --               12 much?
                                                                                         13 how do you spell that last name?                         13 A The UCC objected to the payment of my
                                                                                         14 A V-i-t-i-e-l-l-o.                                       14 bonuses. So in the amounts that the UCC objected.
                                                                                         15 Q She was an attorney there?                             15 Q I see. And so what was your comp last
                                                                                         16 A Yes.                                                   16 year? I guess 2020 would have been the full year
                                                                                         17 Q Does she still work at HCM?                            17 that you were under the bankruptcy rules. What
                                                                                         18 A No.                                                    18 was your rough total comp?
                                                                                         19 Q When did she leave HCM?                                19 A I'm not exactly sure. It would have been
                                                                                         20 A I don't know exactly.                                  20 my salary, plus not receiving the bonuses.
                                                                                         21 Q Was she there until you left?                          21 Q And what is your compensation at your new
                                                                                         22 A Yes.                                                   22 job?
                                                                                         23 Q So she was still there until this year,                23 A Roughly flat, as compared to what I had
                                                                                         24 2021?                                                    24 been promised at Highland.
                                                                                         25 A Yes.                                                   25 Q Meaning what? Roughly 400,000 is what you
                                                                                                                                                26                                                          28
                                                                                         1 Q Where is she now in terms of employment?                1 expect to make this year?
                                                                                         2 A She works at Skyview.                                   2 A I don't know the exact number, but it's
                                                                                         3 Q How about Lauren? Does she work at                      3 roughly flat, so it's whatever is reflected in the
                                                                                         4 Skyview as well?                                          4 accounting records.
                                                                                         5 A No.                                                     5 Q What accounting records?
                                                                                         6 Q Where is she now in terms of employment,                6 A The ones at Highland.
                                                                                         7 if you know?                                              7 Q So whatever is reflected in terms of what
                                                                                         8 A I don't.                                                8 you were slated to receive prebankruptcy is the
                                                                                         9 Q Did you -- during the time you were at                  9 amount -- is the amount you're expecting to get
                                                                                         10 Highland, who paid your salary?                          10 paid at your new job?
                                                                                         11 A Highland Capital Management, LP.                       11 A Correct.
                                                                                         12 Q In the last year before the bankruptcy,                12 Q Did you have any other sources of income
                                                                                         13 what was your total comp, roughly, from HCM?             13 other than HCM during your time there?
                                                                                         14 A I would have to go back and look. It was               14 A Yes.
                                                                                         15 maybe 3- or $400,000.                                    15 Q What was that?
                                                                                         16 Q And was that partially salary and                      16 A I received a payment from NexPoint.
                                                                                         17 partially bonus?                                         17 Q Okay. What's NexPoint?
                                                                                         18 A Yes.                                                   18 A NexPoint Advisors, LP.
                                                                                         19 Q What was the rough split there?                        19 Q And when did you receive a payment from
                                                                                         20 A Maybe 50/50.                                           20 NexPoint?
                                                                                         21 Q And did you have any other comp, in terms              21 A May of 2020.
                                                                                         22 of equity or deferred compensation or anything           22 Q For -- what was the amount of that?
                                                                                         23 else like that, in the final year that you worked        23 A It was approximately 300,000 something.
                                                                                         24 at Highland before the bankruptcy?                       24 Q And what was that for?
                                                                                         25 A I think I might have had a very small                  25 A It was the deferred compensation that I
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 9 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                   29                                                           31
                                                                                         1 had been waiting for for three years, that the UCC           1 Q But not from the debtor, instead from
                                                                                         2 chose not to pay me that had vested and earned.              2 NexPoint?
                                                                                         3 Q I see. So NexPoint paid deferred                           3 A I don't believe we discussed where it was
                                                                                         4 compensation that you had been expecting to get              4 going to come from.
                                                                                         5 paid from HCM prior to the bankruptcy?                       5 Q So Mr. Collins just came to you one day
                                                                                         6 A Correct.                                                   6 and said you're going to be getting this money?
                                                                                         7 Q And did -- is that 300,000, did that                       7 A Yes.
                                                                                         8 account for the total of deferred comp that you              8 Q And then it showed up and it was from
                                                                                         9 believed you were due at that time?                          9 NexPoint?
                                                                                         10      MS. SMITH: Objection, form.                            10 A It showed up and honestly I didn't even
                                                                                         11      MR. CLUBOK: Sorry, what's the form                     11 check where it came from until much later.
                                                                                         12 objection?                                                  12 Q When did you check?
                                                                                         13      MS. SMITH: I think that's vague. He was                13 A There was a deposition earlier and -- I
                                                                                         14 supposed   to get deferred comp over multiple years.        14 apologize. I'm trying to remember. It had -- it
                                                                                         15      MR. CLUBOK: Fair enough. Let me try --                 15 had something -- no, there was a deposition
                                                                                         16 thanks. Let me try to make it clearer.                      16 earlier I think this year and I wasn't -- I didn't
                                                                                         17 BY MR. CLUBOK:                                              17 know the answer and so I went back and looked.
                                                                                         18 Q When you got that -- it was a lump-sum                    18 Q I see. Did you look before the deposition
                                                                                         19 payment that you got in May of 2020?                        19 or after?
                                                                                         20 A Yes.                                                      20 A After.
                                                                                         21 Q Was that amount supposed to be a total of                 21 Q Did you -- did you ever discuss receiving
                                                                                         22 all of the deferred comp that you believed you              22 that comp with anyone other than Mr. Collins?
                                                                                         23 were owed at that point?                                    23 A I don't believe so, no.
                                                                                         24 A I'm struggling with your question. It was                 24 Q I'm setting aside your spouse if you have
                                                                                         25 the amount of the deferred compensation that                25 one or significant other if you have one. But
                                                                                                                                                   30                                                           32
                                                                                         1 was -- that I had earned and was due and payable             1 other than that, or your lawyers?
                                                                                         2 to me in May of 2020.                                        2 A Actually, I was about to say. The answer
                                                                                         3 Q Right. And without getting to whether                      3 is, yes, I did discuss it with other people and
                                                                                         4 that's accurate, you believed that there was a               4 that would be the attorneys sitting to the right
                                                                                         5 total amount of deferred comp that was due to you            5 of me.
                                                                                         6 from Highland Capital Management as of May 2020,             6 Q Right. So I'm going to exclude the
                                                                                         7 correct?                                                     7 attorneys representing you from this question or
                                                                                         8 A Yes.                                                       8 if you have a spouse or even a significant other.
                                                                                         9 Q And the amount that NexPoint paid you                      9 A I have a spouse.
                                                                                         10 equalled the amount that you believed was due to            10 Q That's fine. So exclude that person.
                                                                                         11 you from Highland Capital Management through that           11 Other than those people, did you ever discuss
                                                                                         12 point?                                                      12 receiving that comp with anyone until the
                                                                                         13 A Yes.                                                      13 deposition?
                                                                                         14 Q Okay. And did you disclose that                           14 A No.
                                                                                         15 compensation to the debtor?                                 15 Q Not Mr. Ellington?
                                                                                         16 A To the company generally? I mean, it came                 16 A No.
                                                                                         17 from the HR department of the debtor. So the                17 Q Not anybody else at the debtor other than
                                                                                         18 debtor was aware of it.                                     18 Mr. Collins?
                                                                                         19 Q Sorry. It came from the HR department of                  19 A No.
                                                                                         20 the debtor?                                                 20 Q Where are you currently employed?
                                                                                         21 A Yes.                                                      21 A I'm currently employed by Skyview Group.
                                                                                         22 Q What do you mean?                                         22 Q When did you leave HCM?
                                                                                         23 A Mr. Brian Collins, who was a debtor                       23 A On or about January 5th, 2021.
                                                                                         24 employee, told me to -- that I would be receiving           24 Q Why did you leave HCM?
                                                                                         25 the payment.                                                25 A My employment was terminated.
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 10 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  33                                                           35
                                                                                          1 Q By whom?                                                 1 general counsel at HCM?
                                                                                          2 A Mr. Seery.                                               2 A I did due diligence and evaluated
                                                                                          3 Q Did he or anybody tell you why?                          3 litigation that SAS was considering investing in
                                                                                          4 A Yes.                                                     4 as a litigation funder.
                                                                                          5 Q What did they tell you? Well, first of                   5 Q Anything else for SAS Management?
                                                                                          6 all, who told you?                                         6 A That was really it.
                                                                                          7 A Mr. Seery.                                               7 Q And so did you understand that work for
                                                                                          8 Q Okay. What did he say?                                   8 SAS Management to be part of your job duties?
                                                                                          9 A He said I was being terminated for breach                9 A It was something I was instructed to do
                                                                                          10 of fiduciary duty, for disclosing confidential            10 from my seat at Highland. It was a service I was
                                                                                          11 information and for working against the best              11 instructed to provide from my seat at Highland.
                                                                                          12 interest of the debtor.                                   12 Q And you had absolutely no idea what, if
                                                                                          13 Q Did he give you any more details?                       13 any, connection SAS Management had to Highland
                                                                                          14 A I asked him for details and he refused to               14 when you were given these instructions?
                                                                                          15 provide them.                                             15 A That's not my testimony.
                                                                                          16 Q When you were at Highland Capital                       16 Q Did you have any idea -- strike that.
                                                                                          17 Management, you had an e-mail that used the               17      Did you have any idea about what, if any,
                                                                                          18 hcmlp.com and HighlandCapital.com domains at              18 connection SAS Management had to Highland when you
                                                                                          19 various points during your tenure there?                  19 were given the instructions to provide services
                                                                                          20 A Yes.                                                    20 for it?
                                                                                          21 Q Did you have any other e-mails that you                 21 A I knew it had some connection to
                                                                                          22 used to conduct any business related to Highland          22 Mr. Ellington, but other than that, I really
                                                                                          23 prior to being terminated?                                23 didn't know.
                                                                                          24 A No.                                                     24 Q What do you mean some connection to
                                                                                          25 Q You never got e-mail at any other address               25 Mr. Ellington?
                                                                                                                                                  34                                                           36
                                                                                          1 other than ones that were hcmlp.com or                     1 A He had some level of authority with the
                                                                                          2 HighlandCapital.com that related in any way to the         2 organization.
                                                                                          3 work you did for Highland?                                 3 Q And you knew nothing more specific than
                                                                                          4 A I don't want to say it related to the work               4 that?
                                                                                          5 I did at Highland, but I had another e-mail                5 A Not really, no.
                                                                                          6 address.                                                   6 Q Well, when you say not really, do you mean
                                                                                          7 Q What was that?                                           7 literally you knew nothing else when you were
                                                                                          8 A I had an e-mail address at sasmgt.com.                   8 instructed to do work for SAS other than
                                                                                          9 Q What's SAS MGT?                                          9 Mr. Ellington had some connection to SAS and that
                                                                                          10 A SAS Management.                                         10 was all you knew about SAS?
                                                                                          11 Q What is that?                                           11 A I mean, sitting here today, I really don't
                                                                                          12 A It was a litigation funding company.                    12 recall anything else.
                                                                                          13 Q Why did you have an e-mail address with                 13 Q Do you today know anything more about
                                                                                          14 the litigation funding company called SAS?                14 SAS's connection, if any, to Highland?
                                                                                          15 A From my role at Highland, I was instructed              15 A No, I don't.
                                                                                          16 to provide services to SAS Management and I did           16 Q As a lawyer working for Highland, were you
                                                                                          17 so.                                                       17 ever asked to consider whether or not entities
                                                                                          18 Q Who instructed you to do that?                          18 were affiliated entities during the course of your
                                                                                          19 A Mr. Ellington.                                          19 work?
                                                                                          20 Q And was SAS owned by Highland?                          20     MS. SMITH: Objection, form.
                                                                                          21 A Actually, I don't know who owns SAS.                    21 A That was outside of the scope of my job
                                                                                          22 Q Is SAS affiliated with Highland?                        22 duties. That was solely the purview of
                                                                                          23 A I don't know the answer to that question.               23 Mr. Surgent in the compliance department.
                                                                                          24 Q And what services were you instructed to                24 BY MR. CLUBOK:
                                                                                          25 provide to SAS Management while you were assistant        25 Q You said earlier that part of the work you
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 11 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                37                                                           39
                                                                                          1 had to do at Highland was to do work both for            1 Q And they all assisted you in due diligence
                                                                                          2 Highland and for Highland affiliates, right?             2 work done on behalf of SAS while you were all
                                                                                          3 A Correct.                                               3 employed at Highland?
                                                                                          4 Q Did you understand SAS to be a Highland                4 A Not necessarily, no.
                                                                                          5 affiliate when you were asked to do work for it?         5 Q Well, Katie Irving did, correct?
                                                                                          6 A I don't remember how the compliance                    6 A Assisted me? No.
                                                                                          7 department classified SAS. I believe they                7 Q Did Katie Irving perform work for SAS
                                                                                          8 classified them as not an affiliate.                     8 while she was employed at HCM, as far as you know?
                                                                                          9 Q But my question is did you understand                  9 A I have a general understanding that she
                                                                                          10 Highland to be an affiliate when you were asked to      10 did, but I don't really know what she did for that
                                                                                          11 do work for SAS?                                        11 entity or those entities.
                                                                                          12 A I understood that whatever the compliance             12 Q Did you ever -- when was the last time you
                                                                                          13 department and Mr. Surgent's determination of what      13 performed work for SAS?
                                                                                          14 was or wasn't an affiliate was the final                14 A It's been a long time. Probably prior to
                                                                                          15 determination, and his determination, I believe,        15 the bankruptcy sometime.
                                                                                          16 is that it wasn't.                                      16 Q Did you ever disclose the existence of SAS
                                                                                          17 Q Why do you believe that?                              17 to the independent directors?
                                                                                          18 A Because that's my recollection is that was            18      MR. FEINSTEIN: Excuse me. Andy, if I
                                                                                          19 his determination.                                      19 could interrupt at this point. For the record,
                                                                                          20 Q Did he tell you that?                                 20 Rob Feinstein of Pachulski representing Highland
                                                                                          21 A I'm trying to remember if he told me that             21 Capital Management. So this seem like as good a
                                                                                          22 or if his determination was told to me by somebody      22 time as any to put two statements on the record on
                                                                                          23 else.                                                   23 behalf of the debtor that I think will help make
                                                                                          24 Q Did you specifically seek out that                    24 the deposition go more smoothly.
                                                                                          25 information as to whether SAS was an affiliate of       25      First, obviously, Mr. Leventon was an
                                                                                                                                                38                                                           40
                                                                                          1 Highland?                                                1 in-house counsel at our client until he was
                                                                                          2 A I don't believe I did, no.                             2 terminated earlier this year and that raises the
                                                                                          3 Q Do you have any idea, as you sit here                  3 question which has been the subject of some
                                                                                          4 today, who owns SAS?                                     4 colloquy in prior depositions, about whether the
                                                                                          5 A I don't.                                               5 extent to which the debtor is going to invoke the
                                                                                          6 Q Do you have any idea, as you sit here                  6 attorney-client privilege.
                                                                                          7 today, whether or not Mr. Ellington has any              7       As we advised counsel to the witness and
                                                                                          8 ownership interest in SAS?                               8 UBS beforehand, I'll just restate on the record,
                                                                                          9 A I actually don't know.                                 9 if we have a problem with a question, if we think
                                                                                          10 Q Did you talk to anybody else about work               10 that we want to invoke the privilege, you'll hear
                                                                                          11 you were doing for SAS other than Mr. Ellington?        11 from us. Otherwise, it's not our intention to
                                                                                          12 A Yes.                                                  12 answer questions, as we were asked yesterday about
                                                                                          13 Q Who?                                                  13 whether we're waiving the privilege or not,
                                                                                          14 A Other individuals. I guess Mr. Sevilla.               14 invoking the privilege. As I indicated yesterday,
                                                                                          15 Q Who else?                                             15 there are a number of bases under which the
                                                                                          16 A Ms. Thedford.                                         16 privilege may not apply to certain discussions
                                                                                          17 Q Who?                                                  17 between in-house counsel and others at the
                                                                                          18 A Thedford.                                             18 company. But again, if you hear from us, you'll
                                                                                          19 Q Is that Lauren?                                       19 know that we object; if you don't hear from us,
                                                                                          20 A Yes.                                                  20 then you should assume that we're not objecting.
                                                                                          21 Q Okay. Who else?                                       21      The other thing I'd like to address is
                                                                                          22 A Ms. Katie Irving.                                     22 because of Mr. Leventon's role as in-house
                                                                                          23 Q Who else?                                             23 counsel, the debtor as defendant in the action
                                                                                          24 A That's who I can think of sitting here                24 does have quite a number of questions it would
                                                                                          25 today.                                                  25 like to ask, but just take -- going back to our
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 12 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                 41                                                           43
                                                                                          1 colloquy yesterday with Frances, as she noted,            1 A Mr. Ellington.
                                                                                          2 this is a court-ordered deposition that was               2 Q The sole owner?
                                                                                          3 noticed by UBS. So our intention today is not to          3 A I don't know actually. I know he's one of
                                                                                          4 question the witness, to fully reserve our right          4 the owners.
                                                                                          5 to seek his deposition at a later date in this            5 Q Do you know any other owners of Skyview?
                                                                                          6 action, which we may or may not do, depending upon        6 A Sitting here today, I do not.
                                                                                          7 the testimony that he gives today. But we do want         7 Q I take it you have no equity in Skyview
                                                                                          8 to give UBS their full day of deposition as the           8 Group?
                                                                                          9 Court ordered.                                            9 A No.
                                                                                          10     MR. CLUBOK: Okay.                                    10 Q Do you expect to get any equity?
                                                                                          11     MR. FEINSTEIN: Thank you.                            11 A I don't know if I will or not.
                                                                                          12     MR. CLUBOK: Thank you.                               12 Q Has that been discussed at all?
                                                                                          13 BY MR. CLUBOK:                                           13 A There have been discussions but nothing
                                                                                          14 Q Mr. Leventon, do you need me to repeat the             14 really determinative.
                                                                                          15 question?                                                15 Q Okay. So there's been discussions where
                                                                                          16 A I actually don't remember what the                     16 it's been held out to you that it's a possibility
                                                                                          17 question was at this point.                              17 that you may one day get equity in Skyview Group,
                                                                                          18 Q I kind of don't either, so give me one                 18 correct?
                                                                                          19 second here. Let's see if I can find it. Okay.           19 A Correct.
                                                                                          20 Ready to go.                                             20 Q And those discussions were with
                                                                                          21     Sir, did you ever disclose the existence             21 Mr. Ellington, right?
                                                                                          22 of SAS to the independent directors?                     22 A I don't believe they were, actually.
                                                                                          23 A I don't ever remember discussing that                  23 Q Who were they with?
                                                                                          24 entity with them one way or another.                     24 A Mr. Collins.
                                                                                          25 Q Did you disclose the existence of SAS to               25 Q And you understood Mr. Collins to be
                                                                                                                                                 42                                                           44
                                                                                          1 counsel for the independent directors?                    1 speaking on behalf of Mr. Ellington when he had
                                                                                          2 A I don't recall discussing that entity with              2 these discussions, or with his authority?
                                                                                          3 them at any point in time, no.                            3 A I understood him to be speaking on behalf
                                                                                          4 Q Let's go back to your current employment.               4 of the company.
                                                                                          5 You said you work for the Skyview Group?                  5 Q Okay. On behalf of Skyview Group?
                                                                                          6 A Yes.                                                    6 A Correct.
                                                                                          7 Q Is that the only entity you work for                    7 Q That's the same Mr. Collins that you said
                                                                                          8 currently?                                                8 is the only person you ever spoke to about getting
                                                                                          9 A No.                                                     9 the roughly $300,000 in May of 2020 from NexPoint,
                                                                                          10 Q Okay. Who else do you work for besides                 10 correct?
                                                                                          11 the Skyview Group?                                       11 A Correct.
                                                                                          12 A Skyview Legal PC.                                      12 Q Was Mr. Collins working for NexPoint at
                                                                                          13 Q What's that?                                           13 the time?
                                                                                          14 A It is a dedicated law firm that provides               14      MS. SMITH: Objection, form.
                                                                                          15 services -- legal services to Skyview Group's            15 A Could you clarify your question, please?
                                                                                          16 clients.                                                 16 BY MR. CLUBOK:
                                                                                          17 Q Do you work for any other entities?                    17 Q Was Mr. Collins working for NexPoint in
                                                                                          18 A No.                                                    18 May of 2020 when you had this discussion with him?
                                                                                          19 Q Who pays your compensation?                            19      MS. SMITH: Objection, form.
                                                                                          20 A Today it's Skyview Group, but I think it's             20 A I don't know that I can answer the
                                                                                          21 switching over to Skyview Legal PC.                      21 question as asked. Could you rephrase it, please?
                                                                                          22 Q And do you expect that to affect your                  22 BY MR. CLUBOK:
                                                                                          23 total compensation?                                      23 Q Did you know -- well, was Mr. Collins
                                                                                          24 A No.                                                    24 working for HCM in May of 2020, as far as you
                                                                                          25 Q Who owns Skyview Group?                                25 know?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 13 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  45                                                           47
                                                                                          1 A Yes.                                                     1 statement detail.
                                                                                          2 Q Was Mr. Collins working for NexPoint in                  2 Q Did you believe it was coming from HCM at
                                                                                          3 May of 2020, as far as you know?                           3 that time?
                                                                                          4 A Can you define working? Because given the                4 A No.
                                                                                          5 situation, it has some complexities to it. Are             5 Q And so you knew it -- you didn't think it
                                                                                          6 you asking if he was employed by NexPoint?                 6 was coming from HCM and you had no idea where it
                                                                                          7 Q Yes, was he employed by NexPoint?                        7 was coming from until you checked after the
                                                                                          8 A Not that I'm aware of.                                   8 deposition you had earlier this year, correct?
                                                                                          9 Q But he was acting on NexPoint's behalf, as               9 A I'm not saying I had no idea. I'm saying
                                                                                          10 far as you know, in May of 2020?                          10 I simply didn't check or look into it at all.
                                                                                          11 A Under shared services agreements, yes.                  11 Q What was the idea you had about the source
                                                                                          12 Q So when he arranged for you to get paid                 12 of the funds?
                                                                                          13 $300,000 in May of 2020, you understood him to be         13 A I didn't have an idea. I didn't check or
                                                                                          14 doing that on behalf of NexPoint pursuant to the          14 look, Mr. Clubok.
                                                                                          15 shared services agreement NexPoint had with HCM at        15 Q Okay. So you had no idea about the source
                                                                                          16 the time, correct?                                        16 of the funds other than it was not coming from
                                                                                          17 A No.                                                     17 HCM, when you were told you were going to get
                                                                                          18 Q Okay. But shared services agreement at                  18 roughly 300,000 in May of 2020 by Mr. Collins,
                                                                                          19 the time authorized Mr. Collins to act on behalf          19 correct?
                                                                                          20 of NexPoint, as far as you know?                          20 A I didn't look one way or another.
                                                                                          21 A Sorry, let me rephrase. I disagree with                 21 Q I didn't ask you that. I said you had no
                                                                                          22 the premise of your prior question. I shouldn't           22 idea -- your testimony here today is you had no
                                                                                          23 have answered no. I simply disagree with the              23 idea about the source of the funds other than you
                                                                                          24 underlying premise.                                       24 knew it was not coming from HCM, when you were
                                                                                          25 Q In what way?                                            25 told you were going to get roughly $300,000 in May
                                                                                                                                                  46                                                           48
                                                                                          1 A At the time I received that payment, I                   1 of 2020 by Mr. Collins, correct?
                                                                                          2 didn't know that it had come from NexPoint.                2      MS. SMITH: Objection, form.
                                                                                          3 Q Where did you believe it had come from at                3 A I didn't look one way or another.
                                                                                          4 the time?                                                  4 BY MR. CLUBOK:
                                                                                          5       MS. SMITH: Andy, I'm going to object to              5 Q I'm not asking whether you looked. My
                                                                                          6  this line of questioning. I refrained to see how          6 question is -- and I'll ask it one more time.
                                                                                          7 far you were going, but this is not within the             7 When you received -- is it true -- strike that.
                                                                                          8 scope of the deposition. This is supposed to be            8      Is it true that you had no idea about the
                                                                                          9 about the temporary restraining order and the              9 source of the funds other than you knew it was not
                                                                                          10 preliminary injunction and the relationship to            10 coming from Highland Capital Management, when you
                                                                                          11 Sentinel. And this -- I mean, I allowed several           11 were told you were going to get roughly $300,000
                                                                                          12 minutes of questions on this, but this doesn't            12 in May of 2020 by Mr. Collins?
                                                                                          13 seem at all related and now it's also repetitive.         13 A I didn't look one way or another.
                                                                                          14 BY MR. CLUBOK:                                            14 Q I'm not asking you whether you looked.
                                                                                          15 Q In May of 2020, where did you believe the               15 I'm asking you whether you had an idea. You've
                                                                                          16 $300,000 was coming from?                                 16 worked at Highland for a long time, you have
                                                                                          17 A I didn't have a belief one way or another.              17 beliefs and ideas about how things operate. My
                                                                                          18 Q Mr. Collins just said you were going to                 18 question is, did you have an idea in your head, a
                                                                                          19 get 300,000 and you had no belief at all the              19 belief or an idea or a thought about the source of
                                                                                          20 source of those funds?                                    20 the funds other than knowing they did not come
                                                                                          21 A He said you're going to get the deferred                21 directly from HCM?
                                                                                          22 compensation that your -- that you earned and that        22 A I don't recall having any -- having any
                                                                                          23 you're owed and that you've been waiting for for          23 thought process at the time because I simply
                                                                                          24 three years, but he didn't mention where it was           24 didn't look into it.
                                                                                          25 coming from and I didn't check the bank account           25 Q What are your job -- what's your job title
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                                                                                                                          Transcript of Isaac D. Leventon                                           13 (49 to 52)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 14 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 49                                                           51
                                                                                          1 at Skyview?                                               1 A I'm not really sure.
                                                                                          2 A I think it's counsel.                                   2 Q I didn't ask if you were sure. Do you
                                                                                          3 Q Who do you report to at Skyview Group?                  3 anticipate anyone else being a shareholder, as you
                                                                                          4 A It's not really clear, actually. We're                  4 sit here today?
                                                                                          5 still kind of figuring things out.                        5       MS. SMITH: Isaac -- excuse me.
                                                                                          6 Q Who gives you directions on what to do?                 6 Mr. Leventon, before you answer, make sure that
                                                                                          7 A Really nobody.                                          7 you do not divulge any attorney-client privileged
                                                                                          8 Q You just have a sense of what to do                     8 information with either Skyview Legal PC or in
                                                                                          9 without anyone telling you?                               9 your role as counsel to Skyview Group.
                                                                                          10 A I mean, we talk internally about tasks and             10 A There's been no determination. I don't
                                                                                          11 we divide them up and I take the ones that I need        11 have an anticipation one way or another.
                                                                                          12 to do and take care of and I take care of them.          12 BY MR. CLUBOK:
                                                                                          13 Q Is there anyone you consider to be in any              13 Q Do you have an anticipation of what level
                                                                                          14 sort of management position above you other than         14 of -- I assume as a shareholder you have some
                                                                                          15 Mr. Ellington?                                           15 equity interest?
                                                                                          16 A Maybe Mr. Sevilla, but that's not really               16 A Correct.
                                                                                          17 clear.                                                   17 Q Do you have any anticipation of roughly
                                                                                          18 Q What about Skyview Legal PC? Do you have               18 what equity interest you will have in Skyview
                                                                                          19 a job title there?                                       19 Legal PC?
                                                                                          20 A Yes.                                                   20 A No.
                                                                                          21 Q What's that?                                           21 Q You don't know if it's 1 percent or
                                                                                          22 A Shareholder.                                           22 50 percent?
                                                                                          23 Q How many shareholders are there at Skyview             23 A Correct.
                                                                                          24 Legal PC?                                                24 Q And has there been any discussion to that
                                                                                          25 A We're just forming the entity, so we                   25 effect?
                                                                                                                                                 50                                                           52
                                                                                          1 actually haven't determined that yet.                     1 A No.
                                                                                          2 Q Has it been established already?                        2 Q So the amount of equity ownership in
                                                                                          3 A It's been formed, but we haven't executed               3 Skyview is still to be determined, Skyview
                                                                                          4 the bylaws yet.                                           4 Legal PC?
                                                                                          5 Q Who are the shareholders that you                       5 A Correct.
                                                                                          6 anticipate?                                               6 Q And you anticipate the ultimate
                                                                                          7      MS. SMITH: Objection, form.                          7 decision-maker for that will be Scott Ellington,
                                                                                          8 A We really haven't figured that out yet.                 8 correct?
                                                                                          9 BY MR. CLUBOK:                                            9 A No.
                                                                                          10 Q Well, you said that you anticipate being a             10 Q Who will be the ultimate decision-maker
                                                                                          11 shareholder, right?                                      11 for that?
                                                                                          12 A Yes.                                                   12 A Collectively, the attorneys that will be
                                                                                          13 Q Has there already been anything signed to              13 employed by Skyview Legal PC.
                                                                                          14 make that happen or is that just something you           14 Q Whose idea was it to create Skyview
                                                                                          15 believe will happen?                                     15 Legal PC?
                                                                                          16 A The latter. I don't think we have                      16      MS. SMITH: I'm going to interrupt and
                                                                                          17 anything executed yet.                                   17 again object. I feel like I'm giving you a lot of
                                                                                          18 Q Other than yourself, who else do you                   18 latitude, but this is well beyond the scope of
                                                                                          19 anticipate being a shareholder of Skyview                19 what Judge Jernigan ruled would be the scope of
                                                                                          20 Legal PC, as you sit here today?                         20 the deposition and the topics.
                                                                                          21 A Mr. Sevilla.                                           21 BY MR. CLUBOK:
                                                                                          22 Q Who else?                                              22 Q Whose idea was it to create Skyview
                                                                                          23 A I don't know.                                          23 Legal PC?
                                                                                          24 Q Just you and Sevilla and no one else, as               24 A I need to confer with my counsel for a
                                                                                          25 you sit here today?                                      25 moment as to attorney-client privilege.
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                                                                                                                          Transcript of Isaac D. Leventon                                         14 (53 to 56)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 15 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 53                                                           55
                                                                                          1 Q Okay. We'll come back to that, then.                    1 A No. Well, I don't think I did, no.
                                                                                          2       When did you start working at Skyview               2 Q And I apologize if I asked you this, but
                                                                                          3 Group?                                                    3 do you know who -- sorry. You said Mr. Ellington
                                                                                          4 A March 1st, 2021.                                        4 is the 100 percent owner of Skyview Group, as far
                                                                                          5 Q Unless I say otherwise, let's assume when               5 as you know?
                                                                                          6 I say Skyview, we're talking about Group, the             6 A That was not my testimony.
                                                                                          7 entity that already exists, as opposed to the one         7 Q Mr. Ellington is the only owner of Skyview
                                                                                          8 you're talking about forming that also has Skyview        8 Group that you're aware of, correct?
                                                                                          9 in the name; is that okay?                                9 A He's the only one I can think of, yes.
                                                                                          10 A I disagree with one premise of what you                10 He's the only person I can think of, yes.
                                                                                          11 just stated.                                             11 Q Are you aware of any others?
                                                                                          12 Q What's that?                                           12 A No.
                                                                                          13 A Skyview Legal PC is a created and existing             13      MS. SMITH: Objection, form.
                                                                                          14 entity.                                                  14 BY   MR.  CLUBOK:
                                                                                          15 Q So who are the current shareholders of                 15 Q Okay. Does that entity go by any other
                                                                                          16 Skyview Legal PC?                                        16 name?
                                                                                          17 A We don't have a shareholders agreement                 17 A It used to be called Highgate.
                                                                                          18 yet. We just have a filing with the State of             18 Q Why the switch? Do you know?
                                                                                          19 Texas that forms the entity.                             19 A Marketing or branding decided to change
                                                                                          20 Q And you didn't have to identify the owners             20 the name.
                                                                                          21 in that filing?                                          21 Q Okay. Any other names?
                                                                                          22 A I believe I'm the individual who's the                 22 A No.
                                                                                          23 contact person with the State for that entity.           23 Q The work address you previously provided,
                                                                                          24 Q Okay. Well, I'll try to say Skyview                    24 is that the principal place of business for
                                                                                          25 Group, then, to the best of my ability.                  25 Skyview Group?
                                                                                                                                                 54                                                           56
                                                                                          1       What is your -- I take it you don't have            1 A Yes.
                                                                                          2 any current job duties with respect to Skyview            2 Q How many employees does it have, roughly?
                                                                                          3 Legal PC yet?                                             3 A Thirty to 40.
                                                                                          4 A I do.                                                   4 Q Are they almost all ex-Highland Capital
                                                                                          5 Q What are they?                                          5 Management employees?
                                                                                          6 A Providing service to -- legal service to                6 A Yes.
                                                                                          7 clients.                                                  7 Q Are they all ex-HCM employees?
                                                                                          8 Q So you've already started doing that?                   8 A No.
                                                                                          9 A Yes.                                                    9 Q Are there any other entities that operate
                                                                                          10 Q Who are your clients?                                  10 from the same address other than Skyview Group and
                                                                                          11 A I have a nondisclosure agreement with                  11 Skyview Legal PC?
                                                                                          12 clients that are not affiliated with Mr. Dondero         12     MS. SMITH: Objection, form.
                                                                                          13 and so I am not at liberty to go into that               13 A Yes.
                                                                                          14 information at this time.                                14 BY MR. CLUBOK:
                                                                                          15 Q Okay. Aside from clients who are not                   15 Q What are they?
                                                                                          16 affiliated in any way with Mr. Dondero or                16 A NexBank.
                                                                                          17 Mr. Ellington, who are your clients?                     17 Q Okay. What else?
                                                                                          18      MS. SMITH: Objection, form.                         18 A NexPoint, I believe.
                                                                                          19 A I would really have to think about it.                 19 Q What else?
                                                                                          20 BY MR. CLUBOK:                                           20 A I think that's it.
                                                                                          21 Q Can you identify any clients who aren't                21 Q And do you current --
                                                                                          22 affiliated with Mr. Dondero or Mr. Ellington?            22 A Although there are other tenants in the
                                                                                          23 A Sitting here today, no.                                23 building. I just don't know who they are.
                                                                                          24 Q Okay. What -- did you have any role in                 24 Q What about CPCM?
                                                                                          25 the formation of Skyview Group?                          25     MS. SMITH: Objection, form.
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 16 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                  57                                                         59
                                                                                          1 A CPCM is a wholly owned subsidiary of                     1 pay me my unpaid bonus amounts.
                                                                                          2 Skyview Group.                                             2 Q Did you still have unpaid bonus amounts?
                                                                                          3 BY MR. CLUBOK:                                             3 A Yes.
                                                                                          4 Q Are there other wholly owned subsidiaries                4 Q Is that amounts from May 2020 through the
                                                                                          5 of Skyview Group?                                          5 time of your employment, or something else?
                                                                                          6 A I don't know.                                            6 A That's one time period, but that's not all
                                                                                          7 Q That's the only one you know of, CPCM?                   7 of them.
                                                                                          8 A Correct.                                                 8 Q I thought you said before that in May of
                                                                                          9 Q What is CPCM?                                            9 2020, you got trued up to the amount that you
                                                                                          10 A It is a claims holding company.                         10 believed you were owed at that point?
                                                                                          11 Q For what kind of claims?                                11 A No.
                                                                                          12 A Claims in the debtor's bankruptcy.                      12 Q Roughly how much more did you believe you
                                                                                          13 Q For what?                                               13 were owed in unpaid bonuses beyond what you
                                                                                          14 A I believe mostly for employee compensation              14 received in May 2020 from NexPoint?
                                                                                          15 that was due and payable but not paid.                    15     MS. SMITH: Objection, form.
                                                                                          16 Q And that would include your compensation?               16 A So you're using the wrong nomenclature.
                                                                                          17 A Yes.                                                    17 There's bonuses and then there's deferred
                                                                                          18 Q And that would be the -- roughly the same               18 compensation.
                                                                                          19 amount that you received from NexPoint in May of          19 BY MR. CLUBOK:
                                                                                          20 2020?                                                     20 Q Okay. Roughly how much in bonuses do
                                                                                          21     MS. SMITH: Objection, form.                           21 you -- did you believe you were still owed?
                                                                                          22 A Not necessarily, no.                                    22 A As of what date?
                                                                                          23 BY MR. CLUBOK:                                            23 Q As of the date of your termination with
                                                                                          24 Q Is it?                                                  24 HCM.
                                                                                          25 A No, not necessarily, no.                                25 A I don't recall the exact number. It would
                                                                                                                                                  58                                                         60
                                                                                          1 Q What's the amount of that claim with                     1 have been several hundred thousand dollars.
                                                                                          2 respect to you?                                            2 Q When was the last time you spoke with
                                                                                          3 A I'd have to look at the -- I don't recall.               3 Scott Ellington?
                                                                                          4 Q Roughly. Is it --                                        4       MS. SMITH: Objection, form.
                                                                                          5 A It's whatever is in the -- I don't recall,               5 A Three weeks ago, maybe a month.
                                                                                          6 honestly.                                                  6 BY MR. CLUBOK:
                                                                                          7 Q Did you sell your claim to CPCM?                         7 Q Before he left for his vacation or since
                                                                                          8       MS. SMITH: Objection, form.                          8 he's left?
                                                                                          9 A I assigned it to CPCM.                                   9 A Before.
                                                                                          10 BY MR. CLUBOK:                                            10 Q Have you communicated with him in any way
                                                                                          11 Q For what consideration?                                 11 since he started the vacation he's currently on?
                                                                                          12 A Employment at Skyview.                                  12 A Have I communicated with him in any way?
                                                                                          13 Q That was a condition of your employment at              13 I've been -- actually, no, I haven't directly
                                                                                          14 Skyview?                                                  14 communicated with him at all.
                                                                                          15      MS. SMITH: Objection, form.                          15 Q What were you thinking about there?
                                                                                          16 A I believe that's right. I don't recall                  16 A I received a forward of an e-mail that he
                                                                                          17 exactly, but I think that's right. Maybe. I take          17 wrote, but that's it.
                                                                                          18 it back actually. I'm going to change my                  18 Q An e-mail to whom?
                                                                                          19 testimony. I don't remember, honestly. It's               19 A Brigid Brewer.
                                                                                          20 whatever is reflected in the documents.                   20 Q And he wrote that while he was on his
                                                                                          21 BY MR. CLUBOK:                                            21 trip?
                                                                                          22 Q You don't remember what the consideration               22      MS. SMITH: Objection.
                                                                                          23 is for assigning your claim in the bankruptcy case        23      Make sure that you're not divulging any
                                                                                          24 to CPCM?                                                  24 privileged information.
                                                                                          25 A I believe Skyview indicated that it would               25
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                                                                                                                         Transcript of Isaac D. Leventon                                           16 (61 to 64)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 17 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  61                                                           63
                                                                                          1 BY MR. CLUBOK:                                             1 A No, actually, I wouldn't. Who knows phone
                                                                                          2 Q I'm not asking for the substance. I'm                    2 numbers these days.
                                                                                          3 asking for the timing of when you received this            3 Q Well, if you looked at your phone, you
                                                                                          4 e-mail. When -- you received this --                       4 could identify the phone number Mr. Ellington
                                                                                          5 A I didn't receive the e-mail from                         5 texted you from?
                                                                                          6 Mr. Ellington.                                             6 A Probably, yes.
                                                                                          7 Q You received a forward of it?                            7 Q And Mr. Ellington uses different phones,
                                                                                          8 A Correct.                                                 8 correct?
                                                                                          9 Q From Brigid?                                             9       MS. SMITH: Objection, form.
                                                                                          10 A Correct.                                                10 A I don't really know what he does.
                                                                                          11 Q And that was dated when, roughly?                       11 BY MR. CLUBOK:
                                                                                          12 A I don't remember. Sometime over the last                12 Q Well, you've gotten texts from him from
                                                                                          13 two weeks.                                                13 different phone numbers, correct?
                                                                                          14 Q Okay. Other than that, have you in any                  14 A I don't know that that's true actually.
                                                                                          15 way received any communications from Mr. Ellington        15 No.
                                                                                          16 since he left for Africa?                                 16 Q Were there any documents that you
                                                                                          17 A No.                                                     17 identified that were responsive to the request but
                                                                                          18 Q Did you ever get text messages from                     18 that you deemed to be privileged?
                                                                                          19 Mr. Ellington?                                            19      MS. SMITH: Objection, form.
                                                                                          20 A Yes.                                                    20   A   I'm going to defer to my counsel on what
                                                                                          21 Q Do you have -- by the way, did you search               21 documents we gathered and how we handled them. If
                                                                                          22 for documents in connection with this adversary           22 there's a privilege issue, I'm sure they can
                                                                                          23 proceeding?                                               23 address it.
                                                                                          24 A Yes.                                                    24 BY MR. CLUBOK:
                                                                                          25 Q Where did you search?                                   25 Q Well, did you -- who made the decision as
                                                                                                                                                  62                                                           64
                                                                                          1 A On my phone.                                             1 to whether or not documents that you reviewed were
                                                                                          2 Q Where else?                                              2 relevant or not, you or --
                                                                                          3 A On my personal e-mail.                                   3 A The counsel sitting to my right.
                                                                                          4 Q What's your personal e-mail address?                     4 Q Did you identify documents? I mean, did
                                                                                          5 <-- HIGHLY CONFIDENTIAL -->                                5 you turn over your phone and have them search your
                                                                                          6 Q Do you have any other personal e-mail                    6 phone?
                                                                                          7 addresses?                                                 7 A No.
                                                                                          8 A No.                                                      8 Q Okay. So who did the search of your
                                                                                          9 Q Okay. Where else did you search for                      9 phone?
                                                                                          10 documents, if anywhere?                                   10 A I did the search.
                                                                                          11 A That's it.                                              11 Q And so did -- you were responsible for
                                                                                          12 Q Did you take any physical documents at all              12 looking at your phone and seeing if there were
                                                                                          13 from HCM when you left or retain any that you had         13 documents responsive to our request, correct?
                                                                                          14 when you left?                                            14 A I was responsible for locating everything
                                                                                          15 A Yes.                                                    15 that could potentially be responsive and turning
                                                                                          16 Q What did you retain?                                    16 it over to counsel.
                                                                                          17 A My personnel file. So like my pay stubs                 17 Q I'm going to specifically ask about the
                                                                                          18 and those sorts of documents.                             18 search of your phone. Did anyone search your
                                                                                          19 Q Anything else besides your personnel file?              19 phone for responsive documents other than you?
                                                                                          20 A I'm trying to remember. I think that was                20 A No.
                                                                                          21 it. I may have picked up like some CLE materials          21 Q Okay. So you made the sole decision when
                                                                                          22 that I hadn't read yet, but I think that was it.          22 you looked at documents or text messages on your
                                                                                          23 Q Mr. Ellington, when he -- you would know                23 phone as to whether or not they were responsive or
                                                                                          24 the phone number that Mr. Ellington texts you             24 not?
                                                                                          25 from, presumably, from your phone, right?                 25 A No, that is incorrect.
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                                                                                                                          Transcript of Isaac D. Leventon                                           17 (65 to 68)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 18 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  65                                                          67
                                                                                          1 Q Okay. You made the decision of which                     1 was working with Skyview Group but she wasn't yet
                                                                                          2 documents to share with your attorneys to                  2 on maternity leave?
                                                                                          3 determine whether or not they were responsive?             3      MS. SMITH: Objection, form.
                                                                                          4 A I made the decision as to which documents                4 A I don't believe so.
                                                                                          5 to provide to my attorneys for them to make the            5 BY MR. CLUBOK:
                                                                                          6 determination as to responsiveness and/or                  6 Q Have you spoken to her about any
                                                                                          7 privilege.                                                 7 work-related issues since she left HCM?
                                                                                          8      MR. CLUBOK: And I think, for the record,              8 A No. We just talk about her babies.
                                                                                          9 we've received zero documents from Mr. Leventon in         9 Q Okay. How long is her maternity leave?
                                                                                          10 production. Correct me if I'm wrong, Ms. Smith,           10     MS. SMITH: Objection, form.
                                                                                          11 and I don't think we received a privilege log so          11 A I don't know, Mr. Clubok.
                                                                                          12 we're going to want to work on that.                      12 BY MR. CLUBOK:
                                                                                          13     MS. SMITH: That's incorrect. I did                    13 Q Do you have a --
                                                                                          14 provide  a privilege log.                                 14 A Her maternity leave is whatever is
                                                                                          15     MR. CLUBOK: Okay. I apologize if that's               15 necessary and appropriate for a woman who's had
                                                                                          16 the case. Ms. McLaughlin will know better than I          16 twins, and that is not a place where a man will
                                                                                          17 so we'll double-check that at the break.                  17 venture to render an opinion.
                                                                                          18 BY MR. CLUBOK:                                            18 Q It depends if they're, I suppose, HR. Is
                                                                                          19 Q When was the last time you spoke with                   19 Mr. Collins your HR person?
                                                                                          20 Mr. Sevilla?                                              20 A To be clear, I'm not in HR so I would not
                                                                                          21 A Maybe two weeks ago, week and a half.                   21 venture an opinion as to what is the appropriate
                                                                                          22 Q When was the last time you spoke with                   22 length of maternity leave for a woman who's had
                                                                                          23 Mr. DiOrio?                                               23 twins.
                                                                                          24 A Yesterday.                                              24 Q Who decides that at Skyview Group?
                                                                                          25 Q Did you speak about this matter at all?                 25 A I don't know.
                                                                                                                                                  66                                                          68
                                                                                          1 A Very briefly.                                            1 Q Is Mr. Collins in the HR group?
                                                                                          2 Q What did you say?                                        2 A I believe he's the head of HR.
                                                                                          3 A We just exchanged basically the dates when               3       MR. CLUBOK: This is probably a good time
                                                                                          4 we were going to be deposed.                               4 to take a break if you guys want to take a break.
                                                                                          5 Q Anything else?                                           5       THE WITNESS: We can keep going.
                                                                                          6 A That's pretty much it.                                   6  BY  MR.   CLUBOK:
                                                                                          7 Q When was the last time you spoke with                    7 Q In that case, then, I'll ask you this?
                                                                                          8 Ms. Irving?                                                8       THE WITNESS: They want a break.
                                                                                          9 A It's been months.                                        9       MS. SMITH: I would like to take a break.
                                                                                          10 Q Ms. Irving works at Skyview Group?                      10 BY MR. CLUBOK:
                                                                                          11      MS. SMITH: Objection, form.                          11 Q You know what? I'm going to ask one last
                                                                                          12   A   Yes, but she's on maternity leave.                  12 thing to just finish this topic up and I think it
                                                                                          13 BY MR. CLUBOK:                                            13 will then -- to really start -- to prepare for
                                                                                          14 Q When did she start working there?                       14 this deposition, did you do anything other than
                                                                                          15 A I don't know.                                           15 meet with your lawyers?
                                                                                          16 Q Did you hire her?                                       16 A No.
                                                                                          17 A Did I hire her? No.                                     17 Q Did you review any documents at all in
                                                                                          18 Q Was she ever there before she went on                   18 anticipation of this deposition?
                                                                                          19 maternity leave after her employment at HCM?              19 A No.
                                                                                          20 A I don't know.                                           20 Q Did you look at any documents this
                                                                                          21 Q Did you ever -- have you talked to her at               21 morning?
                                                                                          22 all since she left HCM?                                   22 A No.
                                                                                          23 A Yes.                                                    23 Q And roughly how long did you spend with
                                                                                          24 Q Okay. And when you spoke with her, was                  24 your attorneys preparing for this deposition,
                                                                                          25 there ever a time when you spoke with her that she        25 total?
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                                                                                                                          Transcript of Isaac D. Leventon                                          18 (69 to 72)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 19 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                   69                                                           71
                                                                                          1 A Maybe five or six hours.                                  1 We're now returned to our regularly scheduled
                                                                                          2 Q When was that?                                            2 program.
                                                                                          3 A Monday.                                                   3       Mr. Leventon, you're still under oath,
                                                                                          4 Q Okay.                                                     4 right?
                                                                                          5       MR. CLUBOK: That's it. Let's take our                 5 A Yes, sir.
                                                                                          6 break.                                                      6 Q Okay. Sir, you were aware that UBS filed
                                                                                          7       THE VIDEOGRAPHER: We are off the record               7 litigation in 2009 against Highland's affiliated
                                                                                          8  at 11:01  a.m.                                             8 entities, correct?
                                                                                          9       (Recess taken from 11:01 a.m. CDT to                  9 A So aware that UBS had filed litigation
                                                                                          10 11:19 a.m. CDT)                                            10 against Highland Capital Management and two funds
                                                                                          11      THE VIDEOGRAPHER: The time is 11:19 a.m.              11 managed by it.
                                                                                          12 We are back on the record.                                 12 Q Well, it was Highland Capital Management
                                                                                          13      MS. SMITH: Normally the practice on these             13 plus CDO Fund and SOHC, as colloquial names for
                                                                                          14 depositions  of nonparties is if someone else wants        14 those funds, without laying out their whole formal
                                                                                          15 to ask questions, then they allocate between               15 names, correct?
                                                                                          16 themselves the time. And so we are presenting              16 A Those would be the colloquial names I
                                                                                          17 Mr. Leventon today for his seven hours and today           17 would use, but if we want to be specific, we
                                                                                          18 is the day. We had a motion to compel and a                18 probably should identify the entities.
                                                                                          19 motion to quash and nowhere during that time did           19 Q Yeah. And there may have been a number of
                                                                                          20 the debtor raise any indication that they needed           20 entities and subs, but it certainly included
                                                                                          21 separate depositions. We're not presenting                 21 Highland CDO Opportunity Master Fund, LP, which we
                                                                                          22 Mr. Leventon for 14 hours. So you might want to            22 shorthanded would refer to as CDO Fund throughout
                                                                                          23 check on the break or at lunch and see. We -- you          23 the litigation; is that fair?
                                                                                          24 know, we objected yesterday, but we gave                   24 A I believe that was the CDO Fund entity
                                                                                          25 Mr. Feinstein his time and allowed him to answer           25 that was the named defendant in that matter, yes.
                                                                                                                                                   70                                                           72
                                                                                          1 questions and we're willing to do that again                1 Q And also there was Highland Special
                                                                                          2 today.                                                      2 Opportunities Holding Company, which we routinely
                                                                                          3       MR. CLUBOK: Okay. And, you know, it's --              3 referred to as SOHC throughout that litigation,
                                                                                          4 I don't mind if you-all want to make your record            4 correct?
                                                                                          5 to use this time. We won't count this as part of            5 A That's correct.
                                                                                          6 the deposition, this dispute.                               6 Q And then there was also as defendant in
                                                                                          7       MS. SMITH: That's fine.                               7 that litigation an entity called Highland
                                                                                          8       MR. CLUBOK: My -- our -- we have no view              8 Financial Partners, which we often called HFP,
                                                                                          9 on it yesterday whether, you know, we were                  9 correct?
                                                                                          10 perfectly fine since we had time left to give that         10 A Not in 2009, no.
                                                                                          11 time to the debtor. It's between you-all to work           11 Q Right. But -- okay. The litigation by --
                                                                                          12 out whether -- you know, whether and when the              12 certainly by 2012 included as defendants, Highland
                                                                                          13 debtor gets to depose Mr. Leventon. From our               13 Financial Partners, which we often referred to as
                                                                                          14 perspective, but anyway, I don't know if                   14 HFP?
                                                                                          15 Mr. Feinstein wants to make some other comment on          15 A Highland Financial Partners, LP, which we
                                                                                          16 the record, it's fine.                                     16 would refer to as HFP, yes, was a defendant.
                                                                                          17      MR. FEINSTEIN: Only briefly. It's not                 17 Q And Strand was also a defendant in the
                                                                                          18 appropriate to debate this on the record, but I            18 litigation ultimately, correct?
                                                                                          19 would refer counsel to her very fierce statements          19 A Strand Advisors, Inc., I believe that's
                                                                                          20 yesterday about -- she's done a 180, but we can            20 correct.
                                                                                          21 take this up off line. Thank you. Why don't you            21 Q Which we would shorthand by just referring
                                                                                          22 proceed, Andy.                                             22 to often as Strand?
                                                                                          23      MR. CLUBOK: Okay. Thank you.                          23 A That may have been your practice.
                                                                                          24 BY MR. CLUBOK:                                             24 Q There was also an entity that was called
                                                                                          25 Q Sorry for that commercial interruption.                  25 Highland Credit Opportunities CDO, LP, that we
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 20 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  73                                                           75
                                                                                          1 sometimes referred to as Credit Opportunity or             1 the person who took responsibility that the
                                                                                          2 Credit Opps, correct?                                      2 responses to UBS's discovery requests in that
                                                                                          3      MS. SMITH: Objection, form.                           3 litigation during that time period of roughly 2011
                                                                                          4 A I believe that's right, but I probably                   4 to 2013 were properly answered?
                                                                                          5 would need to see the style of the case in order           5 A Kevin Rabinowitz.
                                                                                          6 to identify the exact entity because a lot of them         6 Q Who was outside counsel at the time?
                                                                                          7 had very similar names.                                    7 A Correct.
                                                                                          8 BY MR. CLUBOK:                                             8 Q Okay. And who inside was primarily
                                                                                          9 Q And that entity was later changed to a                   9 responsible for managing your outside counsel to
                                                                                          10 name that we have shorthanded since as                    10 ensure that they did that work properly?
                                                                                          11 Multi Strat, correct?                                     11 A I was primarily responsible at that point
                                                                                          12 A Again, I would need to look at the style                12 for managing the litigation from the in-house
                                                                                          13 of the case to match up the exact entities.               13 side.
                                                                                          14 Q Okay. But colloquially as, you know, you                14 Q And did that responsibility for managing
                                                                                          15 were on this litigation for a long time --                15 the -- by the way, if I say the UBS litigation in
                                                                                          16 A Yes.                                                    16 New York, will you understand that I mean this
                                                                                          17 Q -- we spoke many times, lots of e-mails                 17 case that we referred to where we've identified
                                                                                          18 and documents and hallway conversations, including        18 the parties?
                                                                                          19 during court, and fair to say that there was an           19 A Yes, but I think there were also like
                                                                                          20 entity that we sometimes shorthand as Highland            20 three different cause numbers at some point.
                                                                                          21 Credit Opportunities that we've since shorthanded         21 Q Right. There was different causes that
                                                                                          22 as Multi Strat?                                           22 were all ultimately consolidated into one matter.
                                                                                          23 A That's fair to say, yes.                                23 And can I collectively refer to those actions as
                                                                                          24 Q Okay. Thanks. Now, what role did you                    24 the UBS New York litigation against Highland, just
                                                                                          25 play in managing that litigation for HCM and the          25 to -- to shorthand it?
                                                                                                                                                  74                                                           76
                                                                                          1 other affiliates?                                          1 A You can. Just to be clear, there were --
                                                                                          2 A During what time period?                                 2 before you said Highland and you meant just
                                                                                          3 Q From 2009 till you were terminated?                      3 Highland Capital Management, LP. There were lots
                                                                                          4 A I didn't have a consistent role during                   4 of other entities involved.
                                                                                          5 that entire period of time.                                5 Q Right. So if we call it the UBS New York
                                                                                          6 Q Okay. In 2011, when you got your                         6 litigation against Highland and its affiliates,
                                                                                          7 promotion to assistant general counsel, from that          7 you'll know what I'm referring to, correct?
                                                                                          8 period for the next two years, you were the                8 A Yes.
                                                                                          9 primary person responsible for responding to the           9 Q And you were primarily responsible for
                                                                                          10 UBS's discovery requests in that litigation,              10 supervising that litigation from 2011 through at
                                                                                          11 correct?                                                  11 least the bankruptcy?
                                                                                          12 A I don't think that's how I would phrase                 12 A That's not correct.
                                                                                          13 it, no.                                                   13 Q Okay. When were you the primary person
                                                                                          14 Q Well, who was primarily responsible for                 14 responsible for supervising that litigation,
                                                                                          15 responding to UBS's discovery requests in the UBS         15 during what time frame?
                                                                                          16 litigation in or about 2011 through 2013?                 16 A I'm trying to remember exactly when I
                                                                                          17 A I don't know that you can identify a                    17 relinquished day-to-day management, but for a
                                                                                          18 single person that would have been responsible for        18 substantial period of time several years. That
                                                                                          19 responding to discovery.                                  19 was done by Jason Vancour.
                                                                                          20 Q There was no person at HCM who took                     20 Q And that was during what period of time?
                                                                                          21 responsibility ultimately for ensuring that               21 A I'm struggling to remember. It would have
                                                                                          22 document requests were properly responded to;             22 been somewhere in 2012 to '15 or so.
                                                                                          23 that's what you're saying?                                23 Q And then you resumed day-to-day
                                                                                          24 A That's not my testimony.                                24 supervision after that?
                                                                                          25 Q Who, to the best of your knowledge, was                 25 A I don't remember if we handed it off to
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 21 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  77                                                           79
                                                                                          1 one other person or if I took it straight back             1 Q By whom?
                                                                                          2 over.                                                      2 A By Mr. Ellington.
                                                                                          3 Q But you came to resume your role as the                  3 Q Did you ever directly inform Mr. Dondero
                                                                                          4 day-to-day supervisor of that litigation prior to          4 about the trial or the litigation?
                                                                                          5 it going to trial, correct?                                5 A I don't remember if I did or not. I don't
                                                                                          6 A Correct.                                                 6 recall.
                                                                                          7 Q And you were the day-to-day supervisor of                7 Q How do you know Mr. Ellington did that?
                                                                                          8 that litigation during the trial, correct?                 8 A I only have a very general recollection
                                                                                          9 A Yes.                                                     9 that he indicated that Mr. Dondero had been kept
                                                                                          10 Q And that was a trial that ultimately                    10 apprised.
                                                                                          11 resulted in a roughly $1 billion judgment against         11 Q He indicated that to you?
                                                                                          12 two of the defendants in that case, correct?              12 A Correct.
                                                                                          13 A Correct.                                                13 Q And after the trial, did you communicate,
                                                                                          14 Q And you, during that trial, came every                  14 in words or substance, that it was likely that UBS
                                                                                          15 single day to court and actively directed the             15 would get a significant judgment?
                                                                                          16 outside counsel who were the courtroom advocates          16 A I don't remember how I communicated --
                                                                                          17 for the defendants in that case, correct?                 17 what I communicated at that point.
                                                                                          18      MS. SMITH: Objection to form.                        18 Q Did you have any recommendation as to
                                                                                          19 A I mean, I don't know that I directed them,              19 whether or not UBS would likely obtain a judgment
                                                                                          20 but we were part of a team together that was              20 after sitting through the trial?
                                                                                          21 working cooperatively for the clients.                    21 A I don't recall if I did one way or
                                                                                          22 BY MR. CLUBOK:                                            22 another.
                                                                                          23 Q Well, did they take your direction during               23 Q Did you have a belief at the time as to
                                                                                          24 the trial?                                                24 whether UBS would likely get a judgment based on
                                                                                          25 A They took my direction sometimes and I                  25 what you saw at the trial?
                                                                                                                                                  78                                                           80
                                                                                          1 took theirs sometimes.                                     1 A I mean, it was -- it was pretty complex,
                                                                                          2 Q Did you report daily during that trial to                2 so there were a variety of different possible
                                                                                          3 Scott Ellington?                                           3 outcomes that I was considering.
                                                                                          4 A I don't recall if I did or not.                          4 Q Yeah, but you saw it coming, that there
                                                                                          5 Q Did you regularly report to Scott                        5 would likely be a significant judgment given what
                                                                                          6 Ellington throughout the course of that trial?             6 went on at the trial; is that fair?
                                                                                          7 A I believe that's fair to say, yes.                       7       MS. SMITH: Objection to form.
                                                                                          8 Q Did you regularly report to anyone else                  8 A Actually not necessarily, no.
                                                                                          9 other than Scott Ellington about the -- how the            9 BY MR. CLUBOK:
                                                                                          10 trial was going?                                          10 Q It's true that you spoke with
                                                                                          11 A I don't believe so, no.                                 11 Mr. Ellington at some point where Mr. Ellington
                                                                                          12 Q And were you also responsible for                       12 acknowledged it was likely to be a significant
                                                                                          13 supervising the post-trial proceedings, the               13 judgment based on what happened at the trial;
                                                                                          14 briefing and other communications with the Court          14 isn't that true?
                                                                                          15 in between the end of the trial and prior to the          15      MS. SMITH: Objection to form. My
                                                                                          16 decision by the Court?                                    16 understanding, there's two parts to the trial. I
                                                                                          17 A I don't remember what the post-trial                    17 just want to make sure what we're talking about.
                                                                                          18 briefing was or not. I don't remember what the            18 BY MR. CLUBOK:
                                                                                          19 post-trial briefing was.                                  19 Q Isn't it true that you had discussions
                                                                                          20 Q Was there anyone else at Highland who was               20 with Mr. Ellington at some point where, in words
                                                                                          21 responsible from the in-house perspective of              21 or substance, you discussed the likelihood that
                                                                                          22 dealing with the litigation proceedings in between        22 the outcome of the first phase of the trial would
                                                                                          23 trial and judgment other than yourself?                   23 be a significant judgment in UBS's favor?
                                                                                          24 A Mr. Ellington would have had some role and              24 A So just to be clear, we're talking about
                                                                                          25 then Mr. Dondero would have been kept informed.           25 the Phase 1 trial that took place against SOHC and
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 22 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  81                                                            83
                                                                                          1 CDO Fund, correct?                                         1 litigation?
                                                                                          2 Q Correct.                                                 2 A At various points in time I was asked to
                                                                                          3 A I don't remember if I did tell him that or               3 assist in preparation kind of settlement-related
                                                                                          4 not. I mean, we spoke about kind of all of the             4 materials, but the actual decision-making was
                                                                                          5 legal permutations of how the Court might rule.            5 never mine.
                                                                                          6 Q Right. But in words or substance, during                 6 Q Whose was it?
                                                                                          7 that discussion, whether you told him or he told           7 A Ultimately, it would have been
                                                                                          8 you, you discussed the likelihood that UBS was             8 Mr. Dondero's.
                                                                                          9 going to get a meaningful judgment against                 9 Q Did you ever provide any advice regarding
                                                                                          10 CDO Fund and SOHC as a result of that Phase 1             10 the wisdom of settling the case?
                                                                                          11 trial, correct?                                           11 A I don't recall if I did or not.
                                                                                          12 A I don't recall. I mean, we certainly                    12 Q Did you ever provide any advice regarding
                                                                                          13 discussed it as a possibility, but in terms of how        13 the merits of the case?
                                                                                          14 we weighed likelihoods, I just don't remember.            14 A I'm certain I did that, yes.
                                                                                          15 Q The trial did not go well for the                       15 Q Who did you provide that advice to?
                                                                                          16 defendants, correct?                                      16 A It would really depend on the time period.
                                                                                          17      MS. SMITH: Objection, form.                          17 Q You said part of the job you always did
                                                                                          18 A The outcome did not go as the defendants                18 at -- strike that.
                                                                                          19 had hoped. I actually thought that our trial              19      As part of the job that you did over the
                                                                                          20 counsel performed fairly well.                            20 years  at Highland was due diligence on litigation,
                                                                                          21 BY MR. CLUBOK:                                            21 correct?
                                                                                          22 Q Fair enough. I'm not asking you how your                22 A That doesn't accurately reflect my
                                                                                          23 trial counsel performed. But in terms of the              23 testimony.
                                                                                          24 facts that were revealed at trial that led to the         24 Q Shorthanding it, but part of the job you
                                                                                          25 judge's decision, those were facts that were not          25 did, for example, for SAS was due diligence on
                                                                                                                                                  82                                                            84
                                                                                          1 favorable generally to the positions --                    1 litigation they were considering funding?
                                                                                          2       MS. SMITH: Objection to form.                        2 A Well, I knew SAS was affiliated with
                                                                                          3 BY MR. CLUBOK:                                             3 Mr. Dondero somehow. I didn't -- well, let me
                                                                                          4 Q -- that the defendants had been taking,                  4 rephrase it. I knew Mr. Dondero was involved in
                                                                                          5 correct?                                                   5 SAS and had approved its operations in some way.
                                                                                          6 A I'll let the court judgment speak for                    6 I didn't know how he was related to it. And so
                                                                                          7 itself.                                                    7 from my seat at Highland, I analyzed cases that
                                                                                          8 Q Did you play any role ever in analyzing                  8 SAS could potentially provide litigation funding
                                                                                          9 whether or not Highland and its affiliates should          9 for.
                                                                                          10 settle with UBS?                                          10 Q Right. And when you say analyzed, you
                                                                                          11      MS. SMITH: Objection to form.                        11 would be asked to review the matter and give your
                                                                                          12   A   I never -- I never analyzed whether they            12 opinion about the relative merits of the case?
                                                                                          13 should settle, no.                                        13 A Yes.
                                                                                          14 BY MR. CLUBOK:                                            14 Q And did you consider yourself to be good
                                                                                          15 Q Okay. You never analyzed whether or not                 15 at that job of analyzing a case and giving an
                                                                                          16 Highland -- if I say the Highland defendants, is          16 opinion as to the merits?
                                                                                          17 that sufficient acceptable shorthand for all the          17 A I mean, we all hope we're pretty good at
                                                                                          18 defendants in the case?                                   18 our jobs, don't we?
                                                                                          19 A Yes.                                                    19 Q We all hope. Did you consider yourself to
                                                                                          20 Q And all the defendants in the case were                 20 be good at that job?
                                                                                          21 either Highland or Highland affiliates, correct?          21 A I did it to the best of my ability. I
                                                                                          22 A That's correct.                                         22 think I'm pretty good at my job generally.
                                                                                          23 Q Okay. So did you ever perform any                       23 Q And specifically were you good at
                                                                                          24 analysis as to whether or not the Highland                24 analyzing the merits of litigation -- are you
                                                                                          25 defendants should settle with UBS in the New York         25 okay?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 23 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  85                                                          87
                                                                                          1 A Yeah.                                                    1 A No, I believe it probably was
                                                                                          2 Q Do you need a break?                                     2 Mr. Ellington and Mr. Dondero.
                                                                                          3 A No.                                                      3 Q Directly to Mr. Dondero?
                                                                                          4 Q Are you sure?                                            4 A Probably, but I can't say for certain.
                                                                                          5 A Yeah.                                                    5 Q Would that have been oral or written?
                                                                                          6      MR. CLUBOK: Let's go off the record.                  6 A I don't know.
                                                                                          7 A No, we're not. Let's keep going.                         7 Q When did you first make that
                                                                                          8      MR. CLUBOK: Let's go off the record.                  8 recommendation?
                                                                                          9      THE VIDEOGRAPHER: We are off the record               9 A I don't know. It was a very lengthy
                                                                                          10 at 11:39 a.m.                                             10 litigation.
                                                                                          11     (Recess taken from 11:39 a.m. CDT to                  11 Q Did you ever make that recommendation
                                                                                          12 11:47 a.m. CDT)                                           12 prior to trial?
                                                                                          13     THE VIDEOGRAPHER: The time is 11:47 a.m.              13 A I don't recall if I did or not.
                                                                                          14 We  are back on the record.                               14 Q Well, you were going to trial on a billion
                                                                                          15 BY MR. CLUBOK:                                            15 dollar -- yeah, strike that.
                                                                                          16 Q Sir, did you believe that you were good at              16      You were going to trial on a roughly
                                                                                          17 analyzing the merits of litigation?                       17 billion dollar claim including interest. Prior to
                                                                                          18 A Yes.                                                    18 stepping into the courtroom for that Phase 1
                                                                                          19 Q And did you ever -- were you ever asked to              19 trial, had you made a recommendation that
                                                                                          20 analyze the merits of the UBS New York litigation         20 liability was likely?
                                                                                          21 against the Highland and its affiliates?                  21 A Immediately prior to stepping into trial?
                                                                                          22 A Yes.                                                    22 Q At any time prior to going to Phase 1
                                                                                          23 Q And did you ever give a recommendation, in              23 trial, did you recommend to Mr. Ellington and
                                                                                          24 words or substance, that UBS was likely to                24 Mr. Dondero that liability was likely to be
                                                                                          25 prevail, at least in part in that litigation?             25 established against SOHC and CDO Fund by UBS?
                                                                                                                                                  86                                                          88
                                                                                          1 A I don't recall my exact recommendations,                 1 A My testimony was that I believed that I
                                                                                          2 but I probably did.                                        2 probably stated to Mr. Ellington and Mr. Dondero
                                                                                          3 Q And --                                                   3 that SOHC and CDO Fund were likely to be found
                                                                                          4 A At least on some of the claims, but not on               4 liable on breach of contract.
                                                                                          5 others.                                                    5 Q And that was before the trial?
                                                                                          6 Q Which claims?                                            6 A Right. But I don't know when exactly.
                                                                                          7 A I don't recall. There were a lot of them.                7 Q Okay.
                                                                                          8 Q Do you recall if you gave a recommendation               8 A Some time period which was -- I mean, that
                                                                                          9 that UBS was likely to prevail in Phase 1 against          9 covers like nine years.
                                                                                          10 SOHC and CDO Fund for the claims that were tried?         10 Q Right. But at some point summary judgment
                                                                                          11 A Well, it's hard to say the answer because               11 was decided largely in UBS's favor, correct?
                                                                                          12 prevailing had a lot of different meanings in that        12 A With respect to those two funds, the
                                                                                          13 context.                                                  13 answer is yes. With respect to the other
                                                                                          14 Q Let's start with liability and then we'll               14 entities, not necessarily.
                                                                                          15 talk about damages. Did you ever give a                   15 Q Okay. But with respect to those two
                                                                                          16 recommendation that UBS was likely to win on its          16 funds, UBS prevailed in the summary judgment
                                                                                          17 breach of contract claims against CDO Fund and            17 briefing?
                                                                                          18 SOHC in Phase 1?                                          18     MS. SMITH: Objection to form.
                                                                                          19 A Yes, I did.                                             19 A I know it was prepared to go to trial. It
                                                                                          20 Q And what was that recommendation?                       20 was -- there were claims going to trial. In terms
                                                                                          21 A That liability was likely to be found.                  21 of what the orders say, I'll let them speak for
                                                                                          22 Q Who did you make that to?                               22 themselves.
                                                                                          23 A I don't recall. It certainly would have                 23 BY MR. CLUBOK:
                                                                                          24 been -- well, I don't recall who it was.                  24 Q At any time after the summary judgment
                                                                                          25 Q You said it certainly would have been?                  25 decision but before trial started, did you make a
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 24 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                  89                                                           91
                                                                                          1 recommendation to Mr. Ellington and Mr. Dondero            1 CDO Fund and SOHC for the breach of contract
                                                                                          2 that liability was likely to be established                2 claims that UBS had in the New York litigation,
                                                                                          3 against SOHC and CDO Fund?                                 3 correct?
                                                                                          4 A I really don't recall.                                   4      MS. SMITH: Objection to form.
                                                                                          5 Q As you sit here today, you have no idea if               5 A That's probably fair, yes.
                                                                                          6 any time after summary judgment was decided                6 BY MR. CLUBOK:
                                                                                          7 against SOHC and CDO Fund but before the case for          7 Q And how long after coming to that belief
                                                                                          8 roughly a billion dollars was to be tried, whether         8 did it take for you to make that recommendation
                                                                                          9 you made a recommendation as to your view of the           9 known to Mr. Ellington and Mr. Dondero? Is that
                                                                                          10 merits of liability?                                      10 something you kept to yourself for a long time or
                                                                                          11 A I'm not saying that I didn't. I'm just                  11 did you fairly soon thereafter share that opinion
                                                                                          12 saying, sitting here today, I don't remember.             12 with Mr. Ellington and Mr. Dondero?
                                                                                          13 Q Did you -- what was the reaction of                     13 A So it's difficult for me to answer the
                                                                                          14 Mr. Ellington when you made the recommendation            14 question because at the time I was a very junior
                                                                                          15 prior to going to trial, that liability was likely        15 attorney. No one was really asking me for my
                                                                                          16 to be established against SOHC and CDO Fund?              16 opinion about anything. I was responsible for
                                                                                          17 A Well, again, when we're talking about                   17 kind of the day-to-day grind of working on the
                                                                                          18 prior to trial, you're talking about that                 18 case.
                                                                                          19 nine-year time period from 2009 to 2018?                  19 Q Okay. At what point did people start
                                                                                          20 Q In that question I was.                                 20 asking you about your opinion on the merits of the
                                                                                          21 A Okay. We discussed the UBS case numerous                21 case?
                                                                                          22 times.                                                    22 A I can't pinpoint exactly, but it would
                                                                                          23 Q Hold on. There was a whole nine-year                    23 have been probably after I had been at Highland
                                                                                          24 period. From the get-go did you make a                    24 three or four years.
                                                                                          25 recommendation that liability was likely to be            25 Q So sometime in the 2011 or 2012 time
                                                                                                                                                  90                                                           92
                                                                                          1 established against SOHC and CDO Fund?                     1 frame?
                                                                                          2 A What do you mean from the get-go?                        2 A Maybe around then, maybe a little later
                                                                                          3 Q From the beginning of the litigation?                    3 than that.
                                                                                          4 A I wasn't employed at Highland from the                   4 Q Well, was it before -- you said at some
                                                                                          5 beginning of the litigation.                               5 point this other individual took over the
                                                                                          6 Q You started working on the matter in                     6 day-to-day management of the case. Remember that?
                                                                                          7 roughly 2011, correct?                                     7 A Correct.
                                                                                          8 A That's not accurate, no.                                 8 Q And prior to that, had you shared your
                                                                                          9 Q When did you start working on the matter?                9 views that you had already reached from early on,
                                                                                          10 A Earlier than that. When I arrived in                    10 that SOHC and CDO Fund were likely to have
                                                                                          11 Highland in two thousand -- late September,               11 liability established against them for the breach
                                                                                          12 October 2009 I started working on it.                     12 of contract claims that UBS had brought?
                                                                                          13 Q Okay. So from the time that you started                 13 A I think I probably -- I don't exactly
                                                                                          14 work on litigation, what's the earliest time that         14 recall, but I believe I probably discussed it with
                                                                                          15 you can recall, roughly, in which you came to the         15 Mr. Ellington.
                                                                                          16 belief that liability would be established against        16 Q What about Mr. Dondero?
                                                                                          17 CDO Fund and SOHC?                                        17 A At that time I don't -- I don't remember
                                                                                          18 A I don't recall. It would have been early                18 one way or another if I would have spoken to him.
                                                                                          19 on, but I don't know exactly when.                        19 I was still pretty junior and so I didn't
                                                                                          20 Q Like as early as 2010?                                  20 regularly converse with him.
                                                                                          21 A I don't remember.                                       21 Q Okay. But then you resumed day-to-day
                                                                                          22 Q Okay. But your -- when you say early on,                22 management of the matter approximately when?
                                                                                          23 you mean roughly within the first year of working         23 A Whenever Mr. -- well, that's what I said.
                                                                                          24 on the matter, you came to the belief that                24 I don't recall because Mr. Vancour left and then I
                                                                                          25 liability was likely to be established against            25 don't remember if another person took over the
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 25 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  93                                                           95
                                                                                          1 case afterwards and then I took over after that            1 that liability was likely to be determined against
                                                                                          2 person left, or if I took over directly from               2 CDO Fund and SOHC?
                                                                                          3 Mr. Vancour.                                               3 A I don't recall.
                                                                                          4 Q Who was that person you're thinking of?                  4 Q Roughly?
                                                                                          5 A Jason Goldsmith.                                         5 A It would have been more than one and
                                                                                          6 Q Certainly by the time Jason Goldsmith and                6 probably less than five.
                                                                                          7 Mr. Vancour had left, you had resumed day-to-day           7 Q Okay. And did Mr. Dondero push back?
                                                                                          8 management for the UBS New York litigation against         8 A I don't remember what he said on that.
                                                                                          9 Highland, correct?                                         9 There were so many moving parts in that case, I
                                                                                          10 A Well, those were different time periods.                10 don't know that I -- it's difficult to isolate
                                                                                          11 Mr. Vancour left first, Mr. Goldsmith left second.        11 those very specific claims against those very
                                                                                          12 So after Mr. Goldsmith's departure, I certainly           12 specific defendants as part of the conversation.
                                                                                          13 know -- well, after Mr. Goldsmith's departure             13 Q Right. But the breach of contract was
                                                                                          14 would have been when I believe I probably would           14 certainly a core part of the case, right?
                                                                                          15 have picked up management.                                15 A Yes, but there were numerous what you
                                                                                          16 Q And that would have been before summary                 16 would call core parts of the case.
                                                                                          17 judgment briefing?                                        17 Q Okay. But I want to focus on the breach
                                                                                          18 A Probably. I mean, the -- I don't know.                  18 of contract against SOHC and CDO Fund, who were
                                                                                          19 Q And at that point, at some point you --                 19 also referred to often as the counterparties to
                                                                                          20 did you -- at some point you came to share your           20 the UBS restructured warehouse agreement.
                                                                                          21 views with Mr. Dondero about the likelihood that          21 A That's fair, they were.
                                                                                          22 liability would be established against SOHC and           22 Q Okay. And those liability claims against
                                                                                          23 CDO Fund for its contract claims, correct?                23 the counterparties, with respect to those, did
                                                                                          24 A At some point I did discuss that with him,              24 Mr. Dondero ever push back, in words or substance,
                                                                                          25 I believe.                                                25 about the likelihood of liability being
                                                                                                                                                  94                                                           96
                                                                                          1 Q Roughly when was that?                                   1 established?
                                                                                          2 A I don't know, sir.                                       2 A Yes, he did.
                                                                                          3 Q Certainly years ago, right?                              3 Q And what did he say?
                                                                                          4 A Yes, it was a long time ago.                             4 A I don't remember the specific words, but I
                                                                                          5 Q And it was before you started working on                 5 definitely remember he pushed back.
                                                                                          6 settlement options in connection with the matter,          6 Q And ultimately did he convey whether or
                                                                                          7 correct?                                                   7 not he accepted your recommendation?
                                                                                          8      MS. SMITH: Objection to form.                         8 A Well, the case never settled. The case
                                                                                          9 A Can you clarify the question, please?                    9 never settled, so I don't know what to say about
                                                                                          10 BY MR. CLUBOK:                                            10 that.
                                                                                          11 Q I don't know -- remember the exact words                11 Q Yeah, but did he ever -- at the end, did
                                                                                          12 you used, but you said at some point you had some         12 you come away with the impression that he accepted
                                                                                          13 involvement with -- contributed to some settlement        13 that liability against those two entities with
                                                                                          14 analysis related to the case. I'm not trying to           14 respect to the breach of contract claims was more
                                                                                          15 put words in your mouth. I'm paraphrasing.                15 likely than not?
                                                                                          16 A That's fair. I did contribute to a                      16 A I don't know that he ever accepted that,
                                                                                          17 settlement analysis on the case.                          17 no.
                                                                                          18 Q Before contributing to that settlement                  18 Q Did Mr. Ellington?
                                                                                          19 analysis, fair to say you had already conveyed            19 A I don't know if he did or not.
                                                                                          20 your views directly to Mr. Dondero that liability         20 Q Did you ever weigh in -- so we've talked
                                                                                          21 was likely to be found in UBS's favor against SOHC        21 about liability with respect to these claims. Did
                                                                                          22 and CDO Fund?                                             22 you ever come to an opinion about likely damages
                                                                                          23 A I just don't remember, sir.                             23 that would be awarded if liability were
                                                                                          24 Q How many times did you have discussions                 24 established?
                                                                                          25 with Mr. Dondero in which you expressed your view         25 A I have a variety of opinions, but I don't
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 26 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 97                                                           99
                                                                                          1 think there was one in particular that I had as           1 A I'm familiar with that, yes.
                                                                                          2 the most likely outcome.                                  2 Q And you're certainly familiar with the
                                                                                          3 Q What were the -- how many likely -- did                 3 process of looking at different scenarios and
                                                                                          4 you have no view, like there's three or four              4 coming up with an expected range of outcomes in
                                                                                          5 outcomes and each were equally likely or were             5 terms --
                                                                                          6 there two outcomes that were equally likely or you        6 A Yes.
                                                                                          7 just had -- you couldn't -- even with your ability        7 Q Did you ever, in words or substance, come
                                                                                          8 to analyze litigation, had no idea what was going         8 up with an expected likely range of outcomes for
                                                                                          9 to happen with damages?                                   9 damages in connection with the breach of contract
                                                                                          10     MS. SMITH: Objection to form.                        10 claims?
                                                                                          11 A My recollection actually was that there                11 A I don't think I did, no.
                                                                                          12 were nine separate independent scenarios.                12 Q And did you ever, in words or substance,
                                                                                          13 BY MR. CLUBOK:                                           13 convey anything about your views on the relative
                                                                                          14 Q Nine?                                                  14 likelihood of one scenario versus another in terms
                                                                                          15 A Yes.                                                   15 of damages?
                                                                                          16 Q And were these laid out in a document?                 16 A I just generally -- I may have, but I
                                                                                          17 A Yes.                                                   17 don't recall having done so.
                                                                                          18 Q And who did you present these to?                      18 Q And did you ever, in words or substance,
                                                                                          19 A Mr. Ellington.                                         19 have a belief that likely it would be damages in
                                                                                          20 Q And Mr Dondero?                                        20 the hundreds of millions of range or more?
                                                                                          21 A I don't remember if I showed it to                     21 A Those were certainly possible scenarios,
                                                                                          22 Mr. Dondero or not.                                      22 but I don't recall doing a probability analysis as
                                                                                          23 Q When did you prepare that?                             23 to whether they were the most likely scenarios.
                                                                                          24 A It would have been -- it incorporated the              24 Q Yeah, but whether or not you did a formal
                                                                                          25 expert reports, so it would have been subsequent         25 probability analysis, fair to say that you and
                                                                                                                                                 98                                                           100
                                                                                          1 to the expert reports and prior to trial, but             1 Mr. Ellington at various times discussed the
                                                                                          2 where exactly, I don't know. But the document's           2 general likelihood that the damages in the case
                                                                                          3 on the debtor's system, which you can check the           3 were likely to be in excess of $100 million?
                                                                                          4 metadata.                                                 4 A We certainly discussed it as a
                                                                                          5 Q What was it called?                                     5 possibility. I don't know that we agreed that it
                                                                                          6 A It was an Excel spreadsheet. I don't                    6 was a probability.
                                                                                          7 remember what it was called.                              7 Q Well, Mr. Ellington conveyed to you, in
                                                                                          8 Q And do you remember -- was it the kind of               8 words or substance, that he believed it was more
                                                                                          9 thing that you -- did you assign percentage               9 likely than not that ultimately damages in excess
                                                                                          10 likelihood to each of the nine scenarios?                10 of $100 million would be awarded in UBS's favor
                                                                                          11 A I don't believe I did on that sheet, no.               11 with respect to the breach of contract claims
                                                                                          12 Q Did you ever?                                          12 against SOHC and CDO Fund, correct?
                                                                                          13 A I don't believe -- well, I don't recall if             13 A He may have. I don't recall if he did or
                                                                                          14 I did or not just because there were, I don't            14 not.
                                                                                          15 know, maybe 12 different line items that went into       15 Q And did you ever convey, in words or
                                                                                          16 damages and then it depended on about six or seven       16 substance, to anyone, that you believed it was
                                                                                          17 different rulings of the Court as to which one           17 more likely than not that the damages that would
                                                                                          18 would be incorporated or not. And so it's                18 be awarded in UBS's favor with respect to the
                                                                                          19 difficult to really come up with -- to say how I         19 breach of contract claims against SOHC and
                                                                                          20 was thinking about it at the time because you're         20 CDO Fund would likely be in excess of $100
                                                                                          21 looking at -- I mean, it's literally an Excel            21 million?
                                                                                          22 matrix that was more than a screen full.                 22 A I very well might have, but I don't recall
                                                                                          23 Q Right. But you're aware of -- you're                   23 having done so.
                                                                                          24 familiar with Monte Carlo simulations in terms of        24 Q You certainly believed that prior to the
                                                                                          25 the context of analyzing litigation outcomes?            25 trial, correct?
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                                                                                                                          Transcript of Isaac D. Leventon                                         26 (101 to 104)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 27 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  101                                                           103
                                                                                          1 A I don't think that's fair to say, no. I                   1 including but not limited to the synthetic
                                                                                          2 thought we actually had really good arguments on            2 warehouse agreement argument, which would have
                                                                                          3 the synthetic warehouse.                                    3 dropped damages below $100 million.
                                                                                          4 Q Okay. So you believe -- so you said you                   4 Q That's not true, is it? Even if you had
                                                                                          5 were good at your job, but you believed it was              5 won the synthetic warehouse agreement, the total
                                                                                          6 more likely than not that the ultimate damages              6 damages still would have been in excess of
                                                                                          7 would be less than $100 million total?                      7 100 million, unless you won some other theories;
                                                                                          8 A I didn't say that, Counselor. Your                        8 isn't that true?
                                                                                          9 question was whether or not I believed in the               9      MS. SMITH: Objection to form.
                                                                                          10 arguments we were making and I did, which would            10 A That may be your testimony, sir.
                                                                                          11 have knocked damages well below 100 million.               11 BY MR. CLUBOK:
                                                                                          12 Q No, I never asked you about the -- whether               12 Q Well, the damages on the nonsynthetic
                                                                                          13 you believed in the arguments. That was a concept          13 warehouse that were claimed in the case were well
                                                                                          14 you introduced. I'm looking at the transcript.             14 in excess of $100 million, correct?
                                                                                          15 Let me ask the question again.                             15 A I'm sorry, Mr. Clubok. I'm not in a
                                                                                          16      Taking into account the argument you're               16 position to debate the merits of the case that we
                                                                                          17 making and the argument UBS was making and your            17 tried together. I'm just recalling the
                                                                                          18 ability to analyze litigation, take all of that            18 arguments -- that we had arguments that would
                                                                                          19 and the work you did on the case, everything that          19 knock it down below 100 million. And among those
                                                                                          20 you had done, fair to say that at some point prior         20 arguments were the synthetic warehouse agreement
                                                                                          21 to trial, you came to the belief that it was more          21 arguments.
                                                                                          22 likely than not that damages in excess of                  22 Q Okay. I didn't ask you to debate the
                                                                                          23 $100 million would be awarded in UBS's favor with          23 merits. Again, you're -- please don't introduce
                                                                                          24 respect to the breach of contract claims against           24 concepts that I didn't ask. My simple question is
                                                                                          25 CDO Fund and SOHC?                                         25 the damages that were claimed on the cash
                                                                                                                                                  102                                                           104
                                                                                          1 A I don't recall having had that thought.                   1 warehouse were well in excess of $100 million;
                                                                                          2 Q So prior to trial was it your belief that                 2 isn't that true?
                                                                                          3 it was more likely than not that the total                  3 A Yes, assuming that UBS won all of its
                                                                                          4 damages -- well, strike that.                               4 arguments on the cash warehouse and lost on the
                                                                                          5       You've said that you believed that                    5 synthetic, I think that -- my recollection is it
                                                                                          6  liability would be established. That you agree             6 may have been above 100 million. I honestly don't
                                                                                          7 prior to trial you believed was more likely than            7 remember.
                                                                                          8 not based on the work you had done, correct?                8 Q Okay. And again, you -- as you sit here
                                                                                          9 A To be specific, I believed that liability                 9 today, your testimony is even though you remember
                                                                                          10 was more likely than not to be proven against              10 believing and giving the advice on liability, you
                                                                                          11 CDO Fund and SOHC on the breach of contract                11 don't remember if you had any belief as to whether
                                                                                          12 claims.                                                    12 it was more likely than not that total damages
                                                                                          13 Q Right. And --                                            13 would be above or below $100 million prior to the
                                                                                          14 A Which were the ones tried in Phase 1.                    14 Phase 1 trial?
                                                                                          15 Q Right. And what was tried in Phase 1 was                 15 A That's correct, because the damages issue
                                                                                          16 the liability and the damages with respect to              16 was fundamentally a series of math problems that
                                                                                          17 those claims, correct?                                     17 were determined by experts, and so I don't know
                                                                                          18 A Yes.                                                     18 that I necessarily had a conclusion about those.
                                                                                          19 Q Okay. So prior to trial was it your                      19 Q You don't know if you did or you don't
                                                                                          20 belief that it was more likely than not that               20 remember if you did?
                                                                                          21 despite liability being likely, the total damages          21 A I just don't remember if I did.
                                                                                          22 would be less than $100 million?                           22 Q Okay. Were you ever asked by anyone to
                                                                                          23 A I just don't recall which way -- what my                 23 run that analysis or to give your opinion on what
                                                                                          24 risk analysis was at the time, but I do remember           24 the likely damages would be, given your belief
                                                                                          25 having a great deal of faith in certain arguments,         25 that liability was likely to be established?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 28 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 105                                                           107
                                                                                          1 A I would have to speculate if I did or not.               1 A I don't know that that was necessarily the
                                                                                          2 Q I'm not asking you to speculate. Do you                  2 basis.
                                                                                          3 remember ever being asked by anyone to give your           3 Q What was?
                                                                                          4 opinion on what the likely damages would be, given         4 A It was a big case with big claims and
                                                                                          5 your stated opinion to Mr. Ellington and                   5 going to trial inevitably has risks and it's
                                                                                          6 Mr. Dondero that likely -- liability was likely to         6 better to limit those risks to some sort of
                                                                                          7 be established?                                            7 negotiated amount than to roll the dice at trial.
                                                                                          8 A I just don't recall.                                     8 Q And you didn't take into account, when you
                                                                                          9 Q Well, did anyone give an opinion on                      9 gave that recommendation, your views on liability,
                                                                                          10 damages that you were aware of?                           10 you set those aside in making that settlement
                                                                                          11 A On a probability weighted basis, I don't                11 recommendation?
                                                                                          12 remember if they did, no.                                 12      MS. SMITH: Objection to form.
                                                                                          13 Q Did any of your outside -- were any of                  13 A I'm certain that was a factor I
                                                                                          14 your outside counsel ever asked to give their             14 considered, but your point -- your question, I
                                                                                          15 opinion as to whether or not damages -- strike            15 believe, was something slightly different.
                                                                                          16 that.                                                     16 BY MR. CLUBOK:
                                                                                          17      Were any of your outside counsel ever                17 Q Okay. But certainly one of the factors
                                                                                          18 asked to give their opinion as to what the likely         18 that led you to repeatedly recommend settlement
                                                                                          19 damages would be in connection with the breach of         19 was your belief that liability was likely to be
                                                                                          20 contract claims against CDO Fund and SOHC?                20 established, at least with respect to the contract
                                                                                          21      MS. SMITH: Objection to form.                        21 claims against SOHC and CDO Fund, correct?
                                                                                          22 A I don't remember if they were or not.                   22 A I don't remember if that was an essential
                                                                                          23 BY MR. CLUBOK:                                            23 motivating factor in my recommendation or not.
                                                                                          24 Q Do you remember them ever giving any such               24 Q Okay. So you, as you sit here today,
                                                                                          25 opinion, whether they were asked to or not?               25 don't know if your belief in liability played any
                                                                                                                                                 106                                                           108
                                                                                          1       MS. SMITH: Objection to form.                        1 role in recommending the case should be settled?
                                                                                          2 A I don't. It's been a long time,                          2 A That's not my testimony.
                                                                                          3 Mr. Clubok. I don't recall.                                3 Q My question -- that was your testimony,
                                                                                          4 BY MR. CLUBOK:                                             4 actually. That was like literally exactly your
                                                                                          5 Q Did you ever, in words or substance, give                5 testimony. You said I don't remember if it was an
                                                                                          6 any recommendation in terms of whether the case            6 essential motivating factor. Okay. Was it any
                                                                                          7 should be settled or a particular amount it should         7 factor in your recommendation? Did it factor into
                                                                                          8 be settled for?                                            8 your recommendation in some way your views on
                                                                                          9 A I think I made recommendations that it                   9 liability?
                                                                                          10 should be settled, but I don't know that I made           10 A Yes.
                                                                                          11 any recommendations as to the amounts.                    11 Q Okay. But you don't know if it was an
                                                                                          12 Q Who did you recommend the case should be                12 essential factor on your views of settlement,
                                                                                          13 settled to?                                               13 correct?
                                                                                          14 A Mr. Ellington.                                          14 A That's correct.
                                                                                          15 Q Anybody else?                                           15 Q Do you think, as a general matter, the
                                                                                          16 A I believe that would have been it.                      16 likelihood of legal liability being established
                                                                                          17 Q How many times roughly did you tell                     17 should be an essential factor in determining
                                                                                          18 Mr. Ellington this case should be settled?                18 whether to settle a matter?
                                                                                          19 A I don't recall. It would have been a                    19 A If you're asking for a general comment,
                                                                                          20 number of times at various different points over          20 decontextualized from the actual facts of the UBS
                                                                                          21 various years.                                            21 case, yes, but I don't think that general
                                                                                          22 Q And that's because of your continued view               22 statement applies to the UBS case.
                                                                                          23 from early on that liability was likely to be             23 Q As a lawyer advising a company who comes
                                                                                          24 established at least against SOHC and CDO Funds           24 to the belief that liability is likely to be
                                                                                          25 for the breach of contract claims, correct?               25 established, don't you think you have a
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 29 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  109                                                           111
                                                                                          1 responsibility to say, in words or substance,               1 Q Okay. Mr. Dondero was the sole director
                                                                                          2 because we have liability here or likely have               2 of SOHC at the time, correct?
                                                                                          3 liability here, we should meet our legal                    3 A I think that's right, yes.
                                                                                          4 obligations, at least through settlement, if we             4 Q So -- did you ever -- did you think it
                                                                                          5 can?                                                        5 was -- so Mr. Dondero controlled SOHC during the
                                                                                          6       MS. SMITH: Objection to form.                         6 pendency of the litigation, at least until he was
                                                                                          7 A I'm sorry, Counselor. I'm not going to                    7 displaced in the bankruptcy, correct?
                                                                                          8 sit here and come up with how I would render legal          8 A You can -- you can add -- I'm not going to
                                                                                          9 advice generally.                                           9 adopt the word control. He was a director of --
                                                                                          10 BY MR. CLUBOK:                                             10 he was the sole director of SOHC. That's a fact.
                                                                                          11 Q Well, when you say that you believe that                 11 Q Okay. And did you believe it was your
                                                                                          12 liability would likely be established, fair to say         12 responsibility to ever advise Mr. Dondero that he
                                                                                          13 that you believed that SOHC and CDO Fund had               13 should cause SOHC to live up to the contractual
                                                                                          14 contractual obligations that had been breached to          14 obligations you came to believe that they had owed
                                                                                          15 UBS, correct?                                              15 UBS?
                                                                                          16 A I believe they would be found in breach of               16 A That would be a business decision and
                                                                                          17 contract.                                                  17 Mr. Dondero could make it if he wanted to.
                                                                                          18 Q Okay. Do you believe that it's                           18 Q Did you believe it was your responsibility
                                                                                          19 appropriate for a lawyer to advise their client to         19 to ever advise Mr. Dondero that he should live up
                                                                                          20 abide by the terms of its contract?                        20 to the contractual obligations you believed that
                                                                                          21      MS. SMITH: Objection to form.                         21 SOHC owed to UBS?
                                                                                          22 A As a general proposition -- I'm sorry.                   22      MS. SMITH: Objection to form.
                                                                                          23 I'm not going to be able to give general                   23 A Again, my only advice, sir, was that I
                                                                                          24 testimony. If you'd like to ask me about a                 24 believed liability was more likely than not to be
                                                                                          25 specific situation, I'm happy to address that.             25 found. I didn't talk about obligations and
                                                                                                                                                  110                                                           112
                                                                                          1 BY MR. CLUBOK:                                              1 expectations and that he needed to do anything.
                                                                                          2 Q Well, do you believe that it was                          2 My legal advice was solely with respect to the
                                                                                          3 appropriate for you to advise those responsible             3 probability of outcome on those two claims.
                                                                                          4 for SOHC and CDO Fund that they had contractual             4 BY MR. CLUBOK:
                                                                                          5 obligations that they were in breach of?                    5 Q Is that a no to my question?
                                                                                          6 A Did I believe I was obligated to inform --                6 A Your question assumes statements I did not
                                                                                          7 I mean, we had -- I had discussed, as I said,               7 make.
                                                                                          8 liability and probability of liability on those             8 Q No, it doesn't assume anything. I'm going
                                                                                          9 specific claims of those specific defendants with           9 to ask it again and I'm going to ask you to listen
                                                                                          10 both Mr. Ellington and Mr. Dondero at various              10 carefully to my question.
                                                                                          11 points in time.                                            11 A Okay.
                                                                                          12 Q Did you ever, in words or substance,                     12 Q Did you believe it was your responsibility
                                                                                          13 advise those responsible for managing SOHC and CDO         13 to ever advise Mr. Dondero that he should live up
                                                                                          14 Fund's affairs that they should abide by the               14 to the contractual obligations that SOHC owed to
                                                                                          15 contractual obligations you came to believe they           15 UBS?
                                                                                          16 owed?                                                      16 A I disagree with the premise of the
                                                                                          17     MS. SMITH: Objection to form.                          17 question.
                                                                                          18 A I'm going to disagree with the premise of                18 Q What premise do you disagree with?
                                                                                          19 your question, sir.                                        19 A That there are contractual obligations
                                                                                          20 BY MR. CLUBOK:                                             20 that SOHC and CDO Fund necessarily owed to UBS.
                                                                                          21 Q What's the premise you disagree with?                    21 Q You believed it was more likely than not
                                                                                          22 A I don't know that there necessarily was                  22 that a court would determine that they had
                                                                                          23 anyone generally responsible for the -- those two          23 contractual obligations that they owed to UBS that
                                                                                          24 entities, save potentially Mr. Dondero at the top          24 they were in breach of, correct?
                                                                                          25 of the organization.                                       25 A Yes.
                                                                                                                                       PLANET DEPOS
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                                                                                                                          Transcript of Isaac D. Leventon                                        29 (113 to 116)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 30 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  113                                                      115
                                                                                          1 Q Okay. Did you ever believe it was your                    1 Q Your testimony here under oath is that you
                                                                                          2 responsibility to advise Mr. Dondero that he                2 don't remember anything at all about a role you
                                                                                          3 should cause SOHC to live up to those contractual           3 played in connection with any settlement analysis
                                                                                          4 obligations?                                                4 of the UBS litigation in New York against Highland
                                                                                          5 A Again, my responsibility was to do the                    5 and its affiliates?
                                                                                          6 legal analysis, not to tell people how to run               6 A That was not my testimony.
                                                                                          7 their business.                                             7 Q Okay. What do you remember, with as much
                                                                                          8 Q So that's a no to my question?                            8 specificity as possible, about the role you played
                                                                                          9 A Well, no, I disagreed with the underlying                 9 in connection with any settlement analysis of the
                                                                                          10 premise of your question and that was my response,         10 New York UBS litigation against Highland and its
                                                                                          11 sir.                                                       11 affiliates?
                                                                                          12 Q My question is, did you ever believe it                  12 A I know that Highland considered settlement
                                                                                          13 was your responsibility to advise Mr. Dondero that         13 at numerous time periods and it would have been my
                                                                                          14 he should cause SOHC to live up to the contractual         14 role to kind of gather the underlying documents
                                                                                          15 obligations you came to believe a court would              15 and facts to support settlement proposals.
                                                                                          16 determine that SOHC and CDO Fund owed to UBS that          16 Q Okay. Any other role that you ever
                                                                                          17 they were in breach of?                                    17 remember playing in connection with any settlement
                                                                                          18 A Right. And my testimony was that I                       18 analysis of the New York UBS litigation against
                                                                                          19 disagreed with the premise of that question.               19 Highland and its affiliates other than gathering
                                                                                          20 Q No, I changed the question. Okay. So now                 20 documents and facts to support settlement
                                                                                          21 I changed the question to address your premise             21 proposals?
                                                                                          22 issue and you agreed with all these premises.              22 A I don't recall.
                                                                                          23 I've got it in writing here, so I'm going to ask           23 Q Did you continue to play any role in
                                                                                          24 the question one more time and ask you to listen           24 connection with the settlement analysis after the
                                                                                          25 to this question.                                          25 bankruptcy?
                                                                                                                                                  114                                                      116
                                                                                          1       Did you ever believe it was your                      1 A I believe -- as -- let me see how I can
                                                                                          2 responsibility to advise Mr. Dondero that he                2 say this properly. I believe the answer is no. I
                                                                                          3 should cause SOHC and CDO Fund to live up to the            3 may have had some ancillary or occasional touch on
                                                                                          4 contractual obligations you had come to believe a           4 that process, but largely the answer is no.
                                                                                          5 court would determine they owed to UBS?                     5 Q You were aware that there were settlement
                                                                                          6 A Well, it was first that a court was more                  6 discussions, including court-ordered mediation, in
                                                                                          7 likely than not to determine. No, I don't believe           7 connection with UBS's claims in the bankruptcy,
                                                                                          8 it was my obligation to tell him to fulfill                 8 correct?
                                                                                          9 contractual obligations or cause those entities to          9 A Yes.
                                                                                          10 fulfill contractual obligations.                           10 Q And you're aware that those settlement
                                                                                          11 Q Was there anyone at Highland that you're                 11 discussions at times also included potential
                                                                                          12 aware of who you understood to have that role to           12 settlement of the remaining claims in the New York
                                                                                          13 advise Mr. Dondero to fulfill contractual                  13 litigation against the entities that are outside
                                                                                          14 obligations?                                               14 the bankruptcy, like CDO Fund and SOHC?
                                                                                          15      MS. SMITH: Objection to form.                         15 A Actually, no, that was -- I don't recall
                                                                                          16 A Since it's -- no, I don't know that I                    16 that ever being disclosed to me.
                                                                                          17 would have had a thought process about that one            17 Q Do you recall there ever being any
                                                                                          18 way or another.                                            18 discussion, in words or substance, that there was
                                                                                          19 BY MR. CLUBOK:                                             19 potential settlement regarding UBS in its claims
                                                                                          20 Q So let's talk about the role you did play                20 against Multi Strat?
                                                                                          21 in connection with settlement analysis for the UBS         21 A And when we say settlement, we're talking
                                                                                          22 New York litigation. Can you describe, in as much          22 about like a cash payment for Multi Strat to UBS
                                                                                          23 detail as possible, what your role was, if any?            23 in exchange for a release? Or are we talking
                                                                                          24 A I don't specifically remember what role I                24 about like the May 2020 settlement, partial
                                                                                          25 played in settlement analysis.                             25 settlement, whatever you want to call that thing?
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                                                                                                                          Transcript of Isaac D. Leventon                                        30 (117 to 120)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 31 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  117                                                      119
                                                                                          1 Q Right. We're talking about -- there was a                 1 but it was a large number.
                                                                                          2 May 2020 agreement regarding the sale of certain            2 Q And so you reviewed and gave comments
                                                                                          3 assets and how the proceeds would be preserved. I           3 throughout the process of objecting to the UBS
                                                                                          4 want to take that out of the equation.                      4 claims?
                                                                                          5 A Okay.                                                     5 A Yes.
                                                                                          6 Q So we're talking about payments or                        6 Q And were there any other tasks that you
                                                                                          7 consideration by Multi Strat to UBS with respect            7 were given ever in connection with the UBS claim
                                                                                          8 to the claims that were pending in the New York             8 by Mr. Seery or by the Pachulski firm?
                                                                                          9 litigation.                                                 9 A Not really, no.
                                                                                          10     MS. SMITH: Objection to form.                          10 Q Not really, or no?
                                                                                          11 A No, I -- so I had had an accident in early               11 A Sit -- I'm -- I would say -- yeah, I would
                                                                                          12 January of 2020. By the time I got back from               12 say no. I worked on the claim objection as my
                                                                                          13 leave of absence in April or May, largely I had            13 role with respect to UBS.
                                                                                          14 just kind of become a task attorney at that point          14 Q How about on the summary judgment?
                                                                                          15 and Pachulski was running things.                          15 A I call that part of the claim objection
                                                                                          16 BY MR. CLUBOK:                                             16 because it's part of the same process.
                                                                                          17 Q Were you ever tasked by Pachulski after                  17 Q Okay.
                                                                                          18 April -- after -- strike that.                             18 A So also there was a lift stay motion. I
                                                                                          19     When did you come back after your                      19 was involved in that. So really it -- let me
                                                                                          20 accident,  roughly?                                        20 rephrase it. I was involved in what I'm going to
                                                                                          21 A It was a slow return. I came back                        21 call the litigating part. So the adversarial
                                                                                          22 part-time in April, and I think I was fully back           22 pleadings between the debtor and UBS with respect
                                                                                          23 in May.                                                    23 to how the Court should rule on the claim.
                                                                                          24 Q Okay. After returning to your active                     24 Q And you were responsible for all of that
                                                                                          25 employment following your accident in April or May         25 up until the time the parties reached a
                                                                                                                                                  118                                                      120
                                                                                          1 of 2020, were you ever tasked with any work in              1 settlement?
                                                                                          2 connection with the UBS claim?                              2      MS. SMITH: Objection to form.
                                                                                          3 A Yes.                                                      3 A I didn't say I was responsible, no.
                                                                                          4 Q What were you tasked with?                                4 BY MR. CLUBOK:
                                                                                          5 A I was tasked with assisting Pachulski in                  5 Q I'm sorry. You had tasks assigned to you
                                                                                          6 analysis and drafting of the claim objection.               6 in connection with the litigation between UBS and
                                                                                          7 Q Who tasked you with that?                                 7 the debtor up until the time that those entities
                                                                                          8 A Mr. Seery.                                                8 reached a settlement agreement?
                                                                                          9 Q Directly?                                                 9 A No, that's not accurate.
                                                                                          10 A Yes.                                                     10 Q Okay. When did you -- when was the last
                                                                                          11 Q He told you that he needed assistance in                 11 time you were assigned a task in connection with
                                                                                          12 analyzing UBS's claim and helping draft the claim          12 the UBS litigation against the debtor?
                                                                                          13 objection, correct?                                        13 A Probably would have been responding to
                                                                                          14 A He told me to assist Pachulski in that                   14 certain discovery that UBS propounded in advance
                                                                                          15 process.                                                   15 of summary judgment.
                                                                                          16 Q I see. And who specifically at Pachulski                 16 Q That was the last time you were given any
                                                                                          17 did you assist in that process?                            17 kind of task, that you can recall?
                                                                                          18 A It was a team of lawyers, but primarily                  18 A The last time I can recall, yes. Largely,
                                                                                          19 led by Mr. Feinstein.                                      19 Pachulski took it over and if they asked me to do
                                                                                          20 Q Anyone else?                                             20 something, I would, but I was mostly kept out of
                                                                                          21 A His entire team. Elissa Wagner, I believe                21 that process.
                                                                                          22 was an associate, John Morris had some involvement         22 Q And who asked you to help respond to
                                                                                          23 at various points in time, Greg Demo had                   23 discovery requests that UBS had propounded in
                                                                                          24 involvement at certain points in time. I don't             24 advance of summary judgment?
                                                                                          25 remember who the other lawyers were at Pachulski,          25 A I believe it was Greg Demo.
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                                                                                                                          Transcript of Isaac D. Leventon                                          31 (121 to 124)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 32 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  121                                                           123
                                                                                          1 Q And did you provide complete assistance to                1 BY MR. CLUBOK:
                                                                                          2 Mr. Demo in responding to the UBS discovery                 2 Q You never affirmatively made misstatements
                                                                                          3 request to the best of your ability?                        3 to him as far as you can recall, correct?
                                                                                          4 A I provided assistance to Mr. Demo in                      4 A As far as I can recall, I never made a
                                                                                          5 response to the tasks that he had given me, yes.            5 misstatement to Mr. Demo.
                                                                                          6 Q Did you believe that you were providing                   6 Q And same thing with respect to all of the
                                                                                          7 complete assistance to Mr. Demo in responding to            7 lawyers at the Pachulski firm?
                                                                                          8 the UBS discovery requests to the best of your              8       MS. SMITH: Objection to form.
                                                                                          9 ability?                                                    9 A To the best of my recollection, I never
                                                                                          10     MS. SMITH: Objection to form.                          10 made an affirmative misstatement to any of them.
                                                                                          11 A So I disagree with the premise of your                   11 BY MR. CLUBOK:
                                                                                          12 question because I was given specific tasks and I          12 Q Did you ever make an affirmative
                                                                                          13 did those specific tasks.                                  13 misstatement to any of the independent directors?
                                                                                          14 BY MR. CLUBOK:                                             14 A None that I can recall.
                                                                                          15 Q Do you believe that in connection with the               15 Q But you certainly -- there's certainly
                                                                                          16 tasks that Mr. Demo assigned you, you performed            16 information that you did not volunteer in
                                                                                          17 those tasks to the very best of your ability?              17 connection with your work with them; is that fair?
                                                                                          18 A Yes.                                                     18      MS. SMITH: Objection to form.
                                                                                          19 Q And do you believe that you were totally                 19 A I don't believe that's how I would
                                                                                          20 candid with Mr. Demo in the course of performing           20 characterize it, sir, no.
                                                                                          21 those tasks that you were assigned with respect to         21 BY MR. CLUBOK:
                                                                                          22 the discovery requests for UBS?                            22 Q Well, there's information that you had
                                                                                          23     MS. SMITH: Objection to form.                          23 that may have been relevant to the tasks you were
                                                                                          24 A With respect to those tasks, yes.                        24 performing that you chose not to volunteer. Fair?
                                                                                          25                                                            25      MS. SMITH: Objection to form.
                                                                                                                                                  122                                                           124
                                                                                          1 BY MR. CLUBOK:                                              1 A Relevant to the tasks I was performing?
                                                                                          2 Q Were there any tasks that you were not                    2 No, I don't know that that's necessarily true.
                                                                                          3 completely candid with Mr. Demo about?                      3 BY MR. CLUBOK:
                                                                                          4      MS. SMITH: Objection to form.                          4 Q Relevant to the UBS litigation with
                                                                                          5 A No. I'm being very specific. With                         5 Highland. Strike that.
                                                                                          6 respect to the tasks that I had with respect to             6       MS. SMITH: Objection, form.
                                                                                          7 the discovery in UBS, I believe I was candid with           7 BY MR. CLUBOK:
                                                                                          8 Mr. Demo.                                                   8 Q Let me ask this question again. There was
                                                                                          9 BY MR. CLUBOK:                                              9 certainly information that you had that was
                                                                                          10 Q Was there ever a time you were less than                 10 relevant to the UBS litigation with the debtor
                                                                                          11 candid with Mr. Demo?                                      11 that you chose not to volunteer, correct?
                                                                                          12     MS. SMITH: Objection to form.                          12 A No.
                                                                                          13 A In response to a question that he had or                 13      MS. SMITH: Objection to form.
                                                                                          14 just generally volunteering lots of information to         14 A Actually, I don't think that's right at
                                                                                          15 him?                                                       15 all. No, I don't believe that's correct.
                                                                                          16 BY MR. CLUBOK:                                             16 BY MR. CLUBOK:
                                                                                          17 Q Well, let's start with --                                17 Q You were specifically asked to identify
                                                                                          18 A I don't -- I'm sorry, I don't understand                 18 information about the assets of CDO Fund and SOHC,
                                                                                          19 the question, sir.                                         19 correct?
                                                                                          20 Q You don't understand the question as to                  20 A That wasn't the exact task, no.
                                                                                          21 whether or not you were ever less than candid with         21 Q At some point you were made aware that UBS
                                                                                          22 Mr. Demo?                                                  22 was seeking information about the assets of
                                                                                          23     MS. SMITH: Objection to form.                          23 CDO Fund and SOHC, correct?
                                                                                          24 A Did I ever not tell him the truth? No, I                 24 A Yes.
                                                                                          25 didn't ever not tell him the truth.                        25 Q And you were aware that UBS was seeking
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 33 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  125                                                      127
                                                                                          1 information not just about the current -- or the            1 tasks?
                                                                                          2 then current assets of those entities, but the              2 A I don't believe -- in terms of what he --
                                                                                          3 historical information about those entities going           3 of what we were supposed to be gathering for them,
                                                                                          4 back to the beginning of 2009?                              4 no, I don't believe he did.
                                                                                          5 A I was aware that UBS sought that                          5 Q Okay. So did you convey to Mr. Ellington,
                                                                                          6 information, yes.                                           6 in words or substance, that one of the important
                                                                                          7 Q And you were aware that the Pachulski firm                7 things that UBS -- well, strike that.
                                                                                          8 believed they had an obligation -- or strike that.          8      Did Mr. Demo make it clear to you that one
                                                                                          9      Did the debtor or its lawyers ever make it             9 of the very important things that -- strike that.
                                                                                          10 clear to you that they intended to provide that            10     Did Mr. Demo make it clear to you that UBS
                                                                                          11 information to the very best of their ability?             11 had conveyed that it put a high level of
                                                                                          12 A So we had fairly detailed conversations                  12 importance behind the request for identifying the
                                                                                          13 about what we were going to do in response to that         13 assets of SOHC and CDO Fund?
                                                                                          14 discovery. I don't know that there was ever a              14     MS. SMITH: Objection to form.
                                                                                          15 discussion of -- well, I remember we had fairly --         15 A That wasn't exactly the task I was given.
                                                                                          16 we had pretty detailed conversations about how to          16 I'm struggling to recall exactly what we said UBS
                                                                                          17 try to figure out how to respond to that                   17 wanted, but that ultimately was not -- the task I
                                                                                          18 discovery.                                                 18 was given was something more specific.
                                                                                          19 Q Who's the we in that sentence?                           19 BY MR. CLUBOK:
                                                                                          20 A It was me and Mr. Demo.                                  20 Q What was that?
                                                                                          21 Q That's it?                                               21 A To link up the assets that were in the
                                                                                          22 A John Morris may have been involved, but I                22 funds in May of 2009 and answer the question what
                                                                                          23 believe it was primarily Mr. Demo.                         23 happened to those assets and where are they today.
                                                                                          24 Q Anybody else?                                            24 Q And you believed that the only task you
                                                                                          25 A No one else that I can recall sitting here               25 had in connection with identification of assets
                                                                                                                                                  126                                                      128
                                                                                          1 today.                                                      1 was to answer that very specific question?
                                                                                          2 Q And did you convey this discussion to                     2 A It was -- in terms of past assets? That's
                                                                                          3 anyone, like, for example, someone in the team, to          3 probably right. That was the defined task.
                                                                                          4 assist you with this work or to Mr. Ellington, to           4 Q Okay. And in terms of current assets,
                                                                                          5 apprise him of it or Mr. Dondero? Did you ever              5 were you also asked, in words or substance, to
                                                                                          6 after having that discussion with Mr. Demo or               6 help identify the full breadth of the current
                                                                                          7 those extensive discussions, ever convey, in words          7 assets held by CDO Fund and SOHC?
                                                                                          8 or substance, those discussions to anybody?                 8 A I don't remember if I was or not. I would
                                                                                          9 A I conveyed to Mr. Ellington the tasks that                9 have to look at the -- I don't remember.
                                                                                          10 I had been assigned and what I was doing to                10 Q You understood that UBS was trying to
                                                                                          11 fulfill those tasks.                                       11 obtain information about the current assets of
                                                                                          12 Q Anyone else?                                             12 CDO Fund and SOHC, correct?
                                                                                          13      MS. SMITH: Objection to form.                         13 A Yes.
                                                                                          14 A Stephanie Vitiello assisted in gathering                 14 Q And also HFP?
                                                                                          15 some of the documents, although I don't remember           15 A Yes.
                                                                                          16 if it was in response to UBS or not. There were a          16 Q Okay. And did you provide all material
                                                                                          17 lot of document requests at the time.                      17 information relating to the assets held by
                                                                                          18 BY MR. CLUBOK:                                             18 CDO Fund, SOHC and HFP from March of 2009 through
                                                                                          19 Q Is there anyone else that you can recall                 19 the present?
                                                                                          20 conveying the substance of the extensive                   20     MS. SMITH: Objection to form.
                                                                                          21 conversations you had with Mr. Demo about                  21 A I don't know. We provided a lot of
                                                                                          22 responding to the UBS requests?                            22 documents, so the documents will speak for
                                                                                          23 A No.                                                      23 themselves.
                                                                                          24 Q And did Mr. Ellington give you any                       24 BY MR. CLUBOK:
                                                                                          25 instructions in any way about how to perform those         25 Q Did you endeavor to provide all material
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 34 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  129                                                         131
                                                                                          1 information that you were aware of relating to the          1 looking for documents for HFP.
                                                                                          2 assets held by CDO Fund, SOHC and HFP from March            2 Q Why did you do that?
                                                                                          3 of 2009 through the present in response to the              3 A Because the process of figuring out what
                                                                                          4 detailed discussions you had with Mr. Demo?                 4 had happened to the CDO Fund and SOHC assets had
                                                                                          5 A No. There were certain documents that                     5 been a lengthy task, and I told Mr. Demo that
                                                                                          6 were separately held, like e-mails, and so we               6 unless I got positive instructions from them to
                                                                                          7 didn't touch the e-mails.                                   7 the contrary, that I didn't want to have to repeat
                                                                                          8 Q What do you mean?                                         8 that task for HFP and he agreed with that.
                                                                                          9 A So there was a motion to compel by the UCC                9 Q Is that because you-all agreed that -- is
                                                                                          10 in July of 2020. And so all of the e-mail                  10 that because you said -- sorry. You guys decided
                                                                                          11 communications were at that point separated out            11 you just didn't want to do it or you thought it
                                                                                          12 and sent to Meta-e for contract review. And so             12 was unnecessary because you had already gathered
                                                                                          13 that e-mail process was part of a very long                13 information in the course of looking for SOHC's
                                                                                          14 conversation -- a long series of conversations and         14 assets?
                                                                                          15 process with Sidley. And so once those e-mails             15 A I don't remember what -- I don't remember
                                                                                          16 went over to Meta-e, I didn't really address them.         16 if the basis was that we'll just stand on our
                                                                                          17 They were a separate data set that were being              17 objections or if it's not necessary for UBS's
                                                                                          18 handled separately.                                        18 motion for summary judgment. Because the
                                                                                          19 Q Did you make it clear to Mr. Demo that you               19 fundamental point was UBS was asking for --
                                                                                          20 were -- that you did not consider any review of            20 Pachulski and I agreed that UBS was asking for
                                                                                          21 those e-mails to be part of your --                        21 documents it didn't need, but the reason it was
                                                                                          22 A Absolutely.                                              22 asking for documents it didn't need was for the
                                                                                          23 Q Okay. And did Mr. Demo say that other                    23 purposes of preventing the Court from going
                                                                                          24 people would deal with that, those e-mails and the         24 forward with the summary judgment on the claims
                                                                                          25 information, if any, that was relevant to the              25 against the debtor. And so there was a discussion
                                                                                                                                                  130                                                         132
                                                                                          1 asset information that UBS was seeking?                     1 of what are the documents we need to give them,
                                                                                          2 A I don't recall if he did or not. I                        2 how hard is it to get, and then what are we --
                                                                                          3 remember John Morris was the person at Pachulski            3 between, you know, kind of the balance of the
                                                                                          4 responsible for that part of the process and what           4 burden and the requests and, you know, how much
                                                                                          5 conversations happened between Mr. Demo and                 5 you want to show the Court that you've produced
                                                                                          6 Mr. Morris, I don't know.                                   6 these documents, even though they're completely
                                                                                          7 Q Well, did anyone convey to you, in words                  7 irrelevant to the claims at bar. I mean, that's a
                                                                                          8 or substance, that other people would be handling,          8 balancing test that counsel goes through all the
                                                                                          9 reviewing those e-mails that were being housed by           9 time.
                                                                                          10 Meta-e for responsiveness to the information about         10 Q You told Mr. Demo that the total value of
                                                                                          11 the assets of SOHC, CDO Fund and HFP that UBS was          11 assets at SOHC and HFP from the time period of
                                                                                          12 requesting?                                                12 March 2009 through the present was totally
                                                                                          13     MS. SMITH: Objection, form.                            13 irrelevant to our claims against the debtor?
                                                                                          14 A The conversation simply was, all right,                  14      MS. SMITH: Objection to form.
                                                                                          15 the e-mails are separate, Isaac, you don't need to         15 A I don't know that that was the
                                                                                          16 look at those or worry about those, they're being          16 conversation. The conclusion was that we weren't
                                                                                          17 handled separately.                                        17 going to look for the HFP documents.
                                                                                          18 BY MR. CLUBOK:                                             18 BY MR. CLUBOK:
                                                                                          19 Q But other than those e-mails, you were                   19 Q Okay. You introduced this concept of
                                                                                          20 responsible for getting any other material                 20 total irrelevancy. Did you, in words or
                                                                                          21 information you had about the assets of CDO Fund,          21 substance, discuss with Mr. Demo that asset
                                                                                          22 SOHC and HFP dating back to March 2009?                    22 information about CDO Fund, SOHC and HFP was
                                                                                          23 A So there's one exception to that.                        23 totally irrelevant against the claims of the
                                                                                          24 Q Yes.                                                     24 debtor?
                                                                                          25 A I told Mr. Demo that I was not going to be               25      MS. SMITH: Objection to form.
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                                                                                                                         Transcript of Isaac D. Leventon                                      34 (133 to 136)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 35 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                              133                                                          135
                                                                                          1 A I believe the conversation was UBS -- UBS             1 A Ultimately that was not the task that he
                                                                                          2 has had ten years to seek whatever discovery it         2 concluded I should undertake.
                                                                                          3 wants and it didn't need these documents until a        3 Q That's not my -- we'll get to the task
                                                                                          4 month before summary judgment. And so the               4 that he gave you. But did he convey, in words or
                                                                                          5 discussion was that that request for documents          5 substance, that the debtor was going to use its
                                                                                          6 immediately before summary judgment was an attempt      6 best efforts to identify the assets of SOHC and
                                                                                          7 to delay summary judgment.                              7 CDO Fund from March 2009 to the present for
                                                                                          8 BY MR. CLUBOK:                                          8 purposes of providing that information to UBS?
                                                                                          9 Q Yeah, the question -- I asked the question            9      MS. SMITH: Objection to form.
                                                                                          10 about relevancy. Regardless of whether --              10 A At some point in the process, that may
                                                                                          11 whatever your views are, these arguments you want      11 have been his statement, but that wasn't the
                                                                                          12 to make about --                                       12 conclusion after we had gone through numerous
                                                                                          13 A To be clear, these aren't my arguments,              13 discussions.
                                                                                          14 sir. This is Pachulski's position they were            14 BY MR. CLUBOK:
                                                                                          15 conveying to me.                                       15 Q What was the conclusion?
                                                                                          16 Q I see. So Pachulski conveyed -- did they             16 A The conclusion was that my task was to
                                                                                          17 convey to you, then, that it was unnecessary to        17 locate the assets that were in the production to
                                                                                          18 obtain all of the asset information from HFP from      18 UBS as of May 2009 and identify what had happened
                                                                                          19 March 2009 to the present, in words or substance?      19 to those assets.
                                                                                          20 A There was a conclusion that we weren't               20 Q And did you have -- setting aside the
                                                                                          21 going to. I don't remember if there was a              21 e-mails that you were specifically told others
                                                                                          22 discussion, the use of the word necessary or not,      22 would be reviewing, did you have any other
                                                                                          23 but ultimately we didn't decide to.                    23 information about assets of SOHC or CDO Fund from
                                                                                          24 Q So Pachulski -- Mr. Demo specifically                24 March 2009 to the present that you did not share
                                                                                          25 conveyed to you that they had concluded it was         25 with Mr. Demo?
                                                                                                                                              134                                                          136
                                                                                          1 unnecessary to try to trace the assets of HFP from      1 A From March 2009 through the present, yes,
                                                                                          2 March 2009 to the present?                              2 I did have some other information I did not share
                                                                                          3 A Again, you're introducing the word                    3 with him.
                                                                                          4 necessary, which I'm not prepared to adopt. I can       4 Q And that was material information about
                                                                                          5 just say the conclusion from Mr. Demo was that we       5 the value of assets of those two funds between
                                                                                          6 weren't going to do that at that time.                  6 March 2009 through the present, correct?
                                                                                          7 Q Okay. Mr. Demo conveyed to you that the               7      MS. SMITH: Objection to form.
                                                                                          8 debtor had concluded it was not going to try to         8 A Material information about the value of
                                                                                          9 identify the assets of HFP from March 2009 to the       9 assets? I don't really think that's right, no.
                                                                                          10 present to provide to UBS, correct?                    10 BY MR. CLUBOK:
                                                                                          11 A Can you repeat that question? It had a               11 Q Well, you said you had other -- well,
                                                                                          12 lot in it.                                             12 material should be assumed. If you had
                                                                                          13 Q Did Mr. Demo convey to you that the debtor           13 information that an asset was named Highland CDO
                                                                                          14 had concluded it was not going to try to identify      14 Opportunity Fund, LLP versus LP, I'm not talking
                                                                                          15 the assets of HFP from March 2009 to the present       15 about that. I'm talking about material
                                                                                          16 in order to provide that information to UBS?           16 information. So let me ask the question again.
                                                                                          17 A I think that's probably a fair                       17     I said -- you said from March 2009 to the
                                                                                          18 characterization.                                      18 present, you had some other information about the
                                                                                          19 Q Okay. Well, we may come back to HFP. But             19 assets of SOHC or CDO Fund that you did not share
                                                                                          20 with respect to SOHC and CDO Fund, did Mr. Demo        20 with Mr. Demo, correct?
                                                                                          21 convey, in words or substance, that it was             21 A Yes.
                                                                                          22 necessary to as best as possible identify the          22 Q And when you say some information, do you
                                                                                          23 assets of SOHC and CDO Fund from March 2009 to the     23 mean material information about those assets?
                                                                                          24 present for purposes of providing that information     24 A Material information over that entire time
                                                                                          25 to UBS?                                                25 period, probably, yes.
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 36 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 137                                                          139
                                                                                          1 Q But was --                                               1 BY MR. CLUBOK:
                                                                                          2 A Hold on. Apologies, sir, let me finish                   2 Q Did you make a conscious decision not to
                                                                                          3 the answer. Material information about that                3 share that information with the Pachulski firm?
                                                                                          4 entire time period, yes. Material information              4       MS. SMITH: Objection to form.
                                                                                          5 about the task I was assigned, no.                         5 A I made a conscious decision that it wasn't
                                                                                          6 Q Understood. And what was the material                    6 relevant to the task I was undertaking.
                                                                                          7 information you had about the assets of SOHC and           7 BY MR. CLUBOK:
                                                                                          8 CDO Fund from the period March 2009 through the            8 Q Did you ever share that information with
                                                                                          9 present that you chose not to share with                   9 Mr. Seery?
                                                                                          10 Pachulski?                                                10 A No, but we rarely spoke.
                                                                                          11      MS. SMITH: Objection to form.                        11 Q Did you share that information or cause it
                                                                                          12 A So I'm going to put the word material to                12 to be shared with any of the directors?
                                                                                          13 the side, sir. So if you want to just re-ask the          13 A I almost never spoke to the other two
                                                                                          14 question, because that's a judgment call and I'll         14 directors, or even directly ever communicated with
                                                                                          15 let the Court make that decision.                         15 them hardly ever.
                                                                                          16 BY MR. CLUBOK:                                            16 Q Did you communicate through any means,
                                                                                          17 Q You're a lawyer.                                        17 e-mail, smoke signals, text messages, whatever,
                                                                                          18 A I am.                                                   18 the information about the 2017 transaction
                                                                                          19 Q So I'm using -- with your lawyer hat on,                19 involving CDO Fund and SOHC assets to any
                                                                                          20 did you believe you had any material information          20 independent director or lawyer of the debtor?
                                                                                          21 about the assets of SOHC and CDO Fund from the            21 A No. It wasn't relevant to the task I was
                                                                                          22 period March 2009 through the present that you            22 working on.
                                                                                          23 chose not to share with Pachulski?                        23 Q Did you discuss that transaction with
                                                                                          24      MS. SMITH: Objection to form.                        24 anybody else at any point during the pendency of
                                                                                          25 A I'm not going to perform -- sir, I'm not                25 the bankruptcy?
                                                                                                                                                 138                                                          140
                                                                                          1 prepared to perform legal analysis on the fly, but         1       MS. SMITH: Objection to form.
                                                                                          2 if you'd like to ask me for objective facts, I'm           2 A Yes.
                                                                                          3 happy to provide those to you.                             3 BY MR. CLUBOK:
                                                                                          4 BY MR. CLUBOK:                                             4 Q Who did you discuss it with?
                                                                                          5 Q We'll come back to that. But what was the                5 A Beecher Carlson.
                                                                                          6 information you had about the assets of SOHC and           6 Q Who is Beecher Carlson?
                                                                                          7 CDO Fund from March 2009 to the present that you           7 A They're the underwriter for Sentinel on
                                                                                          8 chose not to provide to the Pachulski firm?                8 the insurance policy.
                                                                                          9      MS. SMITH: Objection to form.                         9 Q And there's an insurance policy?
                                                                                          10 A I knew that there had been a transaction                10 A Yes.
                                                                                          11 in 2017 sometime with respect to an                       11 Q And who is that insurance -- who is the
                                                                                          12 after-the-event insurance policy with Sentinel.           12 insured on that insurance policy?
                                                                                          13 BY MR. CLUBOK:                                            13 A Certain of the defendants in the UBS case.
                                                                                          14 Q Anything else?                                          14 Q Including CDO Fund and SOHC?
                                                                                          15 A Is there anything else? There may have                  15 A I believe that's probably right, but I'd
                                                                                          16 been other things, but I just didn't look into            16 have to have my recollection refreshed.
                                                                                          17 them really.                                              17 Q And you understood that insurance policy
                                                                                          18 Q And you made a conscious decision not to                18 is an asset of the CDO Fund and SOHC, correct?
                                                                                          19 share anything about the transaction in 2017              19 A No.
                                                                                          20 involving Sentinel insurance with the Pachulski           20 Q What do you think it is?
                                                                                          21 firm, correct?                                            21 A I don't know how to -- it's however
                                                                                          22     MS. SMITH: Objection to form.                         22 accountants would classify it, but, no, I don't
                                                                                          23   A  It wasn't relevant to the task I was                 23 believe it's an asset. The accountants didn't
                                                                                          24 undertaking.                                              24 classify it as an asset was my understanding. I
                                                                                          25                                                           25 don't think insurance policies show up on balance
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 37 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                               141                                                          143
                                                                                          1 sheets.                                                  1 judgment came down, you shared that with Beecher
                                                                                          2 Q There were assets exchanged for that                   2 Carlson?
                                                                                          3 insurance policy in 2017, correct?                       3      MS. SMITH: Objection to form.
                                                                                          4 A That's my understanding, yes.                          4 A I shared it with them. I don't remember
                                                                                          5 Q What was the rough value of those assets               5 if it was immediately because you have to remember
                                                                                          6 that were exchanged?                                     6 at this time I was in recovery at home. So I
                                                                                          7 A I don't know.                                          7 think I provided it to them kind of as quickly as
                                                                                          8 Q You have no idea?                                      8 possible, given my limitations at the time.
                                                                                          9 A No.                                                    9 BY MR. CLUBOK:
                                                                                          10 Q Did you ever know?                                    10 Q Why did you provide it to Beecher Carlson
                                                                                          11 A No, I don't believe I did.                            11 as quickly as possible?
                                                                                          12 Q You never had any idea about the rough                12 A Because it's a -- the judgment against the
                                                                                          13 total value of the assets exchanged in 2017 for         13 insureds would be a fact that you should inform
                                                                                          14 the insurance policy that you've called the ATE         14 the underwriter.
                                                                                          15 policy from Sentinel?                                   15 Q When you say Beecher Carlson is the
                                                                                          16      MS. SMITH: Objection to form.                      16 underwriter, what do you mean? They underwrote
                                                                                          17 A No, I wasn't really involved in that.                 17 the policy?
                                                                                          18 BY MR. CLUBOK:                                          18 A No, sorry, that's the wrong term. Oh,
                                                                                          19 Q You weren't involved in what?                         19 man. I forget their exact role. They're -- maybe
                                                                                          20 A The drafting of the policy or the process             20 they're more like an auditor.
                                                                                          21 of getting it implemented.                              21 Q For Sentinel?
                                                                                          22 Q You weren't involved at all in the                    22     MS. SMITH: Objection to form.
                                                                                          23 drafting of the policy?                                 23 A Well, that's the thing. For the policy.
                                                                                          24 A No.                                                   24 My understanding is that you had to have kind of
                                                                                          25 Q You weren't involved at all in the process            25 an external third party looking at the policy, but
                                                                                                                                               142                                                          144
                                                                                          1 of getting the insurance policy implemented; is          1 I don't remember exactly. There's the right word
                                                                                          2 that correct?                                            2 for what their role was and I apologize. It's
                                                                                          3 A I had one role and it was a limited one.               3 just slipping my mind right now.
                                                                                          4 Q What was that?                                         4 BY MR. CLUBOK:
                                                                                          5 A It was to share information with Beecher               5 Q Okay. And other than providing
                                                                                          6 Carlson as the underwriter about the underlying          6 information -- and by the way, is the first time
                                                                                          7 litigation.                                              7 you provided information to Beecher Carlson after
                                                                                          8 Q And that was the only role you ever had                8 the policy was put into place?
                                                                                          9 that in any way was connected to the insurance           9 A No.
                                                                                          10 policy issued by Sentinel?                              10 Q So you started providing information to
                                                                                          11 A That's the only one I can ever recall,                11 Beecher Carlson prior to the execution of the
                                                                                          12 yes.                                                    12 policy?
                                                                                          13 Q And what information did you share with               13 A My recollection is that I had one
                                                                                          14 Beecher Carlson as the underwriter, about the           14 conversation with Beecher Carlson in advance of
                                                                                          15 underlying litigation?                                  15 the execution of the policy.
                                                                                          16 A Pleadings --                                          16 Q Who at Beecher Carlson?
                                                                                          17 Q Anything else?                                        17 A I don't know.
                                                                                          18 A -- for the most part. The appellate                   18 Q And what was the substance of that one
                                                                                          19 rulings of the New York appellate division.             19 conversation?
                                                                                          20 Q Anything else?                                        20 A To essentially give the entire background
                                                                                          21 A When the February 2020 judgment came down,            21 of the litigation.
                                                                                          22 I believe I shared that with them.                      22 Q At that point did you give your opinion
                                                                                          23 Q So as soon as the judgment came down                  23 that liability was likely to be established
                                                                                          24 regarding -- strike that.                               24 against CDO Fund and SOHC, in words or substance?
                                                                                          25      As soon as the roughly billion dollar              25 A I -- it was one conversation about
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 38 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 145                                                           147
                                                                                          1 45 minutes four years ago. I really don't                  1 Q You called it an after-the-event policy.
                                                                                          2 remember what we said.                                     2 Was it also sometimes shorthanded by ATE policy?
                                                                                          3 Q Do you recall ever providing, in advance                 3 A Yes, that's what after the event stands
                                                                                          4 of the policy, your opinion that liability was             4 for. It's a fairly standard industry product
                                                                                          5 likely to be established?                                  5 that's very common, particularly in the UK and
                                                                                          6       MS. SMITH: Objection to form.                        6 other common law jurisdictions. So it's a fairly
                                                                                          7 A I don't recall.                                          7 matured industry.
                                                                                          8 BY MR. CLUBOK:                                             8 Q Okay. And did you have any role -- or
                                                                                          9 Q Do you recall ever telling Beecher Carlson               9 sorry, who made the decision to obtain an ATE
                                                                                          10 before or after the policy but prior to the               10 policy with respect to the UBS litigation in
                                                                                          11 judgment, that you had formed an opinion that             11 New York?
                                                                                          12 liability was likely to be established against            12 A My understanding is that Mr. Dondero made
                                                                                          13 CDO Fund and SOHC with respect to the breach of           13 that decision.
                                                                                          14 contract claims?                                          14 Q What's that understanding based on?
                                                                                          15 A I don't recall. Largely it was providing                15 A I believe that was communicated to me by
                                                                                          16 Beecher Carlson with information and letting them         16 Mr. Ellington.
                                                                                          17 make their determination.                                 17 Q When?
                                                                                          18 Q Did you ever provide them with that                     18 A Back around the time, probably right after
                                                                                          19 information, the view you had with respect to             19 the policy was implemented.
                                                                                          20 liability?                                                20 Q Okay. So after it was implemented was the
                                                                                          21 A I don't recall if I did. Mostly I                       21 first time you heard that Mr. Dondero had made the
                                                                                          22 provided them objective data, like pleadings,             22 decision to implement the ATE policy?
                                                                                          23 orders of the Court, those sorts of materials.            23      MS. SMITH: Objection to form.
                                                                                          24 Q Are you saying you have no idea if you                  24      MR. CLUBOK: Sorry, what's the form
                                                                                          25 provided this information or are you saying you           25 objection?
                                                                                                                                                 146                                                           148
                                                                                          1 don't recall doing it and therefore you probably           1      MS. SMITH: I'm sorry, I just
                                                                                          2 didn't do it?                                              2 misunderstood the question.
                                                                                          3 A Well, I'm saying neither. What I'm saying                3      MR. CLUBOK: Okay. I'll rephrase it.
                                                                                          4 is I don't remember one way or another.                    4 Sorry.
                                                                                          5 Q Okay. And other than providing                           5 BY MR. CLUBOK:
                                                                                          6 information to Beecher Carlson, did you have any           6 Q Are you saying that after the ATE
                                                                                          7 other role in any way with the insurance policy            7 insurance policy went into effect was the first
                                                                                          8 issued by Sentinel with respect to the UBS                 8 time that you heard that Mr. Dondero had made the
                                                                                          9 litigation?                                                9 decision to enter into that ATE policy?
                                                                                          10 A No, not that I recall.                                  10 A I'm trying to recall, but I think that's
                                                                                          11 Q Did you have any role at all in the                     11 right.
                                                                                          12 process by which it was decided to pursue                 12 Q And do you know -- did anyone ever ask
                                                                                          13 obtaining this policy?                                    13 your opinion as to whether or not it was a good
                                                                                          14     MS. SMITH: Objection to form.                         14 idea to do this?
                                                                                          15 A I don't believe that I was involved in                  15 A I certainly don't recall -- let me
                                                                                          16 that process really.                                      16 rephrase. I don't recall that ever happening. I
                                                                                          17 BY MR. CLUBOK:                                            17 don't believe it did happen.
                                                                                          18 Q Who made the decision -- by the way, you                18 Q Were you ever in any way involved with
                                                                                          19 called it an after-the-event policy?                      19 weighing the pros and cons of entering into the
                                                                                          20 A Yeah. Sorry. I need to sneeze, but I'll                 20 ATE policy prior to it being entered into?
                                                                                          21 try to push through it.                                   21 A In or around -- you know, for the policy
                                                                                          22 Q Okay. You let us know if you need a                     22 that got implemented, no.
                                                                                          23 break. As I've said many times, please tell us if         23 Q For any ATE policy?
                                                                                          24 you need a break.                                         24 A I think there had been contemplation of an
                                                                                          25 A Just a sneeze on this one.                              25 ATE policy earlier in that year as a settlement
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 39 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                              149                                                          151
                                                                                          1 mechanism, but that's the only other thing I can        1 this policy to any of the independent directors?
                                                                                          2 remember.                                               2 A I never discussed it with them one way or
                                                                                          3 Q Were you involved in that?                            3 another.
                                                                                          4 A I believe it was part of a settlement                 4 Q Did you ever disclose the existence of
                                                                                          5 analysis that I contributed to. Or that I was           5 this policy to any lawyer representing the debtor?
                                                                                          6 involved in.                                            6 A I never discussed it with them one way or
                                                                                          7 Q And so as part of that settlement                     7 another.
                                                                                          8 analysis, you assessed the pros and cons of             8 Q Did you discuss this policy with any other
                                                                                          9 entering into an ATE policy?                            9 human being other than Beecher Carlson since the
                                                                                          10 A I don't remember if I did or not. I                  10 time that bankruptcy started?
                                                                                          11 remember that term showed up during that time in       11     MS. SMITH: Objection to form.
                                                                                          12 those considerations.                                  12 A Yes.
                                                                                          13 Q But you're not linking that work you did             13 BY MR. CLUBOK:
                                                                                          14 to the actual entering into the ATE policy?            14 Q Who?
                                                                                          15 A No, they're two completely separate                  15 A Matt DiOrio.
                                                                                          16 processes.                                             16 Q When?
                                                                                          17 Q Why?                                                 17 A He was the one who usually would set up
                                                                                          18 A Well, one was essentially a mechanism for            18 the calls with Beecher Carlson.
                                                                                          19 funding a settlement which, you know, basically        19 Q And anyone else at all? Any other human
                                                                                          20 in -- like essentially like you have a settlement      20 being that you discussed this policy with since
                                                                                          21 agreement already done and signed and this is how      21 the bankruptcy?
                                                                                          22 you're going to fund it.                               22 A I had discussed it at one point with
                                                                                          23 Q Okay.                                                23 Mr. Ellington.
                                                                                          24 A That's not what the August 2017                      24 Q When?
                                                                                          25 transaction was.                                       25 A July sometime maybe.
                                                                                                                                              150                                                          152
                                                                                          1 Q What was the August 2017 transaction?                 1 Q Of what year?
                                                                                          2 A I'm not going to -- I don't know that I               2 A 2020. My apologies.
                                                                                          3 have a good characterization for it. I wasn't           3 Q Anyone else at all?
                                                                                          4 really involved in it, but it wasn't that.              4 A Not that I recall.
                                                                                          5 Q What was it, as far as you know?                      5 Q Okay.
                                                                                          6 A It was a purchase of an after-the-event               6      MR. CLUBOK: Let's take a break.
                                                                                          7 insurance policy.                                       7      THE VIDEOGRAPHER: We are off the record
                                                                                          8 Q To do what?                                           8 at 1:04 p.m.
                                                                                          9 A I don't know what the purpose was. I                  9      (Recess taken from 1:04 p.m. CDT to
                                                                                          10 wasn't really involved.                                10 2:12 p.m. CDT)
                                                                                          11 Q You have no idea what the purpose of the             11     THE VIDEOGRAPHER: The time is 2:12 p.m.
                                                                                          12 after-the-event insurance policy was?                  12 We  are back on the record.
                                                                                          13 A I don't know.                                        13 BY MR. CLUBOK:
                                                                                          14 Q Did you ever see it?                                 14 Q Mr. Ellington [sic] --
                                                                                          15 A I remember seeing one page of it one time.           15 A No.
                                                                                          16 Q When was that?                                       16 Q Sorry. Mr. -- strike that.
                                                                                          17 A We were doing one of our annual update               17     Mr. Leventon, you said you discussed the
                                                                                          18 calls with Beecher Carlson and I think I asked         18 ATE policy with Mr. Ellington in approximately
                                                                                          19 on -- can we -- can someone confirm for me who the     19 July 2020, correct?
                                                                                          20 insureds are so I can make sure to link the            20 A I believe that was my testimony, yes.
                                                                                          21 developments for the defendants to the insureds        21 Q What was the reason for that conversation?
                                                                                          22 that are named, and so I saw one page of the           22 A We were discussing the discovery task that
                                                                                          23 insurance policy at that point that listed who the     23 I had been placed on by -- or maybe it was August
                                                                                          24 insureds were.                                         24 then. The discovery task that I had been placed
                                                                                          25 Q Did you ever disclose the existence of               25 on by Pachulski and I was checking with
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 40 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  153                                                          155
                                                                                          1 Mr. Ellington because he had been talking to                1 policy relevant to the task I was working on. But
                                                                                          2 Mr. Seery a lot and I wanted to see if there was            2 I just hadn't been privy to those conversations so
                                                                                          3 anything I should be aware of.                              3 I was checking.
                                                                                          4 Q And did you discuss with Mr. Ellington                    4 Q Did you offer your view to Mr. Ellington
                                                                                          5 whether or not you should disclose the ATE policy           5 as to whether or not you should disclose the ATE
                                                                                          6 as part of the task you were assigned?                      6 policy to Mr. Seery and debtor's counsel?
                                                                                          7 A We discussed whether it was relevant to                   7 A I don't remember if I offered an opinion
                                                                                          8 the task that I had been assigned and                       8 to Mr. Ellington. I think it was more focused on
                                                                                          9 Mr. Ellington stated that he didn't believe that            9 here's the task that I'm working on, is this
                                                                                          10 it was relevant to the task I was working on.              10 relevant to that task.
                                                                                          11 Q You asked Mr. Ellington whether or not --                11 Q And he just said no, without any
                                                                                          12 in words or substance, you asked Mr. Ellington             12 explanation or did he give you an explanation for
                                                                                          13 whether you should disclose the policy to                  13 his thinking?
                                                                                          14 Mr. Seery and the debtor's counsel?                        14 A I don't remember -- I don't remember what
                                                                                          15     MS. SMITH: Objection, form.                            15 he said in that conversation. I remember the
                                                                                          16 BY MR. CLUBOK:                                             16 conclusion, but I also had asked -- another part
                                                                                          17 Q Correct?                                                 17 of the conversation was, you've been talking to
                                                                                          18 A That's not my testimony, no.                             18 Seery, I haven't, so do -- you know, is this
                                                                                          19 Q Isn't it true that, in words or substance,               19 something I need to introduce or something that I
                                                                                          20 you asked Mr. Ellington whether you should                 20 need to interject into the task I'm working on.
                                                                                          21 disclose the policy to Mr. Seery and the debtor's          21 Q Why did you think it might be something
                                                                                          22 counsel?                                                   22 that would appropriately be interjected into the
                                                                                          23     MS. SMITH: Objection, form.                            23 task?
                                                                                          24 A That's not what our conversation was, no.                24 A Well, that wasn't my testimony. My
                                                                                          25                                                            25 testimony is it was a thing to consider.
                                                                                                                                                  154                                                          156
                                                                                          1 BY MR. CLUBOK:                                              1 Q Did you think that it might be something
                                                                                          2 Q Did you, in words or substance, ever ask                  2 that would be appropriate to, as you say,
                                                                                          3 Mr. Ellington whether you should disclose the               3 interject into the task?
                                                                                          4 policy?                                                     4 A It would depend on the context. From the
                                                                                          5 A To whom?                                                  5 face of the task, probably not; but if there was
                                                                                          6 Q To the debtor or their counsel.                           6 further context based on Mr. Ellington's
                                                                                          7 A So the conversation was, is the policy                    7 conversations with Mr. Seery that I didn't have,
                                                                                          8 relevant to the task I'm working on, and the                8 then I wanted to find out if that context existed.
                                                                                          9 answer, Mr. Ellington said he didn't believe that           9 Q You knew that it was an urgent request
                                                                                          10 it was and therefore didn't need to be included as         10 from UBS to identify the total assets and history
                                                                                          11 materials in part of that task. And then I asked,          11 of the assets in CDO Fund/SOHC, correct?
                                                                                          12 you know, you've been in conversations with                12      MS. SMITH: Objection, assumes facts not
                                                                                          13 Mr. Seery, I don't talk to Mr. Seery hardly ever,          13 in evidence.
                                                                                          14 so is there any other thing that -- any other --           14 A I don't know what you mean by urgent, sir.
                                                                                          15 anything else that I should know or any other              15 BY MR. CLUBOK:
                                                                                          16 reason, you know, outside of my task that I should         16 Q You were specifically advised that there
                                                                                          17 include it in the materials and Scott said no.             17 was an urgent request, or words to that effect,
                                                                                          18 Q Who initiated this conversation?                         18 from UBS for the debtor to identify the total
                                                                                          19 A I don't recall. I take it back. I                        19 assets and history of the assets in CDO Fund and
                                                                                          20 probably initiated it, I think.                            20 SOHC; isn't that true?
                                                                                          21 Q Why?                                                     21      MS. SMITH: Objection, form.
                                                                                          22 A Because I wanted to understand if there                  22 A I don't recall if the word urgent was
                                                                                          23 had been kind of -- if there were separate                 23 used.
                                                                                          24 contexts and conversations with Mr. Seery that I           24 BY MR. CLUBOK:
                                                                                          25 had not been privy to that would make the ATE              25 Q Whether the exact word urgent or high
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                                                                                                                          Transcript of Isaac D. Leventon                                           40 (157 to 160)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 41 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  157                                                           159
                                                                                          1 priority or very important, was there any --                1 A That's correct.
                                                                                          2 anything like that that conveyed to you the                 2 Q Did you ever -- did you see a draft of the
                                                                                          3 importance of this task?                                    3 ATE policy before it was executed?
                                                                                          4 A I believe it was conveyed to me that UBS                  4 A No, not that I recall. I don't -- no, I
                                                                                          5 thought the task was very important, but I don't            5 don't believe I ever saw a draft.
                                                                                          6 know that that's necessarily what Pachulski's               6 Q Did you see an unsigned version of the ATE
                                                                                          7 position was.                                               7 policy?
                                                                                          8 Q Was it ever conveyed to you that it was a                 8 A I don't believe I ever saw an unsigned
                                                                                          9 high priority task for you to assist in                     9 copy of the ATE policy.
                                                                                          10 identifying all the assets and the history of the          10 Q Okay. So I'm trying to -- I'm going to
                                                                                          11 assets for SOHC and CDO Fund?                              11 try to ask this as broadly as possible, and if you
                                                                                          12 A No.                                                      12 don't understand the question, I'll repeat it.
                                                                                          13     MS. SMITH: Objection, form.                            13 But are you basically -- are you saying that other
                                                                                          14   A  Not that I recall. And it's certainly not             14 than this one page that Mr. Sevilla showed you on
                                                                                          15 the task ultimately that I was given.                      15 his computer screen, you never saw any part of the
                                                                                          16 BY MR. CLUBOK:                                             16 ATE policy, whether it was executed or unexecuted,
                                                                                          17 Q Was it ever conveyed to you that the                     17 correct?
                                                                                          18 debtor had a high priority task for itself to              18 A To the best of my recollection, that's
                                                                                          19 identify the assets and history of the assets for          19 correct.
                                                                                          20 SOHC and CDO Fund?                                         20 Q Did you ever try to see a copy of the ATE
                                                                                          21 A Not that I recall and that's certainly not               21 policy in connection with your work at Highland?
                                                                                          22 at the end of kind of the iterative discussion             22 A I never asked to see a copy of the ATE
                                                                                          23 process with Mr. Demo what I was tasked with               23 policy that I recall.
                                                                                          24 doing.                                                     24 Q When -- roughly when did Mr. Sevilla show
                                                                                          25 Q You said -- earlier, I was asking you                    25 you this one page from the ATE policy?
                                                                                                                                                  158                                                           160
                                                                                          1 about the ATE policy that was ultimately entered            1 A We were going into an update call with
                                                                                          2 into. Remember that discussion?                             2 Beecher Carlson and I looked at it for about
                                                                                          3 A Yes.                                                      3 30 seconds and then continued on to the call. It
                                                                                          4 Q I think you said that you only saw one                    4 would have been sometime in 2018 or '19 probably.
                                                                                          5 page of it one time; is that right?                         5 Q Did it seem curious to you that you were
                                                                                          6 A That's right.                                             6 only allowed to see one page from the ATE policy?
                                                                                          7 Q Who showed you that one page?                             7       MS. SMITH: Objection to form.
                                                                                          8 A JP Sevilla.                                               8 A I disagree with the premise of the
                                                                                          9 Q And how?                                                  9 question, sir.
                                                                                          10 A On his computer screen.                                  10 BY MR. CLUBOK:
                                                                                          11 Q Oh, he let you look at one page on his                   11 Q Okay.
                                                                                          12 computer screen and other than that, you never saw         12      MR. CLUBOK: Let's go off the record.
                                                                                          13 the ATE policy as it was -- after it was actually          13      THE VIDEOGRAPHER: We are off the record
                                                                                          14 executed?                                                  14 at 2:21 p.m.
                                                                                          15     MS. SMITH: Objection to form.                          15      (Recess taken from 2:21 p.m. CDT to
                                                                                          16 A I don't know that --                                     16 2:22 p.m. CDT)
                                                                                          17 BY MR. CLUBOK:                                             17      THE VIDEOGRAPHER: 2:22 p.m., back on the
                                                                                          18 Q Strike that. Let me ask the question                     18 record.
                                                                                          19 again.                                                     19 BY MR. CLUBOK:
                                                                                          20     Mr. Sevilla showed you one page from the               20 Q Did it seem unusual to you that
                                                                                          21 ATE policy on his computer screen, correct?                21 Mr. Sevilla just showed you a page on his computer
                                                                                          22 A Yes.                                                     22 screen as opposed to sending you the policy so you
                                                                                          23 Q And other than that one page that                        23 could see it yourself?
                                                                                          24 Mr. Sevilla showed you, you never saw the executed         24      MS. SMITH: Objection to form.
                                                                                          25 ATE policy, correct?                                       25 A Under the circumstances, it wasn't unusual
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                                                                                                                           Transcript of Isaac D. Leventon                                          41 (161 to 164)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 42 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                  161                                                         163
                                                                                          1 in the slightest.                                           1 you learn that Sentinel was the insurer for the
                                                                                          2 BY MR. CLUBOK:                                              2 ATE policy?
                                                                                          3 Q What were the circumstances?                              3 A I don't recall how I learned, but it would
                                                                                          4 A We were about to have a call with Beecher                 4 have been sometime around the time of the
                                                                                          5 Carlson. I was going to give an update on the               5 transaction in August 2017.
                                                                                          6 litigation. I wanted to see the actual on the               6 Q That's -- okay. But it was contemplated
                                                                                          7 page who the insureds were so I could match it up           7 for at least a couple months prior to that that
                                                                                          8 with who the defendants were.                               8 Sentinel would be the insurer for an ATE policy,
                                                                                          9 Q I see.                                                    9 correct?
                                                                                          10 A I saw a single page that had the listed                  10      MS. SMITH: Objection, assumes facts not
                                                                                          11 insureds, I looked at that page for anywhere from          11 in evidence.
                                                                                          12 15 to 20 seconds while I was on my way walking to          12 A I don't know that that's right. I don't
                                                                                          13 a conference room to have the call.                        13 recall that.
                                                                                          14 Q Did you see who the -- did you know who                  14 BY MR. CLUBOK:
                                                                                          15 the insurer was for the policy?                            15 Q You specifically at one point contemplated
                                                                                          16 A I knew it was Sentinel, but the exact name               16 that Sentinel would be the insurer for the ATE
                                                                                          17 of the Sentinel entity, I don't.                           17 policy; isn't that true?
                                                                                          18 Q How did you come to know that Sentinel was               18      MS. SMITH: Objection, form.
                                                                                          19 the insurer for the policy?                                19 A I disagree with one of the premises of
                                                                                          20      MS. SMITH: Objection to form.                         20 your question. I'm happy to explain.
                                                                                          21 A I don't remember.                                        21 BY MR. CLUBOK:
                                                                                          22      MR. CLUBOK: Sorry, what was the form                  22 Q Yeah.
                                                                                          23 objection there?                                           23 A So if you're talking about what was
                                                                                          24      MS. SMITH: Well, there's more than one                24 contemplated in April of 2017, that was a
                                                                                          25 Sentinel entity and you said, how did you come to          25 completely different transaction than what was
                                                                                                                                                  162                                                         164
                                                                                          1 know that Sentinel was the insurer.                         1 done in August of 2017. And so whatever role
                                                                                          2       MR. CLUBOK: Okay. Thank you.                          2 Sentinel was going to play in April was a
                                                                                          3 BY MR. CLUBOK:                                              3 different transaction than what happened in
                                                                                          4 Q I'll use the term Sentinel with the                       4 August.
                                                                                          5 understanding that it is -- there's many different          5 Q We'll talk about the differences
                                                                                          6 related entities that are called Sentinel perhaps           6 between -- the supposed differences between the
                                                                                          7 and we'll just talk generally like we sometimes             7 transactions. But certainly in April, you
                                                                                          8 talk Highland generally about Sentinel; is that             8 contemplated that Sentinel would write an ATE
                                                                                          9 okay?                                                       9 policy for the benefit of the Highland affiliates
                                                                                          10 A I don't actually know what any of the --                 10 that were involved in the New York litigation,
                                                                                          11 what the Sentinel entities are. I just kind of             11 correct?
                                                                                          12 know generally the name Sentinel.                          12      MS. SMITH: Objection to form.
                                                                                          13 Q Yeah. Colloquially you call the insurer                  13 A I don't recall exactly what the proposal
                                                                                          14 Sentinel, whether it's Sentinel something                  14 was.
                                                                                          15 something sub or Sentinel something something?             15 BY MR. CLUBOK:
                                                                                          16 A Yeah, I know there were at least a couple                16 Q Isn't it true that at some point you
                                                                                          17 of entities, but --                                        17 contemplated Sentinel would write an ATE policy
                                                                                          18 Q Okay.                                                    18 for the benefit of the Highland affiliates?
                                                                                          19 A -- where the roles were, I just don't                    19      MS. SMITH: Objection, form.
                                                                                          20 know.                                                      20 A I don't remember what the proposal was.
                                                                                          21 Q Okay. I'm not asking you to comment on                   21 BY MR. CLUBOK:
                                                                                          22 that by saying what Sentinel -- your understanding         22 Q Do you -- and you don't remember ever
                                                                                          23 of Sentinel did or didn't do. Okay?                        23 contemplating that Sentinel would write an ATE
                                                                                          24 A Okay.                                                    24 policy; is that your testimony under oath?
                                                                                          25 Q Okay. So with that understanding, how did                25 A That's not what I said, sir.
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                                                                                                                          Transcript of Isaac D. Leventon                                         42 (165 to 168)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 43 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 165                                                         167
                                                                                          1 Q Okay. Well, then, answer my question as                  1 Q Okay. Did you ever talk about the ATE
                                                                                          2 opposed to a question you want to answer. Isn't            2 policy other -- about the -- strike that.
                                                                                          3 it true that at some point you contemplated                3       Did you ever talk about what the ATE
                                                                                          4 Sentinel would write an ATE policy for the benefit         4 policy does for the insureds even if you didn't
                                                                                          5 of the Highland affiliates involved in the                 5 see it?
                                                                                          6 New York UBS litigation?                                   6 A I don't recall those conversations. I'm
                                                                                          7 A I can -- I knew that Sentinel -- it was                  7 not sure that I did.
                                                                                          8 contemplated that Sentinel would write an ATE              8 Q So you don't know the terms, fair to say,
                                                                                          9 policy related to the UBS litigation, but who the          9 of the ATE policy other than the name of the
                                                                                          10 insureds were going to be and for whose benefit           10 insureds, correct?
                                                                                          11 that was going to be, I don't remember that               11 A Correct. And even today I don't remember
                                                                                          12 proposition at all.                                       12 what those names were. I just saw them on the
                                                                                          13 Q And why do you claim the transaction that               13 screen that one time.
                                                                                          14 was being contemplated in April of 2017 was               14 Q So when you said with such certainty a
                                                                                          15 entirely different than the transaction that was          15 little bit ago under oath that the actual ATE
                                                                                          16 consummated in August of 2017?                            16 policy is entirely different than what you were
                                                                                          17 A Because in April of 2017, what was                      17 contemplating in April of 2017, that's not based
                                                                                          18 discussed then, and frankly didn't get very far,          18 on actually knowing what the ATE policy actually
                                                                                          19 was the idea of essentially getting into a                19 does?
                                                                                          20 settlement agreement or getting to a number with          20      MS. SMITH: Objection to form.
                                                                                          21 UBS for settlement and having an ATE policy serve         21 BY MR. CLUBOK:
                                                                                          22 as kind of the funding mechanism for that                 22 Q Fair to say?
                                                                                          23 settlement. Two thousand -- August 2017 was --            23 A I disagree with a premise of your
                                                                                          24 there was no settlement with UBS in service of            24 question. I'm happy to explain why.
                                                                                          25 which the ATE policy would serve as a funding             25 Q Please. Thank you.
                                                                                                                                                 166                                                         168
                                                                                          1 mechanism. So that's why they're two different             1 A The April proposed transaction, my
                                                                                          2 transactions.                                              2 understanding of it -- or recollection to the
                                                                                          3 Q Did the August -- so the actual ATE policy               3 extent that I do, was that that was supposed to be
                                                                                          4 that was entered into, did it provide for the              4 essentially part of a single process in which we'd
                                                                                          5 funding of a future settlement with UBS?                   5 already gotten to a number with UBS and we'd
                                                                                          6 A I don't know what the policy said. I've                  6 agreed on a settlement and were negotiating a
                                                                                          7 never seen it.                                             7 settlement agreement.
                                                                                          8 Q You've never seen the ATE policy that was                8      In August of 2017, there was no such
                                                                                          9 actually executed?                                         9 settlement agreement with UBS. And so kind of by
                                                                                          10 A No, sir, other than that one page.                      10 definition, they can't be the same thing.
                                                                                          11 Q That was a bit of a double negative, so                 11 Regardless of the terms of the ultimate policy in
                                                                                          12 I'm going to ask it again. It's my fault because          12 August of 2017, it was a different transaction.
                                                                                          13 I asked a negative and then you said no, sir.             13 Q But you don't know if the things that were
                                                                                          14 A Fair enough.                                            14 contemplated by the policy -- strike that.
                                                                                          15 Q You're saying it's true that you never                  15     As you sit here today, you don't know if
                                                                                          16 saw -- strike that.                                       16 the -- well, strike that.
                                                                                          17      It's true that you have to this day never            17     In April of 2017, you identified pros and
                                                                                          18 seen the entire ATE policy that was actually              18 cons of entering into what was then a contemplated
                                                                                          19 executed, correct?                                        19 ATE transaction, correct?
                                                                                          20 A It is true that to this day the only time               20 A I don't recall if I did or not, sir.
                                                                                          21 I've ever seen any part of the ATE policy was the         21 Q You certainly reviewed the pros and cons
                                                                                          22 one page that I saw on Mr. Sevilla's screen for           22 of entering into a contemplated ATE transaction in
                                                                                          23 about 15 to 20 seconds back in 2018 or '19.               23 approximately April 2017, correct?
                                                                                          24 Q All right. And you're sure about that?                  24     MS. SMITH: Objection, assumes facts not
                                                                                          25 A Yes, I am, sir.                                         25 in evidence.
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                                                                                                                           Transcript of Isaac D. Leventon                                        43 (169 to 172)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 44 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                  169                                                       171
                                                                                          1 A Can you restate the question, sir?                        1       MR. CLUBOK: Yes, this is the complete
                                                                                          2 BY MR. CLUBOK:                                              2  copy  of this attachment. Appendix 1 was sent in a
                                                                                          3 Q You reviewed an identification of the                     3 separate e-mail, which we'll get to.
                                                                                          4 potential benefits of entering into the                     4       MS. SMITH: Okay.
                                                                                          5 contemplated ATE transaction in approximately               5       MR. CLUBOK: When they sent this
                                                                                          6 April 2017, correct?                                        6 PowerPoint, they just had a placeholder for
                                                                                          7      MS. SMITH: Objection to form.                          7 Appendix 1, apparently, at least as far as we can
                                                                                          8    A   I remember it was a concept around that              8 tell.
                                                                                          9 time, but -- that there would be an ATE policy to           9 A I've reviewed the document, sir.
                                                                                          10 fund a potential settlement, but I really don't            10 BY MR. CLUBOK:
                                                                                          11 remember much more than that.                              11 Q Okay. Did you draft this document?
                                                                                          12 BY MR. CLUBOK:                                             12 A I don't know if I did or not.
                                                                                          13 Q Well, you remember that somebody had laid                13 Q Do you recognize it?
                                                                                          14 out the potential benefits of doing that, correct?         14 A I know I've seen it before. I have no
                                                                                          15 A Actually, I don't.                                       15 reason to dispute that I didn't receive it -- or
                                                                                          16 Q Did you have any role in identifying the                 16 send it, I should say.
                                                                                          17 potential benefits of entering into an ATE                 17 Q You didn't just receive it --
                                                                                          18 transaction at any point?                                  18 A I said or send it, I should say.
                                                                                          19 A Not that I recall, but if you would like                 19 Q Okay. And you played some role in
                                                                                          20 to show me a document, I'm happy to have my                20 drafting this document at least, correct?
                                                                                          21 recollection refreshed.                                    21 A I don't remember if I did or not, sir.
                                                                                          22 Q Okay. Let's hand you what's been marked                  22 But the metadata will answer that question kind of
                                                                                          23 as Exhibit 47. Exhibit 47 is an e-mail from you,           23 easily.
                                                                                          24 Isaac Leventon, to JP Sevilla with a subject UBS           24 Q Isn't it true that you drafted this
                                                                                          25 Settlement Structure (9.pptx), and it's dated              25 document together with Stephanie Vitiello?
                                                                                                                                                  170                                                       172
                                                                                          1 April 19th, 2017. And it attaches a document                1      MS. SMITH: Objection, assumes facts not
                                                                                          2 called UBS_Settlement_Structure_9.pptx.                     2 in evidence.
                                                                                          3       Do you see that?                                      3 A If that's what the metadata says, I don't
                                                                                          4 A Yes.                                                      4 dispute it, but I don't know or recall, I should
                                                                                          5 Q And page 1 of Exhibit 47 is the cover                     5 say.
                                                                                          6 e-mail that has no substance in it, other than              6 BY MR. CLUBOK:
                                                                                          7 what I just described, and the remaining pages are          7 Q Who -- do you recall being asked to draft
                                                                                          8 the attachments. Do you see that?                           8 a presentation like this?
                                                                                          9 A I do, yes.                                                9 A I don't remember, sir.
                                                                                          10 Q Now, the first page of the attachment says               10 Q You're looking at this document now and it
                                                                                          11 Settlement Analysis, UBS versus, and has the               11 doesn't ring any bell as to the origin of this
                                                                                          12 Highland logo, correct?                                    12 document?
                                                                                          13 A It does.                                                 13     MS. SMITH: Objection, form.
                                                                                          14 Q And then the first page talks about what                 14 A Like I said, I don't remember if I drafted
                                                                                          15 happens: If Highland does not settle. And then             15 this document or not, but the metadata will answer
                                                                                          16 the second page says: Taxes: If Highland Wins...           16 the question affirmatively.
                                                                                          17 it Loses. Third page says: If Highland does not            17 BY MR. CLUBOK:
                                                                                          18 settle: UBS Appeals. Et cetera, et cetera.                 18 Q We would need the metadata to answer that
                                                                                          19      Do you see that?                                      19 question given your lack of recollection, correct?
                                                                                          20 A I'm reviewing the document.                              20 A You would need the debtor to provide you
                                                                                          21      (Witness reviews document.)                           21 with that metadata.
                                                                                          22      MS. SMITH: While he's looking at this,                22 Q What did you do with this presentation
                                                                                          23 Andy,  is this a complete copy of the exhibit?             23 other than send it to Mr. Sevilla?
                                                                                          24 Because it -- there's an odd Appendix 1 on the             24 A I don't recall. But again, if I sent it
                                                                                          25 last page.                                                 25 to someone else, it would be in the debtor's
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 45 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                              173                                                           175
                                                                                          1 documents.                                              1 BY MR. CLUBOK:
                                                                                          2 Q The second page of the attachment gives a             2 Q At one point you specifically estimated
                                                                                          3 bottom line that there's no upside to going to          3 the liability in excess of hundreds of millions of
                                                                                          4 trial in either the UBS or the Citi matter,             4 dollars -- strike that.
                                                                                          5 correct?                                                5      At one point you, for purposes of a
                                                                                          6 A Correct.                                              6 solvency analysis, estimated the liability at
                                                                                          7 Q Did you -- did Highland go to trial in the            7 being well in excess of $100 million, correct?
                                                                                          8 Citi matter?                                            8      MS. SMITH: Objection to form.
                                                                                          9 A No.                                                   9 A I don't recall what you're talking about,
                                                                                          10 Q What happened in that matter?                        10 but if you want to show me a document to refresh
                                                                                          11 A It settled.                                          11 my recollection, I'm happy to look at it.
                                                                                          12 Q For how much?                                        12 BY MR. CLUBOK:
                                                                                          13 A It was more than 500,000, but I think less           13 Q Do you -- as you sit here today, are you
                                                                                          14 than a million.                                        14 able to deny that you did that?
                                                                                          15 Q Okay. And when?                                      15 A I can neither confirm nor deny it, sir. I
                                                                                          16 A Oh, wow. 2018 or '19 sometime.                       16 just don't know what you're talking about.
                                                                                          17 Q Okay. So sometime after this presentation            17 Q So you -- okay. Getting back to this.
                                                                                          18 was sent in April of 2017, correct?                    18 You believed in April of 2017, that if UBS were to
                                                                                          19 A Correct.                                             19 win, Highland would lose all of the assets in HFP
                                                                                          20 Q And is that Citi matter totally settled,             20 and CDO Fund, correct?
                                                                                          21 done?                                                  21     MS. SMITH: Objection to form. This is
                                                                                          22 A Yes.                                                 22 not necessarily what he believes.
                                                                                          23 Q And it was settled for something less than           23     MR. CLUBOK: Okay. Ms. Smith, I have not
                                                                                          24 a million dollars?                                     24 said anything about your speaking objections.
                                                                                          25 A That's my recollection.                              25 Things like assumes facts not in evidence, saying
                                                                                                                                              174                                                           176
                                                                                          1 Q Okay. So the -- and the UBS case                      1 that comment you made there, I tried to ignore it,
                                                                                          2 meanwhile at this time was -- you knew that the         2 because it goes beyond what you're allowed to say
                                                                                          3 potential liability was over a billion dollars,         3 in this proceeding. You say objection to form and
                                                                                          4 right?                                                  4 nothing else unless you want to -- unless you have
                                                                                          5 A I knew that UBS was alleging over a                   5 a privilege to assert. So please do not make any
                                                                                          6 billion dollars in damages against the                  6 further speaking objections.
                                                                                          7 counterparty funds and it also alleged some quasi       7 BY MR. CLUBOK:
                                                                                          8 contractual claims for that liability against HCM       8 Q Mr. Leventon, isn't it true that in April
                                                                                          9 itself.                                                 9 of 2017, you believed that if UBS wins, Highland
                                                                                          10 Q In fact, you knew that HCM faced potential           10 would lose all the assets in HFP/CDO Fund?
                                                                                          11 liability to backstop HFP and CDO Fund for up to       11 A I believed that that was one of the
                                                                                          12 $1.2 billion; isn't that true?                         12 worst-case scenarios that was possible, yes.
                                                                                          13      MS. SMITH: Objection to form.                     13 Q And you believe that the HFP assets at
                                                                                          14 A I knew that was UBS's argument. I didn't             14 that time in April of 2017, included an
                                                                                          15 necessarily agree with it.                             15 approximately $32 million note payable from the
                                                                                          16 BY MR. CLUBOK:                                         16 donor advised fund or the DAF, correct?
                                                                                          17 Q Right. But you certainly were aware that             17 A It does say that HFP assets include
                                                                                          18 Highland was facing a clawback of $9 million and       18 32 million of DAF note payable.
                                                                                          19 liability to backstop HFP and CDO Fund for up to       19 Q And that DAF refers to a DAF that was
                                                                                          20 $1.2 billion, correct?                                 20 established by Mr. Dondero?
                                                                                          21      MS. SMITH: Objection to form.                     21 A I don't necessarily believe that's
                                                                                          22 A I was aware that that was a possible worst           22 correct, no.
                                                                                          23 case scenario. I didn't necessarily agree that it      23 Q Who was the DAF established by?
                                                                                          24 was probable or that UBS's arguments in support of     24 A I don't know specifically, but I believe
                                                                                          25 that position were valid.                              25 it was the debtor itself.
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 46 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 177                                                          179
                                                                                          1 Q Okay. The debtor, though, was 80 percent                 1 A Sir, my testimony is I know that there was
                                                                                          2 owned by Mr. Dondero, right?                               2 some transaction that would have reduced
                                                                                          3 A I actually don't know.                                   3 Mr. Dondero's economic interest and the documents
                                                                                          4       MS. SMITH: Objection to form.                        4 will speak for themselves as to exactly when that
                                                                                          5 BY MR. CLUBOK:                                             5 transaction took place. I just -- I don't know
                                                                                          6 Q You don't know the ownership of -- prior                 6 exactly when it took place.
                                                                                          7 to bankruptcy, did you know the ownership interest         7 BY MR. CLUBOK:
                                                                                          8 of Mr. Dondero and HCM?                                    8 Q Okay.
                                                                                          9 A Immediately prior to bankruptcy, I think I               9 A And I wasn't involved in that transaction
                                                                                          10 did because we had to know that type of                   10 either.
                                                                                          11 information for kind of first day schedules, but          11 Q All right. The DAF was considered an
                                                                                          12 prior to that, no.                                        12 affiliated entity to Highland Capital Management,
                                                                                          13 Q Did you know -- because it came up many                 13 correct?
                                                                                          14 times in the litigation with UBS and HCM, that            14 A The compliance department via Mr. Surgent
                                                                                          15 Mr. Dondero's stake in HCM in this time frame was         15 determined that the DAF was not -- I don't
                                                                                          16 approximately 80 percent?                                 16 believe -- I think it determined it wasn't an
                                                                                          17      MS. SMITH: Objection. I'm concerned that             17 affiliate.
                                                                                          18 he has confidentiality issues when you're talking         18 Q You believed that if Highland didn't
                                                                                          19 about things that happened in the course of               19 settle, it was facing years of fraudulent transfer
                                                                                          20 settlement or mediation.                                  20 claims throughout the Highland structure, correct?
                                                                                          21      MR. CLUBOK: No, no. This was in public               21      MS. SMITH: Objection, form.
                                                                                          22 documents upon public documents upon public               22 A I believe that that was a possible
                                                                                          23 documents, it was used in open court, it was said         23 worst-case scenario.
                                                                                          24 in the trial. This is nothing confidential at             24 BY MR. CLUBOK:
                                                                                          25 all.                                                      25 Q By the way, you don't use anywhere on this
                                                                                                                                                 178                                                          180
                                                                                          1 BY MR. CLUBOK:                                             1 document that you sent to Mr. Sevilla possible
                                                                                          2 Q Isn't it true, sir, that in 2017,                        2 worst-case scenario to qualify what happens if UBS
                                                                                          3 Mr. Dondero's stake in HCM was approximately               3 wins, correct?
                                                                                          4 80 percent?                                                4       MS. SMITH: Objection to form.
                                                                                          5 A I don't know.                                            5 A No, these are -- if you read the document,
                                                                                          6 Q Okay.                                                    6 these are the kind of two extremes.
                                                                                          7 A It -- I don't know.                                      7 BY MR. CLUBOK:
                                                                                          8 Q You knew at the time of trial that                       8 Q I understand.
                                                                                          9 Mr. Dondero's stake was identified as being                9 A If UBS wins or if Highland wins.
                                                                                          10 approximately 80 percent; isn't that true?                10 Q Okay. But you don't say anywhere this is
                                                                                          11 A The reason I'm qualifying it is because I               11 possible worst-case scenario or otherwise qualify
                                                                                          12 know that there were some transaction that reduced        12 it in this analysis, correct?
                                                                                          13 his interest from whatever it was down to a much,         13 A It doesn't say that on that page.
                                                                                          14 much smaller percentage. I just don't remember            14 Q On the other hand, that if Highland were
                                                                                          15 exactly when that transaction took place.                 15 to win, you understood that that would result in
                                                                                          16 Q Okay. And that transaction you're                       16 over $50 million in tax liability to Mr. Dondero
                                                                                          17 referring to was a transfer to trusts or something        17 personally, correct?
                                                                                          18 that he still had the beneficial ownership in,            18      MS. SMITH: Objection to form.
                                                                                          19 correct?                                                  19 A I don't think that's right. That's not
                                                                                          20 A No, that's not correct.                                 20 what it says here.
                                                                                          21 Q Mr. Dondero had the vast majority of the                21 BY MR. CLUBOK:
                                                                                          22 economic interest in Highland Capital Management          22 Q If you can turn -- but it refers to
                                                                                          23 during the time frame that you wrote this memo;           23 Slide 3. Do you see that?
                                                                                          24 isn't that true?                                          24 A Yes.
                                                                                          25      MS. SMITH: Objection, form.                          25 Q And do you see where it says that: Taxes:
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                                                                                                                         Transcript of Isaac D. Leventon                                          46 (181 to 184)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 47 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                 181                                                           183
                                                                                          1 If Highland wins... it Loses?                              1 BY MR. CLUBOK:
                                                                                          2 A I do see that and it does say -- I was                   2 Q Okay. But you -- again, my question was
                                                                                          3 looking at the second page of the presentation.            3 just about Mr. Dondero, not all the other major
                                                                                          4 Looking at the third page, it does say Mr. Dondero         4 banks and Wall Street. So getting back to my
                                                                                          5 would have to pay approximately $50 million in             5 question. You had specifically discussed with
                                                                                          6 taxes.                                                     6 Mr. Ellington that there would be significant tax
                                                                                          7 Q Yeah. So you understood -- and by the                    7 consequences for Mr. Dondero if Highland were to
                                                                                          8 way, all the other people who would have suffered          8 defeat UBS in the litigation with respect to the
                                                                                          9 tax consequences if Highland were to win would             9 claims against HFP, correct?
                                                                                          10 have had a litigation claim for mismanagement             10 A Well, I'm disagreeing with the word
                                                                                          11 against HCM and Dondero, correct?                         11 specifically, because we discussed that among
                                                                                          12 A They could have asserted that claim. It                 12 numerous other potential parties that would have
                                                                                          13 was -- I mean, my job was to identify risk. That          13 significant tax consequences, not just the ones on
                                                                                          14 was a risk I identified.                                  14 this page.
                                                                                          15 Q And you also understood at the time, that               15 Q I didn't say exclusively, I said
                                                                                          16 Dondero was the decision-maker for Highland               16 specifically. I'm not using the word exclusively.
                                                                                          17 Financial Partners, correct?                              17 I'm using the word specifically. You specifically
                                                                                          18 A I believe that's right.                                 18 identified that there would be a $50 million plus
                                                                                          19 Q And getting back to Mr. Dondero's --                    19 tax hit to Mr. Dondero, correct?
                                                                                          20 consequences to Mr. Dondero, if Highland were to          20 A I don't remember if I drafted this
                                                                                          21 win completely at trial, that would mean that             21 document or not, but this document specifically
                                                                                          22 Mr. Dondero personally would have a $50 million           22 lists a $50 million potential tax liability for
                                                                                          23 tax hit, correct?                                         23 Mr. Dondero.
                                                                                          24 A That's what this says.                                  24 Q So you were aware of that specifically
                                                                                          25 Q And that was your understanding at the                  25 with respect to Mr. Dondero, correct?
                                                                                                                                                 182                                                           184
                                                                                          1 time, right?                                               1 A I would have been aware of that and the
                                                                                          2 A I would say that is what had been                        2 variety of other parties, yes.
                                                                                          3 represented to me by the tax department and it is          3      MR. CLUBOK: Move to strike.
                                                                                          4 nonincumbent on a nontax person to second-guess            4 BY MR. CLUBOK:
                                                                                          5 what the tax department says is going to happen in         5 Q I'm not asking about those. I'm going to
                                                                                          6 a given situation.                                         6 get to what you were aware about the other
                                                                                          7 Q Sure. And it was -- you had also                         7 parties. So with respect to Mr. Dondero, though,
                                                                                          8 discussed that with Mr. Ellington too, that there          8 fair to say that you and Mr. Ellington, amongst
                                                                                          9 would be significant tax consequences for                  9 other conversations about the tax consequences of
                                                                                          10 Mr. Dondero if Highland were to defeat UBS and            10 HFP prevailing, specifically discussed that would
                                                                                          11 therefore HFP were to be solvent, correct?                11 mean more than a $50 million hit to Mr. Dondero,
                                                                                          12 A We had discussed the consequences to                    12 correct?
                                                                                          13 Dondero, but also to all of the other HFP limited         13 A We discussed that among the parties that
                                                                                          14 partners.                                                 14 would suffer significant tax consequences,
                                                                                          15 Q Right. But the specific consequences to                 15 Mr. Dondero was one of them and that the tax
                                                                                          16 Dondero -- economic consequences dwarfed all the          16 department had advised us that his exposure was
                                                                                          17 others, correct?                                          17 approximately $50 million.
                                                                                          18 A Well, this isn't --                                     18 Q Okay. Thank you. Now, by the way, that's
                                                                                          19     MS. SMITH: Objection to form.                         19 because HFP had been insolvent or been declared
                                                                                          20 A This isn't all the limited partners in                  20 insolvent prior to this time, correct?
                                                                                          21 HFP. There were -- almost every Wall Street bank          21 A I believe that's correct.
                                                                                          22 you could think of had a significant interest in          22 Q And HFP, in fact, was insolvent going back
                                                                                          23 HFP and would have been in the same situation as          23 to prior to the time you joined Highland Capital
                                                                                          24 the people listed on Slide 3.                             24 Management in 2009, correct?
                                                                                          25                                                           25 A That's correct.
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 48 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  185                                                           187
                                                                                          1 Q And it's also the case that you had                       1 Q Well, was it truthful?
                                                                                          2 determined -- strike that. I say you.                       2 A I assume so. I have no idea actually.
                                                                                          3      It's also the case that HCM had determined             3 Q Do you have any reason to believe that
                                                                                          4 that CDO Fund was insolvent, correct?                       4 CDO Fund was not insolvent as of March 2009?
                                                                                          5 A I think that's fair, yes.                                 5 A No.
                                                                                          6 Q And they had made that determination prior                6 Q Do you have any reason to believe that HFP
                                                                                          7 to April of 2017, correct?                                  7 was not insolvent as of January 2009?
                                                                                          8 A Yes.                                                      8 A No. Those are accounting determinations
                                                                                          9 Q And SOHC was just -- SOHC just was a                      9 and the accountant's determinations on those
                                                                                          10 wholly owned sub of HFP. So SOHC was also                  10 issues are final.
                                                                                          11 insolvent dating back to prior to when you joined          11 Q But the concern in layman's terms or
                                                                                          12 HCM, correct?                                              12 colloquial terms was that if HFP were to defeat
                                                                                          13     MS. SMITH: Objection, form.                            13 UBS at trial, that insolvency determination might
                                                                                          14   A   I don't know the answer to that question             14 have to be in some measure reversed, thus
                                                                                          15 because I don't remember if there was an                   15 generating tax liability; is that correct, in --
                                                                                          16 insolvency analysis on SOHC.                               16     MS. SMITH: Objection, form.
                                                                                          17 BY MR. CLUBOK:                                             17 BY MR. CLUBOK:
                                                                                          18 Q There was no separate -- you're not aware                18 Q -- in a rough approximation without being
                                                                                          19 of a separate insolvency analysis specific to SOHC         19 technical?
                                                                                          20 as opposed to it being part of the consolidated            20 A It's partially correct.
                                                                                          21 group that included HFP, correct?                          21 Q What's partially not correct?
                                                                                          22 A I remember that there was a letter that                  22 A Well, I think it -- at that time it was
                                                                                          23 went out to HFP investors that said HFP is                 23 both -- for HFP, it was just UBS. For CDO Fund,
                                                                                          24 insolvent and that that was approximately January          24 it was UBS and Citibank, I think.
                                                                                          25 of 2009, but it didn't mention SOHC and there was          25 Q But the Citibank -- was that the million
                                                                                                                                                  186                                                           188
                                                                                          1 no separate equivalent letter for SOHC.                     1 dollar liability -- or the matter to Citibank that
                                                                                          2 Q Okay. Well, there are no investors to                     2 was ultimately settled for less than a million
                                                                                          3 SOHC. SOHC is just a wholly owned sub of HFP,               3 dollars?
                                                                                          4 correct?                                                    4 A Yes.
                                                                                          5 A HFP is SOHC's sole investor, yes.                         5 Q I see. So CDO Fund -- I guess I don't
                                                                                          6 Q Okay. And as of at least January 2009,                    6 understand.
                                                                                          7 HFP was insolvent, correct?                                 7 A Let's back up and do this again.
                                                                                          8 A Yes.                                                      8 Q Sure. With respect to HFP --
                                                                                          9 Q And also as of January 2009, CDO Fund was                 9 A Okay.
                                                                                          10 insolvent?                                                 10 Q -- the concern was that if it were to
                                                                                          11 A I believe that CDO Fund's letter went out                11 defeat UBS at trial and be able to retain some of
                                                                                          12 to its investors closer to like March of 2009, so          12 the assets it held, the insolvency determination
                                                                                          13 it would have been that time period. Now, from an          13 could be reversed to some degree thus generating
                                                                                          14 accounting perspective when exactly were they              14 the tax liability, correct?
                                                                                          15 insolvent, I don't know.                                   15 A I believe that's a fair description
                                                                                          16 Q Okay.                                                    16 without sitting here today and being a tax expert.
                                                                                          17 A But from a legal perspective when did we                 17 Q And there was a similar concern with
                                                                                          18 give notice to -- or when -- let me rephrase,              18 respect to the CDO insolvency determination, if
                                                                                          19 sorry. When did Highland give notice to the                19 somehow CDO were to fully prevail against UBS and
                                                                                          20 investors in those respective entities, those are          20 be able to retain the assets?
                                                                                          21 the documents I've seen and that I remember.               21 A Again, that's partially correct with
                                                                                          22 Q Okay. So CDO Fund was insolvent at or                    22 respect to CDO Fund.
                                                                                          23 prior to March of 2009, correct?                           23 Q Well, you're saying that that was also a
                                                                                          24 A It stated to its investors, I think in                   24 potential concern with respect to Citi in addition
                                                                                          25 March of 2009 that it was insolvent.                       25 to that being true with respect to UBS, correct?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 49 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  189                                                           191
                                                                                          1 A I think for Citi -- let me -- sorry, let                  1 seven-step proposal to determine whether it could
                                                                                          2 me rephrase. For CDO Fund, the insolvency would             2 possibly be considered to be a fraudulent
                                                                                          3 be reversed if it successfully defeated both UBS            3 transfer?
                                                                                          4 and Citibank.                                               4 A In the context, I don't believe that would
                                                                                          5 Q Right. Right. So it -- CDO Fund would                     5 have made any sense to conduct --
                                                                                          6 have had to win both in order to have insolvency            6 Q Is that a no to my question?
                                                                                          7 analysis reversed?                                          7 A -- that analysis. Well, it's a -- it
                                                                                          8 A As of this time period, that's correct.                   8 would have been counterintuitive and non --
                                                                                          9 Q Right.                                                    9 illogical to kind of perform that analysis in
                                                                                          10 A Please let me know when we hit a break.                  10 conjunction with this proposal because this was
                                                                                          11 Q Oh, we can take a break if you want.                     11 supposed to be a proposal for a settlement with
                                                                                          12 A You sure?                                                12 UBS.
                                                                                          13 Q Of course.                                               13 Q And what you testified before under oath
                                                                                          14 A I wanted to let you finish your series of                14 was that the thinking was that there would be a
                                                                                          15 questions.                                                 15 settlement first with a number and then you'd go
                                                                                          16 Q I like to give people breaks within reason               16 out and get an ATE policy to fund that settlement.
                                                                                          17 whenever they ask. You've been good about that.            17 I'm paraphrasing a little, but that's the way
                                                                                          18      THE VIDEOGRAPHER: We are off the record               18 you've described it several times today, correct?
                                                                                          19 at 2:57 p.m.                                               19 A Essentially that you would be on the
                                                                                          20      (Recess taken from 2:57 p.m. CDT to                   20 precipice of settlement, that you would be close
                                                                                          21 3:06 p.m. CDT)                                             21 enough that it was worth going out and getting
                                                                                          22      THE VIDEOGRAPHER: The time is 3:06 p.m.               22 funding for what ultimately would be the
                                                                                          23 We are back on the record.                                 23 settlement.
                                                                                          24 BY MR. CLUBOK:                                             24 Q But in your -- the way you described it
                                                                                          25 Q Going back to page 2, one of the things                  25 earlier today, you would already know the amount
                                                                                                                                                  190                                                           192
                                                                                          1 that was contemplated if UBS wins is that Highland          1 of the settlement prior to getting the ATE policy,
                                                                                          2 could face years of fraudulent transfer claims              2 correct?
                                                                                          3 throughout the Highland structure, correct?                 3 A Maybe that was a slight overstatement. I
                                                                                          4 A That was one of the things that was                       4 should have said approximate amount.
                                                                                          5 contemplated, yes.                                          5 Q Okay. You'd know the approximate amount?
                                                                                          6 Q And fraudulent -- there were fraudulent                   6 A Right.
                                                                                          7 transfers claims in the New York litigation,                7 Q And what was the approximate amount that
                                                                                          8 right, in addition to breach of contract claims we          8 was being contemplated in terms of settling with
                                                                                          9 talked about?                                               9 UBS when this proposal was being considered?
                                                                                          10 A Yes.                                                     10 A I don't know because all the settlement
                                                                                          11 Q When this -- and by the way, this                        11 conversations were -- as far as I was aware, were
                                                                                          12 settlement analysis ends with a proposal -- a              12 between yourself and Mr. Ellington.
                                                                                          13 seven-step proposal, right?                                13 Q What did you understand the approximate
                                                                                          14 A It does appear to have a proposed                        14 amount of settlement that was being contemplated?
                                                                                          15 settlement structure summary.                              15 A I didn't have an understanding.
                                                                                          16 Q As far as you know, was any analysis done                16 Mr. Ellington did not share that information with
                                                                                          17 of this seven-step proposal to determine whether           17 me.
                                                                                          18 it would constitute a fraudulent transfer?                 18 Q You had no idea if it was 1 million or
                                                                                          19 A Well, I guess that assumes -- that assumes               19 $100 million?
                                                                                          20 facts that I disagree with, and I can explain why.         20 A I didn't.
                                                                                          21 Q My question is this: There was a --                      21 Q And did you ever come to have any
                                                                                          22 there's a settlement analysis that includes a              22 understanding at all of a magnitude of a potential
                                                                                          23 seven-step proposal for consideration, right?              23 settlement with UBS?
                                                                                          24 A Yes.                                                     24 A Yes.
                                                                                          25 Q And was there any analysis done about that               25 Q Okay. When was that?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 50 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  193                                                          195
                                                                                          1 A There was a proposed settlement with UBS                  1 struggling with the question, but I -- this is --
                                                                                          2 for I want to say 72.5 million that was drafted             2 this is the summary, I guess, of the potential
                                                                                          3 but never executed. I want to say that was in               3 outcomes if the settlement process is completed.
                                                                                          4 2014 or '15 sometime. That's when I had an                  4 Q If the settlement process that's laid out
                                                                                          5 understanding of a magnitude of potential                   5 in this presentation is completed?
                                                                                          6 settlements with UBS.                                       6 A Yes.
                                                                                          7 Q Okay. And that settlement after -- you                    7 Q Okay. And the first -- one thing that
                                                                                          8 understood that that settlement wasn't executed,            8 would happen is that Sentinel would then control
                                                                                          9 although there was a settlement with two of the             9 HFP/CDO Fund assets, correct?
                                                                                          10 defendants, namely Crusader and Credit Strategies,         10 A That's what this says, yes.
                                                                                          11 correct?                                                   11 Q And it was believed that it was currently
                                                                                          12 A Those were subsequent separate settlement                12 a total of about $94 million, right?
                                                                                          13 agreements is my understanding.                            13 A That's what the document says. I have no
                                                                                          14 Q Okay.                                                    14 independent recollection of that information.
                                                                                          15 A That there was a proposed -- I'll call it                15 Q Who determined that the assets were worth
                                                                                          16 global settlement, which was all of the claims             16 approximately $94 million at this time?
                                                                                          17 filed by UBS against all of the defendants, that           17 A I don't know. It would have been someone
                                                                                          18 was drafted but never fully executed and then              18 in the accounting department most likely.
                                                                                          19 there were separate executed settlements between           19 Q Did they do that at your direction?
                                                                                          20 UBS and Crusader on the one hand and UBS and               20 A I don't remember that.
                                                                                          21 Credit Strategies on the other.                            21 Q Do you see at the very last page of this
                                                                                          22 Q And that was all in the 2014-2015 time                   22 document it says Appendix 1 and it's blank?
                                                                                          23 frame, correct?                                            23 A I do see that, yes.
                                                                                          24 A I think it was primarily 2015.                           24 Q And Ms. Smith asked before if we had a
                                                                                          25 Q Okay. After that point, did you ever                     25 complete document here and I had said I believe
                                                                                                                                                  194                                                          196
                                                                                          1 again hear about any magnitude of a potential               1 that Appendix 1 was sent separately from this
                                                                                          2 settlement with UBS?                                        2 e-mail. And I'm going to hand you what we'll mark
                                                                                          3 A No, not that I recall.                                    3 as Exhibit 67.
                                                                                          4 Q When you were involved with this                          4        (Deposition Exhibit 67 marked for
                                                                                          5 settlement analysis, was there any number being             5 identification.)
                                                                                          6 contemplated for a total amount that would be used          6 BY MR. CLUBOK:
                                                                                          7 to settle with UBS?                                         7 Q Exhibit 67 is an e-mail from you to
                                                                                          8 A I wasn't contemplating any amount and I                   8 Stephanie Vitiello, dated April 13th, 2017, that
                                                                                          9 don't know what other people were or were not               9 is -- got a subject UBS Settlement Assets.xlxs and
                                                                                          10 contemplating.                                             10 it's got an attachment, which is the second page
                                                                                          11 Q Well, let's look at the document further                 11 of Exhibit 67. And you'll note on the fist page
                                                                                          12 and see if it's here. You see on -- let's start,           12 in the cover e-mail it says, Appendix 1. Do you
                                                                                          13 though, with Slide 6. Slide 6 says: If Highland            13 see that?
                                                                                          14 Settles...                                                 14 A I do.
                                                                                          15      You see that?                                         15 Q And if you turn to the second page, you
                                                                                          16 A Yes.                                                     16 see there is a list of assets with the bottom --
                                                                                          17 Q And under -- and this is assuming the                    17 in the middle towards the bottom it says, Total
                                                                                          18 proposal that's going to be laid out step by step          18 Assets 94,057,547. Do you see that?
                                                                                          19 later in the presentation, correct?                        19 A I'm sorry, say that one more time, please.
                                                                                          20 A I'm sorry, say that again.                               20 Q Do you see where there's a subtotal -- or
                                                                                          21 Q This -- if Highland settles and all these                21 there's a total of all the total assets and a
                                                                                          22 things that would happen, this assumes that the            22 black bar towards the bottom of the page? Do you
                                                                                          23 seven-step proposal that's laid out later in the           23 see that?
                                                                                          24 presentation goes into effect, correct?                    24 A The gross assets?
                                                                                          25 A I think that's -- I apologize. I'm                       25 Q Yeah.
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                                                                                                                          Transcript of Isaac D. Leventon                                            50 (197 to 200)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 51 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 197                                                          199
                                                                                          1 A Okay.                                                    1 the Excel spreadsheet. I just don't want to keep
                                                                                          2 Q The gross assets total, according to this,               2 talking about this knowing that I think there's an
                                                                                          3 about $94 million. Do you see that?                        3 error in the formula. It's just like somebody,
                                                                                          4 A I do see that, yes.                                      4 you know, an Excel, like they didn't add the last
                                                                                          5 Q And this document on page 1 is identified                5 line in or something like that, so I believe this
                                                                                          6 as Appendix 1, and you can see at the end of               6 total, which looks like it totals everything, is
                                                                                          7 Exhibit 47, it's a reference to Appendix 1 and the         7 really just totalling everything except for the
                                                                                          8 94 million matches up with page 6. Do you see all          8 cash, just so you know.
                                                                                          9 that?                                                      9 A Okay. I'll -- I won't re-create the math
                                                                                          10 A I do see that, yes.                                     10 here. That's certainly a possibility.
                                                                                          11 Q And Stephanie Vitiello was a woman that                 11 Q And we can do that. We can -- we'll have
                                                                                          12 you said worked with you sometimes on various             12 the Excel thing if we want to do it later. We'll
                                                                                          13 matters?                                                  13 show it to you, but I just want to make that
                                                                                          14 A She's an attorney who worked with me, yes.              14 clear. I'm not trying to -- it looks like, for
                                                                                          15 Q Yeah. And the question is, did you -- who               15 what it's worth, I take it you never -- you never
                                                                                          16 would you have gone to to generate Appendix 1 that        16 knew about that potential error, until I just
                                                                                          17 you were sending to Stephanie Vitiello on                 17 mentioned it, right?
                                                                                          18 April 13th, 2017?                                         18 A I'm kind of embarrassed that there's an
                                                                                          19     MS. SMITH: Objection, form.                           19 error in a Highland document that --
                                                                                          20  A   I don't know specifically. It would have             20 Q Well, it's Excel. I could -- bottom line
                                                                                          21 been someone in the accounting department I would         21 is, I presume that you would have just relied on
                                                                                          22 guess.                                                    22 the Excel, you know, calculation to assume that
                                                                                          23 BY MR. CLUBOK:                                            23 the right number is 94, whether or not there's an
                                                                                          24 Q And that is your e-mail address, right, on              24 error.
                                                                                          25 Exhibit 67?                                               25 A Sir, I honestly don't recall, but I do
                                                                                                                                                 198                                                          200
                                                                                          1 A 67 or 47?                                                1 believe that it -- first of all, I'm not saying --
                                                                                          2 Q 67. The Appendix 1.                                      2 again, you're saying you and I'm not sure that I
                                                                                          3 A Sorry, I was looking at the wrong one.                   3 drafted this document that's attached to
                                                                                          4 Say that -- let's have a clean record. Why don't           4 Exhibit 47. But it does appear that whoever
                                                                                          5 you repeat your question one more time.                    5 drafted it included the number from document 67.
                                                                                          6 Q Sure. Exhibit 67 is an e-mail from you to                6 Q Right. Fair enough. And whoever put
                                                                                          7 Stephanie Vitiello attaching what becomes                  7 together that Excel spreadsheet, I'm not asking
                                                                                          8 Appendix 1 for the settlement analysis that's              8 you to -- I'll represent to you that it appears
                                                                                          9 reflected in Exhibit 47, correct?                          9 there was an error, which you can look at at
                                                                                          10 A I don't have any independent recollection,              10 your -- at the time and just -- I take it -- I
                                                                                          11 but that's what this appears to be.                       11 only bring this up because I take it you never --
                                                                                          12 Q By the way, I will represent to you that                12 no one ever brought this potential error to your
                                                                                          13 we got a native file of Exhibit 67, this Excel            13 attention until now?
                                                                                          14 spreadsheet. And if we need to, we will, but I            14 A I don't remember this document and I don't
                                                                                          15 will tell you for the record that that 94 million         15 remember any mention of an error.
                                                                                          16 appears to be the function of an error in the             16 Q Okay. That's fine.
                                                                                          17 calculation and it seems to have -- that                  17     So turning back, then, to the document.
                                                                                          18 94,057,547 I'll just represent to you and we can          18 When it says Sentinel controls, that's why when I
                                                                                          19 put the Excel spreadsheet up at some point if             19 say currently 94, let's just agree that it was
                                                                                          20 necessary, it's the total for all the assets              20 intended to be the total of Appendix 1 regardless
                                                                                          21 above, not including the cash. So when you add            21 of whether there's an error or not; is that fair?
                                                                                          22 the cash in there, it gets up to something more           22     MS. SMITH: Objection to form.
                                                                                          23 like 98 or 99 million.                                    23   A  Sir, because I don't have any independent
                                                                                          24 A Okay.                                                   24 recollection of this, I can only say that your
                                                                                          25 Q That's my understanding. We can pull up                 25 analysis of the documents seems to be a fair one,
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                                                                                                                          Transcript of Isaac D. Leventon                                        51 (201 to 204)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 52 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 201                                                          203
                                                                                          1 but I'm not saying that's what happened. It just           1 again because the problem is we're so off base
                                                                                          2 happens to be something that might have been what          2 that I'm being -- I'm confused as to how to answer
                                                                                          3 happened.                                                  3 the question.
                                                                                          4 BY MR. CLUBOK:                                             4 BY MR. CLUBOK:
                                                                                          5 Q Okay. Thanks for that clarification.                     5 Q Well, it's your document, so I'm asking --
                                                                                          6       In any event, whether it's 94 or 98, that            6       MS. SMITH: Objection, form.
                                                                                          7 doesn't change the point that's being made in              7 BY MR. CLUBOK:
                                                                                          8 No. 1, which is if Highland settles, Sentinel              8 Q It's a document that you sent to
                                                                                          9 would control the HFP/CDO Fund assets?                     9 Mr. Sevilla, correct?
                                                                                          10 A Which page are you on, sir?                             10 A It is a document that I attached to an
                                                                                          11 Q Back to page 6. So if Highland were to                  11 e-mail to Mr. Sevilla, yes.
                                                                                          12 settle under the proposal that's being                    12 Q And with no -- with no further
                                                                                          13 contemplated in this document, Sentinel would then        13 explanation, you just sent this document to
                                                                                          14 control the HFP/CDO Fund assets referenced in --          14 Mr. Sevilla?
                                                                                          15 at least in Appendix 1?                                   15 A In Exhibit 47, I just sent the document to
                                                                                          16 A That's what this document says.                         16 Mr. Sevilla.
                                                                                          17 Q And the contemplation was that Sentinel                 17 Q Okay. And you at one point in the
                                                                                          18 and Highland Capital Management could then use            18 document -- at one point -- strike that.
                                                                                          19 those assets that had originated at HFP and               19      At one point the document refers to
                                                                                          20 CDO Fund to generate cash to pay a UBS settlement,        20 Dondero's   tax liability as 50 million plus and
                                                                                          21 a Citi settlement and outstanding legal fees,             21 here it talks about HCMLP's $50 million plus tax
                                                                                          22 correct?                                                  22 liability. You see that?
                                                                                          23 A That is what this says.                                 23 A The document refers to Dondero's potential
                                                                                          24 Q And you have no reason to believe that you              24 tax liability of $50 million plus and HCMLP's tax
                                                                                          25 had a different understanding than what was in            25 liability of $50 million plus.
                                                                                                                                                 202                                                          204
                                                                                          1 this document at the time, as you sit here today,          1 Q Right. And I guess if you go back to --
                                                                                          2 correct?                                                   2 A Oh, actually, I answered that question
                                                                                          3 A I don't remember it so I don't remember if               3 wrong. There's going to be part of my testimony
                                                                                          4 I had a different belief or not at the time.               4 I'll need to correct.
                                                                                          5 Q Okay. And then -- and then another                       5 Q Sorry, what --
                                                                                          6 benefit is that it says HCMLP's $50 million tax            6 A Because I messed up.
                                                                                          7 liability would be avoided. Do you see that?               7 Q Go ahead and correct it now, then. As
                                                                                          8 A It does.                                                 8 they say, by the way, deposition testimony is not
                                                                                          9 Q It doesn't say Jim Dondero's $50 million                 9 a take home exam, so please correct it now if you
                                                                                          10 plus tax liability. You see that?                         10 can.
                                                                                          11 A Yeah, I -- it doesn't, but I think you're               11 A So whoever owned HCMLP would be completely
                                                                                          12 conflating two issues.                                    12 irrelevant to the tax liability. It's tax
                                                                                          13 Q How so?                                                 13 liability associated with HFP, not HCMLP.
                                                                                          14 A Well, it's a limited partnership. So the                14 Q Right. It's owners of HFP?
                                                                                          15 liability would be at HCMLP and it would flow             15 A Right. But that means that ownership of
                                                                                          16 through to the limited partners.                          16 HCMLP is not relevant to this inquiry.
                                                                                          17 Q But the only limited partners at HCM at                 17 Q Unless you're treating the economic
                                                                                          18 that time -- or the only significant limited              18 interest of HCMLP interchangeably with Mr. Dondero
                                                                                          19 partners at HCM at that time were Jim Dondero and         19 and a few other limited partners, correct?
                                                                                          20 Mark Okada, right?                                        20      MS. SMITH: Objection, form.
                                                                                          21      MS. SMITH: Objection, form.                          21 A That's -- no, that's completely incorrect,
                                                                                          22 A First of all, I don't remember who the                  22 sir.
                                                                                          23 significant limited partners were. I've already           23 BY MR. CLUBOK:
                                                                                          24 told you that, depending on what time period it           24 Q All right. Let's just continue with the
                                                                                          25 is, but your -- I'm -- here, ask the question             25 document here, though. It says: Residual assets
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                                                                                                                           Transcript of Isaac D. Leventon                                        52 (205 to 208)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 53 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                205                                                           207
                                                                                          1 (up to $50 million) stay at Sentinel.                     1 it be pretty curious to negotiate a settlement
                                                                                          2      Do you see that?                                     2 amount and then buy an insurance policy if you
                                                                                          3 A I do.                                                   3 already know exactly what the settlement amount
                                                                                          4 Q Now, that's residual assets after using                 4 is?
                                                                                          5 the assets to generate cash to pay the UBS                5       MS. SMITH: Objection.
                                                                                          6 settlement. Do you see?                                   6 BY MR. CLUBOK:
                                                                                          7      MS. SMITH: Objection, form.                          7 Q Doesn't that seem curious to you if it was
                                                                                          8    A  It is bullet point 3 below bullet point 2.          8 that way?
                                                                                          9 BY MR. CLUBOK:                                            9       MS. SMITH: Objection, form.
                                                                                          10 Q Sorry, bullet point 4 below bullet                     10 BY MR. CLUBOK:
                                                                                          11 point 2?                                                 11 Q Instead of the way it's laid out here?
                                                                                          12 A Yes, you're right, bullet point 4, below               12 A Not necessarily, no.
                                                                                          13 bullet point 2.                                          13 Q Seems perfectly appropriate to you -- you
                                                                                          14 Q And fair to say, then, that the                        14 said before that ATE policies are standard issue
                                                                                          15 contemplation here is that the total settlements         15 or something -- some comment like that. You
                                                                                          16 in outstanding legal fees would total something          16 remember that?
                                                                                          17 approximately $44 million under what's being             17 A It's a matured industry. It's fairly
                                                                                          18 contemplated on page 6 here?                             18 commonly used in a variety of different
                                                                                          19     MS. SMITH: Objection, form.                          19 jurisdictions.
                                                                                          20   A  That's not really accurate, sir.                    20 Q And is it fairly commonly used after a
                                                                                          21 BY MR. CLUBOK:                                           21 settlement amount has been negotiated to then come
                                                                                          22 Q Why not?                                               22 up with an ATE policy to fund a known settlement
                                                                                          23 A Because bullet point 4 says up to                      23 amount?
                                                                                          24 $50 million.                                             24 A I don't know. I don't know the ATE
                                                                                          25 Q Up to 50 million. Okay. So it's                        25 industry that well to be able to say one way or
                                                                                                                                                206                                                           208
                                                                                          1 contemplated that the total settlement of the             1 another, sir.
                                                                                          2 claims against UBS, Citi -- strike that.                  2 Q Well, you said under oath that it's
                                                                                          3      It's contemplated the total settlement of            3 commonly used, or words to that effect, and my
                                                                                          4 the claims brought by UBS and Citi along with             4 question is do you really have any idea whether
                                                                                          5 outstanding legal fees associated with those              5 it's commonly used in that way, specifically after
                                                                                          6 claims would be at least $40 million and -- plus          6 a settlement amount has been already negotiated?
                                                                                          7 more, up to another $50 million; is that fair?            7 A I don't know one way or another.
                                                                                          8 A I -- I mean, I guess if that's how you                  8 Q Do you know one way or the other whether
                                                                                          9 want to describe the document, sir. But since I           9 the way the ATE policy that was ultimately bought
                                                                                          10 don't remember the document, I really have nothing       10 in this case comports with the common use of ATE
                                                                                          11 to add other than what's on the page.                    11 policies the way you used that phrase earlier
                                                                                          12 Q So turning to page 8, it summarizes the                12 today?
                                                                                          13 UBS Settlement: Structure Summary. Do you see            13 A I've never seen the ATE policy that was
                                                                                          14 that?                                                    14 executed in August 2017, so I don't know one way
                                                                                          15 A I do.                                                  15 or another.
                                                                                          16 Q And Step 1 actually is that HFP and                    16 Q Did you have access to that policy if you
                                                                                          17 CDO Fund buy the $100 million ATE policy from            17 had wanted to see it?
                                                                                          18 Sentinel. Do you see that?                               18 A I think I did at one point.
                                                                                          19 A I do.                                                  19 Q At what point?
                                                                                          20 Q That's the very first thing contemplated               20 A I think it was e-mailed to me at one
                                                                                          21 before even negotiating a settlement amount with         21 point.
                                                                                          22 UBS, according to this document that you sent            22 Q Sorry, it was e-mailed to you?
                                                                                          23 Mr. Sevilla, right?                                      23 A I think that's right.
                                                                                          24 A That's correct.                                        24 Q You said you never had it.
                                                                                          25 Q And indeed if you think about it, wouldn't             25 A No, I said I never looked at it, sir.
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 54 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                  209                                                           211
                                                                                          1 There's a difference.                                       1 had I seen it and I haven't, other than the page.
                                                                                          2 Q It was e-mailed to you and you never --                   2 BY MR. CLUBOK:
                                                                                          3 why was it e-mailed to you?                                 3 Q Has anything happened since I asked you
                                                                                          4 A I don't recall. I would have to -- I                      4 those questions to refresh your recollection that
                                                                                          5 would have to look. I don't remember.                       5 you actually were e-mailed a copy of that policy?
                                                                                          6 Q Did you just remember that it was e-mailed                6 A I'd have to think about it. I don't know.
                                                                                          7 to you? Because I asked you many times earlier              7 Q I'm asking you that question.
                                                                                          8 today if you ever saw the policy. When I asked              8 A I know and I'm thinking --
                                                                                          9 you those questions, did you remember that it had           9 Q It's only been about an hour. Did
                                                                                          10 been e-mailed to you but just didn't mention that?         10 something happen since I asked those questions
                                                                                          11 A I've never seen the policy, sir. That                    11 that refreshed your recollection that you actually
                                                                                          12 is -- that is true.                                        12 had been e-mailed a copy of that policy; anything
                                                                                          13 Q Understood. But when I asked you those                   13 at all?
                                                                                          14 questions earlier today, did you remember that it          14      MS. SMITH: Objection to form.
                                                                                          15 was e-mailed to you, or did something since I              15 A I'd have to think about it, Mr. Clubok. I
                                                                                          16 asked those questions refresh your recollection?           16 don't --
                                                                                          17 A I'd have to think about it. I'm sorry.                   17 BY MR. CLUBOK:
                                                                                          18 Q I would like you to think about that. I                  18 Q Think about it.
                                                                                          19 asked you many times earlier in this deposition            19 A Okay.
                                                                                          20 just within the last couple hours in many                  20 Q Did anything happen since I asked you
                                                                                          21 different ways whether you had ever seen the               21 those questions to refresh your recollection that,
                                                                                          22 policy. What I'd like to know is when I was                22 in fact, you had been e-mailed a copy of that
                                                                                          23 asking those questions and you were giving                 23 policy?
                                                                                          24 answers, did you know, like you just volunteered           24 A I'm not sure. I'd need to think about it
                                                                                          25 now, that it had been e-mailed to you or did               25 further.
                                                                                                                                                  210                                                           212
                                                                                          1 something happen since I asked you those questions          1 Q Did your lawyer show you anything at all
                                                                                          2 to refresh your recollection on that subject?               2 that refreshed your recollection?
                                                                                          3       MS. SMITH: Objection, form.                           3 A No.
                                                                                          4 A I'd have to think about it, Mr. Clubok.                   4 Q Did your lawyer say anything to you in any
                                                                                          5 We could take a break, but I don't -- I don't               5 way that refreshed your recollection?
                                                                                          6 know.                                                       6      MS. SMITH: Objection, privileged.
                                                                                          7 BY MR. CLUBOK:                                              7 A I'm not going to talk about what my lawyer
                                                                                          8 Q I'd like you to think about it and give                   8 said to me.
                                                                                          9 the answer. I've asked you a question. You don't            9 BY MR. CLUBOK:
                                                                                          10 take a break in between a question and answer, as          10 Q Did you speak to anyone at all?
                                                                                          11 you know.                                                  11 A The only people I have conversed with
                                                                                          12 A Fair enough.                                             12 today are my wife and my attorneys.
                                                                                          13 Q So I asked you those questions earlier                   13 Q Did you review anything in --
                                                                                          14 today about whether you'd ever seen the insurance          14 A No, sir.
                                                                                          15 policy and in a number of different ways you said          15 Q And what caused you to suddenly remember
                                                                                          16 absolutely not, except for the one page that was           16 and say that you had been e-mailed a copy of that
                                                                                          17 shown to you on the screen. And my question to             17 policy?
                                                                                          18 you is, when I was asking you those questions, did         18 A I've given you my testimony, sir.
                                                                                          19 you remember that it had been e-mailed to you even         19 Q What caused you to suddenly think of that;
                                                                                          20 if you didn't look at it?                                  20 do you know? Or is your answer you have no idea?
                                                                                          21 A I don't --                                               21 A I mean, I think my answer is that I have
                                                                                          22      MS. SMITH: Objection to form.                         22 nothing to say that's not potentially subject to
                                                                                          23   A  I don't think that was something I was                23 privilege.
                                                                                          24 thinking about when you asked me those questions           24 Q So there was something that occurred that
                                                                                          25 because I was answering the question you asked,            25 caused you to refresh your recollection about
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 55 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  213                                                           215
                                                                                          1 being e-mailed that document but you can't say              1 previously marked as Exhibit 56. This is an
                                                                                          2 because of privilege; is that what you're saying?           2 e-mail from you -- sorry, from JP Sevilla to you,
                                                                                          3       MS. SMITH: Objection, form.                           3 attaching the ATE policy in response to an e-mail
                                                                                          4 A I'm not going to -- I've given you my                     4 that you sent on October 25, 2017, at 3:23 p.m.
                                                                                          5 testimony, sir.                                             5 with the subject: UBS ATE Policy, and a note that
                                                                                          6 BY MR. CLUBOK:                                              6 says: Will you please send me a copy of the final
                                                                                          7 Q Why were you e-mailed a copy of the                       7 executed insurance agreement?
                                                                                          8 policy?                                                     8       Do you see that?
                                                                                          9 A I don't recall.                                           9 A I do.
                                                                                          10      MS. SMITH: Can we go off the record for               10 Q Why did you ask Mr. Sevilla to send you a
                                                                                          11 one second?                                                11 copy of the final executed insurance agreement
                                                                                          12      MR. CLUBOK: Sure.                                     12 that you called the UBS ATE policy?
                                                                                          13      THE VIDEOGRAPHER: Off the -- off the                  13 A I don't recall.
                                                                                          14 record  at 3:34 p.m.                                       14 Q Did you --
                                                                                          15      (Recess taken from 3:34 p.m. CDT to                   15      MS. SMITH: Objection, form.
                                                                                          16 3:42 p.m. CDT)                                             16 BY MR. CLUBOK:
                                                                                          17      THE VIDEOGRAPHER: The time is 3:42 p.m.               17 Q Did you recall that you had asked for this
                                                                                          18 We are back on the record.                                 18 policy before I just showed you this document?
                                                                                          19 BY MR. CLUBOK:                                             19 A Actually, I don't remember this e-mail at
                                                                                          20 Q So earlier today I asked you if you ever                 20 all.
                                                                                          21 tried to see a copy of the ATE policy in                   21 Q And what did you do when you got the
                                                                                          22 connection with your work at Highland and you said         22 policy? You just got it and didn't look at it?
                                                                                          23 I never asked to see a copy of the ATE policy that         23 A Actually I don't even want to look at it
                                                                                          24 I recall. Do you remember that?                            24 now. I haven't seen it before.
                                                                                          25 A Yes.                                                     25 Q Well, I would like you to look at it, and
                                                                                                                                                  214                                                           216
                                                                                          1 Q And at the time I asked you that question,                1 you asked Mr. Sevilla for the policy, correct?
                                                                                          2 were you thinking that you had asked to get a copy          2 A That's what this appears to say, yes.
                                                                                          3 of it but not to see a copy of it? Is that a                3 Q That's your e-mail to Mr. Sevilla, right?
                                                                                          4 distinction you were drawing in your mind when you          4 A Yes.
                                                                                          5 answered that question?                                     5 Q ILeventon@HighlandCapital.com was you in
                                                                                          6 A I don't think so. I was actually                          6 October 2017, right?
                                                                                          7 answering the question that you asked, which was            7 A Yes.
                                                                                          8 did I ever ask to see a policy copy and I never             8 Q Okay. And let's look at the document.
                                                                                          9 did.                                                        9 Your testimony is that you got this -- you made a
                                                                                          10 Q And when I asked you that question did you               10 point of asking Mr. Sevilla for it, you got it and
                                                                                          11 remember that you had asked for a copy of the              11 then you never looked at it?
                                                                                          12 policy?                                                    12 A Correct.
                                                                                          13 A When I was answering that question, I                    13 Q Why?
                                                                                          14 don't believe so. I think I was answering the              14 A I don't remember, sir.
                                                                                          15 question in front of me.                                   15 Q Why did you want it?
                                                                                          16 Q So what's caused you now -- by the way,                  16 A I don't remember, sir.
                                                                                          17 did you ever ask for a copy of the document?               17 Q What did you do with it?
                                                                                          18 A I don't recall, but if you'd like to show                18 A I don't remember, sir.
                                                                                          19 me a document to refresh my recollection, I may            19 Q And you didn't even remember asking for it
                                                                                          20 have.                                                      20 until I just showed you this document, correct?
                                                                                          21 Q Okay. So I earlier asked you if you had                  21 A I didn't remember asking Mr. Sevilla for
                                                                                          22 access to it, you said you did have access. Did            22 it, no.
                                                                                          23 you ever ask for a copy of the policy?                     23 Q Do you consider yourself to have a good
                                                                                          24 A I don't remember.                                        24 memory?
                                                                                          25 Q I'm going to hand you what's been                        25 A You know, I literally send and received
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                                                                                                                         Transcript of Isaac D. Leventon                                             55 (217 to 220)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 56 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                 217                                                           219
                                                                                          1 probably 10,000 e-mails over this time period. I           1 Q That's the entity that we often commonly
                                                                                          2 think I have a decent memory.                              2 referred to as CDO Fund in the UBS New York
                                                                                          3 Q You send and received 10,000 e-mails over                3 litigation, right?
                                                                                          4 what time period?                                          4 A I think that's right.
                                                                                          5 A I mean, if you're talking about over a                   5 Q And Mr. Dondero had authority to sign on
                                                                                          6 four-year period, five-year period, thousands of           6 behalf of CDO Fund at this time?
                                                                                          7 e-mails. I didn't remember this one.                       7 A I suppose he did. It appears that he
                                                                                          8 Q Did you read thousands of documents over                 8 signed on behalf of that entity.
                                                                                          9 that time period?                                          9 Q And also on behalf of CDO Hold Co and
                                                                                          10 A Possibly.                                               10 SOHC, correct?
                                                                                          11 Q So it's possible that you forgot you had                11 A Appears that he signed on behalf of all of
                                                                                          12 read the ATE policy?                                      12 those entities, yes.
                                                                                          13 A No. I am certain that the only part of                  13 Q And CDO Hold Co and SOHC were both subs of
                                                                                          14 the ATE policy I ever read was just the one page.         14 Highland Financial Partners, correct?
                                                                                          15 Q Why? Why did you -- why did you refuse to               15 A They were both owned by Highland Financial
                                                                                          16 read the policy?                                          16 Partners, yes.
                                                                                          17     MS. SMITH: Objection to form.                         17 Q Who negotiated this policy on behalf of
                                                                                          18 A Refuse is not accurate.                                 18 CDO Opportunity Master Fund?
                                                                                          19 BY MR. CLUBOK:                                            19 A I don't know.
                                                                                          20 Q You obtained a copy of it, but you made a               20 Q Who negotiated this policy on behalf of
                                                                                          21 point of not looking at it or opening the                 21 Highland CDO Hold Co?
                                                                                          22 document?                                                 22 A I have no idea.
                                                                                          23     MS. SMITH: Objection to form.                         23 Q So who negotiated this policy on behalf of
                                                                                          24 A That's not accurate, sir.                               24 SOHC?
                                                                                          25                                                           25 A I don't know.
                                                                                                                                                 218                                                           220
                                                                                          1 BY MR. CLUBOK:                                             1 Q You understood, though, that -- strike
                                                                                          2 Q What's unaccurate about that statement?                  2 that.
                                                                                          3 A I don't ever remember consciously thinking               3       Was this the page you looked at on
                                                                                          4 I better not look at this. I don't -- but I                4 Mr. Sevilla's computer to tell you that the -- who
                                                                                          5 certainly know that I didn't look at it.                   5 the insureds were?
                                                                                          6 Q Well, let's open it up and take a look at                6 A I don't think so, no.
                                                                                          7 it. You certainly have looked at the page -- the           7 Q So flip back to page 17. It says page 17
                                                                                          8 last page of the legal liability insurance policy          8 of 16. Do you see that? And I guess they ended
                                                                                          9 is the signature page. Do you see that?                    9 the policy at 16 and then they added 17 and 18 on
                                                                                          10 A I do.                                                   10 top.
                                                                                          11 Q And do you see that it was signed on                    11 A Gosh.
                                                                                          12 behalf of Sentinel Reinsurance by someone named           12 Q I don't know if that's --
                                                                                          13 Andrew Dean, director?                                    13 A Yeah.
                                                                                          14 A I see that, yes.                                        14 Q Or they added 17 and then they added a
                                                                                          15 Q Do you know who Andrew Dean is?                         15 signature page that's 16 but with signatures. Do
                                                                                          16 A I don't.                                                16 you see that?
                                                                                          17 Q Do you know who negotiated the policy on                17 A I do.
                                                                                          18 behalf of Sentinel Reinsurance?                           18 Q Maybe that's a Cayman convention. I don't
                                                                                          19 A No, sir, I don't.                                       19 know. I haven't seen that before.
                                                                                          20 Q Okay. Do you see there where it lists the               20      Is this schedule on what's marked as
                                                                                          21 insureds under the policy?                                21 page 17 of 16, or Bates label ending in 90, 91 of
                                                                                          22 A I do.                                                   22 Exhibit 56, is that the page that you looked at on
                                                                                          23 Q And do you see it lists Highland CDO                    23 Mr. Sevilla's computer?
                                                                                          24 Opportunity Master Fund, LP?                              24 A It might have been.
                                                                                          25 A Yes.                                                    25 Q Certainly -- did you know that the ATE
                                                                                                                                       PLANET DEPOS
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                                                                                                             HIGHLY CONFIDENTIAL - STPO - INFORMATION REDACTED
                                                                                                                          Transcript of Isaac D. Leventon                                        56 (221 to 224)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 57 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  221                                                      223
                                                                                          1 policy was for $100 million?                                1 A The settlement proposal in April was
                                                                                          2 A I don't think I did, no.                                  2 different than the ATE policy purchased in August.
                                                                                          3 Q Well, that matches up exactly with the                    3 Q I believe you said, in words or substance,
                                                                                          4 settlement structure that you had proposed in               4 the transaction contemplated in April of 2017 was
                                                                                          5 which HFP and CDO Fund would buy a $100 million             5 entirely different than the purchased ATE policy
                                                                                          6 ATE policy from Sentinel, right?                            6 in August of 2017?
                                                                                          7       MS. SMITH: Objection, form.                           7 A What I'm --
                                                                                          8  BY  MR.   CLUBOK:                                          8 Q Is that correct?
                                                                                          9 Q Strike that. Let me ask it again.                         9 A What I'm testifying is to, sir, the
                                                                                          10      In Exhibit 47, you passed on a settlement             10 contemplated settlement process, which is what's
                                                                                          11 proposal that contemplated HFP and CDO Fund buying         11 discussed in this document, is different than the
                                                                                          12 a $100 million ATE policy from Sentinel. Do you            12 ATE policy that was purchased in August of 2017.
                                                                                          13 see that?                                                  13 Q Okay. But part of that settlement process
                                                                                          14 A Where are you, sir?                                      14 was the purchase of an ATE policy that was very
                                                                                          15 Q Back to page 8.                                          15 close to what ultimately was purchased in August
                                                                                          16 A Of which document?                                       16 of 2017, correct?
                                                                                          17 Q 47.                                                      17      MS. SMITH: Objection, form.
                                                                                          18 A I see the page.                                          18 A Honestly, I'm seeing this document -- the
                                                                                          19 Q And remember, Exhibit 47 was the                         19 ATE policy for the first time.
                                                                                          20 settlement analysis that was conducted in April of         20 BY MR. CLUBOK:
                                                                                          21 2017 that you claimed was for an entirely separate         21 Q Okay. So you have -- but in your proposal
                                                                                          22 transaction than the executed ATE policy, correct?         22 that was being considered in April of 2017, as
                                                                                          23      MS. SMITH: Objection to form.                         23 part of it, it was HFP and CDO Fund would buy a
                                                                                          24 A Can you rephrase the question? I'm sorry,                24 $100 million ATE policy from Sentinel, correct?
                                                                                          25 I got lost in all of the advocacy of that one.             25      MS. SMITH: Objection, form.
                                                                                                                                                  222                                                      224
                                                                                          1 BY MR. CLUBOK:                                              1 A The document states that HFP and CDO Fund
                                                                                          2 Q There was work done in April of 2017                      2 would buy a $100 million ATE policy from Sentinel
                                                                                          3 that's at least in part reflected by Exhibit 47,            3 as the first of what ultimately were seven steps
                                                                                          4 regarding a potential settlement structure with             4 in a settlement process.
                                                                                          5 UBS, correct?                                               5 BY MR. CLUBOK:
                                                                                          6 A There was a potential settlement structure                6 Q Right. But the purchase of the policy
                                                                                          7 with UBS contemplated in April of 2017.                     7 would be from HFP and CDO Fund. Yes?
                                                                                          8 Q And as part of that, there was a                          8 A Yes.
                                                                                          9 transaction that you've testified about today that          9 Q And it would be a $100 million ATE policy
                                                                                          10 was being considered, correct?                             10 from Sentinel Reinsurance, right?
                                                                                          11 A There is the consideration of purchasing                 11 A From Sentinel, yes.
                                                                                          12 an ATE policy.                                             12 Q And the premium would be all of the assets
                                                                                          13 Q And you said, I'm paraphrasing, that the                 13 in HFP and CDO Fund, correct?
                                                                                          14 April proposed transaction or contemplated                 14 A Right. That's what it says on the page.
                                                                                          15 transaction was entirely different from what               15 Q Okay. And what actually happened is --
                                                                                          16 actually happened when an ATE policy was purchased         16 pursuant to the legal liability insurance policy
                                                                                          17 in August of 2017, correct?                                17 that you asked for a copy of in October 25th,
                                                                                          18     MS. SMITH: Objection, form.                            18 2017, is that Sentinel Reinsurance issued a policy
                                                                                          19 A Whatever my testimony was, it will speak                 19 to SOHC -- sorry, to CDO Fund and two subsidiaries
                                                                                          20 for itself.                                                20 of HFP, correct?
                                                                                          21 BY MR. CLUBOK:                                             21 A Which page are you on, sir?
                                                                                          22 Q Am I getting the gist of your testimony                  22      MS. SMITH: Objection, form.
                                                                                          23 correct, that you said the April proposed                  23 BY  MR.  CLUBOK:
                                                                                          24 transaction was entirely different from the actual         24 Q I'm on the schedule which is marked as
                                                                                          25 consummated August transaction?                            25 page 17 of 16, that you believe you had reviewed
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                                                                                                                        Transcript of Isaac D. Leventon                                       57 (225 to 228)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 58 of 94

                                                                                                                         Conducted on July 22, 2021
                                                                                                                                             225                                                          227
                                                                                          1 on Mr. Sevilla's computer, and it's fair to say        1 do you say that the transaction that was
                                                                                          2 that there was a $100 million ATE policy purchased     2 contemplated in Step 1 of the UBS settlement
                                                                                          3 by HFP and CDO Fund from Sentinel in August of         3 structure reflected in Exhibit 47 is totally
                                                                                          4 2017?                                                  4 different than the actual ATE policy that was
                                                                                          5      MS. SMITH: Objection, form.                       5 purchased a couple months later? Is that your
                                                                                          6 A To clarify my earlier testimony, the only            6 testimony under oath, yes or no?
                                                                                          7 thing I did was I looked at who the insureds were      7       MS. SMITH: Objection, form.
                                                                                          8 on this page. That's all I cared about. I don't        8    A   I can't give you that testimony one way or
                                                                                          9 even remember looking at the rest of the page.         9 another. I'm seeing that ATE policy for the first
                                                                                          10 BY MR. CLUBOK:                                        10 time.
                                                                                          11 Q You knew that the insureds were HFP and             11 BY MR. CLUBOK:
                                                                                          12 CDO Fund, correct?                                    12 Q Okay. So as you sit here today, fair to
                                                                                          13     MS. SMITH: Objection, form.                       13 say that you can't say how closely the actual ATE
                                                                                          14   A  I apparently had to confirm that the             14 policy matches up with what was contemplated as
                                                                                          15 insureds were Highland CDO Opportunity Master         15 part of the proposed UBS settlement structure
                                                                                          16 Fund, LP, Highland CDO Holding Company and            16 reflected in Exhibit 47; is that fair?
                                                                                          17 Highland Special Opportunities Holding Company.       17 A I disagree with one of the premises of
                                                                                          18 That's why I looked at this page.                     18 your question, and I'm happy to explain.
                                                                                          19 BY MR. CLUBOK:                                        19 Q Yeah.
                                                                                          20 Q Right. And that matches up with the                 20 A The April settlement proposal was a series
                                                                                          21 contemplation from your April document, that          21 of steps, but they were all part of a single
                                                                                          22 shorthand, HFP/CDO fund would buy a $100 million      22 proposal. I don't know that we can pull one of
                                                                                          23 ATE policy from Sentinel, correct?                    23 them out and characterize it as something that
                                                                                          24     MS. SMITH: Objection, form.                       24 happened later or didn't happen later. It's a
                                                                                          25 A I don't really know that it does, no.               25 single process with multiple steps.
                                                                                                                                             226                                                          228
                                                                                          1 BY MR. CLUBOK:                                         1 Q Okay.
                                                                                          2 Q You're sitting here -- now that you're               2      MR. CLUBOK: I'm going to move to strike
                                                                                          3 looking at these, you claim that the Step 1            3 as nonresponsive.
                                                                                          4 HFP/CDO Fund buy a $100 million ATE policy from        4 BY MR. CLUBOK:
                                                                                          5 Sentinel, using all the assets in HFP and CDO Fund     5 Q I just want you to focus on my question
                                                                                          6 doesn't match up with the actual purchase of a         6 and please don't make points about things I'm not
                                                                                          7 $100 million ATE policy from Sentinel as reflected     7 asking you.
                                                                                          8 in Exhibit 56?                                         8      Step 1 of the proposed settlement
                                                                                          9       MS. SMITH: Objection, form.                      9 structure that is reflected in Exhibit 47 is
                                                                                          10 A The documents speak for themselves. I'm             10 substantially similar as what actually occurred
                                                                                          11 looking at one document I didn't even remember and    11 with the purchase of the ATE policy in August.
                                                                                          12 know that I've drafted and another document I've      12 True or not true, or you can't -- you don't know?
                                                                                          13 never seen.                                           13     MS. SMITH: Objection, form.
                                                                                          14 BY MR. CLUBOK:                                        14 A I'm just seeing the ATE policy for the
                                                                                          15 Q Yeah. The documents do speak for                    15 first time today and frankly haven't even had a
                                                                                          16 themselves. I want -- but I asked you for your        16 chance to review the whole document. And I also
                                                                                          17 testimony earlier. And we have a record of what       17 wouldn't pull one step out of the April proposal
                                                                                          18 you said.                                             18 and characterize it. So I don't believe I can
                                                                                          19 A Okay.                                               19 answer your question as asked.
                                                                                          20 Q And what you said about how separate these          20 BY MR. CLUBOK:
                                                                                          21 transactions were. I'm not trying to quote the        21 Q The reason you can't answer -- I am asking
                                                                                          22 exact words, but we've got pages of transcript        22 you, if you could, to compare Step 1, which says:
                                                                                          23 from earlier today about exactly what you said        23 HFP/CDO Fund buy a $100 million ATE policy from
                                                                                          24 under oath.                                           24 Sentinel, using a premium of all the assets in
                                                                                          25      And my question now is, as you sit here,         25 HFP/CDO Fund to what actually happens in August.
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                                                                                                                           Transcript of Isaac D. Leventon                                          58 (229 to 232)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 59 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                  229                                                          231
                                                                                          1 And I want to know if that -- what was                      1 doing what you're doing, which is just claim
                                                                                          2 contemplated as Step 1 is substantially the same            2 you've answered a question instead of just
                                                                                          3 as what occurred in August, or if you believe it            3 answering the question, even if you believe I've
                                                                                          4 was not substantially the same or if you don't              4 asked it twice. I hope your attorneys --
                                                                                          5 know because you don't know enough about the                5       MS. SMITH: Objection.
                                                                                          6 details of what happened in August to make that             6 BY MR. CLUBOK:
                                                                                          7 comparison? That's the only question I'm asking             7 Q -- tell you not to do that but we're going
                                                                                          8 you. Can you please answer that question?                   8 to move on and we'll reserve that.
                                                                                          9        MS. SMITH: Objection, asked and answered.            9 A Let me give you a full answer. I disagree
                                                                                          10 A I've given you my testimony, sir.                        10 with the premise of your question, sir, and I
                                                                                          11 BY MR. CLUBOK:                                             11 cannot answer it as asked.
                                                                                          12 Q My question is, was Step 1, as                           12 Q In August of 2017, did HFP and CDO Fund
                                                                                          13 contemplated in Exhibit 47, substantially the same         13 buy a $100 million ATE policy from Sentinel using
                                                                                          14 as what actually occurred in August, or do you not         14 all of the assets in HFP and CDO Fund?
                                                                                          15 know about the -- enough about the August                  15 A I don't know.
                                                                                          16 transaction to say one way or the other?                   16 Q Did anyone ever tell you whether or not
                                                                                          17 A I've given you my --                                     17 that occurred?
                                                                                          18       MS. SMITH: Objection, asked and answered.            18 A I don't remember ever being told that.
                                                                                          19 A I've given you my testimony, sir.                        19 Q Did you know that the purchase of the
                                                                                          20 BY MR. CLUBOK:                                             20 ATE policy in 2017 was made using assets of HFP
                                                                                          21 Q My question is, as con -- I have a right                 21 and CDO Fund?
                                                                                          22 to ask this question. This is cross-examination.           22      MS. SMITH: Objection, form.
                                                                                          23 And I'm going to ask the Court for more time with          23 A I don't think I can really answer the
                                                                                          24 you if we don't get an answer to this question.            24 question as asked.
                                                                                          25 It's very simple, without saying you've answered           25
                                                                                                                                                  230                                                          232
                                                                                          1 it. You just listen to my question and please try           1 BY MR. CLUBOK:
                                                                                          2 to answer this question, regardless of whether you          2 Q Why not?
                                                                                          3 believe you've answered this question or not.               3 A I didn't -- well, let me rephrase. I
                                                                                          4      Step 1, that's identified on page 8 of the             4 didn't know what assets went over.
                                                                                          5 presentation attached as part of Exhibit 47,                5 Q Did you believe -- you knew that there was
                                                                                          6 describes the purchase of a $100 million ATE                6 an ATE policy that had been purchased, right?
                                                                                          7 policy from Sentinel by HFP and CDO Fund using as           7 A Yes.
                                                                                          8 the premium all of the assets in HFP and CDO Fund.          8 Q And you knew who the insureds were, right?
                                                                                          9      And my question is, is that Step 1 the                 9 A Yes.
                                                                                          10 same as what ultimately occurred substantially in          10 Q And did you know that some or all of the
                                                                                          11 August of 2017, or do you believe it is not                11 purchase was made using assets from the CDO Fund
                                                                                          12 substantially the same or do you not know enough           12 and HFP?
                                                                                          13 about the August transaction to answer that                13 A I didn't know what the consideration was
                                                                                          14 particular question?                                       14 for the policy.
                                                                                          15 A My response to the question was that I did               15 Q You knew, though, that as of April 2017,
                                                                                          16 not believe I could answer the question as phrased         16 as part of the settlement structure laid out, the
                                                                                          17 and I gave you the reasons I did not believe I             17 contemplation was that the entire consideration
                                                                                          18 could answer the question as phrased. That was my          18 for the ATE policy that was being considered as
                                                                                          19 testimony. And that is still my testimony in               19 part of that analysis would come from HFP and
                                                                                          20 response to the same question, sir.                        20 CDO Fund, correct?
                                                                                          21     MR. CLUBOK: Move to strike as                          21      MS. SMITH: Objection, form.
                                                                                          22 nonresponsive. We'll mark this document.                   22 A What I was aware of was in April 2017, it
                                                                                          23 BY MR. CLUBOK:                                             23 was contemplated that Sentinel and HMLP can use
                                                                                          24 Q We're going to call you back. It's not                   24 HFP and CDO Fund assets to generate cash to pay
                                                                                          25 acceptable to this court for any witness to keep           25 UBS, Citi and outstanding legal bills.
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                                                                                                                          Transcript of Isaac D. Leventon                                        59 (233 to 236)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 60 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 233                                                         235
                                                                                          1       MR. CLUBOK: Move to strike as                        1 Okay. So please try hard to listen to my
                                                                                          2  nonresponsive.                                            2 questions the rest of the way and just answer the
                                                                                          3 BY MR. CLUBOK:                                             3 questions I ask and not questions you decide to
                                                                                          4 Q You knew that in April 2017 as part of the               4 answer. Okay?
                                                                                          5 settlement structure, Step 1 was the purchase of           5       MS. SMITH: Andy, I think this might be a
                                                                                          6 an ATE policy for HFP and CDO Fund with the entire         6 good time for a break.
                                                                                          7 consideration for that purchase coming from assets         7 BY MR. CLUBOK:
                                                                                          8 in HFP and CDO Fund, correct?                              8 Q Do you need a break, Mr. Leventon?
                                                                                          9       MS. SMITH: Objection, form.                          9 A I believe I do.
                                                                                          10 A I can characterize what's on the page,                  10 Q Then we will take a break.
                                                                                          11 which is HFP and CDO Fund would buy a $100 million        11      THE VIDEOGRAPHER: We are off the record
                                                                                          12 ATE policy from Sentinel and the ATE premium,             12 at 4:07 p.m.
                                                                                          13 apparently, was going to be all the assets in HFP         13      (Recess taken from 4:07 p.m. CDT to
                                                                                          14 and CDO Fund.                                             14 4:17  p.m. CDT)
                                                                                          15 BY MR. CLUBOK:                                            15      THE VIDEOGRAPHER: The time is 4:17 p.m.
                                                                                          16 Q And there's no other consideration that                 16 We are back on the record.
                                                                                          17 you're aware of that was being contemplated to pay        17 BY MR. CLUBOK:
                                                                                          18 for the ATE policy that was part of the proposal          18 Q Sir, did you ever send the insurance
                                                                                          19 being discussed in April 2017, correct?                   19 policy to anybody?
                                                                                          20 A I don't remember --                                     20 A I don't remember if I did or not.
                                                                                          21      MS. SMITH: Objection, form.                          21 Q Who's Chris Dunn?
                                                                                          22      THE WITNESS: Sorry.                                  22 A Chris was an accountant at Highland. I
                                                                                          23 A I don't remember the proposal from                      23 think a junior fund accountant.
                                                                                          24 April 2017, so I can't add or subtract from what's        24 Q I'm going to hand you what's been marked
                                                                                          25 on the page.                                              25 as Exhibit 57. It's a cover e-mail from you
                                                                                                                                                 234                                                         236
                                                                                          1 BY MR. CLUBOK:                                             1 attaching the UBS_ATE.PDF, dated October 26, 2017.
                                                                                          2 Q My -- please listen to my question. As                   2 Do you see that?
                                                                                          3 you sit here today, you are not aware of any other         3 A Hold on one moment, please. I do see
                                                                                          4 consideration that was being contemplated to pay           4 that, yes.
                                                                                          5 for the ATE policy that was being discussed in             5 Q And this is an instance of you forwarding
                                                                                          6 April 2017 other than the assets from the HFP and          6 the UBS after-the-event policy to Chris Dunn on
                                                                                          7 CDO Fund, correct?                                         7 October 26, 2017, correct?
                                                                                          8 A Sitting here today, I don't remember one                 8 A Yes.
                                                                                          9 way or another, sir.                                       9 Q And you tell -- you don't -- you tell
                                                                                          10 Q So you are not aware of any other                       10 Mr. Dunn: Please label all communications related
                                                                                          11 consideration that was being contemplated,                11 to this project as Privileged as all documents are
                                                                                          12 correct?                                                  12 being drafted at the request of the Legal Team.
                                                                                          13      MS. SMITH: Objection, form.                          13      Do you see that?
                                                                                          14 BY MR. CLUBOK:                                            14 A I do.
                                                                                          15 Q As you sit here today?                                  15 Q What documents did you request Mr. Dunn
                                                                                          16 A As I sit here today, yes.                               16 draft in connection with this ATE policy?
                                                                                          17 Q Okay.                                                   17      MS. SMITH: Objection, form.
                                                                                          18 A Was I ever aware, I don't know.                         18 A I never requested Mr. Dunn draft any
                                                                                          19 Q I didn't ask if you were ever aware. I'm                19 documents in connection with the ATE policy.
                                                                                          20 going to ask you for the rest of this deposition,         20 BY MR. CLUBOK:
                                                                                          21 in order to avoid me needing to seek more time,           21 Q What did you request Mr. Dunn do in
                                                                                          22 that you please listen to the question I ask and          22 connection with the ATE policy?
                                                                                          23 answer the question I ask and not one that you            23 A I don't recall. I don't recall if I
                                                                                          24 make up. I didn't ask you if you ever were aware.         24 requested him to do anything with it.
                                                                                          25 I said as you sit here today, are you aware.              25 Q Well, you talk about this project. You
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 61 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 237                                                          239
                                                                                          1 refer to this project. Do you see?                         1 you also understand that you have to
                                                                                          2 A I do.                                                    2 affirmatively -- do you believe when you're
                                                                                          3 Q What's this project that you're referring                3 answering these questions, I just want to
                                                                                          4 to?                                                        4 understand what your -- your process when you're
                                                                                          5 A I mean, I can speculate, but I don't                     5 answering questions, do you believe you have an
                                                                                          6 recall.                                                    6 obligation not to omit intentionally information
                                                                                          7 Q Give your best educated guess.                           7 that is necessary to make the statements you say
                                                                                          8 A Something having to do with the UBS                      8 fully true?
                                                                                          9 ATE policy.                                                9 A I mean, I answer the questions fully and
                                                                                          10 Q You know nothing beyond that?                           10 truthfully. That's what I can say, sir.
                                                                                          11 A I don't.                                                11 Q Yeah. My question is in the -- when you
                                                                                          12 Q Do you have any educated assumption about               12 do that, do you believe, as you sit here today,
                                                                                          13 what this was beyond that it had something to do          13 that you have an obligation not to omit
                                                                                          14 with the UBS ATE policy?                                  14 information that's necessary to make a statement
                                                                                          15 A When you say this, you're talking about                 15 that you have made fully true?
                                                                                          16 the e-mail to Mr. Dunn?                                   16      MS. SMITH: Objection. You've already
                                                                                          17 Q I'm talking about the project you                       17 asked him that and he's answered. You're
                                                                                          18 reference, as if he knows what you're talking             18 badgering him now.
                                                                                          19 about when you send this policy to Mr. Dunn.              19      MR. CLUBOK: The record's going to show
                                                                                          20 A I mean, I don't have a recollection, I                  20 he's not answered this question and I think it's
                                                                                          21 guess. I'm trying to figure out if I have an              21 an important question for the judge to know and I
                                                                                          22 educated guess. I mean, there were a number of            22 think it's a perfectly fair --
                                                                                          23 things that that could have referenced.                   23      MS. SMITH: You're testifying now.
                                                                                          24 Q Mr. Leventon, in the course of this                     24      MR. CLUBOK: So are you. We're not
                                                                                          25 deposition, you understand you have an obligation         25 supposed to -- you should limit yourself to
                                                                                                                                                 238                                                          240
                                                                                          1 to affirmatively tell the truth, right?                    1 objection to form and I should limit myself, so
                                                                                          2 A Yes.                                                     2 I'm going to ask my question again and I'm going
                                                                                          3 Q Do you understand as part of that                        3 to try not to take the bait of this argument. I
                                                                                          4 obligation, you also can't intentionally omit              4 agree with you, it's inappropriate.
                                                                                          5 information that is necessary to make a statement          5 BY MR. CLUBOK:
                                                                                          6 you're saying the complete truth?                          6 Q Mr. Leventon, when you are answering these
                                                                                          7       MS. SMITH: Objection.                                7 questions, do you believe you have an obligation
                                                                                          8 BY MR. CLUBOK:                                             8 not to intentionally omit material information
                                                                                          9 Q Do you have that understanding?                          9 that's necessary to make one of your answers
                                                                                          10      MS. SMITH: Objection.                                10 completely truthful?
                                                                                          11 A I'm going to testify fully and truthfully               11 A I have to fully and truthfully answer a
                                                                                          12 to the best of my ability.                                12 question, but I am not obligated to answer a
                                                                                          13 BY MR. CLUBOK:                                            13 question I haven't been asked, is my understanding
                                                                                          14 Q When you're answering questions in this                 14 of the rules.
                                                                                          15 deposition, do you understand that you have an            15 Q And do you believe you're allowed to
                                                                                          16 obligation not to omit information that is                16 intentionally omit material information that might
                                                                                          17 necessary to make statements you are making true?         17 be necessary to make an answer you give completely
                                                                                          18      MS. SMITH: Objection. Mr. Clubok, you're             18 true?
                                                                                          19 badgering him now.                                        19     MS. SMITH: Objection, form.
                                                                                          20 A I'll accept my counsel's instructions on                20 BY MR. CLUBOK:
                                                                                          21 how to conduct a deposition.                              21 Q Yes or no?
                                                                                          22 BY MR. CLUBOK:                                            22 A I'm not allowed to omit information that
                                                                                          23 Q I'm asking your understanding of when                   23 would make an answer to a question asked true, but
                                                                                          24 you're trying to answer these questions, you know         24 I don't believe I have an obligation to educate
                                                                                          25 that you're not supposed to affirmatively lie. Do         25 the questioning lawyer with respect to questions
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                                                                                                                         Transcript of Isaac D. Leventon                                             61 (241 to 244)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 62 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                 241                                                           243
                                                                                          1 they haven't asked.                                        1 about it directly or was told by somebody that
                                                                                          2 Q Okay. So with respect to this e-mail that                2 that was his determination.
                                                                                          3 relates -- that references this project, do you            3 BY MR. CLUBOK:
                                                                                          4 know anything else at all about what this project          4 Q I'm going to hand you what's been marked
                                                                                          5 may have been other than it relates somehow to the         5 as Exhibit 61. It's an e-mail chain, the top one
                                                                                          6 UBS after-the-event policy that was purchased by           6 being an e-mail from Scott Ellington to you
                                                                                          7 HFP and CDO Fund?                                          7 copying JP Sevilla. Here's a color version if it
                                                                                          8 A My answer previously was that I don't                    8 helps you. That's the official marked one, but
                                                                                          9 recall, but that I was prepared to give my                 9 there's a color version if --
                                                                                          10 educated guess.                                           10 A I'm going to put the marked version into
                                                                                          11 Q Okay. And that guess is?                                11 the pile and I'm going to look at the color
                                                                                          12 A It had something to do with the audits                  12 version.
                                                                                          13 being run by the accounting team, where you would         13 Q This is the last few pages of that.
                                                                                          14 do some sort of risk analysis, potentially, in            14 A Is this --
                                                                                          15 order to determine if something goes into an audit        15      MS. SMITH: Shannon, could I have a copy
                                                                                          16 or not.                                                   16 of the color version also?
                                                                                          17 Q When did you first become aware of                      17      MR. CLUBOK: I'm going to suggest that we
                                                                                          18 Sentinel Reinsurance?                                     18 agree that we can swap in the color version for
                                                                                          19 A I knew there was a reinsurance company in               19 Exhibit 61 if that's okay with you? Is that all
                                                                                          20 the Cayman Islands in 2013 sometime, but I don't          20 right, Ms. Smith?
                                                                                          21 recall if I knew the name or not.                         21      MS. SMITH: That works for me. Well, I
                                                                                          22 Q Did you know who owned Sentinel when you                22 can't tell if it's the same.
                                                                                          23 were talking about potentially having CDO Fund and        23      MR. CLUBOK: It's the same. We're
                                                                                          24 HFP buy an ATE policy in April of 2017?                   24 representing it's the same. We printed it out
                                                                                          25 A I mean, I knew it was somehow associated                25 with a color copier instead of the black-and-white
                                                                                                                                                 242                                                           244
                                                                                          1 with Mr. Dondero and Mr. Ellington, but I didn't           1 version we had yesterday.
                                                                                          2 know who owned it.                                         2      MS. SMITH: Okay.
                                                                                          3 Q Did you know that those two had beneficial               3      MR. CLUBOK: So we'll work on that with
                                                                                          4 economic interests in Sentinel?                            4 the court reporter to --
                                                                                          5 A I don't know -- I didn't know that then                  5      MS. SMITH: So you're tossing the old --
                                                                                          6 and I don't believe I know that now.                       6      (Simultaneous discussion interrupted by
                                                                                          7 Q You were never provided any information                  7 reporter.)
                                                                                          8 showing the beneficial ownership of Sentinel               8      MR. CLUBOK: We'll do that off the record
                                                                                          9 during that time frame; is that what you're                9 at the end to replace the version 61 that's in
                                                                                          10 testifying to?                                            10 black and white with a color version.
                                                                                          11      MS. SMITH: Objection, form.                          11 BY MR. CLUBOK:
                                                                                          12   A   I don't recall ever seeing the beneficial           12 Q And we've got a color version for
                                                                                          13 ownership of Sentinel.                                    13 Mr. Leventon in front of him just for ease of use.
                                                                                          14 BY MR. CLUBOK:                                            14 Do you see that there was a file that was
                                                                                          15 Q Did you know that -- did you ever come to               15 circulated amongst a number of people, with
                                                                                          16 believe that Sentinel was an affiliated investor?         16 Sentinel being presented as an affiliated investor
                                                                                          17      MS. SMITH: Objection, form.                          17 in Multi Strat. Do you see that?
                                                                                          18 A It would have been whatever Mr. Surgent                 18 A I'm sorry, say that one more time, please.
                                                                                          19 and the compliance department determined and I            19 Q There is a document that was being
                                                                                          20 believe his determination is that it wasn't an            20 circulated in December of 2017, and on the first
                                                                                          21 affiliated investor.                                      21 page it identifies Sentinel (from Highland
                                                                                          22 BY MR. CLUBOK:                                            22 CDO Fund) as an affiliated investor in what was
                                                                                          23 Q Why?                                                    23 called Credit Opps and later became known as
                                                                                          24      MS. SMITH: Objection, form.                          24 Multi Strat.
                                                                                          25 A Because I believe I either spoke to him                 25     MS. SMITH: Objection, form.
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                                                                                                                          Transcript of Isaac D. Leventon                                            62 (245 to 248)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 63 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  245                                                            247
                                                                                          1 A I see on Bates number 020562 toward the                   1 Q Okay. So as I said, this document gets
                                                                                          2 bottom, an e-mail from Mr. Taylor Colbert to Trey           2 forwarded apparently to Mr. Surgent, who in turn
                                                                                          3 Parker, copying a bunch of people, stating: As              3 forwards it to Scott Ellington with a statement,
                                                                                          4 discussed, please see the updated file with                 4 let's discuss. Do you see that?
                                                                                          5 Sentinel being presented as an affiliated                   5 A I guess that's right.
                                                                                          6 investor.                                                   6 Q And --
                                                                                          7 BY MR. CLUBOK:                                              7 A Maybe.
                                                                                          8 Q And if you look at the attachment, the                    8 Q -- Mr. Ellington in turn forwards it to
                                                                                          9 first page, you can see where it identifies                 9 you and JP Sevilla and says: See below and
                                                                                          10 Credit Opps Investors by NAV, Sentinel Re Holdings         10 attached and please call me tomorrow on this, from
                                                                                          11 is included, along with the others that are not            11 his iPhone. Do you see that?
                                                                                          12 shaded to reflect being affiliated investors.              12 A I do.
                                                                                          13      MS. SMITH: Objection, form.                           13 Q Do you remember him calling you about
                                                                                          14 BY   MR. CLUBOK:                                           14 this?
                                                                                          15 Q Do you see that?                                         15 A No, I do not.
                                                                                          16 A Sorry, sir, give me a moment, please.                    16      MS. SMITH: Objection, form.
                                                                                          17 This isn't completely straightforward.                     17      MR. CLUBOK: What is the objection form on
                                                                                          18      (Witness reviews document.)                           18 that question?
                                                                                          19 A Okay. I see that there's nothing on                      19      MS. SMITH: This says please call me
                                                                                          20 nonaffiliated master for Sentinel Re Holdings,             20 tomorrow   on this and you asked do you remember if
                                                                                          21 Ltd.                                                       21 he called you.
                                                                                          22 BY MR. CLUBOK:                                             22      MR. CLUBOK: Right. What is the form
                                                                                          23 Q What?                                                    23 objection?
                                                                                          24 A On one, two, three, four -- fifth column                 24      MS. SMITH: I thought you were asking it
                                                                                          25 over, top of the first page on the attachment,             25 backwards.
                                                                                                                                                  246                                                            248
                                                                                          1 it -- there are percentages of non-affiliated               1      MR. CLUBOK: Okay.
                                                                                          2 master and it does not have an entry for Sentinel.          2 BY MR. CLUBOK:
                                                                                          3 Q Right. So Sentinel is identified as                       3 Q Do you remember Mr. Ellington calling you
                                                                                          4 having some interest in the master and some                 4 about this?
                                                                                          5 interest in the offshore, and like other entities,          5 A No.
                                                                                          6 for example, HCMLP and Mark Okada and Dugaboy,              6 Q Do you remember ever discussing
                                                                                          7 they are listed as being affiliated as opposed to           7 Multi Strat's cash projections on or about
                                                                                          8 non-affiliated in connection with Credit Opps,              8 December of 2017?
                                                                                          9 correct?                                                    9 A No.
                                                                                          10     MS. SMITH: Objection, form.                            10 Q Do you recall ever discussing whether
                                                                                          11 A I think that's probably fair, yes.                       11 Sentinel was an affiliated investor in connection
                                                                                          12 BY MR. CLUBOK:                                             12 with its investment of Multi Strat in December of
                                                                                          13 Q And this document gets forwarded to                      13 2017?
                                                                                          14 Thomas Surgent who in turn forwards this to Scott          14 A I don't specifically recall December 2017,
                                                                                          15 Ellington saying, let's discuss. Do you see that?          15 but I do know that at some point the compliance
                                                                                          16 A I don't mean to quibble with you, but                    16 department via Mr. Surgent made the determination
                                                                                          17 Mr. Surgent appears to have been one of the                17 that it was not an affiliated investor.
                                                                                          18 initial people copied on Mr. Colbert's e-mail at           18 Q Why do you know that?
                                                                                          19 5:50 p.m. on December 1 and then Mr. Surgent               19 A I believe my testimony was I either -- I
                                                                                          20 forwards that to Mr. Ellington.                            20 don't remember if I spoke to Mr. Surgent about it
                                                                                          21 Q Okay. If you look down to Mr. Colbert's                  21 directly or heard from somebody indirectly that
                                                                                          22 original e-mail December 1st, 2017, Mr. Surgent is         22 that had been Mr. Surgent's determination.
                                                                                          23 not copied, correct?                                       23 Q And do you know the basis that that
                                                                                          24 A I'm looking at this for the first time and               24 determination was supposedly made on?
                                                                                          25 that apparently is correct.                                25 A I don't. It would be the purview of the
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                                                                                                                          Transcript of Isaac D. Leventon                                           63 (249 to 252)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 64 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  249                                                         251
                                                                                          1 compliance department to make those calls.                  1 BY MR. CLUBOK:
                                                                                          2 Q Do you see on the attachment where it says                2 Q So in April of 2017, you know that
                                                                                          3 Sentinel (from Highland CDO Fund)? Do you see               3 CDO Fund had ownership interest in the entity that
                                                                                          4 that?                                                       4 was then called Credit Opps that later became
                                                                                          5 A Yes.                                                      5 known as Multi Strat, correct?
                                                                                          6 Q And fair to say that the interest in                      6 A I certainly had this schedule. I don't
                                                                                          7 Sentinel had been owned by CDO Fund prior to the            7 remember focusing on it particularly, but I know I
                                                                                          8 purchase of the ATE policy?                                 8 had it.
                                                                                          9 A I'm sorry, can you say that one more time,                9 Q Okay. And you know that by the end of the
                                                                                          10 please?                                                    10 year, CDO Funds' interest in Credit
                                                                                          11 Q Yeah. The interest that's referenced here                11 Opportunities/Multi Strat came to be owned by
                                                                                          12 from Sentinel had been an interest that was owned          12 Sentinel pursuant to this schedule attached to
                                                                                          13 by the Highland CDO Fund until the purchase of the         13 Exhibit 61, correct?
                                                                                          14 ATE policy in August of 2017?                              14     MS. SMITH: Objection, form.
                                                                                          15 A I don't actually know what assets were                   15 A Hold on. This is the -- that was in the
                                                                                          16 involved in that ATE policy, but it would -- it            16 attachment that was sent to me.
                                                                                          17 would be a fair assumption.                                17 BY MR. CLUBOK:
                                                                                          18 Q You certainly know that there was assets                 18 Q So that's a yes?
                                                                                          19 in Sentinel that were being held by CDO Fund when          19 A I'm not meaning to quibble about -- I know
                                                                                          20 you were doing your April 2017 analysis, correct?          20 I received these documents. I have no dispute
                                                                                          21 A Say that one more time, please.                          21 about that. I just don't have a recollection of
                                                                                          22 Q You knew that in April of 2017, when you                 22 looking at them, comparing them and noticing that
                                                                                          23 were doing the analysis about a transaction that           23 particular point, as we're doing today.
                                                                                          24 included the purchase of an ATE policy from                24 Q Okay. But you were provided information,
                                                                                          25 Sentinel, that at that time CDO Fund had an                25 whether you studied it or not, by the end of 2017
                                                                                                                                                  250                                                         252
                                                                                          1 interest in Credit Opportunities which later                1 that showed that the interest CDO Fund had had in
                                                                                          2 became known as Multi Strat, correct?                       2 Credit Opportunities/Multi Strat from earlier in
                                                                                          3 A I saw the e-mail that showed that schedule                3 the year had now come to be owned by Sentinel,
                                                                                          4 of assets, and I think Multi Strat is on there,             4 correct?
                                                                                          5 but I don't have an independent recollection of             5 A That's what this line says for the
                                                                                          6 that ownership.                                             6 offshore feeder.
                                                                                          7 Q Right. But Exhibit 67 --                                  7 Q And that's a line in a document that was
                                                                                          8 A Hold on one second, please. Hold on. I                    8 provided to you by the end of the year 2017,
                                                                                          9 don't have --                                               9 correct?
                                                                                          10 Q Exhibit 67 is a one-page document.                       10 A I mean, now that I'm comparing these for
                                                                                          11 A Sorry, I don't have Exhibit 67 in front of               11 the first time, I mean, this is a -- they don't
                                                                                          12 me for some reason.                                        12 match. They don't match.
                                                                                          13 Q Well, Exhibit 67 is a one-page document                  13 Q Right. The dollar amounts don't match
                                                                                          14 that was Appendix 1 --                                     14 exactly.
                                                                                          15 A Sorry, it got attached. I found it.                      15 A No, the entities don't match.
                                                                                          16 Q If you look at the second page of                        16 Q Oh, the entities don't match.
                                                                                          17 Exhibit 67, these were assets that were being held         17 A No. The entities don't match.
                                                                                          18 by CDO Fund and HFP that had been identified to            18 Q Oh. Are you claiming that the interest
                                                                                          19 you in April of 2017 when it was contemplated that         19 that Credit Opps/Multi Strat had in Sentinel did
                                                                                          20 these assets could be used to purchase an                  20 not come from CDO Fund?
                                                                                          21 ATE policy from Sentinel, correct?                         21      MS. SMITH: Objection, form.
                                                                                          22      MS. SMITH: Objection, form.                           22 A I'm not saying that, sir. I'm making an
                                                                                          23   A   Yes. And as I told you after looking at              23 observation of fact that Highland Credit
                                                                                          24 this document, it appears that the Highland Credit         24 Opportunities Fund, Ltd., on Exhibit --
                                                                                          25 Opportunities CDO Ltd./LP units are on here.               25 whatever -- 61, is a different entity than
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 65 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                              253                                                           255
                                                                                          1 Highland Credit Opportunities CDO, Ltd., which was      1 owned an interest in Multi Strat but that it had
                                                                                          2 colloquially known as the MVCDO and was a wholly        2 been transferred to Sentinel?
                                                                                          3 owned subsidiary of the master fund and they don't      3       MS. SMITH: Objection to form.
                                                                                          4 match.                                                  4 A We discussed that they had at one point
                                                                                          5 BY MR. CLUBOK:                                          5 owned an interest in Multi Strat, but I don't --
                                                                                          6 Q Sir --                                                6 there was a problem with that interest.
                                                                                          7 A I'm not making a dispute about                        7 BY MR. CLUBOK:
                                                                                          8 transactions. I'm pointing out -- I mean as you         8 Q What did you say specifically -- well,
                                                                                          9 pointed out to me that there was a math error, I'm      9 first of all, who's the we in that sentence?
                                                                                          10 pointing out to you there's an error.                  10 A Sorry, if you'll read my testimony back.
                                                                                          11 Q Well, there may or may not be an error in            11 Q You said we discussed.
                                                                                          12 the names used, but fair to say that you knew in       12 A Mr. -- oh, gosh. It was either me and
                                                                                          13 April of 2017 that CDO Fund had roughly                13 Mr. Demo or me and Mr. Seery. I think it was me
                                                                                          14 $24 million of LP units in what was then known as      14 and Mr. Demo.
                                                                                          15 Credit Strategies, correct?                            15 Q You and Mr. Demo discussed what on this
                                                                                          16 A In some level of Credit Strategies, but              16 subject?
                                                                                          17 they're not matching up, correct.                      17 A That there had been -- that there had been
                                                                                          18 Q Okay. And you also received                          18 an interest in the Credit Opportunities fund
                                                                                          19 information -- you also -- strike that -- knew         19 structure or fund entities that had been owned by
                                                                                          20 that there was a plan being proposed in April that     20 CDO Fund.
                                                                                          21 would have had an ATE policy with a $100 million       21 Q And did you ever in any way, to Mr. Demo
                                                                                          22 face value purchased by CDO Fund and HFP for all       22 or Mr. Seery or any other lawyer for the debtor or
                                                                                          23 of the assets in those two funds from Sentinel,        23 independent director, convey that that interest
                                                                                          24 correct?                                               24 that CDO Fund had had in Multi Strat was
                                                                                          25      MS. SMITH: Objection, form.                       25 transferred to Sentinel?
                                                                                                                                              254                                                           256
                                                                                          1 A I was aware that what was in that                     1 A Yes.
                                                                                          2 presentation is what was in the presentation, that      2 Q When did you tell them that?
                                                                                          3 it was a $100 million ATE policy, I believe, in         3 A Mr. Surgent was at all times aware of
                                                                                          4 exchange for all the assets. Whatever it says           4 that. He had been intimately involved in the
                                                                                          5 there is the answer.                                    5 transaction and he was deputy general counsel for
                                                                                          6 BY MR. CLUBOK:                                          6 the debtor and senior to me in the legal team. I
                                                                                          7 Q And then you were advised at the end of               7 technically reported to Mr. Ellington, but
                                                                                          8 December -- strike that.                                8 Mr. Surgent often would task me with things as
                                                                                          9       You were advised at the end of 2017 that          9 well and I had to follow his instructions.
                                                                                          10 Sentinel (from Highland CDO Fund) had some             10 Q Sorry, let's set aside Mr. Surgent for the
                                                                                          11 interest in one of the Credit Opportunities funds,     11 moment. Did you ever tell Mr. Demo or any other
                                                                                          12 correct?                                               12 lawyer at the Pachulski law firm, that the
                                                                                          13 A I was advised that Sentinel had -- well, I           13 interest that CDO Fund had had in Multi Strat was
                                                                                          14 don't know advised. I was sent a document that         14 transferred to Sentinel?
                                                                                          15 included a lot of information, but amongst it          15 A I believe what I told Mr. Demo was that I
                                                                                          16 included the line that there was 28 million in         16 wasn't sure what happened to that interest.
                                                                                          17 offshore NAV that was transferred to Sentinel from     17 Q But, in fact, you knew that that interest
                                                                                          18 Highland CDO Fund.                                     18 had been transferred to Sentinel pursuant to this
                                                                                          19 Q Okay. And did you ever follow up on that             19 document that we've just reviewed, correct?
                                                                                          20 issue with anyone at any time after that?              20     MS. SMITH: Objection, form.
                                                                                          21 A I don't recall if I did, and the                     21 A Actually based on the discrepancy I just
                                                                                          22 determination as to what was or wasn't an              22 showed you, which actually was something I
                                                                                          23 affiliate was not my decision or purview.              23 originally became aware of back in August of 2020
                                                                                          24 Q Did you ever tell Mr. Seery or anyone else           24 or maybe September, I don't actually know that
                                                                                          25 affiliated with the debtor, that CDO Fund had once     25 that was an effective transfer.
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 66 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                               257                                                           259
                                                                                          1 BY MR. CLUBOK:                                           1 you're saying?
                                                                                          2 Q You don't know if there actually has been              2 A It may or may not.
                                                                                          3 an effective transfer from CDO Fund to Sentinel;         3 Q Okay.
                                                                                          4 is that correct?                                         4 A But it -- that interest may not exist, is
                                                                                          5 A Well, it -- the problem is --                          5 another possibility.
                                                                                          6 Q I just want an answer to my question. As               6 Q Okay. And then -- and you identified this
                                                                                          7 you sit here today, you don't know if there              7 issue at some point?
                                                                                          8 actually has been an effective transfer of CDO's         8 A Yes, absolutely.
                                                                                          9 interest in Multi Strat to Sentinel, correct?            9 Q While you were still working for the
                                                                                          10 A The answer is I don't know and I also                 10 debtor?
                                                                                          11 think that that question assumes certain facts          11 A Yes.
                                                                                          12 that I can't confirm or agree with.                     12 Q And did you fully describe this issue to
                                                                                          13 Q Like what?                                            13 Mr. Demo or another lawyer at the Pachulski firm?
                                                                                          14 A Like the problem I ran into was if you                14      MS. SMITH: Objection, form.
                                                                                          15 have an accounting entry that shows that a fund         15 A I discussed this at length with Mr. Demo.
                                                                                          16 owns -- let's just round it -- we'll call it            16 BY MR. CLUBOK:
                                                                                          17 24 million; is that fair? We'll just call the           17 Q And did you explain to Mr. Demo that there
                                                                                          18 CDO Fund interest that --                               18 had been -- when you say discussed it at length,
                                                                                          19 Q For purpose of this discussion you can                19 did you ever, in words or substance, say something
                                                                                          20 call it 24 million for ease of --                       20 that reflected that there was some effort, whether
                                                                                          21 A Okay.                                                 21 or not it had been successful, to transfer
                                                                                          22 Q Whether it's 24 or 28.                                22 interest in Credit Strat from Highland CDO Fund to
                                                                                          23 A Twenty-four or 28, I'm not --                         23 Sentinel?
                                                                                          24      (Simultaneous discussion interrupted by            24 A We discussed --
                                                                                          25 reporter.)                                              25 Q That's a yes-or-no question.
                                                                                                                                               258                                                           260
                                                                                          1 A So if you have one accounting sheet that               1 A The issue of Sentinel did not come up in
                                                                                          2 shows one asset and one accounting sheet that            2 our conversations.
                                                                                          3 shows that after it was transferred it's a               3 Q So when you claim that you discussed at
                                                                                          4 completely different asset, then you have a              4 length this potential problem with identifying
                                                                                          5 problem. Which then raises the question, did you         5 whether CDO Fund, in fact, owned an interest in
                                                                                          6 own what you think you owned and did you actually        6 Multi Strat, you never thought to raise the issue
                                                                                          7 transfer something you owned? I mean, it's kind          7 of whether or not CDO Fund had effectuated a
                                                                                          8 of like -- it's like any other security that would       8 proper transfer of that interest if it had one, to
                                                                                          9 be issued. Like if you own shares of UBS                 9 Sentinel, correct?
                                                                                          10 Securities USA, LLC, and then you sell them and         10 A I got stuck in an earlier stage in the
                                                                                          11 someone on their balance sheet reflects US AG           11 analysis and so Sentinel didn't come up.
                                                                                          12 stock, then what just happened?                         12 Q You never raised it affirmatively,
                                                                                          13 BY MR. CLUBOK:                                          13 correct?
                                                                                          14 Q I see. And, in fact, for example, you                 14 A We never got to that point in the inquiry.
                                                                                          15 know that -- you -- based on the analysis you did,      15 So no.
                                                                                          16 you determined that CDO Fund still has ownership        16 Q You never mentioned that in order to
                                                                                          17 of an entity that's been loosely called                 17 figure out what interest, if any, CDO Fund had in
                                                                                          18 Greenbriar, perhaps because of a faulty                 18 Multi Strat, you might need to look at Sentinel's
                                                                                          19 transaction?                                            19 books, correct?
                                                                                          20 A That is a different situation.                        20 A No, I wouldn't care what Sentinel's books
                                                                                          21 Q Okay. With respect to CDO Fund and                    21 said.
                                                                                          22 Multi Strat, you believe that CDO Fund may still        22 Q You never mentioned that in order to
                                                                                          23 retain whatever interest it had in Multi Strat          23 figure out what interest, if any, CDO Fund had in
                                                                                          24 that you were aware of in April of 2017 because of      24 Multi Strat, you might need to look at what
                                                                                          25 perhaps an incorrect book entry; is that what           25 Highland's books reflected in terms of transfers
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                                                                                                                          Transcript of Isaac D. Leventon                                           66 (261 to 264)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 67 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  261                                                           263
                                                                                          1 from Highland CDO Fund to Sentinel, correct?                1 Q And you knew that there was a schedule
                                                                                          2 A We didn't say Sentinel in particular, but                 2 that showed Sentinel having interest in
                                                                                          3 we did talk about any transfers, yes.                       3 Multi Strat (from Highland CDO Fund), correct?
                                                                                          4 Q But you definitely didn't say Sentinel,                   4 A In December I think that's fair -- sorry,
                                                                                          5 which was the transfer that you were aware at               5 December 2017. I think that's fair.
                                                                                          6 least had been contemplated and at least in one             6 Q And you even -- when you were tasked with
                                                                                          7 place reflected as having had occurred?                     7 helping trace the assets of CDO Fund and HFP, you
                                                                                          8       MS. SMITH: Objection, form.                           8 even talked to Mr. Ellington, in words or
                                                                                          9 BY MR. CLUBOK:                                              9 substance, about whether or not you should mention
                                                                                          10 Q I'll break that up into two questions.                   10 Sentinel, correct?
                                                                                          11      You knew that it was contemplated that                11 A Correct.
                                                                                          12 there would be a transfer of CDO Fund's interest           12 Q And you never did once mention Sentinel to
                                                                                          13 in Credit Strat to Sentinel, but you never                 13 anyone at the Pachulski law firm in the course of
                                                                                          14 affirmatively raised that with Mr. Demo or any             14 doing the task you were given with respect to
                                                                                          15 other lawyer at Pachulski, correct?                        15 tracing the assets of CDO Fund and SOHC, correct?
                                                                                          16      MS. SMITH: Objection, form.                           16 Correct?
                                                                                          17 A I don't remember being aware of that at                  17 A It was not relevant to the task, so, no, I
                                                                                          18 the time and it wasn't pertinent to the task that          18 didn't.
                                                                                          19 I was working on, which was the asset trade.               19 Q I'm going to hand you what's been marked
                                                                                          20 BY MR. CLUBOK:                                             20 as Deposition Exhibit No. 2. I don't want you to
                                                                                          21 Q Sir, you knew that it had been                           21 spend time reading it. I just want to -- in fact,
                                                                                          22 contemplated based on the work you did in April of         22 before I hand it to you, I just want to ask you.
                                                                                          23 2017, that to purchase an ATE policy, CDO Fund             23 Did you know there was a purchase agreement that
                                                                                          24 might use as part of the consideration whatever            24 was executed on or about the same time as the
                                                                                          25 interest it had in Multi Strat, correct?                   25 ATE policy was executed?
                                                                                                                                                  262                                                           264
                                                                                          1 A I can affirmatively state that in August                  1 A I think I knew that there was such an
                                                                                          2 of 2020, I was not thinking about an e-mail from            2 agreement, but I've never seen it.
                                                                                          3 April of 2017.                                              3 Q You've never seen it before today and that
                                                                                          4       MR. CLUBOK: Move to strike as                         4 you're sure about, right?
                                                                                          5 nonresponsive.                                              5 A Yes.
                                                                                          6 BY MR. CLUBOK:                                              6 Q Did you ever ask for a copy of it?
                                                                                          7 Q I didn't ask you that. I just said you                    7 A Not that I'm aware of.
                                                                                          8 knew based on the work you had done in April 2017,          8 Q Were you ever sent a copy of it?
                                                                                          9 that CDO Fund had been contemplating using its              9 A Not that I'm aware of.
                                                                                          10 interest in Multi Strat to partially fund the              10 Q Okay. You knew -- you specifically were
                                                                                          11 purchase of an ATE policy, correct?                        11 involved with authorizing payments from Sentinel
                                                                                          12 A Sir, it was one of many assets on a                      12 for legal fees associated with the UBS litigation
                                                                                          13 schedule, and I just don't remember thinking about         13 in New York, correct?
                                                                                          14 that asset in -- I don't remember thinking of that         14 A Say that one more time, please.
                                                                                          15 asset from that schedule in April of 2017 back             15 Q You were involved with authorizing
                                                                                          16 in -- whenever we were, August of 2020.                    16 payments to be made from Sentinel for legal fees
                                                                                          17 Q You knew it was contemplated that CDO Fund               17 associated with the UBS litigation in New York,
                                                                                          18 would transfer all of its assets to Sentinel as            18 correct?
                                                                                          19 part of the consideration for what was then                19 A Yes.
                                                                                          20 contemplated to be an ATE policy. You knew that            20 Q In fact, you directed Sentinel to make
                                                                                          21 for sure, right?                                           21 certain payments to lawyers and vendors associated
                                                                                          22 A Apparently in April 2017, I did, yes.                    22 with the legal work done in New York against UBS,
                                                                                          23 Q And you knew that there had been an                      23 correct?
                                                                                          24 ATE policy purchased, correct?                             24 A I don't want to say I directed them to.
                                                                                          25 A Yes.                                                     25 I'll say we requested that they do so.
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 68 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                 265                                                           267
                                                                                          1 Q And in every single instance, they                       1 at Highland.
                                                                                          2 followed your request for payment of legal fees            2 Q Did you ever request that anyone consider
                                                                                          3 associated with the New York litigation against            3 whether or not a ATE policy that was related to a
                                                                                          4 UBS, correct?                                              4 judgment would be considered to be an asset of the
                                                                                          5 A I can't say --                                           5 beneficiary of that policy? Let me ask that
                                                                                          6       MS. SMITH: Objection to form.                        6 again.
                                                                                          7 A I can't say every single time, but I think               7       If there's an ATE policy -- and by the
                                                                                          8 pretty much every time, if not every.                      8  way,  that after the event, what was the event
                                                                                          9 BY MR. CLUBOK:                                             9 that's referenced in the ATE policy?
                                                                                          10 Q You can't, as you sit here today, identify              10 A I haven't read the policy, sir.
                                                                                          11 a single time where they did not follow your              11 Q Did you have -- they told you that legal
                                                                                          12 directions in terms of paying legal fees or costs         12 fees were part of the policy. Did they tell you
                                                                                          13 associated with the litigation pending in                 13 that a settlement would be an event that would be
                                                                                          14 New York, correct?                                        14 impacted by the policy?
                                                                                          15      MS. SMITH: Objection, form.                          15 A Well, those are two slightly different
                                                                                          16 A Sitting here today, I'm not aware of any                16 questions. Can we break them into two, please?
                                                                                          17 time that they refused to pay requested legal             17 Q Did anyone, in words or substance, tell
                                                                                          18 fees.                                                     18 you if there was a settlement in the UBS
                                                                                          19      MR. CLUBOK: What was your form objection?            19 litigation, that a Sentinel policy could be used
                                                                                          20      MS. SMITH: You said direction and he said            20 to pay the settlement?
                                                                                          21 he didn't direct. He said he requested.                   21 A I believe that was my understanding, yes.
                                                                                          22 BY MR. CLUBOK:                                            22 Q And who gave you that understanding?
                                                                                          23 Q In every single time that you requested                 23 A I don't recall exactly, but it would have
                                                                                          24 Sentinel pay any legal fees or costs associated           24 been probably Mr. Ellington or Mr. Sevilla.
                                                                                          25 with the New York litigation, they abided by that         25 Q When?
                                                                                                                                                 266                                                           268
                                                                                          1 request, as best as you recall sitting here today,         1 A I don't know.
                                                                                          2 correct?                                                   2 Q Before the bankruptcy?
                                                                                          3 A Again, I don't remember every single                     3 A Yes.
                                                                                          4 instance, but I don't remember any time that they          4 Q And at any point during the bankruptcy,
                                                                                          5 didn't do it.                                              5 did you ever tell the independent directors or any
                                                                                          6 Q Who told you that you could make requests                6 of the lawyers at the Pachulski firm that there
                                                                                          7 directly to Sentinel and expect that they would            7 was this source of funds available to help settle
                                                                                          8 carry them out with respect to legal fees                  8 the litigation between UBS and the defendants in
                                                                                          9 associated with the New York litigation?                   9 the New York litigation?
                                                                                          10 A It was my understanding that that was                   10 A I don't know that I ever spoke to the
                                                                                          11 something contemplated in the ATE policy, was that        11 Pachulski firm about settlement of the New York
                                                                                          12 Sentinel would pay legal invoices.                        12 litigation.
                                                                                          13 Q How did you know that if you never saw the              13 Q Did you ever volunteer that there was an
                                                                                          14 ATE policy?                                               14 insurance policy available that could be used to
                                                                                          15 A I don't remember who told me, but somebody              15 satisfy the judgment in the New York litigation?
                                                                                          16 did.                                                      16 A I don't believe I ever spoke to Pachulski
                                                                                          17 Q Who?                                                    17 about satisfaction of the judgment in New York or
                                                                                          18 A I don't remember. It would have been                    18 settlement of the New York litigation.
                                                                                          19 Mr. Sevilla or Mr. DiOrio, most likely.                   19 Q So is that a no to my question?
                                                                                          20 Q Did they tell you anything else about the               20 A That's right.
                                                                                          21 policy, other than they would pay all legal fees          21 Q And you understood also from Mr. Sevilla
                                                                                          22 associated with the New York litigation?                  22 or Mr. Ellington that the after-the-event policy
                                                                                          23 A Maybe they told me other things, but this               23 could be used to satisfy a judgment in addition to
                                                                                          24 particular subject would have come up because I           24 satisfying settlement or legal fees in connection
                                                                                          25 was the person in charge of processing legal fees         25 with the New York litigation, correct?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 69 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  269                                                           271
                                                                                          1 A I don't know that that's something we ever                1 possibly be used to help satisfy the billion
                                                                                          2 discussed, but it would be logical. But I don't             2 dollar judgment?
                                                                                          3 recall ever discussing that point.                          3 A That question assumes -- I don't want to
                                                                                          4 Q You never suggested, in words or                          4 make an assumes facts not in evidence objection
                                                                                          5 substance, that either the independent directors            5 for myself, but that's what I'm saying. It
                                                                                          6 or the Pachulski lawyers should look into whether           6 assumes things that didn't happen and I told you
                                                                                          7 the Sentinel after-the-event policy could be used           7 the thing that didn't happen.
                                                                                          8 to help satisfy the judgment that was entered               8 Q Yeah, I understand you want to tell me
                                                                                          9 against CDO Fund and SOHC, correct?                         9 that you never discussed anything about the
                                                                                          10 A We never discussed settlement or                         10 judgment, but I'm asking you a narrower question.
                                                                                          11 satisfaction of a judgment against those two               11 And it's very simple and you've spent -- wasted
                                                                                          12 entities, whether the insurance policy or from any         12 five minutes and I'm going to add to my time at
                                                                                          13 other source of funds.                                     13 least, and I just want to know.
                                                                                          14 Q So that's a yes to my question, correct?                 14      Fair to say that you never suggested, in
                                                                                          15      MS. SMITH: Objection, form.                           15 words or substance, to the directors or to the
                                                                                          16 BY MR. CLUBOK:                                             16 Pachulski lawyers, that they should look into
                                                                                          17 Q I would just like you to try to answer my                17 whether the Sentinel ATE policy could be used to
                                                                                          18 question. You gave me a broader answer, which is           18 satisfy the judgment that UBS had obtained against
                                                                                          19 interesting, but I'm not going to ask you to do            19 CDO Fund and SOHC, correct?
                                                                                          20 that and I am going to ask for my time if you              20 A And my --
                                                                                          21 don't just -- make me ask these questions again.           21      MS. SMITH: Objection, form.
                                                                                          22 So please answer the question I asked.                     22 A And my answer is that assumes that I spoke
                                                                                          23      MS. SMITH: Andy, the questions are so                 23 to the Pachulski firm or the independent directors
                                                                                          24 long and they're multiple declarative sentences,           24 about satisfaction of the judgment or
                                                                                          25 followed by comma, correct. That's the --                  25 settlement --
                                                                                                                                                  270                                                           272
                                                                                          1      MR. CLUBOK: Okay. I'm going to ask --                  1 BY MR. CLUBOK:
                                                                                          2      MS. SMITH: It gets confusing.                          2 Q It doesn't --
                                                                                          3      MR. CLUBOK: You didn't even object on                  3 A -- which it didn't.
                                                                                          4 form.                                                       4 Q It doesn't assume that at all. I never
                                                                                          5      MS. SMITH: Objection, form.                            5 assumed that. In fact, I assumed you didn't. It
                                                                                          6      MR. CLUBOK: It's too late after I asked                6 assumes the opposite. So I'm not asking you to
                                                                                          7 the question. So with no form objection, I ask              7 quibble with me about what supposedly is assumed
                                                                                          8 the following question and I'm going to ask                 8 or not. I just want you to answer a question.
                                                                                          9 Mr. Leventon to answer this question.                       9       My question is, you never volunteered to
                                                                                          10 A Okay.                                                    10 the independent directors or to any lawyer at the
                                                                                          11 BY MR. CLUBOK:                                             11 Pachulski firm that they should look into whether
                                                                                          12 Q Isn't it true that you never suggested, in               12 or not the Sentinel ATE policy could be used to
                                                                                          13 words or substance, to either the independent              13 satisfy the billion dollar judgment that had been
                                                                                          14 directors or any of the Pachulski lawyers that             14 discussed during the course of the bankruptcy,
                                                                                          15 they should look into whether the Sentinel                 15 correct?
                                                                                          16 ATE policy could be used to help satisfy the               16 A That was never a conversation that we had.
                                                                                          17 judgment that had been entered against CDO Fund            17 Q You certainly discussed with others at
                                                                                          18 and SOHC?                                                  18 Highland during the bankruptcy, the possibility of
                                                                                          19 A My answer is I disagree with the premise                 19 settling or satisfying the judgment in the
                                                                                          20 of the question. I can explain why. It's the               20 New York litigation, correct?
                                                                                          21 explanation I just gave.                                   21      MS. SMITH: Objection to form.
                                                                                          22 Q I don't want you to explain why. I want                  22 A I don't know that I did.
                                                                                          23 to say, did you ever suggest, in words or                  23 BY MR. CLUBOK:
                                                                                          24 substance, to either the directors or the                  24 Q Well --
                                                                                          25 Pachulski lawyers that the ATE policy could                25 A I thought that action was stayed.
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                                                                                                                         Transcript of Isaac D. Leventon                                               69 (273 to 276)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 70 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  273                                                           275
                                                                                          1 Q You -- did you ever communicate with                      1 chart is clearly after the judgment because it
                                                                                          2 anyone about the possibility that the ATE policy            2 refers to the Phase 1 decision, correct?
                                                                                          3 could be used to satisfy the judgment that had              3 A Well, it -- it refers to the -- yes, the
                                                                                          4 been entered in the New York litigation after the           4 Phase 1 decision from November.
                                                                                          5 bankruptcy?                                                 5 Q Right. And that's this -- the decision
                                                                                          6 A I don't know if I did or not. I don't                     6 that led to the so-called billion dollar judgment,
                                                                                          7 remember.                                                   7 correct?
                                                                                          8 Q In fact, you specifically engaged in                      8 A That's correct.
                                                                                          9 analysis for Sentinel's auditors about the                  9       MS. SMITH: Objection, form.
                                                                                          10 potential impact of the judgment in the New York           10 BY MR. CLUBOK:
                                                                                          11 litigation on the ATE policy, didn't you?                  11 Q And there's a number of expected payouts
                                                                                          12 A I believe I spoke to Beecher Carlson at                  12 from Sentinel as a result of that judgment. Do
                                                                                          13 some point about the impact of the judgment on the         13 you see that?
                                                                                          14 policy.                                                    14 A I see Mr. Kemp's chart, yes.
                                                                                          15 Q And you never told the independent                       15 Q And it appears that this -- he sends you
                                                                                          16 directors that you were having those discussions,          16 this chart and he asked you if the actuarial
                                                                                          17 correct?                                                   17 identification of lightly -- likely outcomes are
                                                                                          18 A It wouldn't have come up ever, so, no, we                18 reasonable. Do you see that?
                                                                                          19 never had those conversations.                             19 A Yes.
                                                                                          20 Q And you never told the Pachulski lawyers                 20 Q And they've got one possibility of
                                                                                          21 that you were having discussions with the auditors         21 settlement where the Sentinel -- and this is all
                                                                                          22 for the Sentinel policy about the potential impact         22 expected payouts by Sentinel that are being
                                                                                          23 of the judgment on the policy, correct?                    23 assessed, correct?
                                                                                          24 A It would never have come up with the                     24      MS. SMITH: Objection, form.
                                                                                          25 Pachulski lawyers, so, no, we didn't have those            25 A I believe that's right, yes.
                                                                                                                                                  274                                                           276
                                                                                          1 conversations.                                              1      MR. CLUBOK: What's the form objection to
                                                                                          2 Q In fact, you specifically analyzed                        2 that question?
                                                                                          3 different outcomes and assigned percentages to              3      MS. SMITH: It doesn't say that they're
                                                                                          4 settlement and to other scenarios to try to                 4 the expected payouts for Sentinel.
                                                                                          5 calculate the potential liability for Sentinel in           5      MR. CLUBOK: That's why I asked the
                                                                                          6 connection with the New York litigation; isn't              6  question.  But in any event.
                                                                                          7 that true?                                                  7 BY MR. CLUBOK:
                                                                                          8 A I don't recall that.                                      8 Q This was a question for you to affirm
                                                                                          9 Q I'm going to hand you what we're going to                 9 whether they were reasonable estimates for
                                                                                          10 mark as Exhibit 68.                                        10 potential payouts by Sentinel because of its
                                                                                          11      (Deposition Exhibit 68 marked for                     11 ATE policy. Is that what you understood this to
                                                                                          12 identification.)                                           12 be?
                                                                                          13 BY MR. CLUBOK:                                             13 A I think that's right, yes.
                                                                                          14 Q Exhibit 68 is a two-page document                        14 Q And one possibility that you agreed was a
                                                                                          15 Bates-labeled 95 and 96. This is a document                15 50 percent probability is that the plaintiff, that
                                                                                          16 that's an e-mail chain beginning at the very first         16 is UBS, would pursue recovery exclusively through
                                                                                          17 e-mail, May 24th, 2019, from Lawrence Kemp to you          17 bankruptcy proceedings. Do you see that?
                                                                                          18 and then it picks up June 16, 2020, from Lawrence          18 A I see where it says that, yes.
                                                                                          19 Kemp to you and you respond. Do you see that?              19 Q And if that were to happen, you told them
                                                                                          20 A I do.                                                    20 to expect that Sentinel would pay zero. Do you
                                                                                          21 Q And here it looks like there is a request                21 see that?
                                                                                          22 for an update on what happened with respect to the         22 A I didn't tell him to expect that. This is
                                                                                          23 New York litigation, correct?                              23 the assumptions he's giving me.
                                                                                          24 A Yes.                                                     24 Q You agreed that it was a reasonable
                                                                                          25 Q And this analysis that's reflected in the                25 assumption that there was a 50 percent chance that
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 71 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  277                                                           279
                                                                                          1 UBS would pursue its recovery against the insureds          1 Q Right. So you at one point had a bunch of
                                                                                          2 under the ATE policy exclusively through the                2 settlement -- sorry. At one point you had a bunch
                                                                                          3 bankruptcy proceedings and therefore there would            3 of damages outcomes that included scenarios
                                                                                          4 be zero paid out from the ATE policy, correct?              4 involving winning on hedging, but by the time the
                                                                                          5 A I didn't -- I agreed with Mr. Kemp's                      5 trial was done, you knew that that was not going
                                                                                          6 analysis -- or I didn't change it.                          6 to happen, correct?
                                                                                          7 Q You agreed that it was a reasonable                       7 A I know the scenarios incorporated hedging.
                                                                                          8 assumption?                                                 8 I would have to go back and look at what they
                                                                                          9 A Yes.                                                      9 said. But certainly by the end of trial, we would
                                                                                          10 Q And you also agreed that if the Phase 1                  10 have -- excuse me. Certainly by the end of the
                                                                                          11 decision were affirmed, then the expected payout           11 trial, we would have known that the Court -- the
                                                                                          12 would be $91 million from the ATE policy, correct?         12 trial court had ruled against us on hedging.
                                                                                          13 A That's what that says, yes.                              13 Q And the -- anyway, back to this. Did you
                                                                                          14 Q And you said there was a reasonable                      14 ever -- when you're responding to Mr. Kemp, did
                                                                                          15 assumption that there would only be a 20 percent           15 you inform Mr. Seery in any way, directly or
                                                                                          16 chance of that, correct?                                   16 indirectly, through the chain of command about
                                                                                          17 A That's not exactly right. Because it's                   17 this analysis and the potential payout from the
                                                                                          18 total probabilities, so it's not isolating just            18 ATE policy with respect to the New York
                                                                                          19 the probability of success on the appeal.                  19 litigation?
                                                                                          20 Q But the total -- okay. I see. You                        20 A Mr. Surgent would have been aware of the
                                                                                          21 thought there was a 50 percent chance that we              21 potential payout, but other than that, I don't
                                                                                          22 wouldn't even -- that UBS wouldn't even bother to          22 know if there's anyone else. And Mr. Ellington
                                                                                          23 continue the litigation but instead would settle           23 would have been, but I mean that's my whole --
                                                                                          24 the case or pursue recovery just through the               24 that's my chain of command.
                                                                                          25 bankruptcy proceeding?                                     25 Q Did you inform Mr. Surgent about this
                                                                                                                                                  278                                                           280
                                                                                          1 A I mean, in terms of the 20 percent, the                   1 analysis you were doing in June of 2020?
                                                                                          2 20 percent is in terms of the total outcome. I'm            2 A No, but he was aware of the ATE policy and
                                                                                          3 not saying that the appeal is only 20 percent.              3 what it covered.
                                                                                          4 Like that UBS has an 80 percent chance of losing            4 Q Again, then, it's not the question at all
                                                                                          5 its appeal, that's not what I thought this said.            5 that I asked you. You've just volunteered --
                                                                                          6 Q Okay. Because at the time you thought it                  6 somehow you find it okay to volunteer information
                                                                                          7 was nearly certain -- or certainly extremely                7 about Mr. Surgent, but you never volunteered
                                                                                          8 likely that UBS's judgment would be affirmed if it          8 anything about the ATE policy in the whole time
                                                                                          9 was even appealed, correct?                                 9 you worked for Mr. Seery.
                                                                                          10 A Honestly, I don't remember.                              10      MS. SMITH: Objection, badgering.
                                                                                          11 Q Well, you --                                             11 BY MR. CLUBOK:
                                                                                          12 A I still remember that we -- we thought we                12 Q My question to you, without -- and I'm
                                                                                          13 had really good textual arguments on the synthetic         13 asking you not to volunteer information that's not
                                                                                          14 warehouse.                                                 14 responsive to this question, is did you ever
                                                                                          15 Q But you actually believed from day one                   15 inform Mr. Seery in any way directly or indirectly
                                                                                          16 that UBS was likely to win on liability, right?            16 through the chain of the command about the
                                                                                          17 A Which is a wholly separate issue, yes.                   17 analysis and potential payout under the ATE policy
                                                                                          18 Q And you had done analysis -- and by the                  18 that's reflected in Exhibit 68?
                                                                                          19 way, you also knew from the trial, way before the          19 A I don't believe that I ever discussed
                                                                                          20 judgment, that you had lost all of your arguments          20 Exhibit 68 with Mr. Seery.
                                                                                          21 about offsetting the damages due to hedging                21      MS. SMITH: Andy, is now a good time for a
                                                                                          22 because the Court ruled from the bench on that             22 break?
                                                                                          23 during the trial, right?                                   23      MR. CLUBOK: I'm going to finish up one
                                                                                          24 A The Court made a ruling on hedging during                24 more thing here.
                                                                                          25 the trial, yes.                                            25
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 72 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                  281                                                           283
                                                                                          1 BY MR. CLUBOK:                                              1 independent directors or with their outside
                                                                                          2 Q Did you tell anyone else in the                           2 counsel?
                                                                                          3 organization other than Mr. Seery or the debtor's           3       MS. SMITH: Objection, form.
                                                                                          4 outside counsel, the Pachulski firm, about this             4 A I only remembered sharing it with
                                                                                          5 analysis that you had performed or that you had             5 Mr. DiOrio. So I can't say that I expected this
                                                                                          6 blessed?                                                    6 information to be -- that I recall expecting this
                                                                                          7 A I believe -- without characterizing                       7 information to be shared with the independent
                                                                                          8 whether it's been performed or blessed, the                 8 directors.
                                                                                          9 document will speak for itself, but I believe that          9 BY MR. CLUBOK:
                                                                                          10 Mr. DiOrio was aware of this analysis.                     10 Q Did you bring this to Mr. Surgent's
                                                                                          11 Q Why do you believe that?                                 11 attention in 2020?
                                                                                          12 A Because he was the person who was in                     12 A This document? Not that I recall.
                                                                                          13 charge of the -- coordinating the Sentinel audit.          13 Q How about this analysis or anything about
                                                                                          14 Q Who made Mr. DiOrio aware of this?                       14 this subject in 2020?
                                                                                          15 A I believe it would have been me.                         15 A This analysis, no. Anything about this
                                                                                          16 Q Who else did you make aware of this other                16 subject, I would have to think about further.
                                                                                          17 than Mr. DiOrio and obviously Mr. Kemp?                    17 Q This analysis clearly -- the people you
                                                                                          18 A This specific analysis, I don't know that                18 sent this e-mail to, you expected them to all know
                                                                                          19 I discussed it with anyone else.                           19 about the ATE policy, right?
                                                                                          20 Q Did you?                                                 20 A They all did know about the ATE policy.
                                                                                          21 A Not that I recall.                                       21 Q And you discussed this analysis also with
                                                                                          22 Q I'm going to hand you what's been marked                 22 Mr. Ellington at some point?
                                                                                          23 as Exhibit 53. Exhibit 53 is an e-mail dated               23 A I don't know that I did.
                                                                                          24 June 16th, 2020 in which you forward this analysis         24 Q But you certainly never mentioned the
                                                                                          25 to Mr. DiOrio, Mr. Sevilla and Katie Irving. Do            25 ATE policy again to Mr. Surgent at any point after
                                                                                                                                                  282                                                           284
                                                                                          1 you see that?                                               1 the time the debtor declared bankruptcy, correct?
                                                                                          2 A Yes. I remembered forwarding it to                        2 A I don't know if we talked about it or not.
                                                                                          3 Mr. DiOrio. I forgot who I CC'd, which was                  3 I don't remember.
                                                                                          4 Mr. Sevilla and Ms. Irving.                                 4 Q As you sit here today, you can't recall
                                                                                          5 Q And you did not -- you forwarded it to                    5 ever reminding Mr. Surgent about the ATE policy
                                                                                          6 those three individuals but not to Greg Demo,               6 after the bankruptcy commenced, correct?
                                                                                          7 correct?                                                    7 A Sitting here today, I can't remember that
                                                                                          8 A Greg Demo is not on this e-mail.                          8 conversation having taken place.
                                                                                          9 Q And you did not forward it to                             9       MR. CLUBOK: Okay. Let's take a break.
                                                                                          10 Mr. Feinstein or Mr. Morris at the Pachulski firm,         10      THE VIDEOGRAPHER: The time is 5:20 p.m.
                                                                                          11 correct?                                                   11 We are off the record.
                                                                                          12 A That's correct.                                          12      (Recess taken from 5:20 p.m. CDT to
                                                                                          13 Q And you did not forward it to Mr. Nelms or               13 5:39 p.m. CDT)
                                                                                          14 Mr. Dubel or Mr. Seery, correct?                           14      THE VIDEOGRAPHER: The time is 5:39 p.m.
                                                                                          15 A No -- nobody is on this e-mail except for                15 We are back on the record.
                                                                                          16 the people on this e-mail.                                 16 BY MR. CLUBOK:
                                                                                          17 Q Is there any other way that you                          17 Q We're turning to Exhibit 59. Exhibit 59
                                                                                          18 communicated this information that you chose to            18 is an e-mail chain with the top e-mail dated
                                                                                          19 share with Mr. DiOrio, Mr. Sevilla and                     19 August 11th, 2017, from Carter Chism, C-h-i-s-m,
                                                                                          20 Ms. Irving -- is there any other way that you              20 to Mr. Patel, P-a-t-e-l, attaching a document
                                                                                          21 believe you ever tried to communicate this                 21 that's called CDO Fund and HFP Balance Sheets at
                                                                                          22 information that you chose to share with                   22 8/7/17. It's an Excel sheet that's attached as
                                                                                          23 Mr. DiOrio, Mr. Sevilla and Ms. Irving that's              23 part of Exhibit 59. Do you see that?
                                                                                          24 reflected in Exhibit 68 with anybody at all who            24 A I do.
                                                                                          25 you expected to share the information with the             25      MS. SMITH: And like yesterday, Shannon,
                                                                                                                                         PLANET DEPOS
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                                                                                                              HIGHLY CONFIDENTIAL - STPO - INFORMATION REDACTED
                                                                                                                           Transcript of Isaac D. Leventon                                           72 (285 to 288)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 73 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                  285                                                           287
                                                                                          1 is this the full exhibit of the Excel?                      1 goal was to transfer all of the assets out of HFP
                                                                                          2       MR. CLUBOK: It's the same document that               2 and CDO Fund to Sentinel to purchase the
                                                                                          3 was used yesterday, Exhibit 59. It was marked               3 $100 million ATE policy in August of 2017,
                                                                                          4 yesterday, I believe.                                       4 correct?
                                                                                          5 BY MR. CLUBOK:                                              5 A I don't know that it's clear from this
                                                                                          6 Q So for Exhibit 59, we're going to turn to                 6 document per se, but I did know that, you know,
                                                                                          7 page 3, which is the first, working backwards               7 substantially all of the assets were going to
                                                                                          8 e-mail in the chain.                                        8 be -- were included in the ATE policy.
                                                                                          9 A Can you -- will you give me the Bates                     9 Q And the attachment, which has a number of
                                                                                          10 number?                                                    10 different worksheets including the first one which
                                                                                          11 Q It ends with 85.                                         11 says CDO Opportunity Master Fund, LP, Combined
                                                                                          12 A Okay. Got it.                                            12 Assets and Liabilities, and then another document
                                                                                          13 Q And the Bates label ending in 85 is where                13 that says Highland Financial Partners, LP,
                                                                                          14 the e-mail starts, and it starts with Mr. Stoops           14 Combined Assets and Liabilities, show that, the
                                                                                          15 sending an e-mail to a number of people, including         15 assets and liabilities of those two respective
                                                                                          16 yourself. Do you see that?                                 16 entities, correct?
                                                                                          17 A I do, yes.                                               17 A Yes. But I don't know that those -- well,
                                                                                          18 Q And the e-mail says, Jeremy, who is the                  18 I know they were attached to -- this was attached
                                                                                          19 first person on the To line, you are the third             19 to the top-level e-mail and that's what it shows.
                                                                                          20 person on the To line, says: Jeremy, Please send           20 Q Right. And one question I have is --
                                                                                          21 custodial admin details for the following entities         21 well, first of all, there's a schedule that was
                                                                                          22 to JP Sevilla and Isaac (copied).                          22 constructed in connection with the purchase
                                                                                          23      That Isaac is you, correct?                           23 agreement. The purchase agreement is Exhibit 2
                                                                                          24 A Yes.                                                     24 and I believe you said you've never seen it. I'm
                                                                                          25 Q And they asked for custodial admin details               25 going to give you a copy of it just to confirm
                                                                                                                                                  286                                                           288
                                                                                          1 for Highland Financial Partners, we've called HFP;          1 that that's true. This was Exhibit 2. It's a
                                                                                          2 CDO Hold Co, which is a sub of HFP, correct?                2 Purchase Agreement dated August 7th, 2017.
                                                                                          3 A Yes.                                                      3 A Mr. Clubok, are we done with 59?
                                                                                          4 Q Highland Financial Corp., which is another                4 Q No.
                                                                                          5 sub of HFP at the time, correct?                            5 A Should I put it up or keep it --
                                                                                          6 A I think so, but I'm not 100 percent sure.                 6 Q I want you to keep it up because I'm going
                                                                                          7 Q And then SOHC, which was a sub of HFP at                  7 to ask you to compare something.
                                                                                          8 the time, right?                                            8 A Got it. Okay.
                                                                                          9 A Yes.                                                      9 Q There's a purchase agreement that was
                                                                                          10 Q Then the CDO Master Fund and two of its                  10 dated as of August 7th, 2017, and you said before
                                                                                          11 subsidiaries or affiliates, correct?                       11 you believe -- you thought you had never seen
                                                                                          12 A Those look like the feeder funds.                        12 this. Looking at it now, do you want to change
                                                                                          13 Q Okay. The feeder funds. But there are                    13 your answer or do you still believe you've never
                                                                                          14 basically four HFP entities, the first four names          14 seen this?
                                                                                          15 that I mentioned, and then there are three                 15 A No, I don't think I've ever seen this.
                                                                                          16 CDO Fund entities, correct?                                16 Q Okay. Well, what about Schedule A, which
                                                                                          17 A Yes.                                                     17 is somewhat like that Appendix 1, but it's got
                                                                                          18 Q And he says he included those feeder funds               18 different assets listed and in some cases
                                                                                          19 for CDO just in case there's any cash held at              19 different values. Have you ever seen Schedule A
                                                                                          20 these entities. Do you see that?                           20 before?
                                                                                          21 A I do see where he says that, yes.                        21 A No, I haven't.
                                                                                          22 Q And this is all part of the purchase of                  22 Q Okay. And so I take it you don't know
                                                                                          23 the ATE policy in August of 2017, correct?                 23 whether or not the asset information reflected in
                                                                                          24 A That's what it appears to be.                            24 Exhibit 59 was what was used to populate
                                                                                          25 Q And it's clear from reading this that the                25 Schedule A of Exhibit 2?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 74 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  289                                                           291
                                                                                          1 A No. I don't think I've seen either of                     1 maybe what the difference is, but they weren't
                                                                                          2 these two things before.                                    2 exactly the same.
                                                                                          3 Q Okay. Do you -- why were you part of this                 3 Q Fair enough. But at some point UBS had
                                                                                          4 whole chain? What was your role in this part of             4 either amended its complaint or submitted expert
                                                                                          5 the transaction? And in particular, if you know,            5 reports that reflected the roughly $500 million in
                                                                                          6 why did Mr. Stoops specifically ask for the                 6 principal liability that was ultimately awarded;
                                                                                          7 details to be sent to both you and Mr. Sevilla?             7 is that true?
                                                                                          8 A I mean, I don't know what was in                          8 A I know the number went down, but I don't
                                                                                          9 Mr. Stoops's mind, but I can speculate.                     9 remember exactly how it matched up to the final
                                                                                          10 Q What did you understand your role to be at               10 judgment because there were a lot of toggles that
                                                                                          11 the time in connection with this information that          11 went on with the expert reports.
                                                                                          12 was forwarded to you?                                      12 Q Right. But let's say within 20 percent
                                                                                          13 A My best guess as to why I was involved in                13 the amount that UBS was seeking as of 2017
                                                                                          14 this process is because I was the guy in charge of         14 pursuant to its expert reports was the amount that
                                                                                          15 the legal bills. And so it would have been                 15 was ultimately awarded; fair to say?
                                                                                          16 relevant to payment of the legal wires that you            16 A Sitting here today, I don't know the
                                                                                          17 see on the first page of this exhibit.                     17 answer to that. They were big numbers. I mean,
                                                                                          18 Q And so all of those payments were made                   18 there's no dispute they were big numbers, but I
                                                                                          19 prior to the transfers?                                    19 don't remember exactly what they were, if it was
                                                                                          20 A I don't know.                                            20 20 percent, 30 percent, 10 percent.
                                                                                          21 Q Do you know whether or not there was any                 21 Q Okay. Certainly you knew that UBS was
                                                                                          22 effort to satisfy the liabilities of CDO Fund and          22 seeking at least $500 million plus interest as of
                                                                                          23 SOHC -- sorry, strike that.                                23 this date of this transfer, correct?
                                                                                          24      Do you know whether there was any effort              24 A As of August 2017, I think that I knew
                                                                                          25 to satisfy the liabilities of CDO Fund and HFP             25 that UBS was seeking $500 million or so.
                                                                                                                                                  290                                                           292
                                                                                          1 prior to transferring all of these assets to                1 Q And the whole aim of this transfer was to
                                                                                          2 Sentinel in 2017?                                           2 create an -- or to purchase an ATE policy with
                                                                                          3 A I don't know.                                             3 respect to that UBS litigation that was pending in
                                                                                          4 Q Do you know at that time whether or not                   4 New York, correct?
                                                                                          5 there was any estimation that was being made at             5 A The August 2017 transaction was the
                                                                                          6 either of these two entities for amounts that               6 purchase of an ATE policy relative to the UBS
                                                                                          7 could be due to UBS in connection with the                  7 state court action.
                                                                                          8 litigation?                                                 8 Q Okay. I'm going to turn to Exhibit 4
                                                                                          9 A To the best of my recollection, accounting                9 which is a document dated August 11th, 2017, that
                                                                                          10 had taken UBS's initial complaint and the number           10 you are also on the to line. There's a whole host
                                                                                          11 identified in the initial complaint and then just          11 of people.
                                                                                          12 rolled that number forward year over year.                 12 A Do I keep or do I throw?
                                                                                          13 Q And indeed UBS ultimately collected                      13 Q You can put it in front of me.
                                                                                          14 roughly the amount plus interest that was in its           14 A No, these?
                                                                                          15 initial complaint pursuant -- or strike that.              15 Q You can set it aside. Take a look at
                                                                                          16      UBS was awarded as part of Phase 1,                   16 Exhibit 4, please. Exhibit 4 is an e-mail from
                                                                                          17 roughly the amounts that it had identified in its          17 David Willmore to a host of people, including
                                                                                          18 initial complaint plus PJI, correct?                       18 yourself, Mr. Chism, Ms. Irving, Mr. Sevilla,
                                                                                          19 A That's not exactly right.                                19 copying Mr. Surgent, Mr. Stoops and others and its
                                                                                          20 Q Why not?                                                 20 subject is Sentinel Wiring Info. Do you see that?
                                                                                          21 A So the initial complaint was for                         21 A Yes.
                                                                                          22 $746 million in principal, and to the best of my           22 Q And it -- in an e-mail below, it
                                                                                          23 recollection the judgment principal amount was             23 references instructions to wire cash from all the
                                                                                          24 something like 530. I know, we're talking about            24 HFP Funds and all the CDO Funds to Sentinel,
                                                                                          25 enormous numbers where it kind of doesn't matter           25 correct?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 75 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 293                                                           295
                                                                                          1 A That's what Mr. Chism says in his e-mail.                1 does it ring a bell that Mr. Willmore was
                                                                                          2 Q And those two wire transfers totaled                     2 responsible for transferring CDO Fund cash and
                                                                                          3 roughly $10 million, according to Mr. Willmore's           3 Mr. Stoops was responsible for transferring HFP
                                                                                          4 e-mail, correct?                                           4 cash?
                                                                                          5 A Yes.                                                     5 A I can infer that from the document and it
                                                                                          6 Q Well, I should say CDO Funds cash totaled                6 wouldn't surprise me, but I don't know.
                                                                                          7 about $10 million, according to Mr. Willmore,              7 Q Did you at any point ever mention to
                                                                                          8 correct?                                                   8 Mr. Seery or to the Pachulski lawyers that all
                                                                                          9 A I don't honestly know if -- I mean,                      9 this cash had been transferred out of CDO Fund and
                                                                                          10 reading this, Mr. Willmore says there are two             10 HFP to Sentinel just in 2017, a little over
                                                                                          11 wires that are CDO Fund wires, which wouldn't             11 two years before the bankruptcy?
                                                                                          12 include HFP. Sitting here today, I have no idea           12 A To the best of my recollection, neither
                                                                                          13 whether there were two of them.                           13 myself nor any of the other individuals mentioned
                                                                                          14 Q Does it ring a bell --                                  14 it to him.
                                                                                          15 A That's what it says.                                    15 Q Did you think that you personally as a
                                                                                          16 Q Does it ring a bell that the total amount               16 lawyer who was working for the debtor had a
                                                                                          17 of cash including the HFP cash was closer to              17 fiduciary obligation to the debtor at the time?
                                                                                          18 $11 million or so?                                        18 A I believe you do, yes.
                                                                                          19 A No. No.                                                 19 Q Did you have a fiduciary obligation to
                                                                                          20 Q But fair to say you understood on                       20 ensure that the debtor -- strike that.
                                                                                          21 August 2017, that all of the cash in CDO Fund and         21      From January 2020 forward, is it fair to
                                                                                          22 HFP was being wired to Sentinel, correct?                 22 say that there were independent directors who were
                                                                                          23 A Apparently I did.                                       23 in charge of the debtor?
                                                                                          24 Q And do you know what was the consideration              24 A Yes.
                                                                                          25 for that cash at the time?                                25 Q And you understood you ultimately reported
                                                                                                                                                 294                                                           296
                                                                                          1 A I knew that it was in consideration of the               1 up to them?
                                                                                          2 ATE policy.                                                2 A That's fair to say.
                                                                                          3 Q Did you know how the value of the                        3 Q And you understood that you had a
                                                                                          4 ATE policy compared the total transfers that were          4 fiduciary duty to ensure that they were made aware
                                                                                          5 being made at the time?                                    5 of all material information necessary to carry out
                                                                                          6 A No, I did not.                                           6 their jobs?
                                                                                          7 Q Did you know whether it was for equivalent               7 A I'm not sure how -- I'm not sure how
                                                                                          8 value?                                                     8 the -- that I had -- say that one more time. That
                                                                                          9 A I didn't know what the assets were so I                  9 I had a fiduciary duty to make them aware of all
                                                                                          10 couldn't comment one way or another.                      10 facts that they needed for their job?
                                                                                          11 Q Turning to Exhibit 5, this is a separate                11 Q Yeah. Did you believe as part of the
                                                                                          12 e-mail from Mr. Stoops that responds to Carter            12 fiduciary duties that you understood you owed the
                                                                                          13 Chism's e-mails. And you can see Mr. Stoops says:         13 debtor, that you had an obligation to the best of
                                                                                          14 All cash has been sent. Working on DTC                    14 your ability to make sure that Mr. Seery and the
                                                                                          15 securities. Still waiting on delivery                     15 other directors were apprised of any material
                                                                                          16 instructions for physicals from Legal.                    16 information that you reasonably believed would be
                                                                                          17      You see that?                                        17 necessary for them to do their jobs in managing
                                                                                          18 A I do.                                                   18 the estate?
                                                                                          19 Q Was Mr. Stoops the one responsible for                  19 A No. My understanding -- I understood my
                                                                                          20 transferring the HFP cash?                                20 job was to do the tasks that I was assigned.
                                                                                          21 A I don't know.                                           21 Q There was a number of times after this
                                                                                          22 Q Did Mr. Stoops have a role in connection                22 transfer in August 2017, where questions arose
                                                                                          23 with HFP at the time?                                     23 about the transfers that were supposed to have
                                                                                          24 A Yes.                                                    24 been made, correct?
                                                                                          25 Q Okay. So looking at these two documents,                25 A Sorry, I really don't --
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 76 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                  297                                                           299
                                                                                          1      MS. SMITH: Objection, form.                            1 BY MR. CLUBOK:
                                                                                          2    A   I don't understand the question as asked.            2 Q Sir, do you remember this exchange? And
                                                                                          3 BY MR. CLUBOK:                                              3 in particular I want to point your attention to
                                                                                          4 Q So in August 2017, you were copied on                     4 the first page that's Bates-labeled 35 of
                                                                                          5 these documents that purported to show there had            5 Exhibit 62 where you --
                                                                                          6 been transfers made from CDO Fund and HFP to                6 A Go ahead.
                                                                                          7 Sentinel Reinsurance, correct?                              7 Q Where you are specifically e-mailing
                                                                                          8 A Yes.                                                      8 Carter Chism to say that: CDO Fund is and has
                                                                                          9 Q And over the next couple of years, did you                9 been insolvent since the financial crisis of 2009.
                                                                                          10 come to learn that there were questions about              10      Do you see that?
                                                                                          11 whether those transfers had properly been                  11 A I do see that, yes.
                                                                                          12 effectuated?                                               12 Q And then in response, Carter Chism says:
                                                                                          13 A I didn't really get involved in that until               13 Thinking about this further, I believe the
                                                                                          14 mid -- like kind of third quarter of 2020.                 14 CDO Opps fund was included in the transfer to
                                                                                          15 Q Well, you were asked about information                   15 Sentinel.
                                                                                          16 relating to the transfers as early as February of          16      Do you see that?
                                                                                          17 2019, weren't you?                                         17 A I do.
                                                                                          18 A I was? Okay. I don't recall that.                        18 Q And this is an e-mail that you and
                                                                                          19 Q I'm going to share with you what's been                  19 Mr. Sevilla and Mr. DiOrio and Clifford Stoops are
                                                                                          20 marked as Exhibit 62. Exhibit 62 has an e-mail             20 all copied on, correct?
                                                                                          21 chain that begins with Ernest Ramos of BNY Mellon          21 A Yes.
                                                                                          22 reaching out to Carter Chism about custody                 22 Q So this is another reminder that there had
                                                                                          23 invoices.                                                  23 been this transfer to Sentinel, right?
                                                                                          24 A I apologize. Where are you, sir?                         24 A I suppose, yes.
                                                                                          25 Q The very last e-mail in the chain working                25 Q Okay. Now, your e-mail to Carter Chism
                                                                                                                                                  298                                                           300
                                                                                          1 backwards. If you turn to the page that's                   1 says: Jason, CDO Fund and has been insolvent.
                                                                                          2 Bates-labeled 39 at the end.                                2       Do you see that?
                                                                                          3 A Give me a moment to review it.                            3 A Yes.
                                                                                          4       MS. SMITH: Is this the complete e-mail?               4 Q Did you mean to send that e-mail to Jason
                                                                                          5       MR. CLUBOK: This is the e-mail that was               5 Martinez?
                                                                                          6  marked   as Exhibit 62 yesterday that I presume is         6 A No.
                                                                                          7 the complete e-mail.                                        7 Q Why did you say Jason?
                                                                                          8       MS. SMITH: In the middle it says: See                 8 A I was suggesting -- I don't recall
                                                                                          9 column M for approved action, and I don't see               9 exactly, but I know what my practice was and I
                                                                                          10 anything with column M.                                    10 think I was suggesting language to Mr. Chism that
                                                                                          11      MR. CLUBOK: What page are you on?                     11 he could use to go back to Mr. Martinez.
                                                                                          12      MS. SMITH: 9039.                                      12 Q I see. So you -- this is a draft e-mail
                                                                                          13      MR. CLUBOK: Yeah. Well, I don't know.                 13 of what you were suggesting that Mr. Chism could
                                                                                          14 Sometimes the top -- yeah. There was originally            14 send to Jason Martinez in response to the question
                                                                                          15 attachments, but on this particular version of the         15 that he asked, correct?
                                                                                          16 document, I don't believe it included the                  16 A Correct.
                                                                                          17 attachments. But in any event, yeah -- -- look,            17 Q And when you say that CDO Fund is and has
                                                                                          18 as I stated, the first e-mail refers to attached           18 been insolvent since the financial crisis, you
                                                                                          19 invoices. Obviously those attached invoices                19 weren't going to tell him that CDO Fund actually
                                                                                          20 aren't included as part of this document, just the         20 had some assets in August of 2017, correct?
                                                                                          21 cover e-mail. And then Carter Chism talks about            21      MS. SMITH: Objection, form.
                                                                                          22 column M presumably in the attached invoices. If           22 A I mean, I don't know that I was going to
                                                                                          23 I could just focus the questions I want to ask of          23 mention it in this communication, but Bank of
                                                                                          24 Mr. Leventon.                                              24 New York Mellon was actually the bank for those
                                                                                          25                                                            25 funds that was directly involved in apparently the
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 77 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  301                                                           303
                                                                                          1 transfers, as I'm noticing from the earlier                 1 Q Was there -- so was Mr. Willmore still
                                                                                          2 exhibits. So they certainly knew about it.                  2 there?
                                                                                          3 BY MR. CLUBOK:                                              3 A Mr. Willmore was no longer employed by the
                                                                                          4 Q Do you know what Sebastian Clarke is?                     4 debtor.
                                                                                          5 A Who?                                                      5 Q Who was Mr. Willmore employed by at that
                                                                                          6 Q Have you ever heard of an entity called                   6 time?
                                                                                          7 Sebastian Clarke?                                           7 A He was employed -- well, I don't know who
                                                                                          8 A No, sir.                                                  8 exactly he was employed by, but he started to work
                                                                                          9 Q Are you aware of Sentinel ever                            9 for some NexPoint affiliate and didn't work on any
                                                                                          10 transferring assets to an entity called Sebastian          10 further Highland stuff.
                                                                                          11 Clarke?                                                    11 Q Okay. Did you inquire of Mr. Willmore as
                                                                                          12 A I'm sorry, sir, I don't know that name.                  12 to where you would go to find the CDO Fund asset
                                                                                          13 Q You've never heard that name before ever?                13 information?
                                                                                          14 A Candidly, I thought it was a person when                 14 A I think I did actually.
                                                                                          15 you first asked it.                                        15 Q And what did he tell you?
                                                                                          16 Q Okay. I'm going to hand you what we're                   16 A He generally pointed me to some accounting
                                                                                          17 going to mark as Exhibit 69.                               17 drives on the G drive.
                                                                                          18     (Deposition Exhibit 69 marked for                      18 Q Well, you certainly had an e-mail that
                                                                                          19 identification.)                                           19 talked about how all of CDO Fund's assets had been
                                                                                          20 BY MR. CLUBOK:                                             20 moved to Sentinel in approximately August of 2017,
                                                                                          21 Q It is a copy of UBS's First Request for                  21 correct? Actually, you had many e-mails that
                                                                                          22 Production of Documents to Debtor Highland Capital         22 reflected that in your inbox, correct?
                                                                                          23 Management, dated September 28th, 2020. Do you             23 A I mean, as I previously stated, the
                                                                                          24 see that?                                                  24 e-mails were separate from the production process
                                                                                          25 A Yes.                                                     25 that I was involved in and that was agreed to with
                                                                                                                                                  302                                                           304
                                                                                          1 Q So were you -- you were partially                         1 Pachulski, and all of those e-mails were actually
                                                                                          2 responsible for helping respond to this discovery           2 sitting at Meta-e and were accessible by
                                                                                          3 request; is that true?                                      3 Pachulski.
                                                                                          4 A I was part of a team of people                            4 Q Right. But you personally had access to
                                                                                          5 responsible.                                                5 information about transfers from CDO Fund to
                                                                                          6 Q Did you review this request carefully?                    6 Sentinel at the time you reviewed this document
                                                                                          7 A I don't know about carefully, but I                       7 request that's been marked as Exhibit 69, correct?
                                                                                          8 certainly reviewed it.                                      8 A In the e-mails, yes.
                                                                                          9 Q Would it have been your practice to review                9 Q And you knew that that information existed
                                                                                          10 a document request like this carefully?                    10 in the e-mails, whether you chose to look at them
                                                                                          11 A I definitely reviewed it and understood                  11 or not at the time, right?
                                                                                          12 its contents. I don't know what carefully means,           12      MS. SMITH: Objection to form.
                                                                                          13 but I definitely reviewed it and knew what it              13 A I knew that information was in the e-mails
                                                                                          14 said.                                                      14 that had been sent to Meta-e.
                                                                                          15 Q And at the time you reviewed this, you had               15 BY MR. CLUBOK:
                                                                                          16 the ability to obtain the asset information                16 Q And did you specifically tell anyone at
                                                                                          17 about -- from CDO Fund, SOHC and HFP, correct?             17 the Pachulski firm that there is information about
                                                                                          18 A That's a really hard question to answer.                 18 what happened to CDO Fund's assets in August of
                                                                                          19 Not exactly. Not really.                                   19 2017, available in the e-mails that were sitting
                                                                                          20 Q Well, who would have had information about               20 at Meta-e?
                                                                                          21 CDO Fund in September of 2020 who was still                21 A No, the e-mails were carved out completely
                                                                                          22 working for the debtor?                                    22 from the process I was involved in.
                                                                                          23 A So that's the problem, is I don't think                  23 Q Same answer with respect to HFP's assets,
                                                                                          24 there was an accountant who was responsible for            24 including SOHC's assets, correct?
                                                                                          25 CDO Fund at that point.                                    25 A Everything that was in the e-mails I did
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                                                                                                                         Transcript of Isaac D. Leventon                                           77 (305 to 308)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 78 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  305                                                          307
                                                                                          1 not look at as part of this response. And I                 1 okay. There isn't a single request in here that
                                                                                          2 understand from Mr. Morris was that he told you             2 caused you to mention to the Pachulski firm or
                                                                                          3 that we weren't going to be looking through                 3 Mr. Seery or the other directors, hey, there's all
                                                                                          4 e-mails in response to these requests because that          4 this information about the assets that were held
                                                                                          5 was being handled separately.                               5 at HFP and CDO Fund and SOHC as of August 2017, if
                                                                                          6 Q Mr. Morris told you that he told me,                      6 we just go look at that time period when the
                                                                                          7 Andrew Clubok, that?                                        7 assets were all transferred to Sentinel. Nothing
                                                                                          8 A That's --                                                 8 caused you --
                                                                                          9 Q That's what you're claiming?                              9       MS. SMITH: Objection, form.
                                                                                          10 A That's what I recall, is that it was                     10 A You mean in the e-mails, that that
                                                                                          11 agreed that the e-mails would be separate.                 11 information was sitting in the e-mails?
                                                                                          12 Q Mr. Morris told you that he had an                       12 BY MR. CLUBOK:
                                                                                          13 agreement with me, Andrew Clubok, that they didn't         13 Q That that information was available
                                                                                          14 have to search the e-mails for information                 14 anywhere.
                                                                                          15 relating to CDO Fund and HFP's assets?                     15 A The only place that I know that it was
                                                                                          16 A That -- it may not have been an agreement                16 available was the e-mails and that was, again,
                                                                                          17 per se, but it was -- essentially Mr. Morris and           17 carved out of what I was looking at. But I
                                                                                          18 Mr. Demo told me not to worry about the e-mails            18 understand that these issues were being looked at
                                                                                          19 and they would take care of it.                            19 by whomever was reviewing the e-mails.
                                                                                          20 Q And did you tell Mr. -- when they told you               20 Q Did you think you had any kind of
                                                                                          21 that, did you say, hey, but there's this transfer          21 fiduciary obligation to affirmatively tell the
                                                                                          22 that occurred in 2017 that will show you exactly           22 debtor counsel that it wasn't just a treasure hunt
                                                                                          23 what assets were there at CDO Fund and HFP as of           23 or a needle in the haystack hunt in those e-mails,
                                                                                          24 August 2017? Did you say anything like that to             24 but that specifically in August of 2017 if they
                                                                                          25 them, in words or substance, when they told you            25 focused on your e-mails and Mr. Sevilla's and a
                                                                                                                                                  306                                                          308
                                                                                          1 we've got somebody else reviewing the e-mails?              1 few others that we've seen today, they could find
                                                                                          2 A No.                                                       2 all the information they were looking for?
                                                                                          3 Q And by the way, you were told by Mr. Demo                 3 A At that point I was a task lawyer with
                                                                                          4 that it was a high priority item to get the asset           4 what Pachulski was telling me, so if it was in the
                                                                                          5 information for CDO Fund and SOHC and HFP,                  5 e-mails, frankly, I just ignored it because they
                                                                                          6 correct?                                                    6 had them and I knew that they were focused on
                                                                                          7 A He may have said that at one point, but                   7 these issues as well.
                                                                                          8 then we had additional iterations as to how we              8 Q And even though you knew they were in the
                                                                                          9 were going to respond and ultimately I was tasked           9 e-mails, you ignored them?
                                                                                          10 with tracing the -- I can't remember if it was             10      MS. SMITH: Objection to form.
                                                                                          11 March or May of 2009, I think it was May of 2009           11 A See, let me rephrase. I don't know that
                                                                                          12 through -- but those assets and explain where they         12 I, sitting here today, knew that all these
                                                                                          13 were today.                                                13 e-mails -- let me rephrase.
                                                                                          14 Q If you look at Exhibit 69, you see that                  14      I don't know that in September 2020 I knew
                                                                                          15 the request included -- and for No. 8, it was:             15 that all those e-mails existed from 2017, but to
                                                                                          16 All Documents pertaining to the assets and                 16 the extent they existed, they had been sitting
                                                                                          17 liabilities of HFP, CDO Fund, and SOHC, including,         17 with Pachulski from the end of July.
                                                                                          18 but not limited to -- and then it lists a number           18      THE WITNESS: Did they turn off the heat?
                                                                                          19 of subcategories. Do you see that?                         19      MS. SMITH: Yes, they turned off the air.
                                                                                          20 A I do.                                                    20      THE WITNESS: Okay.
                                                                                          21 Q And did you review that request carefully                21      MS. DANDENEAU: Wonder if we should open
                                                                                          22 to see what was being requested in terms of assets         22 the door. Would that be better?
                                                                                          23 and liabilities of HFP, CDO Fund and SOHC?                 23      THE WITNESS: I think that might mess with
                                                                                          24 A Yes.                                                     24 the acoustics.
                                                                                          25 Q And did you, in words or substance --                    25      MS. DANDENEAU: What?
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                                                                                                                          Transcript of Isaac D. Leventon                                          78 (309 to 312)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 79 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  309                                                           311
                                                                                          1       THE WITNESS: I think that might mess with             1 specifically.
                                                                                          2  the acoustics.  No, it won't? Maybe.                       2 Q Okay. But it's basically talking about --
                                                                                          3 BY MR. CLUBOK:                                              3 okay. There's questions and it says that there
                                                                                          4 Q I'm going to --                                           4 may be confusions over the name and David Klos
                                                                                          5       MR. CLUBOK: Keep this here. Let's go to               5 asks for you to chime in and they're trying to
                                                                                          6 this document.                                              6 figure out, you know, ownership, I guess, in
                                                                                          7 BY MR. CLUBOK:                                              7 Multi Strat Credit Fund, correct? And in
                                                                                          8 Q I'm going to hand you what's been marked                  8 particular Greg Demo chimes in and says, beginning
                                                                                          9 as Exhibit No. 70.                                          9 at the bottom of page 16: The confusion we're
                                                                                          10      (Deposition Exhibit 70 marked for                     10 having is that there's an asset shown on the
                                                                                          11 identification.)                                           11 worksheets that we got from Isaac that says
                                                                                          12 BY MR. CLUBOK:                                             12 Highland CDO Opportunity Master Fund has a
                                                                                          13 Q It's an e-mail chain and I'm going to ask                13 $21.5 million limited partnership interest in
                                                                                          14 you to start on the page that's Bates labeled --           14 MVCDO.
                                                                                          15 ends with a 17. Turn -- second-to-last page -- or          15      Do you see that?
                                                                                          16 third-to-last page. You can see there's an e-mail          16 A Yes.
                                                                                          17 from James Romey at DSI to you, copying Greg Demo          17 Q And Greg goes on to say, so the issue you
                                                                                          18 and Seery.                                                 18 raise is exactly the issue we're trying to figure
                                                                                          19 A Sorry, this is hard to read. If you'll                   19 out. Going off the org chart, I thought this
                                                                                          20 give me a moment.                                          20 entity was 100 percent owned by MSCF. We're
                                                                                          21 Q Right. You're at the page that ends in                   21 trying to figure out what the $26 million asset on
                                                                                          22 Bates number 117, right?                                   22 CDO Fund's books means and whether it's a direct
                                                                                          23      MS. SMITH: Let him read the whole thing,              23 interest in MCVDO [sic] and LP interest in MSCF or
                                                                                          24 please.                                                    24 redemption interest. I haven't seen Highland CDO
                                                                                          25 A I'm going to review the document.                        25 Opportunity Master Fund listed as either an LP or
                                                                                                                                                  310                                                           312
                                                                                          1        MR. CLUBOK: In that case, let's go off               1 as one of the redeemers.
                                                                                          2 the record.                                                 2       Do you see that?
                                                                                          3        THE VIDEOGRAPHER: We are off the record              3 A Actually I lost you while you were
                                                                                          4 at 6:16 p.m.                                                4 reading, but I will take your word for it that you
                                                                                          5        (Recess taken from 6:16 p.m. CDT to                  5 read it right.
                                                                                          6  6:19   p.m. CDT)                                           6 Q I paraphrased it slightly and skipped what
                                                                                          7        THE VIDEOGRAPHER: The time is 6:19 p.m.              7 I thought was not every word.
                                                                                          8 We are back on the record.                                  8 A Okay.
                                                                                          9 BY MR. CLUBOK:                                              9 Q But the gist of this is --
                                                                                          10 Q Sir, turning to the page in Exhibit 70                   10 A Could you tell me -- sorry, I don't know
                                                                                          11 that is -- ends with 17, do you see where there's          11 where we are in the document.
                                                                                          12 an e-mail from James Romey to you saying: Before           12 Q The gist of what Greg is asking --
                                                                                          13 we give anything to UBS today, we need to track            13 A Sorry, which e-mail from Greg?
                                                                                          14 down what the Highland Credit Opportunities CDO            14 Q There's an e-mail from Greg at the bottom
                                                                                          15 Ltd. partnership interest in MSCF means and how            15 of the page that ends in 16 --
                                                                                          16 it's accounted for on MSCF's books, i.e., whether          16 A Okay. I'm there.
                                                                                          17 it's part of the existing redemption group, or how         17 Q -- that is to you and other people --
                                                                                          18 it has any remaining interest in the fund. Or if           18 A Yes.
                                                                                          19 I'm misunderstanding something, please let me know         19 Q -- copying Seery --
                                                                                          20 ASAP.                                                      20 A Yes.
                                                                                          21       You see that?                                        21 Q -- and says they're having confusion over
                                                                                          22 A Yes.                                                     22 assets shown on worksheets they got from Isaac,
                                                                                          23 Q And MSCF refers to Multi Strat, correct?                 23 that's you, about CDO Fund's interest in
                                                                                          24 A I think that means the Multi Strat Credit                24 Multi Strat, correct?
                                                                                          25 Fund. I'm just not sure which level it would be            25 A That's what it says.
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                                                                                                                            Transcript of Isaac D. Leventon                                         79 (313 to 316)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 80 of 94

                                                                                                                             Conducted on July 22, 2021
                                                                                                                                                  313                                                           315
                                                                                          1 Q And you say: Dave -- and I assume you're                  1 Q And he says basically, this is really hard
                                                                                          2 referring to Dave Klos -- I will call you to                2 and we can't find more information about what
                                                                                          3 figure this out.                                            3 you're asking.
                                                                                          4       Do you see that?                                      4       MS. SMITH: Objection, form.
                                                                                          5 A Yes.                                                      5 BY MR. CLUBOK:
                                                                                          6 Q And then James then follows up and says,                  6 Q Is that the impression that he conveys
                                                                                          7 are you guys available for a call at 6 p.m.                 7 from when you read this document?
                                                                                          8 Eastern for a status check, on the same day. And            8       MS. SMITH: Objection, form.
                                                                                          9 by the way, it says importance high.                        9 A I'll let the document speak for itself.
                                                                                          10      Do you see that?                                      10 The impression that I got at the time was that he
                                                                                          11 A I do.                                                    11 was butting heads with Mr. Demo.
                                                                                          12 Q And Greg says he's going to circulate a                  12 BY MR. CLUBOK:
                                                                                          13 dial-in, and you then jump in and say: Guys, I             13 Q That's the only impression you got from
                                                                                          14 don't think this is a prerequisite to delivering           14 this exchange, that he's butting heads with
                                                                                          15 materials to UBS in satisfaction of their                  15 Mr. Demo?
                                                                                          16 concerns. I am prepping the documents set for              16 A That's the primary impression that I got.
                                                                                          17 delivery tomorrow. Dave has not worked on this,            17 Q Did you get the impression from this
                                                                                          18 so I will just call Greg and James. However, this          18 document that Mr. Seery, who was the CEO of
                                                                                          19 is the current status.                                     19 Highland, had made it clear to you and to
                                                                                          20      Do you see that?                                      20 Mr. Ellington that these requests were, in fact, a
                                                                                          21 A I do.                                                    21 high priority, notwithstanding what
                                                                                          22 Q And then Scott says: Isaac and me were                   22 Mr. Ellington's views were or your views were?
                                                                                          23 instructed by Jim Seery to get this UBS                    23      MS. SMITH: Objection, form.
                                                                                          24 deliverable handled. I was on the phone with -- I          24 BY MR. CLUBOK:
                                                                                          25 was just on the phone with Isaac when the e-mail           25 Q Okay. Let me just ask it very simply.
                                                                                                                                                  314                                                           316
                                                                                          1 came through. Don't see how this is urgent.                 1 Did you get the impression from this e-mail
                                                                                          2 Especially relative to UBS request. We will get             2 exchange that's reflected in Exhibit 70, that
                                                                                          3 to this when it is a priority.                              3 notwithstanding what you and Mr. Ellington may
                                                                                          4      Do you see that?                                       4 have thought about the priority level of these
                                                                                          5 A I do.                                                     5 requests, Mr. Seery definitely believed it was a
                                                                                          6 Q And Greg jumps in and says: Scott and                     6 high priority to respond to these requests from
                                                                                          7 Isaac, I spoke to Jim about this issue this                 7 UBS?
                                                                                          8 morning. It is a high priority at this point and            8      MS. SMITH: Objection, form.
                                                                                          9 we need to do what we can to push it to                     9 A Well, I didn't really know what the answer
                                                                                          10 conclusion. I understand that it's going to take           10 was because I wasn't speaking to Mr. Seery, but
                                                                                          11 some work.                                                 11 Greg was saying that Mr. Seery needed one thing
                                                                                          12     Do you see that?                                       12 and Scott's saying, no, he doesn't and I was not
                                                                                          13 A Yes.                                                     13 involved in either of those conversations and then
                                                                                          14 Q And then Scott writes a fairly lengthy                   14 it was just going to be me and Dave trying to
                                                                                          15 e-mail that begins by saying: I don't think                15 figure things out.
                                                                                          16 there's a need for a call and I can tell you where         16 BY MR. CLUBOK:
                                                                                          17 we are currently.                                          17 Q My simple question to you is, did you,
                                                                                          18     Do you see that?                                       18 from reading this back and forth, have the
                                                                                          19 A Yes.                                                     19 impression that Mr. Seery believed that this was a
                                                                                          20 Q And that's an e-mail that he copies you                  20 high priority for you to respond to regardless of
                                                                                          21 on, along with Mr. Seery, James Romey and                  21 what Mr. Ellington or what you believed?
                                                                                          22 David Klos.                                                22     MS. SMITH: Objection, form.
                                                                                          23 A Yes.                                                     23   A  So I wasn't sure, because Mr. Ellington
                                                                                          24 Q And Greg Demo.                                           24 conveyed essentially that -- I mean, to get the
                                                                                          25 A Yes.                                                     25 deliverable handled, but I don't know that this
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 81 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 317                                                           319
                                                                                          1 one outstanding item was the most important thing          1 Herculean task. Do you see?
                                                                                          2 in the deliverable. And then Greg thought that             2 A He does.
                                                                                          3 this one outstanding item was the most important           3 Q And he says: Isaac and myself have spent
                                                                                          4 thing in the deliverable and I didn't speak to             4 in excess of 100 hours trying to piece together
                                                                                          5 Mr. Seery either way to confirm who was right.             5 everything we can to create a true and accurate
                                                                                          6 BY MR. CLUBOK:                                             6 document-based record of what happened with these
                                                                                          7 Q Well, wait a second. You were instructed                 7 target entities.
                                                                                          8 by Mr. Seery to get this UBS deliverable handled,          8       Correct?
                                                                                          9 weren't you?                                               9 A Yes.
                                                                                          10 A Yes.                                                    10 Q As part of that -- and by the way, was
                                                                                          11 Q And Mr. Seery made it clear to you                      11 that a true statement when you read it, in your
                                                                                          12 personally in that call that this was a priority,         12 mind, that you had gone through a Herculean task
                                                                                          13 didn't he?                                                13 to do everything you could to create a true and
                                                                                          14 A This deliverable, yes. But this one                     14 accurate document-based record of what happened to
                                                                                          15 specific item that was holding up the deliverable,        15 HFP, CDO Fund and SOHC?
                                                                                          16 I don't remember that.                                    16 A I think a more fair characterization is we
                                                                                          17 Q All right. You then read Mr. Seery                      17 had put a substantial amount of effort into
                                                                                          18 telling your -- or telling this group including --        18 tracing the May 2009 assets against -- well,
                                                                                          19 sorry.                                                    19 figuring out what happened to the May 2009 assets.
                                                                                          20      You read Mr. Ellington's -- strike that.             20 Q My question to you is not that question.
                                                                                          21 Let me start over.                                        21 So I want you to answer my question.
                                                                                          22      You read Mr. Ellington's e-mail to                   22      Is it true that you and Mr. Ellington
                                                                                          23 Mr. Seery and to others in which he says that             23 did -- had done everything you could to create a
                                                                                          24 there are ghost funds such as these target                24 true and accurate document-based record of what
                                                                                          25 entities, and by target entities he means                 25 happened with HFP, SOHC and CDO Fund as of
                                                                                                                                                 318                                                           320
                                                                                          1 CDO Fund, HFP and SOHC, correct?                           1 August 15th, 2020?
                                                                                          2 A I can assume that's what he means, but I                 2       MS. SMITH: Objection, form.
                                                                                          3 don't know.                                                3 A I think that was a slight
                                                                                          4 Q And he talks about how the ghost funds                   4 mischaracterization of the work that we were
                                                                                          5 don't have directors, custodians, administrators,          5 doing, which was tracing the assets.
                                                                                          6 bank accounts and no one knows -- no one knows             6 BY MR. CLUBOK:
                                                                                          7 what they truly retain. Do you see that?                   7 Q Did you --
                                                                                          8 A I do.                                                    8 A And that we had done a lot of work.
                                                                                          9 Q And he claims that UBS is aware of the                   9       MR. CLUBOK: Move to strike as
                                                                                          10 situation because he's personally discussed it            10 nonresponsive.
                                                                                          11 with Andy Clubok, that's me, several dozen times,         11 A Sorry, I was addressing the Herculean task
                                                                                          12 including as recently as this year, right?                12 portion of it.
                                                                                          13 A He does say that.                                       13 BY MR. CLUBOK:
                                                                                          14 Q And did you know that Mr. Ellington had                 14 Q Okay. Well, I'm asking you whether it was
                                                                                          15 represented to me that these were ghost funds and         15 true as Mr. Ellington reported to Mr. Seery and
                                                                                          16 there was no way really as a practical matter to          16 others, that as of August 15th, 2020, you were --
                                                                                          17 figure out how much assets they had or when they          17 you had spent 100 hours trying to piece together
                                                                                          18 last had assets or words to that effect?                  18 everything you could to create a true and accurate
                                                                                          19 A I wasn't privy to your conversations.                   19 document-based record of what happened with HFP,
                                                                                          20 Q Did you -- did Mr. Ellington ever tell                  20 SOHC and CDO Fund?
                                                                                          21 you, in words or substance, that he had conveyed          21 A I think his statement was not precise, and
                                                                                          22 that information to UBS other than what's here in         22 I believe that what I stated was a more precise
                                                                                          23 Exhibit 70?                                               23 characterization of what he was saying.
                                                                                          24 A I don't recall him ever doing that.                     24 Q Did you make any effort to correct his
                                                                                          25 Q Okay. He then said, the project is a                    25 statement to this audience?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 82 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  321                                                      323
                                                                                          1 A I never responded to this e-mail and I                    1 Q To whom?
                                                                                          2 wasn't going to get involved in a -- what I viewed          2 A So Mr. Demo knew exactly what I was
                                                                                          3 to be essentially a butting of heads between                3 working on, as did -- well, I take it back. I
                                                                                          4 Mr. Ellington and Pachulski.                                4 don't know if DSI knew what I was working on. But
                                                                                          5 Q At the time did you think it was accurate                 5 Mr. Demo knew exactly what I was working on and I
                                                                                          6 that you had been doing everything you could to             6 never represented to him, or anybody that I
                                                                                          7 create a true and accurate document-based record            7 remember, maybe I did, but I just -- I don't
                                                                                          8 of what had happened with HFP, SOHC and CDO Funds?          8 remember having that conversation of I'm going to
                                                                                          9 A That was not what I had been tasked with                  9 do a forensic audit of the funds.
                                                                                          10 doing. I had been tasked with the other thing              10      Instead, it was, I'm going to identify
                                                                                          11 that I've already described.                               11 what did they have as of this date, which has
                                                                                          12 Q So is the answer to my question no?                      12 already been produced to UBS and show UBS what
                                                                                          13 A No, I didn't because that wasn't my task.                13 happened to those assets.
                                                                                          14 Q Is the answer to my question no?                         14 Q You've said that you and -- he says that
                                                                                          15 A I said no, because that's not what I was                 15 you and he were speaking literally daily about
                                                                                          16 tasked with doing.                                         16 this. Do you see that?
                                                                                          17 Q Are you saying --                                        17 A Yes.
                                                                                          18      MS. SMITH: Objection to form.                         18 Q Is that true, that you were speaking daily
                                                                                          19 BY MR. CLUBOK:                                             19 about responding to UBS's document request with
                                                                                          20 Q You're saying that you had not done                      20 respect to the assets?
                                                                                          21 everything you could to create or to try to create         21 A This is the -- before the document
                                                                                          22 a true and accurate document-based record of what          22 request.
                                                                                          23 happened with HFP, SOHC and CDO Fund as of the             23 Q Okay. This was with respect to -- this is
                                                                                          24 date of this e-mail, correct?                              24 before the formal document request.
                                                                                          25 A Well, I tried to do everything I could and               25 A I don't know how to respond to that, sir.
                                                                                                                                                  322                                                      324
                                                                                          1 I put a lot of effort into tracing the May 2009             1 It's before the request for production that are
                                                                                          2 assets and identifying what happened -- where they          2 marked as Exhibit 69.
                                                                                          3 were today. I put a lot of effort into that.                3 Q Okay. But it -- you knew at the time of
                                                                                          4 Q But you very -- you had not -- okay.                      4 August 15, 2020, that UBS had requested all
                                                                                          5       MR. CLUBOK: Move to strike as                         5 information relating to the assets of HFP,
                                                                                          6  nonresponsive.                                             6 CDO Fund and SOHC, correct?
                                                                                          7 BY MR. CLUBOK:                                              7 A I don't know that I ever saw UBS requests
                                                                                          8 Q I just want you to answer my question and                 8 that -- whenever these informal requests were that
                                                                                          9 we are going to add more time to this dep if you            9 predated the request for --
                                                                                          10 don't answer my question. Was Mr. Ellington's              10 Q I didn't ask you if you ever saw them. I
                                                                                          11 statement that you and he together had tried to do         11 said, did you know, prior to the formal requests
                                                                                          12 everything you could to create a true and accurate         12 that were marked as Exhibit 69, that UBS had
                                                                                          13 document-based record of what had happened with            13 requested all information related to the assets,
                                                                                          14 HFP, SOHC and CDO Fund?                                    14 both current and historical, for SOHC, CDO Fund
                                                                                          15      MS. SMITH: Objection, form.                           15 and HFP?
                                                                                          16 A The problem is that's a paraphrase of what               16 A I knew that UBS certainly was asking for a
                                                                                          17 Mr. Ellington said here and I'm happy to point out         17 lot of information, but in terms of exactly how
                                                                                          18 where, frankly, I disagree with Mr. Ellington on           18 you phrased it just now, I don't remember that
                                                                                          19 this.                                                      19 part. But UBS was certainly asking for a lot of
                                                                                          20 BY MR. CLUBOK:                                             20 information and then that's what me and Mr. Demo
                                                                                          21 Q But did you point out to anyone on this                  21 spoke about, is to kind of how to satisfy that.
                                                                                          22 e-mail chain in any communication, how you                 22 Q Was this -- Mr. Ellington says that a
                                                                                          23 disagreed with what Mr. Ellington was saying in            23 large majority of your efforts were based on
                                                                                          24 this e-mail that you read?                                 24 educated guess work, but at the time, you and he
                                                                                          25 A I think I did actually, yes.                             25 both knew that all the assets that CDO Fund and
                                                                                                                                       PLANET DEPOS
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                                                                                                                          Transcript of Isaac D. Leventon                                          82 (325 to 328)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 83 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  325                                                           327
                                                                                          1 HFP had, had been attempted to be transferred to            1 correct?
                                                                                          2 Sentinel in 2017, correct?                                  2 A I knew that the assets -- substantially
                                                                                          3       MS. SMITH: Objection, form.                           3 all of the assets that they had owned in August of
                                                                                          4 A With respect to the assets that had been                  4 2017 had been transferred in -- or attempted to be
                                                                                          5 sitting in those SOHC and CDO Fund in May of 2009,          5 transferred in 2017.
                                                                                          6 most of those weren't the subject of the 2017               6 Q And Mr. Ellington knew that too, correct,
                                                                                          7 transfer and there was a lot of -- educated guess           7 when he wrote this e-mail?
                                                                                          8 work is probably not the right way to say it. We            8 A Mr. Ellington and Mr. Klos knew that,
                                                                                          9 were gathering as many documents as we could to             9 both.
                                                                                          10 try to figure out what had happened to those               10 Q Okay. And also you knew that Sentinel --
                                                                                          11 assets.                                                    11 you knew in August 2020, that Sentinel was at
                                                                                          12 BY MR. CLUBOK:                                             12 least partially owned by Mr. Ellington, correct?
                                                                                          13 Q At the time Mr. Ellington made the                       13 A I actually didn't know that, no.
                                                                                          14 statement about an educated guess, you knew that           14 Q Okay. But Mr. Ellington certainly knew
                                                                                          15 all the assets that CDO Fund and HFP had had been          15 that at the time, correct?
                                                                                          16 attempted to be transferred to Sentinel in 2017,           16      MS. SMITH: Objection, form.
                                                                                          17 correct?                                                   17 A You'll have to ask Mr. Ellington what he
                                                                                          18      MS. SMITH: Objection to form.                         18 knows. I don't -- I don't know that Mr. Ellington
                                                                                          19 A I knew that substantially all of the                     19 owns any part of Sentinel. I know he's related to
                                                                                          20 assets they had in August of 2017 had been                 20 it in some way, but I don't know if he owns it.
                                                                                          21 transferred in August of 2017, but that's not              21 BY MR. CLUBOK:
                                                                                          22 necessarily the same as what was there in 2009.            22 Q Oh, you don't know if Mr. -- you don't
                                                                                          23 BY MR. CLUBOK:                                             23 know, sitting here today, if Mr. Ellington has any
                                                                                          24 Q I didn't ask you about that yet.                         24 economic interest, direct or indirect, in
                                                                                          25      MR. CLUBOK: I'm going to move to strike               25 Sentinel?
                                                                                                                                                  326                                                           328
                                                                                          1 that part as nonresponsive.                                 1 A No.
                                                                                          2 BY MR. CLUBOK:                                              2 Q But you do know that Mr. Dondero has an
                                                                                          3 Q I'm going to again ask you, hopefully try                 3 economic interest in Sentinel?
                                                                                          4 to answer my question so we can finish this close           4 A So it's similar to SAS, right. I knew
                                                                                          5 to on time.                                                 5 that Mr. Dondero and Mr. Ellington had some
                                                                                          6 A Okay.                                                     6 involvement with that entity. I didn't know
                                                                                          7 Q I didn't say a word about 2009 yet. I may                 7 exactly what the structure or ownership was. I
                                                                                          8 move to that, but I want a clean answer to my               8 knew that they had, essentially, involvement in
                                                                                          9 question.                                                   9 authority with respect to those entities.
                                                                                          10      When Mr. Ellington wrote this e-mail                  10 Q You do know that Mr. Dondero has an
                                                                                          11 that's reflected on the first page of Exhibit 70,          11 economic interest in Sentinel, correct?
                                                                                          12 you knew at the time and he knew at the time that          12 A Actually, I don't.
                                                                                          13 substantially all of the assets of HFP and                 13 Q Okay. Do you know if Mr. Surgent was made
                                                                                          14 CDO Fund had been transferred to an entity that he         14 aware that Mr. Dondero and Mr. Ellington had an
                                                                                          15 partially owned in August of 2017, correct?                15 economic interest in Sentinel when he supposedly
                                                                                          16      MS. SMITH: Objection, form.                           16 made the determination that they were not
                                                                                          17 A I can't give you a clean answer to that                  17 affiliates -- strike that.
                                                                                          18 question, sir. There are -- if you want to break           18      Do you know whether or not Mr. Surgent
                                                                                          19 it up into parts, I'm happy to address it.                 19 knew about Mr. Dondero and Mr. Ellington's
                                                                                          20 BY MR. CLUBOK:                                             20 economic interest in Sentinel when he supposedly
                                                                                          21 Q Okay. At the time Mr. Ellington wrote the                21 made the determination you claim he made with
                                                                                          22 e-mail that's reflected on the first page of               22 respect to Sentinel's status as an affiliate or
                                                                                          23 Exhibit 70, you knew that substantially all of the         23 not an affiliate of Highland Capital?
                                                                                          24 assets of HFP and CDO Fund had been attempted to           24      MS. SMITH: Objection to form.
                                                                                          25 be transferred to Sentinel in August of 2017,              25 A I don't know if they have an economic
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 84 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                 329                                                           331
                                                                                          1 interest and I don't know what the content of              1 A Well, because for years, CDO Fund didn't
                                                                                          2 those conversations were, but I do know                    2 have any financials and so it just struck me as
                                                                                          3 Mr. Surgent's determination.                               3 unusual that they were doing anything with that
                                                                                          4 BY MR. CLUBOK:                                             4 fund. It was very -- it was strange to me so I
                                                                                          5 Q Okay. But you don't know if he knew the                  5 asked.
                                                                                          6 economic ownership interest that Mr. Dondero or            6 Q And are these people, Mike Throckmorton
                                                                                          7 Mr. Ellington may or may not have had in Sentinel          7 and Chris Rice who are copied on this exchange,
                                                                                          8 at the time he was supposedly asked to make that           8 people that you went to when you were tasked with
                                                                                          9 determination, correct?                                    9 helping to identify historical information about
                                                                                          10 A I don't know what he knew one way or                    10 the assets of CDO Fund?
                                                                                          11 another.                                                  11 A Throckmorton, I think yes. Rice, I don't
                                                                                          12 Q I'm going to hand you what's been marked                12 remember.
                                                                                          13 as Exhibit 71.                                            13 Q Did you direct Mr. Seery or Pachulski to
                                                                                          14       (Deposition Exhibit 71 marked for                   14 these people for assistance?
                                                                                          15 identification.)                                          15 A Well, they were asking questions of
                                                                                          16 BY MR. CLUBOK:                                            16 Mr. Klos, and Mr. Throckmorton responded to
                                                                                          17 Q It's an e-mail from Mike Throckmorton to                17 Mr. Klos. So that wasn't my chain of command.
                                                                                          18 you, copying David Klos and also to Chris Rice.           18 Q I'm going to -- so turning back, though,
                                                                                          19 It's actually an e-mail exchange, I should say,           19 to Exhibit 70, which is dated August 15, 2020.
                                                                                          20 that begins with Chris Rice sending to you a              20 You say at that time you didn't know -- did you
                                                                                          21 balance of roughly 363 million in the claims              21 know at that time that UBS was asking for all
                                                                                          22 account for CDO Opportunity Master as of                  22 information relating to the assets, both current
                                                                                          23 12/31/2018, and it goes back and forth here. Do           23 and historical, for HFP, SOHC and CDO Fund?
                                                                                          24 you see that?                                             24     MS. SMITH: Objection, form.
                                                                                          25 A Yes.                                                    25 A I think my prior testimony is that I knew
                                                                                                                                                 330                                                           332
                                                                                          1 Q And you ultimately say that the CDO Fund                 1 UBS wanted a lot of information, but that exact
                                                                                          2 number should be about 530 million which accounts          2 characterization I don't know. I don't remember.
                                                                                          3 for the accrued interest, correct, on the first            3 BY MR. CLUBOK:
                                                                                          4 page?                                                      4 Q In words or substance, you knew that the
                                                                                          5 A I think that was reflective of the                       5 gist of what UBS had been looking for for at least
                                                                                          6 judgment that had been handed down by the Court.           6 weeks, if not months prior to this, was
                                                                                          7 Q Right. So you knew as of -- obviously                    7 information about the assets that CDO Fund, SOHC
                                                                                          8 knew as of July 16, 2020, that CDO Fund had a              8 and HFP had both then and historically since 2009;
                                                                                          9 judgment against it totaling approximately                 9 isn't that true?
                                                                                          10 $530 million including interest, correct?                 10      MS. SMITH: Objection. He answered that
                                                                                          11 A Yes.                                                    11 he didn't remember.
                                                                                          12 Q And you asked why they were doing                       12 A I mean, I --
                                                                                          13 financials for CDO Fund and you were told it was          13      MR. CLUBOK: Move to -- look, I -- please
                                                                                          14 for tax purposes, correct?                                14 don't start making speaking objections just
                                                                                          15 A Where did I ask that?                                   15 because it's getting late.
                                                                                          16 Q In the -- your e-mail on page -- the first              16 BY MR. CLUBOK:
                                                                                          17 page of Exhibit 71.                                       17 Q I'm asking you a slightly different
                                                                                          18      MS. SMITH: Review the exhibit.                       18 question and I'm saying, didn't you understand, as
                                                                                          19 BY MR. CLUBOK:                                            19 of August 15, 2020, that the gist of requests that
                                                                                          20 Q Look at the first page. Do you see where                20 UBS had made at least weeks before, if not months
                                                                                          21 it says -- where you give the fund number, and            21 before, was to get whatever information was
                                                                                          22 then you say: However, more generally, why are we         22 available about the assets of CDO Fund, HFP and
                                                                                          23 doing financials for CDO Fund at all?                     23 SOHC, both currently and historically since 2009;
                                                                                          24 A Yes, I see that.                                        24 isn't that true?
                                                                                          25 Q Why did you ask that question?                          25 A I knew -- I knew UBS was asking for a lot
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 85 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  333                                                          335
                                                                                          1 of information about what happened to the assets            1      Do you see that?
                                                                                          2 in those funds and then we went through an                  2    A   Yes.
                                                                                          3 iterative process between myself and Mr. Demo to            3 Q And so when you gave this answer, did you
                                                                                          4 determine what it was that we were going to send,           4 know what the current requests were? When you
                                                                                          5 but I -- I don't recall ever seeing UBS's                   5 wrote this e-mail, at that -- even if you don't
                                                                                          6 requests. Really I was getting my tasking orders            6 remember now, this is almost a year ago, but at
                                                                                          7 from Pachulski.                                             7 the time, had you reviewed UBS's then current
                                                                                          8 Q Okay. I'm going to hand you what's been                   8 request for information when you advised Mr. Seery
                                                                                          9 marked as Exhibit 72.                                       9 that they supposedly exceeded what UBS was
                                                                                          10     (Deposition Exhibit 72 marked for                      10 entitled to under the special master order?
                                                                                          11 identification.)                                           11 A I apparently knew that you were asking for
                                                                                          12 BY MR. CLUBOK:                                             12 documents from 12/31/07 through 12/31/19.
                                                                                          13 Q It's an e-mail from ten days earlier,                    13 Q Did you know what the current requests for
                                                                                          14 August 5th, 2020, from you to Jim Seery, copying           14 information were at that time when you wrote this
                                                                                          15 Brad Sharp, James Romey, David Klos, and the               15 e-mail, yes or no?
                                                                                          16 subject is UBS Supplemental Information Request.           16 A I don't recall if I did one way or
                                                                                          17 Do you see that?                                           17 another.
                                                                                          18 A I do.                                                    18 Q Okay. And you go on to say: HFP and
                                                                                          19 Q And this -- UBS had made information                     19 CDO Fund informed their investors that they had
                                                                                          20 requests and then they had made supplemental               20 zero net asset values.
                                                                                          21 information requests, and this is all before the           21     Do you see that?
                                                                                          22 more formal document requests that we previously           22 A Yes.
                                                                                          23 reviewed, correct?                                         23 Q And then you say you've been tracking the
                                                                                          24     MS. SMITH: Please let him review the                   24 assets through on SOHC and CDO Fund. Do you see
                                                                                          25 document.                                                  25 that?
                                                                                                                                                  334                                                          336
                                                                                          1 A I see that it says supplemental                           1 A Right. That was the task that they had
                                                                                          2 information request. I was not interfacing with             2 put me on, was to track the assets from May of '09
                                                                                          3 UBS on these requests. I don't even remember                3 forward.
                                                                                          4 being sent them.                                            4 Q Well, you talk about -- well, first of
                                                                                          5 BY MR. CLUBOK:                                              5 all, every single asset that it -- had been there
                                                                                          6 Q That's not my question. Let's listen to                   6 in May of '09 that was still there in August 17th,
                                                                                          7 my question, please, and answer my question.                7 you knew exactly what had had happened to those
                                                                                          8 Isn't it true that UBS had made information                 8 assets, right?
                                                                                          9 requests and supplemental information requests              9       MS. SMITH: Objection to form.
                                                                                          10 with respect to the assets of HFP, CDO Fund and            10 A Actually, I didn't.
                                                                                          11 SOHC all before the more formal document requests          11 BY MR. CLUBOK:
                                                                                          12 that we reviewed earlier today?                            12 Q Well, you knew that any assets that were
                                                                                          13 A I don't have any personal knowledge of                   13 there in May of 2009 that were still there in
                                                                                          14 those.                                                     14 August of 2017, had been transferred, pursuant to
                                                                                          15 Q Okay. But on August 5th, 2020, you                       15 that e-mail that you were copied on, to Sentinel
                                                                                          16 were -- in response to an e-mail from James Seery,         16 for consideration for the ATE policy, didn't you?
                                                                                          17 the subject being, RE: UBS Supplemental                    17 A There were only two such assets and I
                                                                                          18 Information Request, you respond: UBS's current            18 researched extensively what happened to both of
                                                                                          19 requests for information exceed what it was                19 those assets. And so I don't necessarily agree
                                                                                          20 entitled to under the Special Master Discovery             20 that they were effectively transferred by the
                                                                                          21 Order (attached).                                          21 ATE policy -- whatever -- whatever it is that
                                                                                          22      Do you see that?                                      22 people did, it didn't work, I think.
                                                                                          23   A   I do.                                                23 Q What were those two assets that you're
                                                                                          24 Q You said: UBS is asking for documents                    24 talking about?
                                                                                          25 from 12/31/07 through 12/31/19.                            25 A The NV -- well, sorry, let me rephrase.
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                                                                                                                         Transcript of Isaac D. Leventon                                            85 (337 to 340)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 86 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  337                                                           339
                                                                                          1 The interest in Multi Strat, at whichever level it          1 and said this one I can't tell you, this one I
                                                                                          2 existed and the records are inconsistent on that,           2 don't know about.
                                                                                          3 and that creates another problem because at one             3 Q Not sure what? Not sure whether or not
                                                                                          4 level, equity interest got extinguished --                  4 they were transferred to Sentinel? That's my only
                                                                                          5 Q We'll come to that.                                       5 question. I want to know if you're saying that
                                                                                          6 A -- and then Greenbriar --                                 6 you were not sure one way or the other whether
                                                                                          7 Q So you had extensively researched                         7 CDO Fund's interest in Multi Strat, if any, were
                                                                                          8 CDO Fund's interest in Multi Strat and Greenbriar           8 ever transferred to Sentinel. Were you either
                                                                                          9 and you came to the conclusion that those assets            9 sure they weren't or were you sure they were or
                                                                                          10 had not been properly transferred to Sentinel as           10 were you not sure?
                                                                                          11 part of the August 2017 transaction, correct?              11      MS. SMITH: Objection, form.
                                                                                          12 A Can we break it up into a Greenbriar                     12 A I was not sure, and I can explain why.
                                                                                          13 question and a Multi Strat question? Would that            13 BY MR. CLUBOK:
                                                                                          14 be possible?                                               14 Q I didn't ask for that. So you thought
                                                                                          15 Q Sure. With respect to Greenbriar, you                    15 there was -- based on all the research you did,
                                                                                          16 concluded that Greenbriar's -- the assets that             16 you thought there was some chance that some assets
                                                                                          17 CDO Fund held in Greenbriar had never been                 17 that CDO Fund held in Multi Strat had been
                                                                                          18 transferred to Sentinel, correct?                          18 transferred to Sentinel but you were not sure; is
                                                                                          19 A I concluded that the -- so I was tracking                19 that correct?
                                                                                          20 title of assets, and the title of what were                20 A That was one of the possibilities.
                                                                                          21 preference 2 shares issued by Greenbriar never             21 Q And did you ever say that possibility, in
                                                                                          22 left CDO Fund's possession. And so this -- when I          22 words or substance, to Greg Demo?
                                                                                          23 say I was tracking assets, I was tracking title to         23 A I didn't give him any of the
                                                                                          24 assets. That's what this whole process was, was            24 possibilities, I just told him I can't figure out
                                                                                          25 tracking basically if it's -- if you have to               25 what's going on with this asset.
                                                                                                                                                  338                                                           340
                                                                                          1 deliver them to UBS tomorrow, how do you do that,           1 Q But you didn't tell him that one of the
                                                                                          2 who do you call. And that's why title was the               2 reasons you couldn't figure it out is because
                                                                                          3 important inquiry that I was being asked.                   3 there was a possibility that that asset had been
                                                                                          4 Q So with respect to Greenbriar, title to                   4 transferred to Sentinel? You didn't say that in
                                                                                          5 the assets were never transferred to Sentinel from          5 words or substance to Greg Demo, correct?
                                                                                          6 CDO Fund, correct?                                          6 A That actually wasn't one of the reasons I
                                                                                          7 A As far as I'm aware, the title -- as far                  7 couldn't tell. That wasn't one of the reasons I
                                                                                          8 as my research showed, the title to the Greenbriar          8 didn't know.
                                                                                          9 Class 2 preference shares were never transferred            9 Q You did not tell Mr. Demo that there was
                                                                                          10 from CDO Fund to Sentinel.                                 10 some possibility that assets that were held by
                                                                                          11 Q And are still to this day, as far as you                 11 CDO Fund had been transferred -- strike that.
                                                                                          12 know -- or at least as of the time you left                12     You never told anyone at the Pachulski
                                                                                          13 Highland, owned by CDO Fund, correct?                      13 firm that assets that CDO Fund held with respect
                                                                                          14 A They're titled to CDO Fund. I believe                    14 to Multi Strat may have been transferred to
                                                                                          15 that's the right answer.                                   15 Sentinel, correct?
                                                                                          16 Q Okay. And with respect to the assets in                  16 A That's correct.
                                                                                          17 Multi Strat, you believed, at least as of the time         17 Q Why not?
                                                                                          18 you left Highland, that the title to those                 18 A So I'm at the point where -- well, let me
                                                                                          19 assets -- that there had been -- strike that.              19 rephrase. In my research I arrived at at least a
                                                                                          20     That CDO Fund had not transferred any                  20 preliminary conclusion, that that asset had been
                                                                                          21 interest that it may have had in Multi Strat to            21 extinguished back in 2011.
                                                                                          22 Sentinel, correct?                                         22 Q Did you share that conclusion with
                                                                                          23 A Well, I actually wasn't sure, and to this                23 Mr. Demo?
                                                                                          24 day I'm not sure. And I actually highlighted in            24 A I told him that that was a concern of mine
                                                                                          25 green on the chart that I was making for Mr. Demo          25 and that I was still trying to track it down and I
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 87 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                 341                                                           343
                                                                                          1 told him that was my preliminary conclusion.               1 Multi Strat position being written off.
                                                                                          2 Q When did you tell him that?                              2      Do you see that?
                                                                                          3 A It was around this time period.                          3 A I do.
                                                                                          4 Q When?                                                    4 Q And if you look, you can see then on the
                                                                                          5 A It was in August of 2020.                                5 first page of the attachment that write-off
                                                                                          6 Q And did you tell him to share that                       6 occurred August 11th, 2017. Do you see that?
                                                                                          7 information with UBS?                                      7 A I do see that's what it says.
                                                                                          8 A I didn't give him any instructions on what               8 Q And you recall, of course, in your
                                                                                          9 to share with UBS one way or another.                      9 Appendix 1, there was an amount identified for
                                                                                          10 Q Did you advise ever affirmatively that                  10 CDO Fund's interest in Multi Strat as of April
                                                                                          11 they should not share that information with UBS?          11 2017, right?
                                                                                          12     MS. SMITH: Objection, form.                           12     MS. SMITH: Objection, form. What are you
                                                                                          13 A I don't remember -- I don't remember if we              13 referring to on the exhibit?
                                                                                          14 talked about it. I do remember that I was                 14     MR. CLUBOK: Let me restate the question.
                                                                                          15 concerned that if we didn't have the answer, that         15 BY MR. CLUBOK:
                                                                                          16 was going to create more -- that if we gave a             16 Q You know that August 11, 2017, was the
                                                                                          17 partial -- well, let me start over.                       17 date that the transfers of substantially all of
                                                                                          18     I was concerned that if we told them -- if            18 CDO Fund's assets were made to Sentinel?
                                                                                          19 we told you where we were, that was going to              19 A I knew that it took place in August of
                                                                                          20 create more problems because we had uncertainty           20 2017. I didn't know the exact date, but yes.
                                                                                          21 and that was not an easy thing to say.                    21 Q Right. So you directed Mr. Seery and
                                                                                          22 BY MR. CLUBOK:                                            22 Mr. Ellington -- sorry, you directed Mr. Seery and
                                                                                          23 Q My question is did you ever affirmatively               23 Mr. Demo to an attached that showed the
                                                                                          24 advise them not to share information about                24 Multi Strat position being written off on
                                                                                          25 CDO Fund's possible ownership interest in                 25 August 11th, 2017, right?
                                                                                                                                                 342                                                           344
                                                                                          1 Multi Strat with UBS?                                      1 A I see that.
                                                                                          2 A I don't remember one way or another.                     2 Q And did you also affirmatively say, oh,
                                                                                          3 Q Let's mark a document as Exhibit 73.                     3 and by the way, that was the time when
                                                                                          4       (Deposition Exhibit 73 marked for                    4 substantially all of CDO Fund's assets, including
                                                                                          5 identification.)                                           5 any interest it may have had in Multi Strat, were
                                                                                          6 BY MR. CLUBOK:                                             6 attempted to be transferred to Sentinel? Did you
                                                                                          7 Q I'm going to mark an e-mail from you to                  7 say that, in words or substance, in any way to
                                                                                          8 Mr. Seery, dated August 21st, as Exhibit 73. And           8 Mr. Seery or Mr. Demo in connection with the
                                                                                          9 it's got an attachment that says Screenshot:               9 statement directing them to the attached that
                                                                                          10 WSO_Trade_No.9684001.pdf. We'll have the cover            10 showed the Multi Strat position being written off?
                                                                                          11 e-mail and the two-page attachment marked                 11     MS. SMITH: Objection, form.
                                                                                          12 collectively as Exhibit 73.                               12   A  At -- I did not mention Sentinel in the
                                                                                          13      And at the bottom of this e-mail chain,              13 context of these documents. I was still
                                                                                          14 you say to Jim Seery, copying Scott Ellington and         14 researching why the financial records showed what
                                                                                          15 Greg Demo and James Romey, that here's a revised          15 they showed.
                                                                                          16 package of UBS documents without mention of               16 BY MR. CLUBOK:
                                                                                          17 Multi Strat.                                              17 Q Well, but you're still researching why the
                                                                                          18      MS. SMITH: Can you read that?                        18 records showed a write-off on the exact day in
                                                                                          19 BY MR. CLUBOK:                                            19 August of 2017 when you had been told that all the
                                                                                          20 Q Do you see that?                                        20 assets of CDO Fund were supposed to be transferred
                                                                                          21 A Yes.                                                    21 to Sentinel for an after-the-event insurance
                                                                                          22 Q And you at the top of the e-mail say:                   22 policy, correct?
                                                                                          23 All - I do -- and in all caps, underlined -- NOT          23     MS. SMITH: Objection, form.
                                                                                          24 want to include this in the UBS package until we          24 A My concern is that that write-off should
                                                                                          25 discuss, but please see attached showing the              25 have actually taken place much, much earlier.
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                                                                                                                          Transcript of Isaac D. Leventon                                            87 (345 to 348)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 88 of 94

                                                                                                                           Conducted on July 22, 2021
                                                                                                                                                  345                                                          347
                                                                                          1 BY MR. CLUBOK:                                              1 supposedly traded and settled August 11th, 2017,
                                                                                          2 Q I understand what you're saying now, but                  2 correct?
                                                                                          3 the fact is you did know that that write-off that           3 A It shows that it was written off on that
                                                                                          4 you referred them to was the date that all of the           4 date. Any entry in WSO generates a "trade ticket"
                                                                                          5 assets of CDO Fund were supposed to be transferred          5 even if it's not technically a trade.
                                                                                          6 to Sentinel, correct?                                       6 Q But, in fact, it says, Trade Type, Sell,
                                                                                          7       MS. SMITH: Objection, form.                           7 on the document, correct?
                                                                                          8    A   I knew that the ATE transfer had taken               8 A It says sell because it's -- well, because
                                                                                          9 place on or about August 2017.                              9 it's coming from the perspective of Highland
                                                                                          10 BY MR. CLUBOK:                                             10 CDO Fund. So, yes, that's what it says.
                                                                                          11 Q And when you referred them to this                       11 Q Then it says the counterparty is just a
                                                                                          12 document that showed a write-off for this asset            12 write-off, supposedly, pursuant to this document,
                                                                                          13 related to Multi Strat as of that date, you failed         13 right?
                                                                                          14 to mention that, correct?                                  14 A It does say that.
                                                                                          15      MS. SMITH: Objection, form.                           15 Q But, in fact, following August 11th, 2017,
                                                                                          16 A I did not mention that.                                  16 Sentinel appeared as a significant redeemer in
                                                                                          17      MR. CLUBOK: Let's go off the record.                  17 Multi Strat; isn't that true?
                                                                                          18      MS. SMITH: Good. Because I need to take               18 A I'm sorry, after which date, sir?
                                                                                          19 a break.                                                   19 Q Following -- after -- at some point after
                                                                                          20      THE VIDEOGRAPHER: We are off the record               20 August of 2017, Multi Strat started showing up as
                                                                                          21 at 7:04 p.m.                                               21 one of the significant redeemers in the interest
                                                                                          22      (Recess taken from 7:04 p.m. CDT to                   22 in Multi Strat, correct?
                                                                                          23 7:25 p.m. CDT)                                             23     MS. SMITH: Objection, form.
                                                                                          24      THE VIDEOGRAPHER: The time is 7:25 p.m.               24 A I'm sorry, you lost me, sir.
                                                                                          25 We are back on the record.                                 25     MR. CLUBOK: Beg your pardon?
                                                                                                                                                  346                                                          348
                                                                                          1 BY MR. CLUBOK:                                              1       MS. SMITH: Objection, form.
                                                                                          2 Q Mr. Leventon, referring back to                           2 BY MR. CLUBOK:
                                                                                          3 Exhibit 73, this was the cover sheet e-mail on the          3 Q At some point after August of 2017,
                                                                                          4 first page that -- in which you said you did not            4 Sentinel shows up on a list of redeemers with
                                                                                          5 want to include certain information in the UBS              5 respect to the Multi Strat partnership, correct?
                                                                                          6 package until you discussed, and then you referred          6 A At some point Sentinel does show up as a
                                                                                          7 Mr. Seery and Mr. Demo and Mr. Romey, copying               7 redeemer from Multi Strat.
                                                                                          8 Scott Ellington, to the attachments showing the             8 Q And I'm going to hand you what's been
                                                                                          9 Multi Strat position being written off in August            9 marked as Exhibit 74, which is a two-page cover
                                                                                          10 of 2017. Do you see that?                                  10 e-mail with an attachment that says Request for
                                                                                          11 A Sorry, I'm losing a little focus. I think                11 Redemption of Shares, that purports to be with
                                                                                          12 what you represented is what the document says.            12 respect to an entity called Sentinel Reinsurance
                                                                                          13 Q Right.                                                   13 to Highland Multi Strategy Credit Fund.
                                                                                          14 A Yeah.                                                    14      (Deposition Exhibit 74 marked for
                                                                                          15 Q And so we looked at the first attachment                 15 identification.)
                                                                                          16 to Exhibit 73, but I want to refer you to the              16 BY MR. CLUBOK:
                                                                                          17 second attachment to Exhibit 73, which you --              17 Q Do you see Exhibit 74? Do you see
                                                                                          18 which according to the attachments is a WSO Trade          18 Exhibit 74, sir?
                                                                                          19 No. 9684001. Do you see that?                              19 A Yes. I haven't had a chance to review it
                                                                                          20 A Yes.                                                     20 yet.
                                                                                          21 Q And that shows -- what is this document?                 21 Q Well, I just want to ask you something
                                                                                          22 A So this is what's called a WSO trade                     22 simple. If you look at the request for redemption
                                                                                          23 ticket.                                                    23 of shares for Sentinel Reinsurance, have you ever
                                                                                          24 Q And this document reflects the fact that                 24 seen this request before today, as far as you
                                                                                          25 the interest in Multi Strat for CDO Fund was               25 know?
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                                                                                                                         Transcript of Isaac D. Leventon                                         88 (349 to 352)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 89 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                 349                                                        351
                                                                                          1 A I don't recall ever having seen this                     1 who they are, but they weren't affiliated with
                                                                                          2 before.                                                    2 Highland or Dondero or anybody in any way.
                                                                                          3 Q Did you know that Sentinel Reinsurance was               3 Q So you're saying based on the research
                                                                                          4 listed as a redeemer with respect to Multi Strat?          4 you've done, any interest that Sentinel believes
                                                                                          5 A I think I did, yes.                                      5 they obtained in August of 2017 from CDO Fund in
                                                                                          6 Q And did you ever, in words or substance,                 6 Multi Strat is nonexistent?
                                                                                          7 convey any issues that you might have had with             7 A That was my preliminary conclusion.
                                                                                          8 respect to Sentinel's supposed stake in                    8 Q And did you share that specific conclusion
                                                                                          9 Multi Strat based on any of the work you did?              9 with Mr. Demo?
                                                                                          10 A I'm sorry, I don't understand that                      10 A The conclusion I shared with him was that
                                                                                          11 question, sir.                                            11 I thought that those interests may have been wiped
                                                                                          12 Q Did you ever talk to either the directors               12 out in 2011 and that that was my preliminary
                                                                                          13 or the Pachulski firm about Sentinel's redemption         13 conclusion.
                                                                                          14 interest in Multi Strat?                                  14 Q And did you ever tell anyone at Sentinel
                                                                                          15 A I know that there were extensive                        15 that that's the conclusion you reached, that what
                                                                                          16 discussions about redeemers in that fund, but I           16 they have on their books as a redemption interest
                                                                                          17 don't remember if there was a specific discussion         17 is really worthless as far as you believe?
                                                                                          18 about Sentinel.                                           18 A I don't generally talk to any -- I'm
                                                                                          19 Q Did you ever mention, in words or                       19 trying to -- I don't want to say at Sentinel
                                                                                          20 substance, that Sentinel had some connection to           20 because that's characterizing what people's roles
                                                                                          21 Jim Dondero or Scott Ellington, to either the             21 are, but I do remember at one point telling
                                                                                          22 directors or the Pachulski firm?                          22 Mr. DiOrio this may not exist.
                                                                                          23 A I never spoke to them about it one way or               23 Q When was that?
                                                                                          24 another.                                                  24 A You may not own this.
                                                                                          25 Q And did you ever -- in the course of that               25 Q When did you tell Mr. DiOrio that?
                                                                                                                                                 350                                                        352
                                                                                          1 research you did with respect to CDP Fund's                1 A Would have been August or September 2020.
                                                                                          2 interest, if any, in Multi Strat, to the extent            2 Q Around the time you were tasked with
                                                                                          3 that they were -- one of the conclusions you came          3 tracking down what happened with CDO Fund's
                                                                                          4 to was that they may have been extinguished in             4 assets?
                                                                                          5 2011 or '12?                                               5 A Yes.
                                                                                          6 A Yes.                                                     6 Q And so you -- why did you go to Mr. DiOrio
                                                                                          7 Q How were they extinguished? By a sale?                   7 to share this belief you had with respect to
                                                                                          8 By them just disappearing? By redemption? How?             8 Sentinel's interest or lack thereof in
                                                                                          9 A Restructuring.                                           9 Multi Strat? Why Mr. DiOrio, of all the people
                                                                                          10 Q What do you mean?                                       10 you could have told?
                                                                                          11 A So if the interests were -- if the limited              11 A I believe he was on the board of Sentinel.
                                                                                          12 partnership interest was at the level that we             12 Q You knew he was a director at the time of
                                                                                          13 colloquially called MVCDO, my understanding was           13 Sentinel, right?
                                                                                          14 that MVCDO had issued notes prior to the financial        14 A Actually, I didn't. I knew he was -- had
                                                                                          15 crisis and then it went through a restructuring           15 day-to-day responsibility kind of for Sentinel,
                                                                                          16 transaction sometime in 2011, where the notes             16 but I don't actually know he was a director.
                                                                                          17 essentially wiped out the equity holders and then         17 Q You just imagined right now when you said
                                                                                          18 noteholders became the new equity of MVCDO and            18 you knew he was on the board?
                                                                                          19 then, I think, they had to be essentially redeemed        19 A Well, I know today that he was on the
                                                                                          20 out in cash over time.                                    20 board.
                                                                                          21 Q Who redeemed out the cash interest in                   21 Q How do you know today?
                                                                                          22 Multi Strat?                                              22 A Really through this discovery and lawsuit
                                                                                          23 A The noteholders.                                        23 process.
                                                                                          24 Q Who were they?                                          24 Q Who told you?
                                                                                          25 A Third-party investors. I don't remember                 25 A I don't recall. I may have gotten it from
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                                                                                                                         Transcript of Isaac D. Leventon                                             89 (353 to 356)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 90 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                  353                                                           355
                                                                                          1 Mr. DiOrio, I may have gotten it from counsel who           1 A That's right.
                                                                                          2 got it from Mr. DiOrio.                                     2 Q And so you went to him -- he didn't -- did
                                                                                          3 Q So you've spoken with Mr. DiOrio about                    3 he task you with reporting to him your views about
                                                                                          4 this process?                                               4 Sentinel's redemption interest in Multi Strat?
                                                                                          5 A About this deposition?                                    5 A No.
                                                                                          6 Q About this litigation -- this adversary                   6 Q But you affirmatively made the choice to
                                                                                          7 proceeding.                                                 7 go tell him that, you thought that was information
                                                                                          8      MS. SMITH: Objection to form.                          8 that was important for him to know, correct?
                                                                                          9 A No, what I said was I either found out                    9 A I decided to tell him.
                                                                                          10 that he was a director -- it wasn't -- I mean, I           10 Q And you didn't make a similar decision to
                                                                                          11 either found out that he was a director from him           11 tell Mr. Seery or the Pachulski lawyers about that
                                                                                          12 or I found out from outside counsel.                       12 subject at the time, correct?
                                                                                          13 BY MR. CLUBOK:                                             13 A I did tell them the same thing at the
                                                                                          14 Q You spoke --                                             14 time.
                                                                                          15     MS. SMITH: Objection, I don't want him to              15 Q No, you didn't tell them that Sentinel's
                                                                                          16 reveal privileged information.                             16 interest -- redemption interest in Multi Strat
                                                                                          17 BY MR. CLUBOK:                                             17 might be worthless, like you told Mr. DiOrio,
                                                                                          18 Q I'm not asking about what you found out                  18 correct?
                                                                                          19 from your lawyers. But you have spoken with                19      MS. SMITH: Objection to form.
                                                                                          20 Mr. DiOrio about this -- about the subject of this         20   A   We -- I don't think we ever talked about
                                                                                          21 adversary proceeding, correct?                             21 Sentinel's redemption interest.
                                                                                          22 A I'm trying to parse out -- well, I'm                     22 BY MR. CLUBOK:
                                                                                          23 trying to parse out what conversations I would             23 Q Right. So you told Mr. DiOrio that the
                                                                                          24 have had with him -- I mean, really, the                   24 interest that Sentinel believed it had purchased
                                                                                          25 conversations I would have had with him, if any,           25 from CDO Fund that was on the books as a
                                                                                                                                                  354                                                           356
                                                                                          1 would have been including our lawyers.                      1 redemption interest might be worthless in your
                                                                                          2 Q You had a conversation with Mr. DiOrio                    2 view, or words to that effect, correct?
                                                                                          3 with your lawyers present?                                  3 A I think that's fair.
                                                                                          4 A I honestly don't remember, sir. I don't                   4 Q But you didn't tell that same information
                                                                                          5 remember how I found out. It was one of those two           5 to Mr. Seery or any of the Pachulski lawyers,
                                                                                          6 ways.                                                       6 correct?
                                                                                          7 Q Did you have any conversations with any                   7 A I think I more talked about --
                                                                                          8 other witnesses with your lawyers present about             8 Q Is that yes or no? I didn't ask what you
                                                                                          9 the subject matter of this adversary proceeding?            9 more talked about.
                                                                                          10 A We spoke about motions that were pending.                10 A Fair enough.
                                                                                          11 Q Did you talk about the substance of this                 11 Q I just want to ask about this.
                                                                                          12 adversary proceeding with other individuals                12 A I didn't talk about Sentinel at all with
                                                                                          13 involved in this proceeding in your lawyers -- in          13 the Pachulski lawyers.
                                                                                          14 one group meeting?                                         14 Q Even though you affirmatively went to
                                                                                          15 A No. We would have -- our group meetings                  15 Mr. DiOrio to tell him that, correct? Correct?
                                                                                          16 would have addressed pending procedural motions.           16 A I did not speak to the Pachulski lawyers
                                                                                          17 Q Okay. But Mr. DiOrio at some point during                17 about Sentinel, that I recall.
                                                                                          18 one of those group meetings disclosed that he was          18 Q Okay. Getting back to subject we talked
                                                                                          19 a director of Sentinel?                                    19 about earlier today -- oh, you said you had
                                                                                          20 A Again, I don't recall if he disclosed that               20 discussions with Mr. DiOrio about the ATE policy.
                                                                                          21 or if I was told that by my outside counsel.               21 You said there were two people you've ever spoken
                                                                                          22 Q But back -- so back in 2017 -- sorry, back               22 to about it, Mr. DiOrio and Mr. Ellington, right?
                                                                                          23 in 2020, you didn't know he was the director, you          23 A That's not 100 percent accurate.
                                                                                          24 just understood he had day-to-day responsibility           24 Q Okay. What is -- why is that not
                                                                                          25 for Sentinel at the Highland organization?                 25 accurate?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 91 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                   357                                                           359
                                                                                          1 A I mean, I had already spoken to                            1 that was being contemplated that we talked about
                                                                                          2 Mr. Sevilla about the ATE policy.                            2 in April of 2017, you know the settlement that had
                                                                                          3 Q Okay. But Mr. DiOrio, what, if anything,                   3 the first step being purchase a $100 million
                                                                                          4 did you talk to him about with respect to the                4 ATE policy from Sentinel using substantially all
                                                                                          5 ATE policy, other than this subject?                         5 of the assets of CDO Fund, HFP -- remember that
                                                                                          6 A On an annual basis, we would talk to                       6 discussion?
                                                                                          7 Beecher Carlson and he would set up those                    7 A I remember we had a discussion around a
                                                                                          8 conversations.                                               8 document from April of 2017 related to settlement
                                                                                          9 Q On an annual basis, meaning 2017, 2018,                    9 analysis.
                                                                                          10 2019 and 2020?                                              10 Q Prior to that contemplated transaction,
                                                                                          11 A I think that's right, yes.                                11 was there another potential transaction that would
                                                                                          12 Q How about 2021, before you were                           12 have resulted in a settlement whereby there would
                                                                                          13 terminated?                                                 13 be some new company established that would
                                                                                          14 A I don't think so.                                         14 purchase claims from UBS as part of a settlement
                                                                                          15 Q Who is responsible for speaking to Beecher                15 structure that you were involved in helping draft?
                                                                                          16 Carlson in 2021 about the policy?                           16 A That would buy claims from UBS?
                                                                                          17 A I don't know. Not me.                                     17 Q Yeah. That as part of a settlement would
                                                                                          18 Q Did you ever suggest to anyone, in words                  18 result in some new company in the Caymans
                                                                                          19 or substance, that they should make a claim on a            19 purchasing claims from UBS and then settling those
                                                                                          20 policy once you learned about the judgment in the           20 claims with the funds so that the funds would end
                                                                                          21 New York litigation?                                        21 up still insolvent to avoid the tax liability? Is
                                                                                          22 A I don't remember if I spoke -- if I did,                  22 that a concept that you ever were involved in
                                                                                          23 it would have been with Mr. Ellington.                      23 discussing with anyone?
                                                                                          24 Q And did you suggest, in words or                          24 A Not that I recall.
                                                                                          25 substance, that Mr. Ellington should cause a claim          25 Q Anyone ever raise the fact that the -- all
                                                                                                                                                   358                                                           360
                                                                                          1 to be made on the ATE policy?                                1 these ideas of transferring assets were
                                                                                          2 A I may have. I just don't remember.                         2 potentially illegal efforts to avoid taxes?
                                                                                          3 Q You don't remember at all whether you did                  3       MS. SMITH: Objection to form.
                                                                                          4 or didn't?                                                   4 BY MR. CLUBOK:
                                                                                          5       MS. SMITH: Objection, form.                            5 Q Did anyone ever raise that possibility in
                                                                                          6  BY  MR.  CLUBOK:                                            6 any of the discussions you had?
                                                                                          7 Q That's what you're saying?                                 7 A No, no one ever said anything like that.
                                                                                          8 A That's correct.                                            8 Q Okay. And I believe this may be the last
                                                                                          9 Q Did you believe that he should -- strike                   9 topic, I think. You -- we asked you earlier about
                                                                                          10 that.                                                       10 Skyview Legal PC. Asked you about whose idea it
                                                                                          11      Did you believe that a claim should have               11 was to start it. Can you answer that question
                                                                                          12 been  made on the ATE policy at any point while you         12 now?
                                                                                          13 were still employed with Highland?                          13 A Yes. It was -- the idea for it came from
                                                                                          14 A I don't know that I came to a view one way                14 a gentleman by the name of Jim McCormack, who
                                                                                          15 or another.                                                 15 is -- was a legal ethics counsel that we retained.
                                                                                          16 Q You might have, but you just don't know if                16 Q Why?
                                                                                          17 you did or you didn't?                                      17 A Skyview Group wanted to determine if it
                                                                                          18 A I don't remember -- I might have. I don't                 18 was providing legal services. And if it was
                                                                                          19 remember.                                                   19 providing legal services, if that was appropriate
                                                                                          20 Q And did you ever share any view about                     20 under its current structure or whether or not it
                                                                                          21 whether a claim should be made on the policy with           21 needed to essentially create an affiliated law
                                                                                          22 any of the independent directors or with the                22 firm or a dedicated law firm in order to avoid
                                                                                          23 Pachulski lawyers?                                          23 unauthorized practice of law issues.
                                                                                          24 A No.                                                       24 Q Okay. And you're the sole director at
                                                                                          25 Q Prior to April -- prior to the transaction                25 this point of Skyview Legal PC?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 92 of 94

                                                                                                                            Conducted on July 22, 2021
                                                                                                                                                  361                                                          363
                                                                                          1 A I am, I think. We just formed it like a                   1 A I think that's a fair -- I'm just reading
                                                                                          2 couple weeks ago.                                           2 bullet point 2, but that sounds like a fair
                                                                                          3 Q Okay. And then I do have one last                         3 characterization of that bullet point.
                                                                                          4 document that my colleague handed me that I'm               4 Q Okay. And Scott -- Angela Somers sends an
                                                                                          5 going to just ask you about, and that's                     5 e-mail to you and Scott Ellington, asking to
                                                                                          6 Exhibit 75.                                                 6 confirm that you've agreed to the terms below
                                                                                          7       (Deposition Exhibit 75 marked for                     7 since we were not involved in these discussions
                                                                                          8  identification.)                                           8 and we assumed you've worked with bankruptcy
                                                                                          9 BY MR. CLUBOK:                                              9 counsel on the stay relief and possible claim.
                                                                                          10 Q It's a one -- it's a double-sided,                       10      Do you see that?
                                                                                          11 single-page document that reflects an e-mail               11 A Yes.
                                                                                          12 exchange that starts with an e-mail from me to             12 Q And then Mr. Ellington writes back, yes,
                                                                                          13 Scott Ellington, copying some other counsel, which         13 approved, in response to that question from
                                                                                          14 is then forwarded to you and Scott Ellington and           14 Ms. Somers. Do you see that?
                                                                                          15 Scott Ellington confirms approved.                         15 A Yes.
                                                                                          16      MS. SMITH: What number are we on?                     16 Q Was that truthful what Mr. Ellington said
                                                                                          17      MR. CLUBOK: 75. Thank you.                            17 in that e-mail?
                                                                                          18      MS. SMITH: I missed 74.                               18      MS. SMITH: Objection, form.
                                                                                          19      MR. CLUBOK: Exhibit 75.                               19 BY MR. CLUBOK:
                                                                                          20 BY   MR.  CLUBOK:                                          20 Q As far as you knew at the time?
                                                                                          21 Q And this is an e-mail chain that is from                 21 A That he had agreed to the terms below?
                                                                                          22 December 2nd, 2019, the subject, Confirmation of           22 Q Yes.
                                                                                          23 our understanding. And I asked Mr. Ellington to            23 A I had no idea. I wasn't involved in those
                                                                                          24 respond confirmed if you agree that it reflects            24 conversations between you and Mr. Ellington.
                                                                                          25 our discussion. And the first item is that we              25 Q Did you know whether he had worked with
                                                                                                                                                  362                                                          364
                                                                                          1 were going to tell the Court that we are committed          1 bankruptcy counsel on the stay relief and possible
                                                                                          2 to having good faith settlement discussions, and            2 claim?
                                                                                          3 we asked the Court to hold the opinion and the              3 A I didn't know one way or another.
                                                                                          4 attached judgment, the form of which we have                4 Q Did you ask him whether or not what he
                                                                                          5 already agreed to and advised her of such during            5 said was true on this e-mail that you were copied
                                                                                          6 our call, for another ten business days from today          6 on, or that was actually sent to you by Angela?
                                                                                          7 with the possibility we'll extend further as                7 A No, I never asked him if his statement was
                                                                                          8 needed.                                                     8 true or false.
                                                                                          9       Do you see that?                                      9 Q Did you follow up at all?
                                                                                          10 A I do.                                                    10 A I saw no reason to follow up, so no, I
                                                                                          11 Q So you were aware that the Court had                     11 didn't.
                                                                                          12 already made a decision awarding roughly a billion         12 Q As part of the good-faith settlement
                                                                                          13 dollars in damages, at least as of December 2nd,           13 discussions, do you know whether or not
                                                                                          14 2019, although that had not yet been made public,          14 Mr. Ellington ever disclosed that there was a
                                                                                          15 correct?                                                   15 after-the-event insurance policy that could be
                                                                                          16 A Correct.                                                 16 used to satisfy a judgment in the New York
                                                                                          17 Q And we agreed also that we were going to                 17 litigation?
                                                                                          18 tell the Court that we planned to enter into the           18      MS. SMITH: Objection to form.
                                                                                          19 attached stipulation, which was an agreed upon             19 A I wasn't part of Mr. Ellington's
                                                                                          20 request for relief from automatic stay, correct?           20 conversations with you. I don't know.
                                                                                          21 A Are you talking about bullet point 2?                    21 BY MR. CLUBOK:
                                                                                          22 Q Yeah. If a settlement could be resolved,                 22 Q But you knew at the time that there was an
                                                                                          23 the parties were going to jointly request relief           23 ATE policy that could be used to satisfy the
                                                                                          24 from automatic stay according to this                      24 judgment that was about to be made public,
                                                                                          25 understanding, correct?                                    25 correct?
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Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 93 of 94

                                                                                                                          Conducted on July 22, 2021
                                                                                                                                                365                                                          367
                                                                                          1 A I knew of the existence of the ATE policy,              1 in my face.
                                                                                          2 yes.                                                      2 Q I totally understand.
                                                                                          3 Q Did you make any effort to disclose that                3      Sir, in December of 2019, you understood
                                                                                          4 to UBS?                                                   4 that there was roughly 80 to $100 million of
                                                                                          5       MS. SMITH: Objection, form.                         5 insurance money available to the defendants in the
                                                                                          6 A I didn't -- I didn't talk to -- the only                6 New York litigation to either satisfy the judgment
                                                                                          7 person that would be UBS would be you and I didn't        7 or settle the claims, correct?
                                                                                          8 talk do you about this.                                   8 A I knew that there was 80 to $100 million
                                                                                          9 BY MR. CLUBOK:                                            9 of insurance on the after-the-event policy with
                                                                                          10 Q So you made no effort to disclose in any               10 Sentinel so that, yeah, probably could be used to
                                                                                          11 way to UBS through counsel that there was an             11 settle or pay some amounts to UBS.
                                                                                          12 ATE policy from Sentinel that could be invoked to        12 Q And did you ever, you ever cause that
                                                                                          13 pay up to roughly $91 million or more with respect       13 information to be transferred or communicated --
                                                                                          14 to the judgment in the New York litigation,              14 sorry. Did you ever cause that information to be
                                                                                          15 correct?                                                 15 communicated to UBS in any way?
                                                                                          16      MS. SMITH: Objection, form.                         16     MS. SMITH: Objection, form.
                                                                                          17 A I never -- I'm sorry, I got lost in who                17 A I did not -- I didn't -- did I cause that
                                                                                          18 all the people were that I didn't speak to.              18 information to be communicated to UBS? I didn't
                                                                                          19 BY MR. CLUBOK:                                           19 instruct people what to tell UBS; they instructed
                                                                                          20 Q Okay. This is my last question, so I just              20 me. So, no, I -- we never -- that never came up.
                                                                                          21 want to -- I'll try to say this as simply as             21 BY MR. CLUBOK:
                                                                                          22 possible. I'll break it down.                            22 Q And you knew at the time, that UBS was a
                                                                                          23 A Okay.                                                  23 creditor in the restructuring, correct?
                                                                                          24 Q You knew as of December 2nd, 2019, that                24 A You mean in the Highland bankruptcy?
                                                                                          25 the Court was about to enter judgment of roughly a       25 Q Sorry. You knew at the time that UBS was
                                                                                                                                                366                                                          368
                                                                                          1 billion dollars, correct?                                 1 a creditor in the Highland bankruptcy, correct?
                                                                                          2 A Yes.                                                    2 A Yes.
                                                                                          3 Q And you knew that there was an ATE policy               3      MR. CLUBOK: That's all I have. Thank
                                                                                          4 that could be used to satisfy that judgment or to         4 you.
                                                                                          5 settle the remaining claims, correct?                     5      THE VIDEOGRAPHER: This concludes the
                                                                                          6 A I knew about the ATE policy and that it                 6  videotaped deposition of Isaac Leventon. The time
                                                                                          7 could be used to pay UBS some amounts.                    7 is 7:52 p.m. We are off the record.
                                                                                          8 Q And you knew that the amount was roughly                8      (Deposition concluded at 7:52 p.m. CDT)
                                                                                          9 $100 million, maybe minus the legal fees that you         9
                                                                                          10 had already authorized to be paid, correct?              10
                                                                                          11 A I don't think I knew the exact amount, no.             11
                                                                                          12 Q But you knew it was in the neighborhood of             12
                                                                                          13 $100 million at the time?                                13
                                                                                          14 A My recollection is somewhere between 80                14
                                                                                          15 and 100, but I wasn't sure where. It was clearly         15
                                                                                          16 a big number.                                            16
                                                                                          17 Q Okay. You understood that there was                    17
                                                                                          18 roughly 80 to $100 million of insurance money            18
                                                                                          19 available to either satisfy the judgment or to           19
                                                                                          20 settle the claims that were the subject of the           20
                                                                                          21 judgment in the New York litigation, correct?            21
                                                                                          22 A Can you repeat that one more time? Sorry,              22
                                                                                          23 the sun literally was right in my eyes.                  23
                                                                                          24 Q That is totally fine. This is really it.               24
                                                                                          25 A I'm not trying to play games. The sun was              25
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                                                                                                            HIGHLY CONFIDENTIAL - STPO - INFORMATION REDACTED
                                                                                                                         Transcript of Isaac D. Leventon        93 (369 to 372)

Case 21-03020-sgj Doc 177-27 Filed 08/04/22   Entered 08/04/22 18:26:09   Page 94 of 94

                                                                                                                          Conducted on July 22, 2021
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                                                                                          1          ACKNOWLEDGMENT OF DEPONENT
                                                                                          2      I, ISAAC D. LEVENTON, do hereby
                                                                                          3 acknowledge that I have read and examined the
                                                                                          4 foregoing testimony, and the same is a true,
                                                                                          5 correct and complete transcription of the
                                                                                          6 testimony given by me and any corrections appear
                                                                                          7 on the attached Errata sheet signed by me.
                                                                                          8
                                                                                          9
                                                                                          10 _______________ __________________________
                                                                                          11 (DATE)          (SIGNATURE)
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                                                                                          1          REPORTER'S CERTIFICATION
                                                                                          2      I, Micheal A. Johnson, the officer before
                                                                                          3 whom the foregoing deposition was taken, do hereby
                                                                                          4 certify that the foregoing transcript is a true
                                                                                          5 and correct record of the testimony given; that
                                                                                          6 said testimony was taken by me stenographically
                                                                                          7 and thereafter reduced to typewriting under my
                                                                                          8 direction; that reading and signing was requested;
                                                                                          9 and that I am neither counsel for, related to, nor
                                                                                          10 employed by any of the parties to this case and
                                                                                          11 have no interest, financial or otherwise, in its
                                                                                          12 outcome.
                                                                                          13     IN WITNESS WHEREOF, I have hereunto set my
                                                                                          14 hand this 27th day of July, 2021.
                                                                                          15
                                                                                          16
                                                                                          17     ____________________________
                                                                                          18     MICHEAL A. JOHNSON, RDR, CRR
                                                                                          19     NOTARY PUBLIC IN AND FOR
                                                                                          20     THE STATE OF TEXAS
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